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                         EXHIBIT D
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                            Dated    1                        2019




                                         US$190,000,000

                                    TERM LOAN FACILITY




                                 FLEETSCAPE ANTHEM, LLC
                                  FLEETSCAPE ARROW, LLC
                                   FLEETSCAPE ATOM, LLC
                                  FLEETSCAPE AVENUE, LLC
                                  FLEETSCAPE AWARD, LLC
                                     FLEETSCAPE SKY, LLC
                                   FLEETSCAPE SOLAR, LLC
                                  FLEETSCAPE SPRING, LLC
                                   FLEETSCAPE START, LLC
                                 FLEETSCAPE SUMMER, LLC
                                    FLEETSCAPE SUN, LLC
                               as joint and several Borrowers
                                    and Hedge Guarantors




                    CRÉDIT AGRICOLE CORPORATE AND INVESTMENT BANK
                           as Arranger, Underwriter and Bookrunner

                    CRÉDIT AGRICOLE CORPORATE AND INVESTMENT BANK
                                     as Facility Agent

                                              and

                    CRÉDIT AGRICOLE CORPORATE AND INVESTMENT BANK
                                     as Security Agent




                                    FACILITY AGREEMENT

                                           relating to
     the financing of m.v. "ADVANTAGE ANTHEM", m.v. "ADVANTAGE ARROW", m.v. "ADVANTAGE
    ATOM", m.v. "ADVANTAGE AVENUE", m.v. "ADVANTAGE AWARD", m.v. "ADVANTAGE SKY", m.v.
   "ADVANTAGE SOLAR", m.v. "ADVANTAGE SPRING", m.v. "ADVANTAGE START", m.v. "ADVANTAGE
                                SUMMER" and m.v. "ADVANTAGE SUN"


                                     WATS ON FARLEY

                                           WILLIAMS
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  THIS AGREEMENT is made on         1                        2019

   PARTIES

   (1)   FLEETSCAPE ANTHEM, LLC, a limited liability company formed in the Marshall Islands with
         registered number 964391 whose registered address is at Trust Company Complex, Ajeltake
         Road, Ajeltake Island, Majuro MH96960, Marshall Islands as a borrower ("Borrower A")

   (2)   FLEETSCAPE ARROW, LLC, a limited liability company formed in the Marshall Islands with
         registered number 964393 whose registered address is at Trust Company Complex, Ajeltake
         Road, Ajeltake Island, Majuro MH96960, Marshall Islands as a borrower ("Borrower B")

  (3)    FLEETSCAPE ATOM, LLC, a limited liability company formed in the Marshall Islands with
         registered number 964390 whose registered address is at Trust Company Complex, Ajeltake
         Road, Ajeltake Island, Majuro MH96960, Marshall Islands as a borrower ("Borrower C")

  (4)    FLEETSCAPE AVENUE, LLC, a limited liability company formed in the Marshall Islands with
         registered number 964392 whose registered address is at Trust Company Complex, Ajeltake
         Road, Ajeltake Island, Majuro MH96960, Marshall Islands as a borrower ("Borrower D")

  (5)    FLEETSCAPE AWARD, LLC, a limited liability company formed in the Marshall Islands with
         registered number 964389 whose registered address is at Trust Company Complex, Ajeltake
         Road, Ajeltake Island, Majuro MH96960, Marshall Islands as a borrower ("Borrower E")

  (6)    FLEETSCAPE SKY, LLC, a limited liability company formed in the Marshall Islands with registered
         number 964385 whose registered address is at Trust Company Complex, Ajeltake Road,
         Ajeltake Island, Majuro MH96960, Marshall Islands as a borrower ("Borrower F")

  (7)    FLEETSCAPE SOLAR, LLC, a limited liability company formed in the Marshall Islands with
         registered number 964386 whose registered address is at Trust Company Complex, Ajeltake
         Road, Ajeltake Island, Majuro MH96960, Marshall Islands as a borrower ("Borrower G")

  (8)    FLEETSCAPE SPRING, LLC, a limited liability company formed in the Marshall Islands with
         registered number 964388 whose registered address is at Trust Company Complex, Ajeltake
         Road, Ajeltake Island, Majuro MH96960, Marshall Islands as a borrower ("Borrower H")

  (9)    FLEETSCAPE START, LLC, a limited liability company formed in the Marshall Islands with
         registered number 964384 whose registered address is at Trust Company Complex, Ajeltake
         Road, Ajeltake Island, Majuro MH96960, Marshall Islands as a borrower ("Borrower I")

  (10)   FLEETSCAPE SUMMER, LLC, a limited liability company formed in the Marshall Islands with
         registered number 964387 whose registered address is at Trust Company Complex, Ajeltake
         Road, Ajeltake Island, Majuro MH96960, Marshall Islands as a borrower ("Borrower J")

  (11)   FLEETSCAPE SUN, LLC, a limited liability company formed in the Marshall Islands with
         registered number 964383 whose registered address is at Trust Company Complex, Ajeltake
         Road, Ajeltake Island, Majuro MH96960, Marshall Islands as a borrower ("Borrower K")

  (12)   THE COMPANIES listed in Part A of Schedule 1 {The Parties) as hedge guarantors (the "Hedge
         Guarantors")

  (13)   CRÉDIT AGRICOLE CORPORATE AND INVESTMENT BANK as mandated lead arranger (the
         "Arranger")




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  (14)   CRÉDIT AGRICOLE CORPORATE AND INVESTMENT BANK as underwriter (the "Underwriter")

  (15)   CREDIT AGRICOLE CORPORATE AND INVESTMENT BANK as sole                          bookrunner (the
         "Bookrunner")

  (16)   THE FINANCIAL INSTITUTIONS listed in Part B of Schedule 1 (The Parties) as lenders (the
         "Original Lenders")

  (17)   THE FINANCIAL INSTITUTIONS listed in Part B of Schedule 1 (The Parties) as hedge
         counterparties (the "Hedge Counterparties")

  (18)   CRÉDIT AGRICOLE CORPORATE AND INVESTMENT BANK as agent of the other Finance Parties
         (the "Facility Agent")

  (19)   CRÉDIT AGRICOLE CORPORATE AND INVESTMENT BANK as security agent for the Secured
         Parties (the "Security Agent")

  BACKGROUND

  (A)    The Lenders have agreed to make available to the Borrowers a facility of up to $190,000,000
         for the purposes of:

         (¡)      financing part of the acquisition costs of Ship A by way of a loan in a principal amount
                  of $17,060,000;

         (‫)؛؛‬     financing part of the acquisition costs of Ship B by way of a loan in a principal amount
                  of $14,410,000;

         (Hi)     financing part of the acquisition costs of Ship C by way of a loan in a principal amount
                  of $16,620,000;

         (iv)     financing part of the acquisition costs of Ship D by way of a loan in a principal amount
                  of $15,000,000;

         (v)      financing part of the acquisition costs of Ship E by way of a loan in a principal amount
                  of $16,620,000;

         (Vi)     financing part of the acquisition costs of Ship F by way of a loan in a principal amount
                  of $17,350,000;

         (vii)    financing part of the acquisition costs of Ship G by way of a loan in a principal amount
                  of $16,470,000;

         (٧i‫؛‬i)   financing part of the acquisition costs of Ship H by way of a loan in a principal amount
                  of $18,090,000;

         (ix)     financing part of the acquisition costs of Ship I by way of a loan in a principal amount
                  of $19,120,000;

         (x)      financing part of the acquisition costs of Ship J by way of a loan in a principal amount
                  of $17,940,000; and

         (xi)     financing part of the acquisition costs of Ship K by way of a loan in a principal amount
                  of $21,320,000.



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    (B)   The Hedge Counterparties have agreed to enter into interest rate swap transactions with the
          Borrowers from time to time to hedge the Borrowers' exposure under this Agreement to
          interest rate fluctuations.

    OPERATIVE PROVISIONS




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                                              SECTION 1

                                          INTERPRETATION

  1     DEFINITIONS AND INTERPRETATION

  1.1   Definitions

        In this Agreement:

        "1992 ISDA Master Agreement" means the Master Agreement (Multicurrency - Cross Border)
        as published by the International Swaps and Derivatives Association, Inc.

        "2002 ISDA Master Agreement" means the 2002 Master Agreement as published by the
        International Swaps and Derivatives Association, Inc.

        "Account Bank" means Crédit Agricole Corporate and Investment Bank a French société
        anonyme, acting in such capacity through its office at 12, place des Etats-Unis, CS 70052,92547
        Montrouge Cedex, France, registered under the SIREN No. 304 187 701 of the Registre du
        Commerce et des Sociétés of Nanterre or any replacement bank or other financial institution
        as may be approved by the Facility Agent acting with the authorisation of the Majority Lenders.

        "Accounts" means the Earnings Accounts, the Retention Account, the Drydocking Reserve
        Accounts, the Balloon Reserve Accounts and the Bareboat Charterer Accounts.

        "Account Security" means a document creating Security over any Account (other than in
        relation to each Bareboat Charterer Account where Security is created over each Bareboat
        Charterer Account pursuant to the Tripartite Assignments) in agreed form.

        "Advance" means a borrowing of all or part of a Tranche under this Agreement.

        "Administrative Expenses" means, in relation to a Borrower in respect of any calendar year,
        the aggregate of all anticipated amounts in respect of that calendar year which are payable by
        that Borrower or, as the case may be, Fleetscape Advantage for corporate, administrative and
        filing fees in respect of that Borrower and the fees of legal and taxation advisers of that
        Borrower, capped at $20,000 per calendar year for that Borrower.

        "Advantage Tankers" means Advantage Tankers LLC, a limited liability company formed in the
        Marshall Islands whose registered address is at Trust Company Complex, Ajeltake Road,
        Ajeltake Island, Majuro MH96960, Marshall Islands.

        "Advantage Tankers Undertaking" means the letter of undertaking from Advantage Tankers
        in agreed form.

        "Affiliate" means, in relation to any person, a Subsidiary ofthat person or a Holding Company
        of that person or any other Subsidiary of that Holding Company.

        "Approved Brokers" means any firm or firms of insurance brokers approved in writing by the
        Facility Agent, acting with the authorisation of the Majority Lenders (such approval not to be
        unreasonably withheld).

        "Approved Budget" has the meaning given to it in paragraph (c) of Clause 20.2 (Financial
        statements).




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        "Approved Classification" means, in relation to a Ship, as at the date of this Agreement, the
        classification in relation to that Ship specified in Schedule 7 {Details of the Ships) or the
        equivalent classification with another Approved Classification Society.

        "Approved Classification Society" means, in relation to a Ship, as at the date of this
        Agreement, the classification society in relation to that Ship specified in Schedule 7 (Details of
        the Ships) or any other classification society approved in writing by the Facility Agent acting
        with the authorisation of the Majority Lenders (such approval not to be unreasonably
        withheld).

        "Approved Commercial Manager" means, in relation to a Ship, as at the date of this
        Agreement, the manager specified as the approved commercial manager in relation to that
        Ship in Schedule 7 (Details of the Ships) and, at any other time during the Security Period and
        subject to, inter alia, written prior approval by the Time Charterers at the relevant time, OSM
        Maritime Group, a company incorporated under the laws of Cyprus with its registered office
        at 22 Amathountos Avenue, Agios Tychonas Cyprus Limassol CY, 4532, Cyprus or any other
        person approved in writing by the Facility Agent acting with the authorisation of the Majority
        Lenders (such approval not to be unreasonably withheld) as the commercial manager of that
        Ship.

        "Approved Flag" means, in relation to a Ship, as at the date of this Agreement, the flag in
        relation to that Ship specified in Schedule 7 (Details of the Ships) or such other flag approved
        in writing by the Facility Agent acting with the authorisation of the Majority Lenders (such
        approval not to be unreasonably withheld).

        "Approved Manager" means, in relation to a Ship, the Approved Commercial Manager or the
        Approved Technical Manager of that Ship from time to time.

        "Approved Operating and Administrative Expenses" means, in relation to a Ship in respect of
        any calendar year, the aggregate of all amounts of operating and administrative expenses in
        relation to that Ship as set out in Schedule 8 (Approved Operating and Administrative
        Expenses).

        "Approved Technical Manager" in relation to a Ship, as at the date of this Agreement, the
        manager specified as the approved technical manager in relation to that Ship in Schedule 7
        (Details of the Ships) and, at any other time during the Security Period and subject to, inter
        alia, prior written approval by the Time Charterers at the relevant time, OSM Maritime Group,
        a company incorporated under the laws of Cyprus with its registered office at 22 Amathountos
        Avenue, Agios Tychonas Cyprus Limassol CY, 4532, Cyprus or any other person approved in
        writing by the Facility Agent acting with the authorisation of the Majority Lenders (such
        approval not to be unreasonably withheld) as the technical manager of that Ship.

        "Approved Valuer" means Arrow Sale & Purchase (UK) Limited, Braemar ACM Shipbroking,
        Clarksons pic, Fearnleys AS and Maersk Broker K/S (or any Affiliate of such person through
        which valuations are commonly issued) and any other firm or firms of independent sale and
        purchase shipbrokers approved in writing by the Facility Agent, acting with the authorisation
        of the Majority Lenders (such approval not to be unreasonably withheld).

        "Assignment Agreement” means an agreement substantially in the form set out in Schedule 5
        (Form of Assignment Agreement) or any other form agreed between the relevant assignor and
        assignee.




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         "Authorisation" means an authorisation, consent, approval, resolution, licence, exemption,
         filing, notarisation, legalisation or registration.

         "Availability Period" means the period from and including the date of this Agreement to and
         including the date falling three Months thereafter.

         "Available Commitment" means, in relation to a Tranche, a Lender's Commitment under that
         Tranche minus:

         (a)     the amount of its participation in the outstanding Advances under that Tranche; and

         (b)     in relation to any proposed Utilisation, the amount of its participation in any other
                 Advance that is due to be made under that Tranche on or before the proposed
                 Utilisation Date.

         "Available Facility" means the aggregate for the time being of each Lender's Available
         Commitment.

         "Bail-In Action" means the exercise of any Write-down and Conversion Powers.

         "Bail-In Legislation" means:

         (a)     in relation to an EEA Member Country which has implemented, or which at any time
                 implements. Article 55 of Directive 2014/59/EU establishing a framework for the
                 recovery and resolution of credit institutions and investment firms, the relevant
                 implementing law or regulation as described in the EU Bail-In Legislation Schedule
                 from time to time; and

         (b)     in relation to any other state, any analogous law or regulation from time to time which
                 requires contractual recognition of any Write-down and Conversion Powers contained
                 in that law or regulation.

         "Balloon Reserve Account" means, in relation to a Borrower:

        (a)      an account in the name of that Borrower with the Account Bank designated "Balloon
                 Reserve Account";

         (b)    any other account in the name of that Borrower with the Account Bank which may,
                with the prior written consent of the Facility Agent, be opened in the place of the
                account referred to in paragraph (a) above, irrespective of the number or designation
                of such replacement account; or

        (c)     any sub-account of any account referred to in paragraphs (a) or (b) above.

        "Bareboat Charter" means Bareboat Charter A, Bareboat Charter B, Bareboat Charter C,
        Bareboat Charter D, Bareboat Charter E, Bareboat Charter F, Bareboat Charter G, Bareboat
        Charter H, Bareboat Charter I, Bareboat Charter J or Bareboat Charter K.

        "Bareboat Charter A" means the bareboat charter dated on or around the date of this
        Agreement in respect of Ship A and made between (i) Borrower A as owner and (ii) Bareboat
        Charterer A as bareboat charterer in a form acceptable to the Facility Agent.




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         "Bareboat Charter B" means the bareboat charter dated on or around the date of this
         Agreement in respect of Ship B and made between (i) Borrower B as owner and (ii) Bareboat
         Charterer B as bareboat charterer in a form acceptable to the Facility Agent.

         "Bareboat Charter C" means the bareboat charter dated on or around the date of this
         Agreement in respect of Ship C and made between (i) Borrower C as owner and (ii) Bareboat
         Charterer C as bareboat charterer in a form acceptable to the Facility Agent.

         "Bareboat Charter D" means the bareboat charter dated on or around the date of this
         Agreement in respect of Ship D and made between (i) Borrower D as owner and (ii) Bareboat
         Charterer D as bareboat charterer in a form acceptable to the Facility Agent.

         "Bareboat Charter E" means the bareboat charter dated on or around the date of this
         Agreement in respect of Ship E and made between (i) Borrower E as owner and (ii) Bareboat
         Charterer E as bareboat charterer in a form acceptable to the Facility Agent.

         "Bareboat Charter F" means the bareboat charter dated on or around the date of this
         Agreement in respect of Ship F and made between (i) Borrower F as owner and (ii) Bareboat
         Charterer F as bareboat charterer in a form acceptable to the Facility Agent.

        "Bareboat Charter G" means the bareboat charter dated on or around the date of this
        Agreement in respect of Ship G and made between (i) Borrower G as owner and (ii) Bareboat
        Charterer G as bareboat charterer.

        "Bareboat Charter H" means the bareboat charter dated on or around the date of this
        Agreement in respect of Ship FI and made between (i) Borrower FI as owner and (ii) Bareboat
        Charterer FI as bareboat charterer in a form acceptable to the Facility Agent.

        "Bareboat Charter I" means the bareboat charter dated on or around the date of this
        Agreement in respect of Ship I and made between (i) Borrower I as owner and (ii) Bareboat
        Charterer I as bareboat charterer in a form acceptable to the Facility Agent.

        "Bareboat Charter J" means the bareboat charter dated on or around the date of this
        Agreement in respect of Ship J and made between (i) Borrower J as owner and (ii) Bareboat
        Charterer J as bareboat charterer in a form acceptable to the Facility Agent.

        "Bareboat Charter K" means the bareboat charter dated on or around the date of this
        Agreement in respect of Ship K and made between (i) Borrower K as owner and (ii) Bareboat
        Charterer K as bareboat charterer in a form acceptable to the Facility Agent.

        "Bareboat Charterer" means Bareboat Charterer A, Bareboat Charterer B, Bareboat Charterer
        C, Bareboat Charterer D, Bareboat Charterer E, Bareboat Charterer F, Bareboat Charterer G,
        Bareboat Charterer FI, Bareboat Charterer I, Bareboat Charterer J or Bareboat Charterer K.

        "Bareboat Charterer A" means Advantage Anthem Shipping LLC, a limited liability company
        duly formed and existing in the Bahamas with registered number 172813B whose registered
        office is at Trident Corporate Services (Bahamas) Limited, Suite 200B, 2nd floor, Centre of
        Commerce, One Bay Street, P.O. Box N-3944, Nassau, Bahamas.

        "Bareboat Charterer Account" means, in relation to a Bareboat Charterer:

        (a)     an account in the name of that Bareboat Charterer with the Account Bank designated
                "Cash Collection Account";




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         (b)     any other account in the name of that Bareboat Charterer with the Account Bank
                 which may, with the prior written consent of the Facility Agent, be opened in the place
                 of the account referred to in paragraph (a) above, irrespective of the number or
                 designation of such replacement account; or

         (c)     any sub-account of any account referred to in paragraphs (a) or (b) above.

         "Bareboat Charterer B" means Advantage Arrow Shipping LLC, a limited liability company duly
         formed and existing in the Marshall Islands with registered number 963204 whose registered
         address is at Trust Company Complex, Ajeltake Road, Ajeltake Island, Majuro, Marshall Islands,
         MH 96960.

         "Bareboat Charterer C" means Advantage Atom Shipping LLC, a limited liability company duly
         formed and existing in the Bahamas with registered number 172814B whose registered office
         is at Trident Corporate Services (Bahamas) Limited, Suite 200B, 2nd floor, Centre of Commerce,
         One Bay Street, P.O. Box N-3944, Nassau, Bahamas.

         "Bareboat Charterer D" means Advantage Avenue Shipping LLC, a limited liability company
         duly formed and existing in the Marshall Islands with registered number 963203 whose
         registered address is at Trust Company Complex, Ajeltake Road, Ajeltake Island, Majuro,
         Marshall Islands, MH 96960.

        "Bareboat Charterer E" means Advantage Award Shipping LLC, a limited liability company duly
        formed and existing in the Bahamas with registered number 172815B whose registered office
        is at Trident Corporate Services (Bahamas) Limited, Suite 200B, 2nd floor, Centre of Commerce,
        One Bay Street, P.O. Box N-3944, Nassau, Bahamas.

        "Bareboat Charterer F" means Advantage Sky Shipping Lie, a limited liability company duly
        formed and existing in the Marshall Islands with registered number 963201 whose registered
        address is at Trust Company Complex, Ajeltake Road, Ajeltake Island, Majuro, Marshall Islands,
        MH 96960.

        "Bareboat Charterer G" means Advantage Solar Shipping LLC, a limited liability company duly
        formed and existing in the Marshall Islands with registered number 963202 whose registered
        address is at Trust Company Complex, Ajeltake Road, Ajeltake Island, Majuro, Marshall Islands,
        MH 96960.

        "Bareboat Charterer H" means Advantage Spring Shipping LLC, a limited liability company duly
        formed and existing in the Marshall Islands with registered number 963279 whose registered
        address is at Trust Company Complex, Ajeltake Road, Ajeltake Island, Majuro, Marshall Islands,
        MH 96960.

        "Bareboat Charterer I" means Advantage Start Shipping LLC, a limited liability company duly
        formed and existing in the Marshall Islands with registered number 963200 whose registered
        address is at Trust Company Complex, Ajeltake Road, Ajeltake Island, Majuro, Marshall Islands,
        MH 96960.

        "Bareboat Charterer J" means Advantage Summer Shipping LLC, a limited liability company
        duly formed and existing in the Marshall Islands with registered number 963280 whose
        registered address is at Trust Company Complex, Ajeltake Road, Ajeltake Island, Majuro,
        Marshall Islands, MH 96960.




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         "Bareboat Charterer K" means Advantage Sun Shipping LLC, a limited liability company duly
         formed and existing in the Marshall Islands with registered number 963199 whose registered
         address is at Trust Company Complex, Ajeltake Road, Ajeltake Island, Majuro, Marshall Islands,
         MH 96960.

         "Borrower" means Borrower A, Borrower B, Borrower C, Borrower D, Borrower E, Borrower F,
         BorrowerG, Borrower H, Borrower I, Borrower] or Borrower K.

         "Break Costs" means the amount (if any) by which:

         (a)       the interest excluding the Margin which a Lender should have received for the period
                   from the date of receipt of all or any part of its participation in the Loan or an Unpaid
                   Sum to the last day of the current Interest Period in relation to the Loan, the relevant
                   part of the Loan orthat Unpaid Sum, had the principal amountor Unpaid Sum received
                   been paid on the last day of that Interest Period;

         exceeds

         (b)       the amount which that Lender would be able to obtain by placing an amount equal to
                   the principal amount or Unpaid Sum received by it on deposit with a leading bank in
                   the Relevant Interbank Market for a period starting on the Business Day following
                   receipt or recovery and ending on the last day of the current Interest Period.

         "Business Day" means a day (other than a Saturday or Sunday) on which banks are open for
         general business in London, Paris, New York, Istanbul, Hamburg and Frankfurt.

         "Change of Control" means the situation where any person or group of persons acting in
         concert gains direct or indirect control of any Borrower and/or Fleetscape Advantage and/or
         any Bareboat Charterer and, in this context:

         (a)       "control" means:

                   (‫)؛‬     the power (whether by way of ownership of shares, proxy, contract, agency or
                           otherwise) to:

                           (A)     cast, or control the casting of, more than 51 percent, of the maximum
                                   number of votes that might be cast at a general meeting of (as the
                                   case may be) that Borrower, Fleetscape Advantage or that Bareboat
                                   Charterer; or

                           (B)     appoint or remove all, or the majority, of the directors or other
                                   equivalent officers of (as the case may be) that Borrower, Fleetscape
                                   Advantage orthat Bareboat Charterer; or

                           (C)     give directions with respect to the operating and financial policies of
                                   a Borrower, Fleetscape Advantage or a Bareboat Charterer with which
                                   the directors or other equivalent officers of (as the case may be) that
                                   Borrower, Fleetscape Advantage or that Bareboat Charterer are
                                   obliged to comply; and/or

                   (‫)؛؛‬    the holding beneficially of more than 51 per cent., so long as 51 per cent, is a
                           controlling stake, of the membership interests of (as the case may be) that
                           Borrower, Fleetscape Advantage or that Bareboat Charterer (excluding any




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                         part of such membership interests that carry no right to participate beyond a
                         specified amount in a distribution of either profits or capital); and

         (b)     "acting in concert" means a group of persons who, pursuant to an agreement or
                 understanding (whether formal or informal), actively co-operate, through the
                 acquisition directly or indirectly of shares or membership interests in (as the case may
                 be) a Borrower, Fleetscape Advantage or a Bareboat Charterer by any of them, either
                 directly or indirectly, to obtain or consolidate control of (as the case may be) that
                 Borrower, Fleetscape Advantage or that Bareboat Charterer.

         "Charter" means, in relation to a Ship, any charter relating to that Ship, or other contract for
         its employment, whether or not already in existence including each of the Bareboat Charter
         and Time Charter in respect of that Ship.

         "Charter Guarantee" means any guarantee, bond, letter of credit or other instrument
         (whether or not already issued) supporting a Charter.

         "Code" means the US Internal Revenue Code of 1986.

         "Commercial Management Agreement" means the agreement entered into between a
         Borrower and the Approved Commercial Manager regarding the commercial management of
         a Ship.

         "Commitment" means a Tranche A Commitment or a Tranche B Commitment.

        "Confidential Information" means all information relating to any Transaction Obligor, the
        Group, the Finance Documents or the Facility of which a Finance Party becomes aware in its
        capacity as, or for the purpose of becoming, a Finance Party or which is received by a Finance
        Party in relation to, or for the purpose of becoming a Finance Party under, the Finance
        Documents or the Facility from either:

        (a)      any member of the Group or any of its advisers; or

        (b)      another Finance Party, if the information was obtained by that Finance Party directly
                 or indirectly from any member of the Group or any of its advisers,

                in whatever form, and includes information given orally and any document, electronic
                file or any other way of representing or recording information which contains or is
                derived or copied from such information but excludes:

                 (٠)     information that:

                         (A)     is or becomes public information other than as a direct or indirect
                                 result of any breach by that Finance Party of Clause 45 [Confidential
                                 Information); or

                         (B)     is identified in writing at the time of delivery as non-confidential by
                                 any member of the Group or any of its advisers; or

                         (C)     is known by that Finance Party before the date the information is
                                 disclosed to it in accordance with paragraphs (a) or (b) above or is
                                 lawfully obtained by that Finance Party after that date, from a source
                                 which is, as far as that Finance Party is aware, unconnected with the




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                                 Group and which, in either case, as far as that Finance Party is aware,
                                 has not been obtained in breach of, and is not otherwise subject to,
                                 any obligation of confidentiality; and

                (Ü)     any Funding Rate or Reference Bank Quotation.

        "Confidentiality Undertaking" means a confidentiality undertaking in substantially the
        appropriate form recommended by the LMA from time to time or in any other form agreed
        between the Borrowers and the Facility Agent.

        "Corresponding Debt" means any amount, other than any Parallel Debt, which an Obligor
        owes to a Secured Party under or in connection with the Finance Documents.

        "Default" means an Event of Default or a Potential Event of Default.

        "Delegate" means any delegate, agent, attorney or co-trustee appointed by the Security
        Agent.

        "Delivery Date" means, in relation to a Ship, the date on which that Ship is delivered by the
        relevant Bareboat Charterer to the relevant Borrower under the MOA relating to that Ship.

        "Disruption Event" means either or both of:

        (a)     a material disruption to those payment or communications systems or to those
                financial markets which are, in each case, required to operate in order for payments
                to be made in connection with the Facility (or otherwise in order for the transactions
                contemplated by the Finance Documents to be carried out) which disruption is not
                caused by, and is beyond the control of, any of the Parties or, if applicable, any
                Transaction Obligor; or

        (b)     the occurrence of any other event which results in a disruption (of a technical or
                systems-related nature) to the treasury or payments operations of a Party or, if
                applicable, any Transaction Obligor preventing that, or any other, Party or, if
                applicable, any Transaction Obligor:

                (¡)     from performing its payment obligations under the Finance Documents; or

                (Ü)     from communicating with other Parties or, if applicable, any Transaction
                        Obligor in accordance with the terms of the Finance Documents,

        and which (in either such case) is not caused by, and is beyond the control of, the Party or, if
        applicable, any Transaction Obligor whose operations are disrupted.

        "Document of Compliance" has the meaning given to it in the ISM Code.

        "dollars" and "$" mean the lawful currency, forthe time being, of the United States of America.

        "Drydocking Reserve Account" means, in relation to a Borrower:

        (a)     an account in the name of that Borrower with the Account Bank designated
                "Drydocking Reserve Account";




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         (b)    any other account in the name of that Borrower with the Account Bank which may,
                with the prior written consent of the Facility Agent, be opened in the place of the
                account referred to in paragraph (a) above, irrespective of the number or designation
                of such replacement account; or

         (c)    any sub-account of any account referred to in paragraphs (a) or (b) above.

         "Drydocking Reserve Amount" has the meaning given to it in paragraph (a) of Clause 21.2
         {Drydocking Reserve Amounts).

         "Drydocking Reserve Budget" has the meaning given to it in paragraph (e) of Clause 20.2
         {Financial statements).

        "Earnings" means, in relation to a Ship, all moneys whatsoever which are now, or later
        become, payable (actually or contingently) to a Borrower or a Bareboat Charterer or the
        Security Agent and which arise out of or in connection with or relate to the use or operation
        of that Ship, including (but not limited to):

         (a)    the following, save to the extent that any of them is, with the prior written consent of
                the Facility Agent, pooled or shared with any other person:

                (¡)      all freight, hire and passage moneys including, without limitation, all moneys
                         payable under, arising out of or in connection with a Charter or a Charter
                         Guarantee;

                (‫)؛؛‬     the proceeds of the exercise of any lien on sub-freights;

                (iii)    compensation payable to a Borrower or a Bareboat Charterer or the Security
                         Agent in the event of requisition of that Ship for hire or use;

                (iv)     remuneration for salvage and towage services;

                (v)      demurrage and detention moneys;

                (٧i)     without prejudice to the generality of sub-paragraph (i) above, damages for
                         breach (or payments for variation or termination) of any charterparty or other
                         contract for the employment of that Ship;

                (vii)    all moneys which are at any time payable under any Insurances in relation to
                         loss of hire;

                (viii)   all monies which are at any time payable to a Borrower or a Bareboat
                         Charterer in relation to general average contribution; and

        (b)     if and whenever that Ship is employed on terms whereby any moneys falling within
                sub-paragraphs (i) to (viii) of paragraph (a) above are pooled or shared with any other
                person, that proportion of the net receipts of the relevant pooling or sharing
                arrangement which is attributable to that Ship.

        "Earnings Account" means, in relation to a Borrower:

        (a)     an account in the name of that Borrower with the Account Bank designated "Earnings
                Account";




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         (b)     any other account in the name of that Borrower with the Account Bank which may,
                 with the prior written consent of the Facility Agent, be opened in the place of the
                 account referred to in paragraph (a) above, irrespective of the number or designation
                 of such replacement account; or

         (c)     any sub-account of any account referred to in paragraphs (a) or (b) above.

         "EEA Member Country" means any member state of the European Union, Iceland,
         Liechtenstein and Norway.

         "Environmental Approval” means any applicable present or future permit, ruling, variance or
         other applicable Authorisation required under Environmental Laws.

         "Environmental Claim" means any claim by any governmental, judicial or regulatory authority
         or any other person which arises out of an Environmental Incident or an alleged Environmental
         Incident or which relates to any Environmental Law and, for this purpose, "claim" includes a
         claim for damages, compensation, contribution, injury, fines, losses and penalties or any other
         similar payment, including in relation to clean-up and removal, if similar to the foregoing; an
         order or direction to take, or not to take, certain action or to desist from or suspend certain
         action; and any form of enforcement or regulatory action, including the arrest or attachment
         of any asset.

         "Environmental Incident" means:

         (a)     any release, emission, spill or discharge of Environmentally Sensitive Material whether
                 within a Ship or from a Ship into any other vessel or into or upon the air, water, land
                 or soils (including the seabed) or surface water; or

         (b)     any incident in which Environmentally Sensitive Material is released, emitted, spilled
                 or discharged into or upon the air, water, land or soils (including the seabed) or surface
                 water from a vessel other than any Ship and which involves a collision between any
                 Ship and such other vessel or some other incident of navigation or operation, in either
                 case, in connection with which a Ship is actually or potentially liable to be arrested,
                 attached, detained or injuncted and/or a Ship and/or any Transaction Obligor and/or
                 any operator or manager of a Ship is at fault or allegedly at fault or otherwise liable to
                 any legal or administrative action; or

         (c)     any other incident in which Environmentally Sensitive Material is released, emitted,
                 spilled or discharged into or upon the air, water, land or soils (including the seabed) or
                 surface water otherwise than from a Ship and in connection with which a Ship is
                 actually or potentially liable to be arrested and/or where any Transaction Obligor
                 and/or any operator or manager of a Ship is at fault or allegedly at fault or otherwise
                 liable to any legal or administrative action.

         "Environmental Law" means any applicable present or future law relating to pollution or
         protection of human health or the environment, to conditions in the workplace, to the
         carriage, generation, handling, storage, use, release or spillage of Environmentally Sensitive
         Material or to actual or threatened releases of Environmentally Sensitive Material.

         "Environmentally Sensitive Material" means and includes all contaminants, oil, oil products,
         toxic substances and any other substance (including any chemical, gas or other hazardous or
         noxious substance) which is (or is capable of being or becoming) polluting, toxic or hazardous.




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         "EU Bail-In Legislation Schedule" means the document described as such and published by the
         LMA from time to time.

         "Event of Default" means any event or circumstance specified as such in Clause 28 (Events of
         Default).

         "Facility" means the term loan facility made available under this Agreement as described in
         Clause 2 (The Facility).

         "Facility Office" means the office or offices notified by a Lender to the Facility Agent in writing
         on or before the date it becomes a Lender (or, following that date, by not less than 5 Business
         Days' written notice) as the office or offices through which it will perform its obligations under
         this Agreement.

         "FATCA" means:

         (a)     sections 1471 to 1474 of the Code or any associated regulations;

         (b)     any treaty, law or regulation of any other jurisdiction, or relating to an
                 intergovernmental agreement between the US and any other jurisdiction, which (in
                 either case) facilitates the implementation of any law or regulation referred to in
                 paragraph (a) above; or

         (c)     any agreement pursuant to the implementation of any treaty, law or regulation
                 referred to in paragraphs (a) or (b) above with the US Internal Revenue Service, the US
                 government or any governmental or taxation authority in any other jurisdiction.

         "FATCA Application Date" means:

         (a)     in relation to a "withholdable payment" described in section 1473(l)(A)(i) of the Code
                 (which relates to payments of interest and certain other payments from sources within
                 the US), 1 July 2014;

         (b)     in relation to a "withholdable payment" described in section 1473(1)(A)(Ü) of the Code
                 (which relates to "gross proceeds" from the disposition of property of a type that can
                 produce interest from sources witflin the US), 1 January 2019; or

         (‫)ء‬     in relation to a "passthru payment" described in section 1471(d)(7) of the Code not
                 falling within paragraphs (a) or (b) above, 1 January 2019,

        or, in each case, such other date from which such payment may become subject to a deduction
        or withholding required by FATCA as a result of any change in FATCA after the date of this
        Agreement.

         "FATCA Deduction" means a deduction or withholding from a payment under a Finance
         Document required by FATCA.

         "FATCA Exempt Party" means a Party that is entitled to receive payments free from any FATCA
         Deduction.

         "Fee Letter” means any letter or letters dated on or about the date of this Agreement between
         any of the Arranger, the Facility Agent and the Security Agent and any Obligor setting out any
         of the fees referred to in Clause 11 (Fees).




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         "Finance Document" means:

         (a)    this Agreement;

         (b)    any Fee Letter;

         (c)    each Utilisation Request;

         (d)    any Security Document;

         (e)    any Hedging Agreement;

         (f)    any QEL;

        (g)     any Manager's Undertaking;

        (h)     any Subordination Agreement;

        (0      the Advantage Tankers Undertaking;

        (j)     any other document which is executed for the purpose of establishing any priority or
                subordination arrangement in relation to the Secured Liabilities; or

        (k)     any other document designated as such by the Facility Agent and the Borrowers.

        "Finance Party" means the Facility Agent, the Security Agent, the Arranger, the Underwriter,
        the Bookrunner, a Lender or a Hedge Counterparty.

        "Financial Indebtedness" means any indebtedness for or in relation to:

        (a)     moneys borrowed;

        (b)    any amount raised by acceptance           under any acceptance credit facility or
               dematerialised equivalent;

        (c)    any amount raised pursuant to any note purchase facility or the issue of bonds, notes,
               debentures, loan stock or any similar instrument;

        (d)    the amount of any liability in relation to any lease or hire purchase contract which
               would, in accordance with GAAP, be treated as a balance sheet liability (other than
               any liability in respect of a lease or hire purchase contract which would, in accordance
               with GAAP in force prior to 1 January 2019, have been treated as an operating lease);

        (e)    receivables sold or discounted (other than any receivables to the extent they are sold
               on a non-recourse basis);

        (f)    any amount raised under any other transaction (including any forward sale or
               purchase agreement) of a type not referred to in any other paragraph of this definition
               having the commercial effect of a borrowing;

        (g)    any derivative transaction entered into in connection with protection against or
               benefit from fluctuation in any rate or price (and, when calculating the value of any
               derivative transaction, only the marked to market value (or, if any actual amount is




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                due as a result of the termination or close-out of that derivative transaction, that
                amount) shall be taken into account);

        (h)     any counter-indemnity obligation in relation to a guarantee, indemnity, bond, standby
                or documentary letter of credit or any other instrument issued by a bank or financial
                institution; and

        (‫)؛‬     the amount of any liability in relation to any guarantee or indemnity for any of the
                items referred to in paragraphs (a) to (h) above.

        "Fleetscape Advantage" means Fleetscape Advantage Holdings, LLC, a limited liability
        company duly formed and existing in the Marshall Islands with registered number 964394
        whose registered address is at Trust Company Complex, Ajeltake Road, Ajeltake Island,
        Majuro, Marshall Islands, MH 96960.

        "Fleetscape Capital" means Fleetscape Capital Limited, a Cayman Islands exempted company,
        whose registered address is at Walkers Corporate Limited, 27 Hospital Road, George Town,
        Grand Cayman KYI-9008 Cayman Islands.

        "Funding Rate" means any individual rate notified by a Lender to the Facility Agent pursuant
        to sub-paragraph (ii) of paragraph (a) of Clause 10.4 (Cost offunds).

        "GAAP" means generally accepted accounting principles in the US including IFRS.

        "Group" means Fleetscape Advantage and its Subsidiaries for the time being.

        "Hedge Receipts" means all moneys whatsoever which are now, or later become, payable
        (actually or contingently) to a Borrower or the Security Agent by a Hedge Counterparty under
        a Hedging Agreement.

        "Hedging Agreement" means any master agreement, confirmation, transaction, schedule or
        other agreement in agreed form entered into or to be entered into by a Borrower for the
        purpose of hedging interest payable under this Agreement.

        "Hedging Agreement Security" means, in relation to a Borrower, a hedging agreement security
        creating Security over that Borrower's rights and interests in any Hedging Agreement, in
        agreed form.

        "Hedging Close-Out Liabilities" means as at any relevant date the amount certified by the
        Hedge Counterparties as the net aggregate amount in dollars which would be payable by a
        Borrower under a Hedging Agreement at the relevant determination date as a result of
        termination or closing out under a Hedging Agreement.

        "Hedging Prepayment Proceeds" means any Hedge Receipts arising as a result of termination
        or closing out under a Hedging Agreement.

        "Holding Company" means, in relation to a person, any other person in relation to which it is
        a Subsidiary.

        "IFRS" means international accounting standards within the meaning of the IAS Regulation
        1606/2002 to the extent applicable to the relevant financial statements.

        "Indemnified Person" has the meaning given to it in Clause 14.2 (Other indemnities).




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          "Insurances" means, in relation to a Ship:

          (a)     all policies and contracts of insurance, including entries of that Ship in any protection
                  and indemnity or war risks association, effected in relation to that Ship, that Ship's
                  Earnings or otherwise in relation to that Ship whether before, on or after the date of
                  this Agreement; and

          (b)     all rights and other assets relating to, or derived from, any of such policies, contracts
                  or entries, including any rights to a return of premium and any rights in relation to any
                  claim whether or not the relevant policy, contract of insurance or entry has expired on
                  or before the date of this Agreement.

          "Interest Payment Date" has the meaning given to it in paragraph (a) of Clause 8.2 (Payment
          of interest).

          "Interest Period" means, in relation to the Loan or any part of the Loan, each period
          determined in accordance with Clause 9 (Interest Periods) and, in relation to an Unpaid Sum,
          each period determined in accordance with Clause 8.3 (Default interest).

          "Interpolated Screen Rate" means, in relation to the Loan or any part of the Loan, the rate
          (rounded to the same number of decimal places as the two relevant Screen Rates) which
          results from interpolating on a linear basis between:

          (a)     the applicable Screen Rate for the longest period (for which that Screen Rate is
                  available) which is less than the Interest Period of the Loan or that part of the Loan;
                  and

          (b)     the applicable Screen Rate for the shortest period (for which that Screen Rate is
                  available) which exceeds the Interest Period of the Loan or that part of the Loan,

         each as of the Specified Time for dollars.

         "ISDA Master Agreement" means a 1992 ISDA Master Agreement or a 2002 ISDA Master
         Agreement.

         "ISM Code" means the International Safety Management Code for the Safe Operation of Ships
         and for Pollution Prevention (including the guidelines on its implementation), adopted by the
         International Maritime Organisation, as the same may be amended or supplemented from
         time to time.

         "ISPS Code" means the International Ship and Port Facility Security (ISPS) Code as adopted by
         the International Maritime Organization's (IMO) Diplomatic Conference of December 2002, as
         the same may be amended or supplemented from time to time.

         "ISSC" means an International Ship Security Certificate issued under the ISPS Code.

          "Legal Opinion" means any legal opinion delivered to the Facility Agent under Clause 4
          (Conditions of Utilisation).

          "Legal Reservations" means:




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         (a)     the principle that equitable remedies may be granted or refused at the discretion of a
                 court and the limitation of enforcement by laws relating to insolvency, reorganisation
                 and other laws generally affecting the rights of creditors;

         (b)     the time barring of claims under the Limitation Acts, the possibility that an undertaking
                 to assume liability for or indemnify a person against non-payment of UK stamp duty
                 may be void and defences of set-off or counterclaim;

         (c)     similar principles, rights and defences under the laws of any Relevant Jurisdiction; and

         (d)     any other matters which are set out as qualifications or reservations as to matters of
                 law of general application in the Legal Opinions.

         "Lender" means:

         (a)     any Original Lender; and

         (b)     any bank, financial institution, trust, fund or other entity which has become a Party as
                 a Lender in accordance with Clause 29 {Changes to the Lenders),

        which in each case has not ceased to be a Party as such in accordance with this Agreement.

         "LIBOR" means, in relation to the Loan or any part of the Loan:

        (a)     the applicable Screen Rate as of the Specified Time for dollars and for a period equal
                in length to the Interest Period of the Loan or that part of the Loan; or

        (b)      as otherwise determined pursuant to Clause 10.1 {Unavailability of Screen Rate),

        and if, in either case, that rate is less than zero, LIBOR shall be deemed to be zero.

        "Limitation Acts" means the Limitation Act 1980 and the Foreign Limitation Periods Act 1984.

        "List of Foreign Sanctions Evaders" means the foreign sanctions evaders list published by the
        Office of Foreign Assets Control of the United States Department of the Treasury and any other
        list identifying certain persons subject to Sanctions and issued by a Sanctions Authority.

        "LMA" means the Loan Market Association or any successor organisation.

        "Loan" means the loan to be made available under the Facility or the aggregate principal
        amount outstanding for the time being of the borrowings under the Facility and a "part of the
        Loan" means an Advance, a Tranche, a part of a Tranche or any other part of the Loan as the
        context may require.

        "Major Casualty" means, in relation to a Ship, any casualty to that Ship in relation to which the
        claim or the aggregate of the claims against all insurers, before adjustment for any relevant
        franchise or deductible, exceeds $500,000 or the equivalent in any other currency.

        "Majority Lenders" means:

        (a)     if no Advance has yet been made, a Lender or Lenders whose Commitments aggregate
                more than 66% per cent, of the Total Commitments; or




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         (b)     at any other time, a Lender or Lenders whose participations in the Loan aggregate
                 more than 66% per cent, of the amount of the Loan then outstanding or, if the Loan
                 has been repaid or prepaid in full, a Lender or Lenders whose participations in the Loan
                 immediately before repayment or prepayment in full aggregate more than 66% per
                 cent, of the Loan immediately before such repayment.

         "Management Agreement" means a Technical Management Agreement or a Commercial
         Management Agreement.

         "Manager's Undertaking" means, in relation to a Ship, the letter of undertaking from its
         Approved Technical Manager and the letter of undertaking from its Approved Commercial
         Manager (inter alia) subordinating the rights of such Approved Technical Manager and such
         Approved Commercial Manager respectively against that Ship, the relevant Borrower and the
         relevant Bareboat Charterer to the rights of the Finance Parties and that Borrower in agreed
         form.

         "Margin" means, in relation to:

         (a)     Tranche A, 1.75 per cent, per annum; and

         (b)    Tranche B, 4.25 per cent, per annum.

         "Market Value" means, in relation to a Ship or any other vessel, at any date, an amount
         determined by the Facility Agent as being an amount equal to the market value of that Ship or
         vessel shown by the arithmetic average of two valuations, each prepared:

         (a)     as at a date not more than 30 days previously;

         (b)     by an Approved Valuer;

         (c)    without physical inspection of that Ship or vessel; and

         (d)    on the basis of a sale for prompt delivery for cash on normal arm's length commercial
                terms as between a willing seller and a willing buyer, free of any Charter.

         "Material Adverse Effect" means in the reasonable opinion of the Majority Lenders a material
         adverse effect on:

         (a)    the business, operations, property, condition (financial or otherwise) or prospects of
                any member of the Group or the Group as a whole; or

         (b)    the ability of any Transaction Obligor to perform its obligations under any Finance
                Document; or

         (c)    the validity or enforceability of, or the effectiveness or ranking of any Security granted
                or intended to be granted pursuant to any of, the Finance Documents or the rights or
                remedies of any Finance Party under any of the Finance Documents.

         "Minimum Cash Interest" has the meaning given to it in the Subordinated Loan Agreement.

         "Minimum Cash Reserve" has the meaning given to it in Clause 21.1 {Minimum Cash Reserve).




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         "MOA" means the Ship A MOA, the Ship B MOA, the Ship C MOA, the Ship D MOA, the Ship E
         MOA, the Ship F MOA, the Ship G MOA, the Ship H MOA, the Ship I MOA, the Ship J MOA or
         the Ship K MOA.

         "Month" means a period starting on one day in a calendar month and ending on the
         numerically corresponding day in the next calendar month, except that:

         (a)     (subject to paragraph (c) below) if the numerically corresponding day is not a Business
                 Day, that period shall end on the next Business Day in that calendar month in which
                 that period is to end if there is one, or if there is not, on the immediately preceding
                 Business Day;

         (b)     if there is no numerically corresponding day in the calendar month in which that period
                 is to end, that period shall end on the last Business Day in that calendar month; and

         (c)     if an Interest Period begins on the last Business Day of a calendar month, that Interest
                 Period shall end on the last Business Day in the calendar month in which that Interest
                 Period is to end.

         The above rules will only apply to the last Month of any period.

         "Mortgage" means, in relation to a Ship, a first preferred Marshall Islands ship mortgage on
         that Ship in agreed form.

         "obligor" means a Borrower or a Hedge Guarantor.

         "Operating and Administrative Expenses" means, in relation to a Ship in respect of any
         calendar year, the aggregate of all anticipated amounts as set out in the Approved Budget in
         respect of that calendar year which are payable by the Borrower owning that Ship or, as the
         case may be, the Bareboat Charterer in respect of that Ship or Advantage Tankers during that
         calendar year, including crewing, victualing, insuring, maintaining, operating and managing
         that Ship, as well as any reimbursable expense under the Time Charter, such as port charges
         and bunkering expenses payable by that Borrower or, as the case may be, that Bareboat
         Charterer in relation to that Ship or Advantage Tankers and reimbursed by the Time Charterer.

         "Original Jurisdiction" means, in relation to an Obligor, the jurisdiction under whose laws that
         Obligor is formed as at the date of this Agreement.

         "Overseas Regulations" means the Overseas Companies Regulations 2009 (SI 2009/1801).

         "Parallel Debt" means any amount which an Obligor owes to the Security Agent under Clause
         32.2 (Parallel Debt (Covenant to pay the Security Agent)) or under that clause as incorporated
         by reference or in full in any other Finance Document.

         "Participating Member State" means any member state of the European Union that has the
         euro as its lawful currency in accordance with legislation of the European Union relating to
         Economic and Monetary Union.

         "Party" means a party to this Agreement.

         "Perfection Requirements" means the making or procuring of filings, stampings, registrations,
         notarisations, endorsements, translations and/or notifications of any Finance Document




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         (and/or any Security created under it) necessary for the validity, enforceability (as against the
         relevant Obligor or any relevant third party) and/or perfection of that Finance Document.

         "Permitted Charter" means, in relation to a Ship, a Charter:

         (a)     which is a time, voyage or consecutive voyage charter;

         (b)     the duration of which does not exceed and is not capable of exceeding, by virtue of
                 any optional extensions, 12 months plus a redelivery allowance of not more than 30
                 days;

         (c)     which is entered into on bona fide arm's length terms at the time at which that Ship is
                 fixed; and

         (d)     in relation to which not more than two months' hire is payable in advance,

         and any other Charter which is approved in writing by the Facility Agent acting with the
         authorisation of the Majority Lenders and including the Bareboat Charter and Time Charter in
         respect of that Ship.

         "Permitted Financial Indebtedness" means:

         (a)     any Financial Indebtedness incurred under the Finance Documents;

         (b)     in respect of a Bareboat Charterer in respect of a Ship, until the Utilisation Date in
                 respect of the Tranche relating to that Ship, the outstanding Financial Indebtedness of
                 that Bareboat Charterer under the existing financing made available to that Bareboat
                 Charterer in respect of that Ship; and

         (c)     any Financial Indebtedness that is subordinated to all Financial Indebtedness incurred
                 under the Finance Documents pursuant to a Subordination Agreement or otherwise
                 and which is, in the case of any such Financial Indebtedness of a Borrower, the subject
                 of Subordinated Debt Security including any Financial Indebtedness incurred by the
                 Borrowers under each of the Subordinated Loan Agreement and the Seller's Credit
                 Agreements.

         "Permitted Security" means:

         (a)     Security created by the Finance Documents;

         (b)    in respect of a Bareboat Charterer in respect of a Ship, until the Utilisation Date in
                respect of the Tranche relating to that Ship, the existing Security created to secure the
                outstanding Financial Indebtedness of that Bareboat Charterer under the existing
                financing made available to that Bareboat Charterer in respect of that Ship;

         (c)    liens for unpaid master's and crew's wages in accordance with first class ship
                ownership and management practice and not being enforced through arrest;

         (d)     liens for salvage;

         (e)    liens for master's disbursements incurred in the ordinary course of trading in
                accordance with first class ship ownership and management practice and not being
                enforced through arrest; and




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         (f)     any other lien arising by operation of law or otherwise in the ordinary course of the
                 operation, repair or maintenance of any Ship:

                 (‫)؛‬     not as a result of any default or omission by any Borrower;

                 (‫)؛؛‬    not being enforced through arrest; and

                 (iii)   subject, in the case of liens for repair or maintenance, to Clause 25.16
                         (Restrictions on chartering, appointment of managers etc.),

                 provided such lien does not secure amounts more than 45 days overdue (unless the
                 overdue amount is being contested in good faith by appropriate steps and for the
                 payment of which adequate reserves are held and provided further that such
                 proceedings do not give rise to a material risk of the relevant Ship or any interest in it
                 being seized, sold, forfeited or lost).

         "Potential Event of Default" means any event or circumstance specified in Clause 28 (Events
         of Default) which would (with the expiry of a grace period, the giving of notice, the making of
         any determination under the Finance Documents or any combination of any of the foregoing)
         be an Event of Default.

         "Prohibited Person" means any person or entity, whether or not having a separate legal
         personality (a "Person"), whether designated by name or by reason of being included in a class
         of persons, that is, or that is owned or controlled by Persons that are or any vessel that is:

         (a)     listed on, or directly or indirectly owned or controlled by a Person listed on, a Sanctions
                 List, or a person acting on behalf of such a Person;

         (b)     located or resident in, incorporated or organised under the laws of, or owned or
                 (directly or indirectly) controlled by, or acting on behalf of, a Person located or
                 resident in a country or territory that is or whose government is the subject of
                 Sanctions, broadly prohibiting dealings with such government, country or territory
                 including country or territory wide Sanctions and in each case thereby itself becomes
                 the target of such Sanctions;

         (c)     otherwise a target of Sanctions ("target of Sanctions", for the purpose of this
                 paragraph (c), amongst other things, signifying a Person with whom a US Person or
                 other national of a Sanctions Authority would be prohibited or restricted by law from
                 engaging in trade, business or other activities or against whom Sanctions are otherwise
                 directed); or

        (d)      acting our purporting to act on behalf of any of the Persons listed in paragraphs (a) to
                 (c) above with which any relevant Lender is prohibited from (i) dealing or (ii) otherwise
                 engaging in any transaction pursuant to Sanctions.

        "Protected Party" has the meaning given to it in Clause 12.1 (Definitions).

        "QEL" means QEL A, QEL B, QEL C, QEL D, QEL E, QEL F, QEL G, QEL H, QEL I, QEL J or QEL K.

        "QEL A" means the quiet enjoyment letter dated on or around the date of this Agreement in
        respect of Ship A and entered into between (i) Borrower A, (ii) Bareboat Charterer A, (iii) the
        Time Charterer and (iv) the Facility Agent.




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         "QEL B" means the quiet enjoyment letter dated on or around the date of this Agreement in
         respect of Ship B and entered into between (i) Borrower B, (ii) Bareboat Charterer B, (iii) the
         Time Charterer and (iv) the Facility Agent.

         "QEL C" means the quiet enjoyment letter dated on or around the date of this Agreement in
         respect of Ship C and entered into between (i) Borrower C, (ii) Bareboat Charterer C, (iii) the
         Time Charterer and (iv) the Facility Agent.

         "QEL D" means the quiet enjoyment letter dated on or around the date of this Agreement in
         respect of Ship D and entered into between (i) Borrower D, (ii) Bareboat Charterer D, (iii) the
         Time Charterer and (iv) the Facility Agent.

         "QEL E" means the quiet enjoyment letter dated on or around the date of this Agreement in
         respect of Ship E and entered into between (i) Borrower E, (ii) Bareboat Charterer E, (iii) the
         Time Charterer and (iv) the Facility Agent.

         "QEL F" means the quiet enjoyment letter dated on or around the date of this Agreement in
         respect of Ship F and entered into between (i) Borrower F, (ii) Bareboat Charterer F, (iii) the
         Time Charterer and (iv) the Facility Agent.

         "QEL G" means the quiet enjoyment letter dated on or around the date of this Agreement in
         respect of Ship G and entered into between (i) Borrower G, (ii) Bareboat Charterer G, (iii) the
         Time Charterer and (iv) the Facility Agent.

         "QEL H" means the quiet enjoyment letter dated on or around the date of this Agreement in
         respect of Ship FI and entered into between (i) Borrower FI, (ii) Bareboat Charterer H, (iii) the
         Time Charterer and (iv) the Facility Agent.

         "QEL I" means the quiet enjoyment letter dated on or around the date of this Agreement in
         respect of Ship I and entered into between (i) Borrower I, (ii) Bareboat Charterer I, (iii) the Time
         Charterer and (iv) the Facility Agent.

         "QEL J" means the quiet enjoyment letter dated on or around the date of this Agreement in
         respect of Ship J and entered into between (i) Borrower J, (ii) Bareboat Charterer J, (iii) the
         Time Charterer and (iv) the Facility Agent.

         "QEL K" means the quiet enjoyment letter dated on or around the date of this Agreement in
         respect of Ship K and entered into between (i) Borrower K, (ii) Bareboat Charterer K, (iii) the
         Time Charterer and (iv) the Facility Agent.

         "Quotation Day" means, in relation to any period for which an interest rate is to be
         determined, two Business Days before the first day of that period unless market practice
         differs in the Relevant Interbank Market in which case the Quotation Day will be determined
         by the Facility Agent in accordance with market practice in the Relevant Interbank Market (and
         if quotations would normally be given by leading banks in the Relevant Interbank Market on
         more than one day, the Quotation Day will be the last of those days).

         "Receiver" means a receiver or receiver and manager or administrative receiver of the whole
         or any part of the Security Assets.

         "Reference Bank Quotation" means any quotation supplied to the Facility Agent by a
         Reference Bank.




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         "Reference Bank Rate" means the arithmetic mean of the rates (rounded upwards to four
         decimal places) as supplied to the Facility Agent at its request by the Reference Banks:

         (a)     if:

                 (‫)؛‬      the Reference Bank is a contributor to the Screen Rate; and

                 (¡¡)     it consists of a single figure,

                 as the rate (applied to the relevant Reference Bank and the relevant currency and
                 period) which contributors to the Screen Rate are asked to submit to the relevant
                 administrator; or

         (b)     in any other case, as the rate at which the relevant Reference Bank could fund itself in
                 dollars for the relevant period with reference to the unsecured wholesale funding
                 market.

         "Reference Banks" means entities as may be appointed by the Facility Agent in consultation
         with (but not subject to the approval of) the Borrowers.

         "Related Fund" in relation to a fund (the "first fund"), means a fund which is managed or
         advised by the same investment manager or investment adviser as the first fund or, if it is
         managed by a different investment manager or investment adviser, a fund whose investment
         manager or investment adviser is an Affiliate of the investment manager or investment adviser
         of the first fund.

         "Relevant Interbank Market" means the London interbank market.

         "Relevant Jurisdiction" means, in relation to a Transaction Obligor:

         (a)     its Original Jurisdiction;

         (b)     any jurisdiction where any asset subject to, or intended to be subject to, any of the
                 Transaction Security created, or intended to be created, by it is situated;

         (c)     any jurisdiction where it conducts its business; and

         (d)     the jurisdiction whose laws govern the perfection of any of the Security Documents
                 entered into by it.

         "Repayment Date" means each date on which a Repayment Instalment is required to be paid
         under Clause 6.1 {Repayment of Loan).

         "Repayment Instalment" has the meaning given to it in Clause 6.1 (Repayment of Loan).

         "Repayment Schedule" means the repayment schedule in Schedule 6 (Repayment Schedule)
         as the same may be replaced in accordance with paragraph (b) of Clause 6.1 (Repayment of
         Loan).

         "Repeating Representation" means each of the representations set out in Clause 19
         (Representations) except Clause 19.10 (Insolvency), Clause 19.11 (No filing or stamp taxes),
         Clause 19.12 (Deduction of Tax) and Clause 19.27 (Taxes paid) and any representation of any




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         Transaction Obligor made in any other Finance Document that is expressed to be a "Repeating
         Representation" or is otherwise expressed to be repeated.

         "Representative" means any delegate, agent, manager, administrator, nominee, attorney,
         trustee or custodian.

         "Requisition" means in relation to a Ship:

         (a)     any expropriation, confiscation, requisition (excluding a requisition for hire or use
                 which does not involve a requisition for title) or acquisition of that Ship, whether for
                 full consideration, a consideration less than its proper value, a nominal consideration
                 or without any consideration, which is effected (whether de jure or de facto) by any
                 government or official authority or by any person or persons claiming to be or to
                 represent a government or official authority; and

         (b)     any capture or seizure of that Ship (including any hijacking or theft) by any person
                 whatsoever.

         "Requisition Compensation" includes all compensation or other moneys payable to a
         Borrower by reason of any Requisition or any arrest or detention of a Ship in the exercise or
         purported exercise of any lien or claim.

         "Resolution Authority" means any body which has authority to exercise any Write-down and
         Conversion Powers.

         "Retention Account" means, in relation to a Borrower.

         (a)     an account in the name of that Borrower with the Account Bank designated "Retention
                 Account";

         (b)     any other account in the name of that Borrower with the Account Bank which may,
                 with the prior written consent of the Facility Agent, be opened in the place of the
                 account referred to in paragraph (a) above, irrespective of the number or designation
                 of such replacement account; or

         (c)     any sub-account of any account referred to in paragraphs (a) or (b) above.

         "Safety Management Certificate" has the meaning given to it in the ISM Code.

         "Safety Management System" has the meaning given to it in the ISM Code.

         "Sanctions" means any trade, economic or financial sanctions, laws, regulations, embargoes,
         freezing provisions, prohibitions or other restrictive measures imposed, administered, enacted
         or enforced from time to time by any Sanctions Authority.

         "Sanctions Authority" means the US, including without limitation the Office of Foreign Assets
         Control of the U.S. Department of the Treasury, the U.S. Department of State, the U.S.
         Department of Commerce, the United Nations Security Council, the European Union or any of
         its member states, including without limitation the Federal Republic of Germany, including
         without limitation the German Bundesbank, Federal Ministry of Economics and Energy
         {Bundesministerium für Wirtschaft und Energie), the United Kingdom, including Fler Majesty's
         Treasury of the United Kingdom, Switzerland, including without limitation the State Secretariat
         for Economic Affairs of Switzerland (SECO) or the Swiss Directorate of International Law (DIL),
         Japan or, without prejudice to the foregoing, any other relevant sanctions authority enacting,




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         administering or imposing Sanctions applicable by law to any Finance Party or a Transaction
         Obligor.

        "Sanctions List" means any list of specially designated nationals and blocked persons or
        designated persons or vessels, the Sectoral Sanctions Identification List or the List of Foreign
        Sanctions Evaders (or equivalent) or any similar list maintained by a Sanctions Authority as a
        measure of imposing, administering, enacting or enforcing Sanctions, in each case as
        amended, supplemented or substituted from time to time.

        "Screen Rate" means the London interbank offered rate administered by ICE Benchmark
        Administration Limited (or any other person which takes over the administration of that rate)
        for dollars for the relevant period displayed on page LIBOROl of the Thomson Reuters screen
        (or any replacement Thomson Reuters page which displays that rate) or on the appropriate
        page of such other information service which publishes that rate from time to time in place of
        Thomson Reuters. If such page or service ceases to be available, the Facility Agent may specify
        another page or service displaying the relevant rate after consultation with the Borrowers.

        "Sectoral Sanctions Identification List" means a list identifying certain countries and/or
        certain persons operating in certain sectors of activity which are the subject of Sanctions (e.g.
        the sectoral sanctions identifications list published by the Office of Foreign Assets Control of
        the U.S. Department of the Treasury).

        "Secured Liabilities" means all present and future obligations and liabilities, (whether actual
        or contingent and whether owed jointly or severally or in any other capacity whatsoever) of
        each Transaction Obligor to any Secured Party under or in connection with each Finance
        Document.

        "Secured Party" means each Finance Party from time to time party to this Agreement, a
        Receiver or any Delegate.

        "Security" means a mortgage, pledge, lien, charge, assignment, hypothecation or security
        interest or any other agreement or arrangement having the effect of conferring security.

        "Security Assets" means all of the assets of the Transaction Obligors which from time to time
        are, or are expressed to be, the subject of the Transaction Security.

        "Security Document" means:

        (a)     any Shares Security;

        (b)     any Mortgage;

        (c)     any Tripartite Assignment;

        (d)     any Account Security;

        (e)     any Hedging Agreement Security;

        (f)     any Subordinated Debt Security;

        (g)     any other document (whether or not it creates Security) which is executed as security
                for the Secured Liabilities; or

        (h)     any other document designated as such by the Facility Agent and the Borrowers.




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        "Security Period" means the period starting on the date of this Agreement and ending on the
        date on which the Facility Agent is satisfied that there is no outstanding Commitment in force
        and that the Secured Liabilities have been irrevocably and unconditionally paid and discharged
        in full.

        "Security Property" means:

        (a)     the Transaction Security expressed to be granted in favour of the Security Agent as
                trustee for the Secured Parties and all proceeds of that Transaction Security;

        (b)     all obligations expressed to be undertaken by a Transaction Obligor to pay amounts in
                relation to the Secured Liabilities to the Security Agent as trustee for the Secured
                Parties and secured by the Transaction Security together with all representations and
                warranties expressed to be given by a Transaction Obligor or any other person in
                favour of the Security Agent as trustee for the Secured Parties;

        (c)     the Security Agent's interest in any turnover trust created under the Finance
                Documents;

        (d)     any other amounts or property, whether rights, entitlements, choses in action or
                otherwise, actual or contingent, which the Security Agent is required by the terms of
                the Finance Documents to hold as trustee on trust for the Secured Parties,

                except:

                (‫)؛‬       rights intended for the sole benefit of the Security Agent; and

                (N)       any moneys or other assets which the Security Agent has transferred to the
                          Facility Agent or (being entitled to do so) has retained in accordance with the
                          provisions of this Agreement.

        "Selection Notice" means a notice substantially in the form set out in Part B of Schedule 3
        (Requests) given in accordance with Clause 9 (Interest Periods).

        "Seller's Credit Agreement" means the Ship A Seller's Credit Agreement, Ship B Seller's Credit
        Agreement, Ship C Seller's Credit Agreement, Ship D Seller's Credit Agreement, Ship E Seller's
        Credit Agreement, Ship F Seller's Credit Agreement, Ship G Seller's Credit Agreement, Ship H
        Seller's Credit Agreement, Ship I Seller's Credit Agreement, Ship J Seller's Credit Agreement or
        Ship K Seller's Credit Agreement.

        "Servicing Party" means the Facility Agent or the Security Agent.

        "Shares Security" means, in relation to a Borrower, a document creating Security over the
        membership interests in that Borrower in agreed form.

        "Ship" means Ship A, Ship B, Ship C, Ship D, Ship E, Ship F, Ship G, Ship H, Ship I, Ship J or Ship
        K.

        "Ship A" means m.v. "ADVANTAGE ANTHEM", details of which are set out opposite its name
        in Schedule 7 (Details of the Ships).




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        "Ship A MOA" means the memorandum of agreement dated on or around the date of this
        Agreement and made between (i) Borrower A as buyer and (ii) Bareboat Charterer A for the
        purchase of Ship A.

        "Ship A Seller's Credit Agreement" means the seller's credit agreement dated on or around
        the date of this Agreement and made between (i) Borrower A as buyer and (ii) Bareboat
        Charterer A in respect of the credit arrangements agreed between Borrower A and Bareboat
        Charterer A in relation to the purchase of Ship A.

        "Ship A Tranche" means, together, Ship A Tranche A and Ship A Tranche B.

        "Ship A Tranche A" means that part of the Loan made or to be made available to Borrower A
        to purchase Ship A in a principal amount of $7,754,545.

        "Ship A Tranche B" means that part of the Loan made or to be made available to Borrower A
        to purchase Ship A in a principal amount of $9,305,455.

        "Ship B" means m.v. "ADVANTAGE ARROW", details of which are set out opposite its name in
        Schedule 7 (Details of the Ships).

        "Ship B MOA" means the memorandum of agreement dated on or around the date of this
        Agreement and made between (i) Borrower B as buyer and (ii) Bareboat Charterer B for the
        purchase of Ship B.

        "Ship B Seller's Credit Agreement" means the seller's credit agreement dated on or around
        the date of this Agreement and made between (i) Borrower B as buyer and (ii) Bareboat
        Charterer B in respect of the credit arrangements agreed between Borrower B and Bareboat
        Charterer B in relation to the purchase of Ship B.

        "Ship B Tranche" means, together, Ship B Tranche A and Ship B Tranche B.

        "Ship B Tranche A" means that part of the Loan made or to be made available to Borrower B
        to purchase Ship B in a principal amount of $8,005,556.

        "Ship B Tranche B" means that part of the Loan made or to be made available to Borrower B
        to purchase Ship B in a principal amount of $6,404,444.

        "Ship C" means m.v. "ADVANTAGE ATOM", details of which are set out opposite its name in
        Schedule 7 (Details of the Ships).

        "Ship C MOA" means the memorandum of agreement dated on or around the date of this
        Agreement and made between (i) Borrower C as buyer and (ii) Bareboat Charterer C for the
        purchase of Ship C.

        "Ship C Seller's Credit Agreement" means the seller's credit agreement dated on or around
        the date of this Agreement and made between (i) Borrower C as buyer and (ii) Bareboat
        Charterer C in respect of the credit arrangements agreed between Borrower C and Bareboat
        Charterer C in relation to the purchase of Ship C.

        "Ship C Tranche" means, together. Ship C Tranche A and Ship C Tranche B.

        "Ship C Tranche A" means that part of the Loan made or to be made available to Borrower C
        to purchase Ship C in a principal amount of $7,554,545.




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         "Ship C Tranche B" means that part of the Loan made or to be made available to Borrower C
         to purchase Ship C in a principal amount of $9,065,455.

         "Ship D" means m.v. "ADVANTAGE AVENUE", details of which are set out opposite its name in
         Schedule 7 [Details of the Ships).

         "Ship D MOA" means the memorandum of agreement dated on or around the date of this
         Agreement and made between (i) Borrower D as buyer and (ii) Bareboat Charterer D for the
         purchase of Ship D.

         "Ship D Seller's Credit Agreement" means the seller's credit agreement dated on or around
         the date of this Agreement and made between (i) Borrower D as buyer and (ii) Bareboat
         Charterer D in respect of the credit arrangements agreed between Borrower D and Bareboat
         Charterer D in relation to the purchase of Ship D.

         "Ship D Tranche" means, together, Ship □Tranche A and Ship D Tranche B.

         "Ship D Tranche A" means that part of the Loan made or to be made available to Borrower D
         to purchase Ship Dina principal amount of $7,500,000.

         "Ship D Tranche B" means that part of the Loan made or to be made available to Borrower D
         to purchase Ship Dina principal amount of $7,500,000.

         "Ship E" means m.v. "ADVANTAGE AWARD", details of which are set out opposite its name in
         Schedule 7 (Details of the Ships).

         "Ship E MOA" means the memorandum of agreement dated on or around the date of this
         Agreement and made between (i) Borrower E as buyer and (ii) Bareboat Charterer E for the
         purchase of Ship E.

         "Ship E Seller's Credit Agreement" means the seller's credit agreement dated on or around
         the date of this Agreement and made between (i) Borrower E as buyer and (ii) Bareboat
         Charterer E in respect of the credit arrangements agreed between Borrower E and Bareboat
         Charterer E in relation to the purchase of Ship E.

         "Ship E Tranche" means, together, Ship E Tranche A and Ship E Tranche B.

         "Ship E Tranche A" means that part of the Loan made or to be made available to Borrower E
         to purchase Ship E in a principal amount of $7,554,545.

         "Ship E Tranche B" means that part of the Loan made or to be made available to Borrower E
         to purchase Ship E in a principal amount of $9,065,455.

         "Ship F" means m.v. "ADVANTAGE SKY", details of which are set out opposite its name in
         Schedule 7 (Details of the Ships).

         "Ship F MOA" means the memorandum of agreement dated on or around the date of this
         Agreement and made between (i) Borrower F as buyer and (ii) Bareboat Charterer F for the
         purchase of Ship F.

         "Ship F Seller's Credit Agreement" means the seller's credit agreement dated on or around
         the date of this Agreement and made between (i) Borrower F as buyer and (ii) Bareboat




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         Charterer F in respect of the credit arrangements agreed between Borrower F and Bareboat
         Charterer F in relation to the purchase of Ship F.

         "Ship F Tranche" means, together, Ship F Tranche A and Ship F Tranche B.

         "Ship F Tranche A" means that part of the Loan made or to be made available to Borrower F
         to purchase Ship F in a principal amount of $8,675,000.

         "Ship F Tranche B" means that part of the Loan made or to be made available to Borrower F
         to purchase Ship F in a principal amount of $8,675,000.

         "Ship G" means m.v. "ADVANTAGE SOLAR", details of which are set out opposite its name in
         Schedule 7 (Details of the Ships).

        "Ship G MOA" means the memorandum of agreement dated on or around the date of this
        Agreement and made between (i) Borrower G as buyer and (ii) Bareboat Charterer G for the
        purchase of Ship G.

        "Ship G Seller's Credit Agreement" means the seller's credit agreement dated on or around
        the date of this Agreement and made between (i) Borrower G as buyer and (ii) Bareboat
        Charterer G in respect of the credit arrangements agreed between Borrower G and Bareboat
        Charterer G in relation to the purchase of Ship G.

         "Ship G Tranche" means, together. Ship G Tranche A and Ship G Tranche B.

        "Ship G Tranche A" means that part of the Loan made or to be made available to Borrower G
        to purchase Ship Gina principal amount of $9,150,000.

        "Ship G Tranche B" means that part of the Loan made or to be made available to Borrower G
        to purchase Ship Gina principal amount of $7,320,000.

        "Ship H" means m.v. "ADVANTAGE SPRING", details of which are set out opposite its name in
        Schedule 7 (Details of the Ships).

        "Ship H MOA" means the memorandum of agreement dated on or around the date of this
        Agreement and made between (i) Borrower FI as buyer and (ii) Bareboat Charterer FI for the
        purchase of Ship F٠.

        "Ship H Seller's Credit Agreement" means the seller's credit agreement dated on or around
        the date of this Agreement and made between (i) Borrower FI as buyer and (ii) Bareboat
        Charterer FI in respect of the credit arrangements agreed between Borrower FI and Bareboat
        Charterer FI in relation to the purchase of Ship H.

        "Ship H Tranche" means, together, Ship FI Tranche A and Ship FI Tranche B.

        "Ship H Tranche A" means that part of the Loan made or to be made available to Borrower FI
        to purchase Ship FI in a principal amount of $9,045,000.

        "Ship FI Tranche B" means that part of the Loan made or to be made available to Borrower FI
        to purchase Ship FI in a principal amount of $9,045,000.

        "Ship I" means m.v. "ADVANTAGE START", details of which are set out opposite its name in
        Schedule 7 (Details of the Ships).




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         "Ship I MOA" means the memorandum of agreement dated on or around the date of this
         Agreement and made between (i) Borrower I as buyer and (ii) Bareboat Charterer I for the
         purchase of Ship I.

         "Ship I Seller's Credit Agreement" means the seller's credit agreement dated on or around the
         date of this Agreement and made between (i) Borrower I as buyer and (ii) Bareboat Charterer
         I in respect of the credit arrangements agreed between Borrower I and Bareboat Charterer I
         in relation to the purchase of Ship I.

         "Ship I Tranche" means, together, Ship I Tranche A and Ship I Tranche B.

         "Ship I Tranche A" means that part of the Loan made or to be made available to Borrower I to
         purchase Ship I in a principal amount of $8,690,909.

         "Ship I Tranche B" means that part of the Loan made or to be made available to Borrower I to
         purchase Ship I in a principal amount of $10,429,091.

        "Ship J" means m.v. "ADVANTAGE SUMMER", details of which are set out opposite its name in
        Schedule 7 (Details of the Ships).

        "Ship J MOA" means the memorandum of agreement dated on or around the date of this
        Agreement and made between (i) Borrower J as buyer and (ii) Bareboat Charterer J for the
        purchase of Ship J.

        "Ship J Seller's Credit Agreement" means the seller's credit agreement dated on or around the
        date of this Agreement and made between (i) Borrower J as buyer and (ii) Bareboat Charterer
        J in respect of the credit arrangements agreed between Borrower J and Bareboat Charterer J
        in relation to the purchase of Ship J.

        "Ship J Tranche" means, together, Ship J Tranche A and Ship J Tranche B.

        "Ship J Tranche A" means that part of the Loan made or to be made available to Borrower J to
        purchase Ship J in a principal amount of $8,970,000.

        "Ship J Tranche B" means that part of the Loan made or to be made available to Borrower J to
        purchase Ship J in a principal amount of $8,970,000.

        "Ship K" means m.v. "ADVANTAGE SUN", details of which are set out opposite its name in
        Schedule 7 (Details of the Ships).

        "Ship K MOA" means the memorandum of agreement dated on or around the date of this
        Agreement and made between (i) Borrower K as buyer and (ii) Bareboat Charterer K for the
        purchase of Ship K.

        "Ship K Seller's Credit Agreement" means the seller's credit agreement dated on or around
        the date of this Agreement and made between (i) Borrower K as buyer and (ii) Bareboat
        Charterer K in respect of the credit arrangements agreed between Borrower K and Bareboat
        Charterer K in relation to the purchase of Ship K.

        "Ship K Tranche" means, together, Ship K Tranche A and Ship K Tranche B.

        "Ship K Tranche A" means that part of the Loan made or to be made available to Borrower K
        to purchase Ship K in a principal amount of $8,883,333.




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        "Ship K Tranche B" means that part of the Loan made or to be made available to Borrower K
        to purchase Ship K in a principal amount of $12,436,667.

        "Ship Tranche" means Ship A Tranche, Ship B Tranche, Ship C Tranche, Ship D Tranche, Ship E
        Tranche, Ship F Tranche, Ship G Tranche, Ship H Tranche, Ship I Tranche Ship J Tranche or Ship
        K Tranche.

        "Specified Time" means a day or time determined in accordance with Schedule 9 {Timetables).

        "Subordinated Creditor" means:

        (a)     Fleetscape Capital;

        (b)     a Bareboat Charterer; or

        (c)     any other person who becomes a Subordinated Creditor in accordance with this
                Agreement.

        "Subordinated Debt Security" means a Security over Subordinated Liabilities entered into or
        to be entered into by a Subordinated Creditor in favour of the Security Agent in an agreed
        form.

        "Subordinated Finance Document" means:

        (a)     the Subordinated Loan Agreement;

        (b)     a Seller's Credit Agreement; and

        (c)     any other document relating to or evidencing Subordinated Liabilities.

        "Subordinated Liabilities" means all indebtedness owed or expressed to be owed by the
        Borrowers to a Subordinated Creditor whether under the Subordinated Finance Documents or
        otherwise.

        "Subordinated Loan Agreement" means a loan agreement dated on or around the date of this
        Agreement and made between (i) the Borrowers, (ii) the financial institutions listed schedule
        1 thereto as lenders which, as at the date of this Agreement, includes Fleetscape Capital as the
        sole lender, (iii) Fleetscape Capital as agent and (iv) Fleetscape Capital as security trustee
        pursuant to which the lenders thereto made or shall make available to the Borrowers a loan
        of up to $75,000,000 to finance part of the acquisition costs of the Ships.

        "Subordination Agreement" means a subordination agreement entered into or to be entered
        into by each Subordinated Creditor and the Security Agent in agreed form.

        "Subsidiary" means a subsidiary within the meaning of section 1159 of the Companies Act
        2006.

        "Tax" means any tax, levy, impost, duty or other charge or withholding of a similar nature
        (including any penalty or interest payable in connection with any failure to pay or any delay in
        paying any of the same).

        "Tax Credit" has the meaning given to it in Clause 12.1 {Definitions).

        "Tax Deduction" has the meaning given to it in Clause 12.1 {Definitions).



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         "Tax Payment" has the meaning given to it in Clause 12.1 (Definitions).

         "Technical Management Agreement" means the agreement entered into between a Borrower
         and the Approved Technical Manager regarding the technical management of a Ship.

         "Termination Date" means, in respect of a Ship Tranche, the earlier of (i) the date falling on
         the fifth anniversary of the Utilisation Date in respect of that Ship Tranche and (ii) the date on
         which the Bareboat Charter relating to the Ship being financed by that Ship Tranche is
         terminated.

         "Third Parties Act" has the meaning given to it in Clause 1.5 (Third party rights).

         "Time Charter" means Time Charter A, Time Charter B, Time Charter C, Time Charter D, Time
         Charter E, Time Charter F, Time Charter G, Time Charter H, Time Charter I, Time Charter J or
         Time Charter K.

         "Time Charter A" means the time charterparty dated on or around the date of this Agreement
         in respect of Ship A and made between (i) Bareboat Charterer A as owner and (ii) the Time
         Charterer as charterer in a form acceptable to the Facility Agent.

         "Time Charter B" means the time charterparty dated on or around the date of this Agreement
         in respect of Ship B and made between (i) Bareboat Charterer B as owner and (ii) the Time
         Charterer as charterer in a form acceptable to the Facility Agent.

         "Time Charter C" means the time charterparty dated on or around the date of this Agreement
         in respect of Ship C and made between (i) Bareboat Charterer C as owner and (ii) the Time
         Charterer as charterer in a form acceptable to the Facility Agent.

         "Time Charter D" means the time charterparty dated on or around the date of this Agreement
         in respect of Ship D and made between (i) Bareboat Charterer D as owner and (ii) the Time
         Charterer as charterer in a form acceptable to the Facility Agent.

         "Time Charter E" means the time charterparty dated on or around the date of this Agreement
         in respect of Ship E and made between (i) Bareboat Charterer E as owner and (ii) the Time
         Charterer as charterer in a form acceptable to the Facility Agent.

         "Time Charter F" means the time charterparty dated on or around the date of this Agreement
         in respect of Ship F and made between (i) Bareboat Charterer F as owner and (ii) the Time
         Charterer as charterer in a form acceptable to the Facility Agent.

         "Time Charter G" means the time charterparty dated on or around the date of this Agreement
         in respect of Ship G and made between (i) Bareboat Charterer G as owner and (ii) the Time
         Charterer as charterer in a form acceptable to the Facility Agent.

         "Time Charter H" means the time charterparty dated on or around the date of this Agreement
         in respect of Ship H and made between (i) Bareboat Charterer H as owner and (ii) the Time
         Charterer as charterer in a form acceptable to the Facility Agent.

         "Time Charter I” means the time charterparty dated on or around the date of this Agreement
         in respect of Ship I and made between (i) Bareboat Charterer I as owner and (ii) the Time
         Charterer as charterer in a form acceptable to the Facility Agent.




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         "Time Charter J" means the time charterparty dated on or around the date of this Agreement
         in respect of Ship J and made between (i) Bareboat Charterer J as owner and (ii) the Time
         Charterer as charterer in a form acceptable to the Facility Agent.

         "Time Charter K" means the time charterparty dated on or around the date of this Agreement
         in respect of Ship K and made between (i) Bareboat Charterer K as owner and (ii) the Time
         Charterer as charterer.

         "Time Charterer" means Shell Western Supply and Trading Limited, a company incorporated
         and registered in Barbados with company number 1925 having its registered office at
         Mahogany Court, Wildey Business Park, Wildey, St. Michael BB11000, Barbados or any Affiliate
         of such company being of substantial significance and acceptable to the Facility Agent (acting
         on the instructions of the Lenders).

         "Total Commitments" means the aggregate of the Commitments, being $190,000,000 at the
         date of this Agreement.

         "Total Loss" means, in relation to a Ship:

         (a)     actual, constructive, compromised, agreed or arranged total loss of that Ship; or

         (b)     any Requisition of that Ship unless that Ship is returned to the full control of the
                 relevant Borrower within 30 days of such Requisition.

         "Total Loss Date" means, in relation to the Total Loss of a Ship:

         (a)     in the case of an actual loss of that Ship, the date on which it occurred or, if that is
                 unknown, the date when that Ship was last heard of;

         (b)     in the case of a constructive, compromised, agreed or arranged total loss of that Ship,
                 the earlier of:

                 (‫)؛‬     the date on which a notice of abandonment is given (or deemed or agreed to
                         be given) to the insurers; and

                 (N)     the date of any compromise, arrangement or agreement made by or on behalf
                         of the relevant Borrower with that Ship's insurers in which the insurers agree
                         to treat that Ship as a total loss; and

         (c)     in the case of any other type of Total Loss, the date (or the most likely date) on which
                 it appears to the Facility Agent that the event constituting the total loss occurred.

        "Tranche" means Tranche A or Tranche B.

        "Tranche A" means, together, Ship A Tranche A, Ship B Tranche A, Ship C Tranche A, Ship D
        Tranche A, Ship E Tranche A, Ship F Tranche A, Ship G Tranche A, Ship H Tranche A, Ship I
        Tranche A, Ship J Tranche A and Ship K Tranche A.

        "Tranche A Commitment" means:

        (a)      in relation to an Original Lender, the amount set opposite its name under the heading
                 "Tranche A" in Part B of Schedule 1 [The Parties) and the amount of any other Tranche
                 A Commitment transferred to it under this Agreement; and




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         (b)    in relation to any other Lender, the amount of any Tranche A Commitment transferred
                to it under this Agreement,

        to the extent not cancelled, reduced or transferred by it under this Agreement.

        "Tranche B" means, together, Ship A Tranche B, Ship B Tranche B, Ship C Tranche B, Ship D
        Tranche B, Ship E Tranche B, Ship F Tranche B, Ship G Tranche B, Ship H Tranche B, Ship I
        Tranche B, Ship J Tranche B and Ship K Tranche B.

         "Tranche B Commitment" means:

         (a)    in relation to an Original Lender, the amount set opposite its name under the heading
                "Tranche B" in Part B of Schedule 1 (The Parties) and the amount of any other Tranche
                B Commitment transferred to it under this Agreement; and

        (b)     in relation to any other Lender, the amount of any Tranche B Commitment transferred
                to it under this Agreement,

        to the extent not cancelled, reduced or transferred by it under this Agreement.

         "Transaction Document" means:

        (a)     a Finance Document;

        (b)     a Subordinated Finance Document;

        (c)     any Charter;

        (d)     any MOA; or

        (e)     any other document designated as such by the Facility Agent and a Borrower.

        "Transaction Obligor" means an Obligor, Fleetscape Advantage, a Bareboat Charterer, any
        Approved Manager or any other member of the Group who executes a Transaction Document.

        "Transaction Security" means the Security created or evidenced or expressed to be created or
        evidenced under the Security Documents.

        "Transfer Certificate" means a certificate substantially in the form set out in Schedule 4 (Form
        of Transfer Certificate) or any other form agreed between the Facility Agent and the
        Borrowers.

        "Transfer Date" means, in relation to an assignment or a transfer, the later of:

        (a)     the proposed Transfer Date specified in the relevant Assignment Agreement or
                Transfer Certificate; and

        (b)     the date on which the Facility Agent executes the relevant Assignment Agreement or
                Transfer Certificate.

        "Tripartite Assignment" means, in relation to Ship, a tripartite deed of assignment to be
        entered into between (i) the Borrower owning that Ship, (ii) the Bareboat Charterer in respect
        of that Ship and (iii) the Security Agent pursuant to which, inter alia the rights, title and
        interests of:



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         (a)     that Borrower in that Ship's Earnings, its Insurances, any Requisition Compensation in
                 relation to that Ship, the Bareboat Charter in respect of that Ship and any Charter the
                 duration of which exceeds or is capable of exceeding, by virtue of any optional
                 extension, 12 months and any Charter Guarantee in relation to that Ship; and

         (b)     that Bareboat Charterer in that Ship's Earnings, its Insurances, any Requisition
                 Compensation in relation to that Ship, the Time Charter in respect of that Ship and any
                 Charter the duration of which exceeds, by virtue of any optional extension, 12 months
                 and any Charter Guarantee in relation to that Ship,

         are assigned and/or charged in favour of the Security Agent, in agreed form.

         "UK Establishment" means a UK establishment as defined in the Overseas Regulations.

         "Unpaid Sum" means any sum due and payable but unpaid by a Transaction Obligor under the
         Finance Documents.

         "US" means the United States of America.

         "US Tax Obligor" means:

         (a)     a person which is resident for tax purposes in the US; or

         (b)     a person some or all of whose payments under the Finance Documents are from
                 sources within the US for US federal income tax purposes.

         "Utilisation” means a utilisation of the Facility.

         "Utilisation Date" means the date of a Utilisation, being the date on which the relevant
         Advance is to be made.

         "Utilisation Request" means a notice substantially in the form set out in Part A of Schedule 3
         (Requests).

         "VAT" means:

         (a)     any tax imposed in compliance with the Council Directive of 28 November 2006 on the
                 common system of value added tax (EC Directive 2006/112); and

         (b)     any other tax of a similar nature, whether imposed in a member state of the European
                 Union in substitution for, or levied in addition to, such tax referred to in paragraph (a)
                 above, or imposed elsewhere.

         "Write-down and Conversion Powers" means:

         (a)     in relation to any Bail-In Legislation described in the EU Bail-In Legislation Schedule
                 from time to time, the powers described as such in relation to that Bail-In Legislation
                 in the EU Bail-In Legislation Schedule; and

         (b)     in relation to any other applicable Bail-In Legislation:

                 0)       any powers under that Bail-In Legislation to cancel, transfer or dilute shares
                          issued by a person that is a bank or investment firm or other financial
                          institution or affiliate of a bank, investment firm or other financial institution.



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                           to cancel, reduce, modify or change the form of a liability of such a person or
                           any contract or instrument under which that liability arises, to convert all or
                           part of that liability into shares, securities or obligations of that person or any
                           other person, to provide that any such contract or instrument is to have effect
                           as if a right had been exercised under it or to suspend any obligation in respect
                           of that liability or any of the powers under that Bail-In Legislation that are
                           related to or ancillary to any of those powers; and

                  (‫)؛؛‬     any similar or analogous powers under that Bail-In Legislation.

   1.2   Construction

   (a)   Unless a contrary indication appears, a reference in this Agreement to:

         (‫)؛‬      the "Account Bank", the "Arranger", the "Bookrunner", the "Facility Agent", any
                  "Finance Party", any "Hedge Counterparty", any "Lender", any "Obligor", any "Party",
                  any "Secured Party", the "Security Agent", any "Transaction Obligor", the
                  "Underwriter" or any other person shall be construed so as to include its successors in
                  title, permitted assigns and permitted transferees to, or of, its rights and/or obligations
                  under the Finance Documents;

         (‫)؛؛‬     "assets" includes present and future properties, revenues and rights of every
                  description;

         (iii)    a liability which is "contingent" means a liability which is not certain to arise and/or
                  the amount of which remains unascertained;

         (iv)     "document" includes a deed and also a letter, fax, email or telex;

         (٧)      "expense" means any kind of cost, charge or expense (including all legal costs, charges
                  and expenses) and any applicable Tax including VAT;

         (vi)     a "Finance Document", a "Security Document" or "Transaction Document" or any
                  other agreement or instrument is a reference to that Finance Document, Security
                  Document or Transaction Document or other agreement or instrument as amended,
                  novated, supplemented, extended or restated;

         (vii)    a "group of Lenders" includes all the Lenders;

         (viii)   "indebtedness" includes any obligation (whether incurred as principal or as surety) for
                  the payment or repayment of money, whether present or future, actual or contingent;

         (ix)     "law" includes any order or decree, any form of delegated legislation, any treaty or
                  international convention and any regulation or resolution of the Council of the
                  European Union, the European Commission, the United Nations or its Security Council;

         (x)      a "person" includes any individual, firm, company, corporation, government, state or
                  agency of a state or any association, trust, joint venture, consortium, partnership or
                  other entity (whether or not having separate legal personality);

         (xi)     "proceedings" means, in relation to any enforcement provision of a Finance
                  Document, proceedings of any kind, including an application for a provisional or
                  protective measure;




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         (xii)    a "regulation" includes any regulation, rule, official directive, request or guideline
                  having the force of law of any governmental, intergovernmental or supranational
                  body, agency, department or regulatory, self-regulatory or other authority or
                  organisation;

         (xiii)   a provision of law is a reference to that provision as amended or re-enacted;

         (xiv)    a time of day is a reference to London time;

         (xv)     any English legal term for any action, remedy, method of judicial proceeding, legal
                  document, legal status, court, official or any legal concept or thing shall, in respect of
                  a jurisdiction other than England, be deemed to include that which most nearly
                  approximates in that jurisdiction to the English legal term;

         (xvi)    words denoting the singular number shall include the plural and vice versa; and

         (xvii)   "including" and "in particular” (and other similar expressions) shall be construed as
                  not limiting any general words or expressions in connection with which they are used.

   (b)   The determination of the extent to which a rate is "for a period equal in length" to an Interest
         Period shall disregard any inconsistency arising from the last day of that Interest Period being
         determined pursuant to the terms of this Agreement.

   (c)   Section, Clause and Schedule headings are for ease of reference only and are not to be used
         for the purposes of construction or interpretation of the Finance Documents.

   (d)   Unless a contrary indication appears, a term used in any other Finance Document or in any
         notice given under, or in connection with, any Finance Document has the same meaning in
         that Finance Document or notice as in this Agreement.

   (e)   A Potential Event of Default is "continuing" if it has not been remedied or waived and an Event
         of Default is "continuing" if it has not been remedied or waived provided that if the Facility
         Agent has exercised any of its rights under Clause 28.19 (Acceleration), an Event of Default is
         "continuing" if it has not been waived.

   1.3   Construction of insurance terms

         In this Agreement:

         "approved" means, for the purposes of Clause 23 (Insurance Undertakings), approved in
         writing by the Facility Agent.

         "excess risks" means, in respect of a Ship, the proportion of claims for general average, salvage
         and salvage charges not recoverable under the hull and machinery policies in respect of that
         Ship in consequence of its insured value being less than the value at which that Ship is assessed
         for the purpose of such claims.

         "obligatory insurances" means all insurances effected, or which any Borrower is obliged to
         effect, under Clause 23 (Insurance Undertakings) or any other provision of this Agreement or
         of another Finance Document.

         "policy" includes a slip, cover note, certificate of entry or other document evidencing the
         contract of insurance or its terms.




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         "protection and indemnity risks" means the usual risks covered by a protection and indemnity
         association managed in London, including pollution risks and the proportion (if any) of any
         sums payable to any other person or persons in case of collision which are not recoverable
         underthe hull and machinery policies by reason of the incorporation in them of clause 6 of the
         International Hull Clauses (1/11/02) (1/11/03), clause 8 of the institute Time Clauses (Hulls)
         (1/10/83) (1/11/95) or the Institute Amended Running Down Clause (1/10/71) or any
         equivalent provision.

         "war risks" includes the risk of mines and all risks excluded by clauses 29, 30 or 31 of the
         international Hull Clauses (1/11/02), clauses 29 or 30 of the International Hull Clauses
         (1/11/03), clauses 24, 25 or 26 of the Institute Time Clauses (Hulls) (1/11/95) or clause 23, 24
         or 25 of the Institute Time Clauses (Hulls) (1/10/83).

   1.4   Agreed forms of Finance Documents

         References in Clause 1.1 {Definitions) to any Finance Document being in "agreed form" are to
         that Finance Document:

   (a)   in a form attached to a certificate dated the same date as this Agreement (and signed by each
         Borrower and the Facility Agent); or

   (b)   in any other form agreed in writing between each Borrower and the Facility Agent acting with
         the authorisation of the Majority Lenders or, where Clause 44.2 (A// Lender matters) applies,
         all the Lenders.

   1.5   Third party rights

   (a)   Unless expressly provided to the contrary in a Finance Document, a person who is not a Party
         has no right under the Contracts (Rights of Third Parties) Act 1999 (the "Third Parties Act") to
         enforce or to enjoy the benefit of any term of this Agreement.

   (b)   Subject to Clause 44.3 {Other exceptions) but otherwise notwithstanding any term of any
         Finance Document, the consent of any person who is not a Party is not required to rescind or
         vary this Agreement at any time.

   (c)   Any Affiliate, Receiver, Delegate or any other person described in paragraph (d) of Clause 14.2
         {Other indemnities), paragraph (b) of Clause 31.11 {Exclusion of liability), Clause 31.20 {Role of
         Reference Banks), Clause 31.21 {Third Party Reference Banks) or paragraph (b) of Clause 32.11
         {Exclusion of liability) may, subject to this Clause 1.5 {Third party rights) and the Third Parties
         Act, rely on any Clause of this Agreement which expressly confers rights on it.




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                                               SECTION 2

                                              THE FACILITY

   2     THE FACILITY

   2.1   The Facility

         Subject to the terms of this Agreement, the Lenders make available to the Borrowers a dollar
         term loan facility in 11 Ship Tranches in an aggregate amount not exceeding the Total
         Commitments.

   2.2   Finance Parties' rights and obligations

   (a)   The obligations of each Finance Party under the Finance Documents are several. Failure by a
         Finance Party to perform its obligations under the Finance Documents does not affect the
         obligations of any other Party under the Finance Documents. No Finance Party is responsible
         for the obligations of any other Finance Party under the Finance Documents.

   (b)   The rights of each Finance Party under or in connection with the Finance Documents are
         separate and independent rights and any debt arising under the Finance Documents to a
         Finance Party from a Transaction Obligor is a separate and independent debt in respect of
         which a Finance Party shall be entitled to enforce its rights in accordance with paragraph (c)
         below. The rights of each Finance Party include any debt owing to that Finance Party under
         the Finance Documents and, for the avoidance of doubt, any part of the Loan or any other
         amount owed by a Transaction Obligor which relates to a Finance Party's participation in the
         Facility or its role under a Finance Document (including any such amount payable to the Facility
         Agent on its behalf) is a debt owing to that Finance Party by that Transaction Obligor.

   (c)   A Finance Party may, except as specifically provided in the Finance Documents, separately
         enforce its rights under or in connection with the Finance Documents.

   3     PURPOSE

   3.1   Purpose

         Each Borrower shall apply all amounts borrowed by it under the Facility only for the purpose
         stated in the preamble (Background) to this Agreement.

   3.2   Monitoring

         No Finance Party is bound to monitor or verify the application of any amount borrowed
         pursuant to this Agreement.

   4     CONDITIONS OF UTILISATION

   4.1   Initial conditions precedent

         The Borrowers may not deliver a Utilisation Request unless the Facility Agent has received all
         of the documents and other evidence listed in Part A of Schedule 2 (Conditions Precedent and
         Subsequent) in form and substance satisfactory to the Facility Agent.




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   4.2   Conditions precedent to prepositioning of funds

         The Lenders will only be obliged to comply with Clause 5.4 (Lenders' participation) if:

   (a)   on the date of the Utilisation Request and on the proposed Utilisation Date and before the
         Advance is made available:

         (!)     no Default is continuing or would result from the proposed Advance;

         (ii)    the Repeating Representations to be made by each Transaction Obligor are true; and

         (¡¡¡)   no Change of Control has occurred; and

   (b)   on the Utilisation Date, the Facility Agent has received, or is satisfied that it will receive when
         the Advance is made available, all of the documents and other evidence listed in Part B of
         Schedule 2 (Conditions Precedent and Subsequent) in form and substance satisfactory to the
         Facility Agent;

   4.3   Conditions precedent to release of Advance

         The Facility Agent shall only be obliged to release the Advance to the relevant Bareboat
         Charterer or, as the case may be, the financier of that Bareboat Charterer on the relevant
         Delivery Date if:

   (a)   on the relevant Delivery Date and before the Advance is released:

         (0      no Default is continuing or would result from the proposed Advance;

         (ii)    the Repeating Representations to be made by each Transaction Obligor are true;

         (iii)   no Change of Control has occurred; and

         (iv)    the Ship in respect of which such Advance is to be made has neither been sold (other
                 than a sale pursuant to the MOA relating to that Ship) or become a Total Loss.

   4.4   Conditions subsequent

         Save in the case of documentary evidence which must be provided on the relevant Delivery
         Date (as a same day condition subsequent) that the relevant Mortgage has been duly recorded
         on that Delivery Date (as required under sub-paragraph 2.1 of paragraph 2 of Part D of
         Schedule 2 (Conditions Precedent and Subsequent)), the Borrowers undertakes to deliver or
         cause to be delivered to the Facility Agent within ten Business Days after that Delivery Date,
         the additional documents and other evidence listed in Part D of Schedule 2 (Conditions
         Precedent and Subsequent) in form and substance satisfactory to the Facility Agent.

   4.5   Notification of satisfaction of conditions precedent

   (a)   The Facility Agent shall notify the Borrowers and the Lenders promptly upon being satisfied as
         to the satisfaction of the conditions precedent referred to in Clause 4.1 (Initial conditions
         precedent), Clause 4.2 (Conditions precedent to prepositioning offunds), Clause 4.3 (Conditions
         precedent to release of Advance) and Clause 4.4 (Conditions subsequent).

   (b)   Other than to the extent that the Majority Lenders notify the Facility Agent in writing to the
         contrary before the Facility Agent gives the notification described in paragraph (a) above, the



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         Lenders authorise (but do not require) the Facility Agent to give that notification. The Facility
         Agent shall not be liable for any damages, costs or losses whatsoever as a result of giving any
         such notification.

   4.6   Waiver of conditions precedent

         If the Majority Lenders, at their discretion, permit an Advance to be prepositioned or released
         before any of the conditions precedent referred to in Clause 4.1 {Initial conditions precedent),
         Clause 4.2 {Conditions precedent to prepositioning of funds) or Clause 4.3 {Conditions
         precedent to release of Advance) has been satisfied, the Borrowers shall ensure that that
         condition is satisfied within five Business Days after the relevant Utilisation Date or relevant
         Delivery Date (as applicable) or such later date as the Facility Agent, acting with the
         authorisation of the Majority Lenders, may agree in writing with the Borrowers.




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                                                SECTION 3

                                               UTILISATION

   5     UTILISATION

   5.1   Delivery of a Utilisation Request

   (a)   The Borrowers may utilise the Facility by delivery to the Facility Agent of a duly completed
         Utilisation Request not later than the Specified Time.

   (b)   The Borrowers may not deliver more than one Utilisation Request under each Ship Tranche.

   5.2   Completion of a Utilisation Request

   (a)   Each Utilisation Request is irrevocable and will not be regarded as having been duly completed
         unless:

         (‫)؛‬      the proposed Utilisation Date is a Business Day within the relevant Availability Period;

         (N)      the currency and amount of the Utilisation comply with Clause 5.3 (Currency and
                  amount);

         (iii)    all applicable deductible items have been completed in that Utilisation Request; and

         (iv)     the proposed Interest Period complies with Clause 9 (Interest Periods).

   (b)   Only the Advances under each Ship Tranche may be requested in each Utilisation Request.

   5.3   Currency and amount

   (a)   The currency specified in a Utilisation Request must be dollars.

   (b)   The amount of the proposed Advance must be an amount which is not more than:

         (‫)؛‬      in respect of the Advance under the Ship A Tranche, $17,060,000;

         (¡¡)     in respect of the Advance under the Ship B Tranche, $14,410,000;

         (Hi)     in respect of the Advance under the Ship C Tranche, $16,620,000;

         (iv)     in respect of the Advance under the Ship D Tranche, $15,000,000;

         (٧)      in respect of the Advance under the Ship E Tranche, $16,620,000;

         (vi)     in respect of the Advance under the Ship F Tranche, $17,350,000;

         (vii)    in respect of the Advance under the Ship G Tranche, $16,470,000;

         (viii)   in respect of the Advance under the Ship H Tranche, $18,090,000;

         (ix)     in respect of the Advance under the Ship I Tranche, $19,120,000;

         (x)      in respect of the Advance under the Ship J Tranche, $17,940,000; and




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         (X¡)    ¡n respect of the Advance under the Ship K Tranche, $21,320,000.

   (c)   The amount of the proposed Advance must be an amount which would not oblige the
         Borrowers to provide additional security or prepay part of the Advance if the ratio set out in
         Clause 26 (Security Cover) were applied and notice was given by the Facility Agent under Clause
         26.1 (Minimum required security cover) immediately after the Advance was made.

   5.4   lenders' participation

   (a)   If the conditions set out in this Agreement have been met, each Lender shall make its
         participation in each Advance available by the Utilisation Date through its Facility Office.

   (b)   The amount of each Lender's participation in each Advance will be equal to the proportion
         borne by its Available Commitment to the Available Facility immediately before making that
         Advance.

   (c)   The Facility Agent shall notify each Lender of the amount of each Advance and the amount of
         its participation in that Advance by the Specified Time.

   5.5   Cancellation of Commitments

         The Commitments in respect of any Trancfie which are unutilised at the end of tfie Availability
         Period for such Tranche shall then be cancelled.

   5.6   Prepositioning of funds

         The Facility Agent shall, on each Utilisation Date, preposition the amounts which the Facility
         Agent receives from the Lenders in respect of the relevant Advance by making payment of such
         amounts:

   (a)   via SWIFT message to such bank (the "Prepositioning Bank") as the Borrowers may have
         agreed with the Facility Agent in advance of that Utilisation Date and as specified in the
         Utilisation Request in respect of that Advance and on such terms as may be agreed between
         the Facility Agent and the Prepositioning Bank, on the basis that:

         (‫)؛‬     the funds will be held, unallocated to any account and to the sole order of the Facility
                 Agent until they are either:

                 (A)     released to the relevant Bareboat Charterer or, as the case may be, its financier
                         upon receipt by the Prepositioning Bank of a copy of the protocol of delivery
                         and acceptance under the MOA relating to the Ship being financed by that
                         Advance and countersigned by the Facility Agent through its representatives;

                 (B)     returned to the Facility Agent at the account it shall specify, in the event that
                         funds are not released within 5 Business Days to the relevant Bareboat
                         Charterer or, as the case may be, its financier;

         (Ü)    such prepositioning shall constitute the making of that Advance and the Borrowers
                shall at that time become indebted, as principal and direct obligors on a joint and
                several basis, to each Lender in an amount equal to that Lender's participation in that
                Advance; and




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         (iii)   the value date on which that Advance is prepositioned shall constitute the Utilisation
                 Date in respect of that Advance.

   5.7   Disbursement of Advance

         The Facility Agent shall, on the relevant Delivery Date, instruct the Prepositioning Bank
         (through a representative of the Facility Agent countersigning the protocol of delivery and
         acceptance under the MOA relating to the Ship being financed by that Advance) to release the
         amount of the Advance to the relevant Bareboat Charterer or, as the case may be, its financier
         subject to the provisions of Clause 4.3 (Conditions precedent to release of Advance) and Clause
         4.5 (Notification of satisfaction of conditions precedent).




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                                                SECTION 4

                            REPAYMENT, PREPAYMENT AND CANCELLATION

   6     REPAYMENT

   6.1   Repayment of Loan

   (a)   The Borrowers shall repay the Loan as follows:

         (‫)؛‬      subject to paragraph (b) below, Tranche A shall be repaid in 20 instalments in
                  accordance with, and in the amounts and on the dates as shown in, the Repayment
                  Schedule;

         (‫)؛؛‬     Ship A Tranche B shall be repaid in a single instalment in an amount of $9,305,455 on
                  the relevant Termination Date;

         (iii)    Ship B Tranche B shall be repaid in a single instalment in an amount of $6,404,444 on
                  the relevant Termination Date;

         (iv)     Ship C Tranche B shall be repaid in a single instalment in an amount of $9,065,455 on
                  the relevant Termination Date;

         (v)      Ship D Tranche B shall be repaid in a single instalment in an amount of $7,500,000 on
                  the relevant Termination Date;

         (vi)     Ship E Tranche B shall be repaid in a single instalment in an amount of $9,065,455 on
                  the relevant Termination Date;

         (v‫)¡؛‬    Ship F Tranche B shall be repaid in a single instalment in an amount of $8,675,000 on
                  the relevant Termination Date;

         (vi¡‫)؛‬   Ship G Tranche B shall be repaid in a single instalment in an amount of $7,320,000 on
                  the relevant Termination Date;

         (ix)     Ship H Tranche B shall be repaid in a single instalment in an amount of $9,045,000 on
                  the relevant Termination Date;

         (x)      Ship I Tranche B shall be repaid in a single instalment in an amount of $10,429,091 on
                  the relevant Termination Date;

         (xi)     Ship J Tranche B shall be repaid in a single instalment in an amount of $8,970,000 on
                  the relevant Termination Date; and

         (xii)    Ship K Tranche B shall be repaid in a single instalment in an amount of $12,436,667 on
                  the relevant Termination Date,

         and each such instalment shall be a "Repayment Instalment".

   (b)   The amount of each Repayment Instalment in respect of Tranche A as set out in the Repayment
         Schedule has been calculated on certain assumptions including, without limitation, the
         assumption that the Borrowers will have utilised Tranche A in an amount of $91,783,434 on 6
         February 2019, LIBOR will be 2.70% and Tranche A will be amortised to zero on the relevant




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         Termination Date. On or before the last Utilisation Date in respect of an Advance under
         Tranche A, the Parties shall agree a replacement Repayment Schedule based on the actual
         amount borrowed under Tranche A as at that date (and taking into account any changes to the
         assumptions upon which the original Repayment Schedule was produced) showing:

         (‫)؛‬     the exact date of each Repayment Date in respect of Tranche A;

         (ii)    the amount of each Repayment Instalment due on such Repayment Dates; and

         (iii)   the outstanding principal amount in respect of Tranche A after repayment of those
                 Repayment Instalments on those Repayment Dates,

         and that replacement Repayment Schedule shall be binding on the Parties and shall replace
         the then existing Repayment Schedule and shall for all purposes be treated as if it had been
         the Repayment Schedule from the date of this Agreement.

   6.2   Effect of cancellation and prepayment on scheduled repayments

   (a)   If the Borrowers cancel the whole or any part of any Available Commitment in accordance with
         Clause 7.6 (Right of repayment and cancellation in relation to a single Lender) or if the Available
         Commitment of any Lender is cancelled under Clause 7.1 (Illegality) then the Repayment
         Instalments for the relevant Ship Tranche falling after that cancellation will reduce pro rata by
         the amount of the Available Commitments so cancelled.

   (b)   If the Borrowers cancel the whole or any part of any Available Commitment in accordance with
         Clause 7.2 (Automatic cancellation) or if the whole or part of any Commitment is cancelled
         pursuant to Clause 5.5 (Cancellation of Commitments), the Repayment Instalments for the
         relevant Ship Tranche for each Repayment Date falling after that cancellation will reduce in
         inverse chronological order by the amount of the Commitments so cancelled.

   (c)   If any part of the Loan is repaid or prepaid in accordance with Clause 7.6 (Right of repayment
         and cancellation in relation to a single Lender) or Clause 7.1 (Illegality) then the Repayment
         Instalments for the relevant Ship Tranche for each Repayment Date falling after that
         repayment or prepayment will reduce pro rata by the amount of the Loan repaid or prepaid.

   (d)   If any part of the Loan or a part of a Ship Tranche is partially prepaid in accordance with Clause
         7.3 (Voluntary prepayment of Loan), then the amount of the Repayment Instalment for the
         relevant Tranche B shall be reduced by the amount of the Loan or part of a Ship Tranche repaid
         or prepaid and, once Tranche B has been repaid in full, then the Repayment Instalments in
         respect of Tranche A for each Repayment Date falling after that repayment or prepayment will
         reduce in inverse chronological order by the amount of the Loan or part of a Ship Tranche
         repaid or prepaid.

   (e)   If any part of the Loan is prepaid in accordance with Clause 7.4 (Mandatory prepayment on
         sale or Total Loss) or Clause 7.5 (Mandatory prepayment of Hedging Prepayment Proceeds)
         then the amount of the Repayment Instalments for the relevant Ship Tranche for each
         Repayment Date falling after that repayment or prepayment will reduce in inverse
         chronological order by the amount of the Loan repaid or prepaid.




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   6.3   Termination Date

         On the final Termination Date to occur under this Agreement, the Borrowers shall additionally
         pay to the Facility Agent for the account of the Finance Parties all other sums then accrued and
         owing under the Finance Documents.

   6.4   Reborrowing

         No Borrower may reborrow any part of the Facility which is repaid.

   7     PREPAYMENT AND CANCELLATION

   7.1   Illegality

   (a)   If it becomes unlawful in any applicable jurisdiction for a Lender to perform any of its
         obligations as contemplated by this Agreement or to fund or maintain its participation in an
         Advance or the Loan or it becomes unlawful for any Affiliate of a Lender for that Lender to do
         so:

         (0       that Lender shall promptly notify the Facility Agent upon becoming aware of that
                  event;

         (‫)؛؛‬     upon the Facility Agent notifying the Borrowers, the Available Commitment of that
                  Lender will be immediately cancelled; and

         (Hi)     the Borrowers shall prepay that Lender's participation in the Loan on the last day of
                  the Interest Period for the Loan occurring after the Facility Agent has notified the
                  Borrowers or, if earlier, the date specified by the Lender in the notice delivered to the
                  Facility Agent (being no earlier than the last day of any applicable grace period
                  permitted by law) and that Lender's corresponding Commitment shall be cancelled in
                  the amount of the participation prepaid.

   (b)   If it becomes unlawful for a Lender to perform any of its obligations as contemplated by this
         Agreement or to fund or maintain its participation in any Loan due to:

         (¡)     Sanctions (including in each case, without limitation, (A) the non-existence or cessation
                 of legality, validity a binding effect or enforceability of a provision of a Finance
                 Document and (B) the presence of any circumstances resulting in the imposition of any
                 civil, administrative or criminal measures on a Lender) and/or contrary to, or declared
                 by any Sanctions Authority to be contrary to Sanctions for any Affiliate of a Lender for
                 that Lender to do so; or

         (¡٠)    without prejudice to the generality of the preceding paragraph, the Borrowers or any
                 other member of the Group being or becoming a Prohibited Person, which would
                 result in a breach of Sanctions by a Lender:

                  (A)     to the extent permitted by applicable law, that Lender shall promptly notify
                          the Borrowers through the Facility Agent upon becoming aware of that event;

                  (B)     such Lender's Commitment will be cancelled on the date (the "Sanctions
                          Cancellation Date") falling thirty (30) days after the date on which the Facility
                          Agent has notified the Borrowers, which it shall do promptly upon receipt of a
                          notification from the Lender; and




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                  (0      the Borrowers shall repay that Lender's participation in the Loan on the last
                          day of the Interest Period for the Loan occurring after the Sanctions
                          Cancellation Date or, if earlier, the date specified by the Lender in the notice
                          delivered to the Facility Agent (being no later than the earlier of (x) the
                          Sanctions Cancellation Date and (y) the last day of any applicable grace period
                          permitted by law).

    7.2   Automatic cancellation

          The unutilised Commitment (if any) of each Lender in respect of each Ship Tranche shall be
          automatically cancelled at close of business on the date on which the Advance under that Ship
          Tranche is made available.

    7.3   Voluntary prepayment of Loan

          The Borrowers may, if they give the Facility Agent not less than 15 days' (or such shorter period
          as the Majority Lenders may agree) prior notice, prepay the whole or any part of the Loan (but,
          if in part, being an amount that reduces the amount of the Loan by a minimum amount of
          $500,000 or a multiple of that amount).

    7.4   Mandatory prepayment on sale or Total loss

    (a)   If a Ship is sold (without prejudice to paragraph (a) of Clause 22.11 {Disposals)) or becomes a
          Total Loss, the Borrowers shall on the Relevant Date prepay the Ship Tranche applicable to that
          Ship.

    (b)   On the Relevant Date, the Borrowers shall also prepay such part of the Loan as shall eliminate
          any shortfall arising if the ratio set out in Clause 26 (Security Cover) were applied immediately
          following the payment referred to in paragraph (a) above.

    (c)   Provided that no Default has occurred and is continuing, any remaining proceeds of the sale
          or Total Loss of a Ship after the prepayments referred to in paragraph (a) and paragraph (b)
          above have been made together with all other amounts that are payable on any such
          prepayment pursuant to the Finance Documents shall be paid to the Borrower that owned the
          relevant Ship for application by that Borrower in accordance with the Subordinated Loan
          Agreement and Seller's Credit Agreements.

    (d)   In this Clause 7.4 (Mandatory prepayment on sale or Total Loss):

          "Relevant Date" means:

          (!)     in the case of a sale of a Ship, on the date on which the sale is completed by delivery
                  of that Ship to the buyer of that Ship; and

          (ii)    in the case of a Total Loss of a Ship, on the earlier of:

                  (A)     the date falling 120 days after the Total Loss Date; and

                  (B)     the date of receipt by the Security Agent of the proceeds of insurance relating
                          to such Total Loss.




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   7.5   Mandatory prepayment of Hedging Prepayment Proceeds

         Any Hedging Prepayment Proceeds arising as a result of any cancellation or prepayment under
         this Agreement shall, following payment into the Retention Account in accordance with Clause
         27.2 (Payment and application of Earnings), be applied rateably in respect of each Ship Tranche
         on the last day of the Interest Period for each Ship Tranche which ends after such payment in
         prepayment of the Loan.

   7.6   Right of repayment and cancellation in relation to a single Lender

   (a)   If:

         (i)     any sum payable to any Lender by a Transaction Obligor is required to be increased
                 under paragraph (c) of Clause 12.2 (Tax gross-up) or under that clause as incorporated
                 by reference or in full in any other Finance Document; or

         (¡٠)    any Lender claims indemnification from a Borrower under Clause 12.3 (Tax indemnity)
                 or Clause 13.1 (Increased costs),

         the Borrowers may, whilst the circumstance giving rise to the requirement for that increase or
         indemnification continues, give the Facility Agent notice of cancellation of the Commitment of
         that Lender and its intention to procure the repayment of that Lender's participation in the
         Loan.

   (b)   On receipt of a notice of cancellation referred to in paragraph (a) above, the Commitment of
         that Lender shall immediately be reduced to zero.

   (c)   On the last day of each Interest Period which ends after the Borrowers have given notice of
         cancellation under paragraph (a) above in relation to a Lender (or, if earlier, the date specified
         by the Borrowers in that notice), the Borrowers shall repay that Lender's participation in the
         Loan.

   7.7   Restrictions

   (a)   Any notice of cancellation or prepayment given by any Party under this Clause 7 (Prepayment
         and Cancellation) shall be irrevocable and, unless a contrary indication appears in this
         Agreement, shall specify the date or dates upon which the relevant cancellation or prepayment
         is to be made, the amount of that cancellation or prepayment and, if relevant, the part of the
         Loan to be prepaid or cancelled.

   (b)   Any prepayment under this Agreement shall be made together with accrued interest on the
         amount prepaid and amounts (if any) payable under the Hedging Agreements in connection
         with that prepayment and, subject to any Break Costs, without premium or penalty.

   (c)   No Borrower may reborrow any part of the Facility which is prepaid.

   (d)   No Borrower shall repay or prepay all or any part of the Loan or cancel all or any part of the
         Commitments except at the times and in the manner expressly provided for in this Agreement.

   (e)   No amount of the Total Commitments cancelled under this Agreement may be subsequently
         reinstated.




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   (f)   If the Facility Agent receives a notice under this Clause 7 (Prepayment and Cancellation) it shall
         promptly forward a copy of that notice to either the Borrowers or the affected Lenders and/or
         Hedge Counterparties, as appropriate.

   (g)   If all or part of any Lender's participation in the Loan is repaid or prepaid, an amount of that
         Lender's Commitment (equal to the amount of the participation which is repaid or prepaid)
         will be deemed to be cancelled on the date of repayment or prepayment.

   7.8   Application of prepayments

         Any prepayment of any part of the Loan (other than a prepayment pursuant to Clause 7.1
         (Illegality) or Clause 7.6 (Right of repayment and cancellation in relation to a single Lender))
         shall be applied pro rata to each Lender's participation in that part of the Loan.




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                                                 SECTION 5

                                          COSTS OF UTILISATION

   8     INTEREST

   8.1   Calculation of interest

         The rate of interest on the Loan or any part of the Loan for each Interest Period is the
         percentage rate per annum which is the aggregate of:

   (a)   the applicable Margin; and

   (b)   LIBOR.

   8.2   Payment of interest

   (a)   The Borrowers shall pay accrued interest on the Loan or any part of the Loan on the last day
         of each Interest Period (each an "Interest Payment Date").

   (b)   If an Interest Period is longer than three Months, the Borrowers shall also pay interest then
         accrued on the Loan or the relevant part of the Loan on the dates falling at three Monthly
         intervals after the first day of the Interest Period.

   8.3   Default interest

   (a)   If a Transaction Obligor fails to pay any amount payable by it under a Finance Document other
         than a Hedging Agreement on its due date, interest shall accrue on the Unpaid Sum from the
         due date up to the date of actual payment (both before and after judgment) at a rate which,
         subject to paragraph (b) below, is two per cent, per annum higher than the rate which would
         have been payable if the Unpaid Sum had, during the period of non-payment, constituted part
         of the Loan in the currency of the Unpaid Sum for successive Interest Periods, each of a
         duration selected by the Facility Agent. Any interest accruing under this Clause 8.3 (Default
         interest) shall be immediately payable by the Obligor on demand by the Facility Agent.

   (b)   If an Unpaid Sum consists of all or part of the Loan which became due on a day which was not
         the last day of an Interest Period relating to the Loan or that part of the Loan:

         (i)      the first Interest Period for that Unpaid Sum shall have a duration equal to the
                  unexpired portion of the current Interest Period relating to the Loan or that part of the
                  Loan;and

         (¡‫)؛‬     the rate of interest applying to that Unpaid Sum during that first Interest Period shall
                  be two per cent, per annum higher than the rate which would have applied if that
                  Unpaid Sum had not become due.

   (c)   Default interest (if unpaid) arising on an Unpaid Sum will be compounded with the Unpaid Sum
         at the end of each Interest Period applicable to that Unpaid Sum but will remain immediately
         due and payable.




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   8.4   Notification of rates of interest

   (a)   The Facility Agent shall promptly notify the Lenders and the Borrowers of the determination
         of a rate of interest under this Agreement.

   (b)   The Facility Agent shall promptly notify the Borrower of each Funding Rate relating to the Loan,
         any part of the Loan or any Unpaid Sum.

   8.5   Hedging

   (a)   On or before the first Utilisation Date, the Borrowers shall enter into Hedging Agreements and
         shall after that date maintain such Hedging Agreements in accordance with this Clause 8.5
         (Hedging).

   (b)   The aggregate notional amount of the transactions in respect of the Hedging Agreements shall
         be 100 per cent, of the aggregate amount of the Loan.

   (c)   Each Hedging Agreement shall:

         CO       be with a Hedge Counterparty;

         (‫)؛؛‬     be for a term ending no earlier than the final Termination Date to occur under this
                  Agreement;

         (‫¡؛‬  0   have settlement dates coinciding with the Interest Payment Dates;

         (٠٧)     be based on an ISDA Master Agreement and otherwise in form and substance
                  satisfactory to the Facility Agent; and

         (v)      provide that the Termination Currency (as defined in the relevant Hedging Agreement)
                  shall be dollars.

   (d)   The rights of each Borrower under the Hedging Agreements shall be charged or assigned by
         way of security under a Hedging Agreement Security.

   (e)   The parties to each Hedging Agreement must comply with the terms of that Hedging
         Agreement.

   (f)   Neither a Hedge Counterparty nor a Borrower may amend, supplement, extend or waive the
         terms of any Hedging Agreement without the consent of the Security Agent.

   (g)   Paragraph (f) above shall not apply to an amendment, supplement or waiver that does not give
         rise to a conflict with any provision of this Agreement or the Hedging Agreement Security.

   (h)   If, at any time, the aggregate notional amount of the transactions in respect of the Hedging
         Agreements exceeds or, as a result of any repayment or prepayment under this Agreement,
         will exceed 100 per cent, of the Loan at that time, the Borrowers must promptly notify the
         Facility Agent and, thereafter, the Borrowers and the Hedge Counterparties must, at the
         request of the Facility Agent, reduce the aggregate notional amount of those transactions by
         an amount so that it no longer exceeds or will not exceed 100 per cent, of the Loan then or
         that will be outstanding.




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   (!)   Any reductions in the aggregate notional amount of the transactions in respect of the Hedging
         Agreements in accordance with paragraph (h) above will be apportioned as between those
         transactions pro rata.

   ‫)ﻻ‬    Paragraph (h) above shall not apply to any transactions in respect of any Hedging Agreement
         under which no Borrower has any actual or contingent indebtedness.

   (k)   The Facility Agent must make a request under paragraph (h) above if so required by a Hedge
         Counterparty.

   (‫)ا‬   Neither a Hedge Counterparty nor a Borrower may terminate or close out any transactions in
         respect of any Hedging Agreement (in whole or in part) except:

         (!)      in accordance with paragraphs (h)-(k) above;

         (!!)     on the occurrence of an Illegality, Force Majeure Event, Tax Event or Tax Event Upon
                  Merger (as each such expression is defined in the relevant Hedging Agreement);

         (¡¡¡)    if an "event of default" occurs pursuant to section 5(a)(i) (failure to pay or deliver) of
                  the relevant Hedging Agreement;

         (¡٧)     if an Event of Default has occurred and is continuing under Clause 28.7 (Insolvency)
                  and/or Clause 28.8 (Insolvency proceedings);

         (٧)      in the case of termination or closing out by a Hedge Counterparty, if the Facility Agent
                  serves notice under sub-paragraph (ii) of paragraph (a) of Clause 28.19 (Acceleration)
                  or, having served notice under sub-paragraph (iii) of paragraph (a) of Clause 28.19
                  (Acceleration), makes a demand;

         (٧!)     in the case of any other termination or closing out by a Hedge Counterparty or a
                  Borrower, with the consent of the Facility Agent;

         (V¡¡)    if the Secured Liabilities (other than in respect of the Hedging Agreements) have been
                  irrevocably and unconditionally paid and discharged in full or the Loan is refinanced in
                  full; or

         (viii)   if the Hedge Counterparty which is a party to that Hedging Agreement ceases to be a
                  Lender under this Agreement.

   (m)   If a Hedge Counterparty or a Borrower terminates or closes out a transaction in respect of a
         Hedging Agreement (in whole or in part) in accordance with sub-paragraphs (ii), or (in the case
         of a Hedge Counterparty only) (vi) of paragraph (I) above, it shall promptly notify the Facility
         Agent ofthat termination or close out.

   (n)   If a Hedge Counterparty is entitled to terminate or close out any transaction in respect of any
         Hedging Agreement under sub-paragraph (v) of paragraph (I) above, such Hedge Counterparty
         shall promptly terminate or close out such transaction following a request to do so by the
         Security Agent.

   (٥)   A Hedge Counterparty may only suspend making payments under a transaction in respect of a
         Hedging Agreement if a Borrower is in breach of its payment obligations under any transaction
         in respect ofthat Hedging Agreement.




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   (p)   Each Hedge Counterparty consents to, and acknowledges notices of, the charging or assigning
         by way of security by each Borrower pursuant to the relevant Hedging Agreement Security of
         its rights under the Hedging Agreements to which it is party in favour of the Security Agent.

   (q)   Any such charging or assigning by way of security is without prejudice to, and after giving effect
         to, the operation of any payment or close-out netting in respect of any amounts owing under
         any Hedging Agreement.

   (٢)   The Security Agent shall not be liable for the performance of any of a Borrower's obligations
         under a Hedging Agreement.

   (s)   No Borrower or Hedge Counterparty shall assign any of its rights or transfer any of its rights or
         obligations under a Hedging Agreement without the consent of the Security Agent.

   9     INTEREST PERIODS

   9.1   Selection of Interest Periods

   (a)   The Borrowers may select the Interest Period for the loan in the utilisation Request for the
         first Advance. Subject to paragraphs (f) and (h) below and Clause 9.2 (Changes to Interest
         Periods), the Borrowers may select each subsequent Interest Period in respect of the loan in
         a Selection Notice.

   (b)   Each Selection Notice is irrevocable and must be delivered to the Facility Agent by the
         Borrowers not later than the Specified Time.

   (c)   If the Borrowers fail to select an Interest Period in the first Utilisation Request or fail to deliver
         a Selection Notice to the Facility Agent in accordance with paragraphs (a) and (b) above, the
         relevant Interest Period will, subject to paragraphs (f) and (h) below and Clause 9.2 (Changes
         to Interest Periods), be three Months.

   (d)   Subject to this Clause 9 (Interest Periods), the Borrowers may select an Interest Period of 3
         Months or any other period under 3 Months agreed between the Borrowers and the Facility
         Agent (acting on the instructions of all the Lenders).

   (e)   An Interest Period in respect of the Loan or any part of the Loan shall not extend beyond the
         final Termination Date to occur under this Agreement.

   (f)   In respect of a Repayment Instalment, the Borrowers may request in the relevant Selection
         Notice that an Interest Period for a part of the Loan equal to such Repayment Instalment shall
         end on the Repayment Date relating to it and, subject to paragraph (d) above, select a longer
         Interest Period for the remaining part of the Loan.

   (g)   The first Interest Period for the Loan shall start on the first Utilisation Date and, subject to
         paragraph (h) below, end on 10 April 2019 and each subsequent Interest Period shall start on
         the last day of the preceding Interest Period.

   (h)   The first Interest Period for the second and any subsequent Advance shall start on the
         Utilisation Date of such Advance and end on the last day of the Interest Period applicable to
         the Loan on the date on which such Advance is made.

   (!)   Except for the purposes of paragraph (f) and paragraph (h) above and Clause 9.2 (Changes to
         Interest Periods), the Loan shall have one Interest Period only at any time.




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   9.2    Changes to Interest Periods

   (a)    In respect of a Repayment Instalment, prior to determining the interest rate for the Loan, the
          Facility Agent may establish an Interest Period for a part of the Loan equal to such Repayment
          Instalment to end on the Repayment Date relating to it and the remaining part of the Loan
          shall have the Interest Period selected in the relevant Selection Notice, subject to paragraph
          (d) of Clause 9.1 [Selection of Interest Periods).

   (b)    If the Facility Agent makes any change to an Interest Period referred to in this Clause 9.2
          (Changes to Interest Periods), it shall promptly notify the Borrowers and the Lenders.

   9.3    Non-Business Days

          If an Interest Period would otherwise end on a day which is not a Business Day, that Interest
          Period will instead end on the next Business Day in that calendar month (if there is one) or the
          preceding Business Day (if there is not).

   10     CHANGES TO THE CALCULATION OF INTEREST

   10.1   Unavailability of Screen Rate

   (a)    Interpolated Screen Rate: If no Screen Rate is available for LIBOR for the Interest Period of the
          Loan or any part of the Loan, the applicable LIBOR shall be the Interpolated Screen Rate for a
          period equal in length to the Interest Period of the Loan or that part of the Loan.

   (b)    Reference Bank Rate: If no Screen Rate is available for LIBOR for:

          (‫)؛‬     dollars; or

          (H)     the Interest Period of the Loan or any part of the Loan and it is not possible to calculate
                  the Interpolated Screen Rate,

          (iii)   the applicable LIBOR shall be the Reference Bank Rate as of the Specified Time and for
                  a period equal in length to the Interest Period of the Loan or that part of the Loan.

   (c)    Cost offunds: If paragraph (b) above applies but no Reference Bank Rate is available for dollars
          or the relevant Interest Period there shall be no LIBOR for the Loan or that part of the Loan (as
          applicable) and Clause 10.4 (Cost of funds) shall apply to the Loan or that part of the Loan for
          that Interest Period.

   10.2   Calculation of Reference Bank Rate

   (a)    Subject to paragraph (b) below, if LIBOR is to be determined on the basis of a Reference Bank
          Rate but a Reference Bank does not supply a quotation by the Specified Time, the Reference
          Bank Rate shall be calculated on the basis of the quotations of the remaining Reference Banks.

   (b)    If at or about noon on the Quotation Day none or only one of the Reference Banks supplies a
          quotation, there shall be no Reference Bank Rate for the relevant Interest Period.

   10.3   Market disruption

          If before close of business in London on the Quotation Day for the relevant Interest Period the
          Facility Agent receives notification from a Lender or Lenders (whose participations in the Loan




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          or the relevant part of the Loan exceed 35 per cent, of the Loan or the relevant part of the
          Loan as appropriate) that the cost to it of funding its participation in the Loan or that part of
          the Loan from whatever source it may reasonably select would be in excess of LIBOR then
          Clause 10.4 {Cost of funds) shall apply to the Loan or that part of the Loan (as applicable) for
          the relevant Interest Period.

   10.4   Cost of funds

   (a)    If this Clause 10.4 [Cost of funds) applies, the rate of interest on each Lender's share of the
          Loan or the relevant part of the Loan for the relevant Interest Period shall be the percentage
          rate per annum which is the sum of:

          (‫)؛‬     the applicable Margin; and

          (‫)؛؛‬    the rate notified to the Facility Agent by that Lender as soon as practicable and in any
                  event before the date on which interest is due to be paid in respect of that Interest
                  Period to be that which expresses as a percentage rate per annum the cost to the
                  relevant Lender of funding its participation in the Loan or that part of the Loan from
                  whatever source it may reasonably select.

   (b)    If this Clause 10.4 (Cost of funds) applies and the Facility Agent or the Borrowers so require,
          the Facility Agent and the Borrowers shall enter into negotiations (for a period of not more
          than 30 days) with a view to agreeing a substitute basis for determining the rate of interest or
          (as the case may be) an alternative basis for funding.

   (c)    Subject to Clause 44.4 (Replacement of Screen Rate), any substitute or alternative basis agreed
          pursuant to paragraph (b) above shall, with the prior consent of all the Lenders and the
          Borrowers, be binding on all Parties.

   (d)    If this Clause 10.4 (Cost offunds) applies pursuant to Clause 10.3 (Market disruption) and:

          (‫)؛‬     a Lender's Funding Rate is less than LIBOR; or

          (‫)؛؛‬    a Lender does not supply a quotation in the time specified in sub-paragraph (ii) of
                  paragraph (a) above.

          the cost to that Lender of funding its participation in the Loan or the relevant part of the Loan
          for that Interest Period shall be deemed, for the purposes of paragraph (a) above, to be LIBOR.

   10.5   Break Costs

   (a)    The Borrowers shall, within five Business Days of demand by a Finance Party, pay to that
          Finance Party its Break Costs attributable to all or any part of the Loan or Unpaid Sum being
          paid by a Borrower on a day other than the last day of an Interest Period for the Loan, the
          relevant part of the Loan or that Unpaid Sum.

   (b)    Each Lender shall, as soon as reasonably practicable after a demand by the Facility Agent,
          provide a certificate confirming the amount of its Break Costs for any Interest Period in which
          they accrue.




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    11     FEES

    11.1   Commitment fee

    (a)    The Borrowers shall pay to the Facility Agent (for the account of each Lender) a fee computed
           at the rate of 40 per cent, of the applicable Margin on that Lender's Available Commitment
           from time to time for the period commencing on the date falling one Month after the date of
           this Agreement and ending on the last day of the Availability Period.

    (b)    The accrued commitment fee is payable on the last day of each successive period of three
           Months which ends during the Availability Period, on the last day of the Availability Period and,
           if cancelled, on the cancelled amount of the relevant Lender's Commitment at the time the
           cancellation is effective.

    11.2   Underwriting fee

           The Borrowers shall pay to the Underwriter an underwriting fee in the amount and at the times
           agreed in a Fee Letter.

    11.3   Facility Agent fee

           The Borrowers shall pay to the Facility Agent (for its own account) an agency fee in the amount
           and at the times agreed in a Fee Letter.

    11.4   Arrangement fee

           The Borrowers shall pay to the Facility Agent (for the account of each Lender) an arrangement
           fee in the amount and at the times agreed in a Fee Letter.




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                                                SECTION 6

                                  ADDITIONAL PAYMENT OBLIGATIONS

   12     TAX GROSS UP AND INDEMNITES

   12.1   Definitions

   (a)    In this Agreement:

          "Protected Party" means a Finance Party which is or will be subject to any liability, or required
          to make any payment, for or on account of Tax in relation to a sum received or receivable (or
          any sum deemed for the purposes of Tax to be received or receivable) under a Finance
          Document.

          "Tax Credit" means a credit against, relief or remission for, or repayment of any Tax.

          "Tax Deduction" means a deduction or withholding for or on account of Tax from a payment
          under a Finance Document, other than a FATCA Deduction.

          "Tax Payment" means either the increase in a payment made by an Obligor to a Finance Party
          under Clause 12.2 (Tax gross-up) ora payment under Clause 12.3 (Tax indemnity).

   (b)    Unless a contrary indication appears, in this Clause 12 (Tax Gross Up and Indemnities)
          reference to "determines" or "determined" means a determination made in the absolute
          discretion of the person making the determination.

   (c)    This Clause 12 (Tax Gross Up and Indemnities) shall not apply to any Fledging Agreement.

   12.2   Tax gross-up

   (a)    Each Obligor shall make all payments to be made by it without any Tax Deduction, unless a Tax
          Deduction is required by law.

   (b)    The Borrowers shall promptly upon becoming aware that an Obligor must make a Tax
          Deduction (or that there is any change in the rate or the basis of a Tax Deduction) notify the
          Facility Agent accordingly. Similarly, a Lender shall notify the Facility Agent on becoming so
          aware in respect of a payment payable to that Lender. If the Facility Agent receives such
          notification from a Lender it shall notify the Borrowers and that Obligor.

   (c)    If a Tax Deduction is required by law to be made by an Obligor, the amount of the payment
          due from that Obligor shall be increased to an amount which (after making any Tax Deduction)
          leaves an amount equal to the payment which would have been due if no Tax Deduction had
          been required.

   (d)    If an Obligor is required to make a Tax Deduction, that Obligor shall make that Tax Deduction
          and any payment required in connection with that Tax Deduction within the time allowed and
          in the minimum amount required by law.

   (e)    Within 30 days of making either a Tax Deduction or any payment required in connection with
          that Tax Deduction, the Obligor making that Tax Deduction shall deliver to the Facility Agent
          for the Finance Party entitled to the payment evidence reasonably satisfactory to that Finance




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          Party that the Tax Deduction has been made or (as applicable) any appropriate payment paid
          to the relevant taxing authority.

   12.3   Tax indemnity

   (a)    The Obligors shall (within five Business Days of demand by the Facility Agent) pay to a
          Protected Party an amount equal to the loss, liability or cost which that Protected Party
          determines will be or has been (directly or indirectly) suffered for or on account of Tax by that
          Protected Party in respect of a Finance Document.

   (b)    Paragraph (a) above shall not apply:

          (!)     with respect to any Tax assessed on a Finance Party:

                  (A)      under the law of the jurisdiction in which that Finance Party is incorporated or,
                           if different, the jurisdiction (or jurisdictions) in which that Finance Party is
                           treated as resident or as having a permanent establishment for tax purposes;
                           or

                  (B)      under the law of the jurisdiction in which that Finance Party's Facility Office is
                           located in respect of amounts received or receivable in that jurisdiction,

          if that Tax is imposed on or calculated by reference to the net income received or receivable
          (but not any sum deemed to be received or receivable) by that Finance Party; or

          (ÌÌ)    to the extent a loss, liability or cost:

                  (A)      is compensated for by an increased payment under Clause 12.2 (Tax gross-up);
                           or

                  (B)      relates to a FATCA Deduction required to be made by a Party.

   (c)    A Protected Party making, or intending to make, a claim under paragraph (a) above shall
          promptly notify the Facility Agent of the event which will give, or has given, rise to the claim,
          following which the Facility Agent shall notify the Obligors.

   (d)    A Protected Party shall, on receiving a payment from an Obligor under this Clause 12.3 (Tax
          indemnity), notify the Facility Agent.

   12.4   Tax Credit

          If an Obligor makes a Tax Payment and the relevant Finance Party determines that:

   (a)    a Tax Credit is attributable to an increased payment of which that Tax Payment forms part, to
          that Tax Payment or to a Tax Deduction in consequence of which that Tax Payment was
          received; and

   (b)    that Finance Party or an Affiliate of that Finance Party has obtained and utilised that Tax Credit,

          the Finance Party shall pay an amount to the Obligor which that Finance Party determines will
          leave it (after that payment) in the same after-Tax position as it would have been in had the
          Tax Payment not been required to be made by the Obligor.




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   12.5   Stamp taxes

          The Obligors shall pay and, within five Business Days of demand, indemnify each Secured Party
          against any cost, loss or liability which that Secured Party incurs in relation to all stamp duty,
          registration and other similar Taxes payable in respect of any Finance Document except those
          payable on or by reference to or in consequence of the transfer of the whole or any part of the
          rights of a Finance Party under a Finance Document (other than when a Default is continuing).

   12.6   VAT

   (a)    All amounts expressed to be payable under a Finance Document by any Party to a Finance
          Party which (in whole or in part) constitute the consideration for any supply for VAT purposes
          are deemed to be exclusive of any VAT which is chargeable on that supply, and accordingly,
          subject to paragraph (b) below, if VAT is or becomes chargeable on any supply made by any
          Finance Party to any Party under a Finance Document and such Finance Party is required to
          account to the relevant tax authority for the VAT, that Party must pay to such Finance Party (in
          addition to and at the same time as paying any other consideration for such supply) an amount
          equal to the amount of the VAT (and such Finance Party must promptly provide an appropriate
          VAT invoice to that Party).

   (b)    If VAT is or becomes chargeable on any supply made by any Finance Party (the "Supplier") to
          any other Finance Party (the "Recipient") under a Finance Document, and any Party other than
          the Recipient (the "Relevant Party") is required by the terms of any Finance Document to pay
          an amount equal to the consideration for that supply to the Supplier (rather than being
          required to reimburse or indemnify the Recipient in respect of that consideration):

          (¡)     (where the Supplier is the person required to account to the relevant tax authority for
                  the VAT) the Relevant Party must also pay to the Supplier (at the same time as paying
                  that amount) an additional amount equal to the amount of the VAT. The Recipient
                  must (where this sub-paragraph (i) applies) promptly pay to the Relevant Party an
                  amount equal to any credit or repayment the Recipient receives from the relevant tax
                  authority which the Recipient reasonably determines relates to the VAT chargeable on
                  that supply; and

          (i¡)    (where the Recipient is the person required to account to the relevant tax authority
                  for the VAT) the Relevant Party must promptly, following demand from the Recipient,
                  pay to the Recipient an amount equal to the VAT chargeable on that supply but only
                  to the extent that the Recipient reasonably determines that it is not entitled to credit
                  or repayment from the relevant tax authority in respect of that VAT.

  (c)     Where a Finance Document requires any Party to reimburse or indemnify a Finance Party for
          any cost or expense, that Party shall reimburse or indemnify (as the case may be) such Finance
          Party for the full amount of such cost or expense, including such part of it as represents VAT,
          save to the extent that such Finance Party reasonably determines that it is entitled to credit or
          repayment in respect of such VAT from the relevant tax authority.

  (d)     Any reference in this Clause 12.6 (VAT) to any Party shall, at any time when that Party is treated
          as a member of a group or unity (or fiscal unity) for VAT purposes, include (where appropriate
          and unless the context otherwise requires) a reference to the person who is treated at that
          time as making the supply, or (as appropriate) receiving the supply, under the grouping rules
          (provided for in Article 11 of Council Directive 2006/112/EC (or as implemented by the relevant
          member state of the European Union) or any other similar provision in any jurisdiction which




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          is not a member of the European Union) so that a reference to a Party shall be construed as a
          reference to that Party or the relevant group or unity (or fiscal unity) of which that Party is a
          member for VAT purposes at the relevant time or the relevant representative member (or
          representative or head) of that group or unity (or fiscal unity) at the relevant time (as the case
          may be).

   (e)    In relation to any supply made by a Finance Party to any Party under a Finance Document, if
          reasonably requested by such Finance Party, that Party must promptly provide such Finance
          Party with details of that Party's VAT registration and such other information as is reasonably
          requested in connection with such Finance Party's VAT reporting requirements in relation to
          such supply.

   12.7   FATCA Information

   (a)    Subject to paragraph (c) below, each Party shall, within ten Business Days of a reasonable
          request by another Party:

          (i)     confirm to that other Party whether it is:

                  (A)     a FATCA Exempt Party; or

                  (B)     not a FATCA Exempt Party; and

          (¡0     supply to that other Party such forms, documentation and other information relating
                  to its status under FATCA as that other Party reasonably requests for the purposes of
                  that other Party's compliance with FATCA; and

          (iii)   supply to that other Party such forms, documentation and other information relating
                  to its status as that other Party reasonably requests for the purposes of that other
                  Party's compliance with any other similar law, regulation or exchange of information
                  regime.

   (b)    If a Party confirms to another Party pursuant to sub-paragraph (i) of paragraph (a) above that
          it is a FATCA Exempt Party and it subsequently becomes aware that it is not, or has ceased to
          be a FATCA Exempt Party, that Party shall notify that other Party reasonably promptly.

   (c)    Paragraph (a) above shall not oblige any Party to do anything which would or might in its
          reasonable opinion constitute a breach of:

          (‫)؛‬     any law or regulation;

          (¡¡)    any fiduciary duty; or

          (iii)   any duty of confidentiality,

          provided that the provision of US Internal Revenue Service Forms W-8 or W-9 shall not be
          deemed to be such a breach.

   (d)    If a Party fails to confirm whether or not it is a FATCA Exempt Party or to supply forms,
          documentation or other information requested in accordance with sub-paragraphs (i) or (ii) of
          paragraph (a) above (including, for the avoidance of doubt, where paragraph (c) above
          applies), then such Party shall be treated for the purposes of the Finance Documents (and




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          payments under them) as if it is not a FATCA Exempt Party until such time as the Party in
          question provides the requested confirmation, forms, documentation or other information.

   (e)    If a Borrower is a US Tax Obligor, or the Facility Agent reasonably believes that its obligations
          under FATCA or any other applicable law or regulation require it, each Lender shall, within ten
          Business Days of:

          (‫)؛‬     where a Borrower is a US Tax Obligor and the relevant Lender is an Original Lender,
                  the date of this Agreement;

          (¡٠)    where a Borrower is a US Tax Obligor on a Transfer Date and the relevant Lender is a
                  New Lender, the relevant Transfer Date; or

          (‫)¡¡؛‬   where a Borrower is not a US Tax Obligor, the date of a request from the Facility Agent,

          supply to the Facility Agent:

          (iv)    a withholding certificate on Form W-8, Form W-9 or any other relevant form; or

          (٧)     any withholding statement or other document, authorisation or waiver as the Facility
                  Agent may require to certify or establish the status of such Lender under FATCA or that
                  other law or regulation.

   (f)    The Facility Agent shall provide any withholding certificate, withholding statement, document,
          authorisation or waiver it receives from a Lender pursuant to paragraph (e) above to the
          Borrowers.

   (g)    If any withholding certificate, withholding statement, document, authorisation or waiver
          provided to the Facility Agent by a Lender pursuant to paragraph (e) above is or becomes
          materially inaccurate or incomplete, that Lender shall promptly update it and provide such
          updated withholding certificate, withholding statement, document, authorisation or waiver to
          the Facility Agent unless it is unlawful for the Lender to do so (in which case the Lender shall
          promptly notify the Facility Agent). The Facility Agent shall provide any such updated
          withholding certificate, withholding statement, document, authorisation or waiver to the
          Borrowers.

   (h)    The Facility Agent may rely on any withholding certificate, withholding statement, document,
          authorisation or waiver it receives from a Lender pursuant to paragraph (e) or (g) above
          without further verification. The Facility Agent shall not be liable for any action taken by it
          under or in connection with paragraphs (e), (f) or (g) above.

   12.8   FATCA Deduction

   (a)    Each Party may make any FATCA Deduction it is required to make by FATCA, and any payment
          required in connection with that FATCA Deduction, and no Party shall be required to increase
          any payment in respect of which it makes such a FATCA Deduction or otherwise compensate
          the recipient of the payment for that FATCA Deduction.

   (b)    Each Party shall promptly, upon becoming aware that it must make a FATCA Deduction (or that
          there is any change in the rate or the basis of such FATCA Deduction), notify the Party to whom
          it is making the payment and, in addition, shall notify each Obligor and the Facility Agent and
          the Facility Agent shall notify the other Finance Parties.




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   13     INCREASED COSTS

   13.1   Increased costs

   (a)    Subject to Clause 13.3 (Exceptions), the Borrowers shall, within five Business Days of a demand
          by the Facility Agent, pay for the account of a Finance Party the amount of any Increased Costs
          incurred by that Finance Party or any of its Affiliates as a result of:

          (!)     the introduction of or any change in (or in the interpretation, administration or
                  application of) any applicable law or regulation; or

          (Ü)     compliance with any applicable law or regulation made.

          in each case after the date of this Agreement; or

          (‫)!!؛‬   the implementation, application of or compliance with Basel III or CRD IV or any law or
                  regulation that implements or applies Basel III or CRD IV.

   (b)    In tflis Agreement:

          (!)     "Basel 111" means:

                  (A)       the agreements on capital requirements, a leverage ratio and liquidity
                            standards contained in "Basel 111: A global regulatory framework for more
                            resilient banks and banking systems", "Basel III: International framework for
                            liquidity risk measurement, standards and monitoring" and "Guidance for
                            national authorities operating the countercyclical capital buffer" published by
                            the Basel Committee on Banking Supervision in December 201٥, each as
                            amended, supplemented or restated;

                  (B)       the rules for global systemically important banks contained in "Global
                            systemically important banks: assessment methodology and the additional
                            loss absorbency requirement - Rules text" published by the Basel Committee
                            on Banking Supervision in November 2٥11, as amended, supplemented or
                            restated; and

                  (0        any further guidance or standards published by the Basel Committee on
                            Banking Supervision relating to "Basel 111".

          (!!)    "CRD IV" means:

                  (A)       Regulation (EU) No 575/2013 of the European Parliament and of the Council
                            of 26 June 2013 on prudential requirements for credit institutions and
                            investment firms and amending regulation (EU) No. 648/2012;

                  (B)       Directive 2013/36/EU of the European Parliament and of the Council of 26
                            June 2013 on access to the activity of credit institutions and the prudential
                            supervision of credit institutions and investment firms, amending Directive
                            2002/87/EC and repealing Directives 2006/48/EC and 2006/49/EC; and

                  (C)       any other law or regulation which implements Basel III.

          (iii)   "Increased Costs" means:




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                  (A)     a reduction in the rate of return from the Facility or on a Finance Party's (or its
                          Affiliate's) overall capital;

                  (B)     an additional or increased cost; or

                  (C)     a reduction of any amount due and payable under any Finance Document,

                  which is incurred or suffered by a Finance Party or any of its Affiliates to the extent
                  that it is attributable to that Finance Party having entered into its Commitment or
                  funding or performing its obligations under any Finance Document.

   13.2   Increased cost claims

   (a)    A Finance Party intending to make a claim pursuant to Clause 13.1 {Increasedcosts) shall notify
          the Facility Agent of the event giving rise to the claim, following which the Facility Agent shall
          promptly notify the Borrowers.

   (b)    Each Finance Party shall, as soon as practicable after a demand by the Facility Agent, provide
          a certificate confirming the amount of its Increased Costs.

   13.3   Exceptions

          Clause 13.1 (Increased costs) does not apply to the extent any Increased Cost is:

   (a)    attributable to a Tax Deduction required by law to be made by an Obligor;

   (b)    attributable to a FATCA Deduction required to be made by a Party;

   (c)    compensated for by Clause 12.3 (Tax indemnity) (or would have been compensated for under
          Clause 12.3 (Tax indemnity) but was not so compensated solely because any of the exclusions
          in paragraph (b) of Clause 12.3 (Tax indemnity) applied);

   (d)    attributable to the wilful breach by the relevant Finance Party or its Affiliates of any law or
          regulation; or

   (e)    incurred by a Fledge Counterparty in its capacity as such.

   14     OTHER INDEMNITIES

   14.1   Currency indemnity

   (a)    Subject always to Clause 16 (Costs and Expenses), if any sum due from an Obligor under the
          Finance Documents (a "Sum"), or any order, judgment or award given or made in relation to a
          Sum, has to be converted from the currency (the "First Currency") in which that Sum is payable
          into another currency (the "Second Currency") for the purpose of:

          (0      making or filing a claim or proof against that Obligor; or

          (¡0     obtaining or enforcing an order, judgment or award in relation to any litigation or
                  arbitration proceedings.

          that Obligor shall, as an independent obligation, within five Business Days of demand,
          indemnify each Secured Party to which that Sum is due against any cost, loss or liability arising
          out of or as a result of the conversion including any discrepancy between (A) the rate of



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          exchange used to convert that Sum from the First Currency into the Second Currency and (B)
          the rate or rates of exchange available to that person at the time of its receipt of that Sum.

   (b)    Subject always to Clause 16 {Costs and Expenses), each Obligor waives any right it may have in
          any jurisdiction to pay any amount under the Finance Documents in a currency or currency
          unit other than that in which it is expressed to be payable.

   (c)    This Clause 14.1 {Currency indemnity) does not apply to any sum due to a Hedge Counterparty
          in its capacity as such.

   14.2   Other indemnities

   (a)    Subject always to Clause 16 (Costs and Expenses), each Obligor shall, within five Business Days
          of demand (save in respect of paragraph (i) which shall be payable on demand), indemnify
          each Secured Party against any cost, loss or liability incurred by it as a result of:

          0)      the occurrence of any Event of Default;

          (‫)؛؛‬    a failure by a Transaction Obligor to pay any amount due under a Finance Document
                  on its due date, including without limitation, any cost, loss or liability arising as a result
                  of Clause 34 (Sharing among the Finance Parties);

          (iii)   funding, or making arrangements to fund, its participation in an Advance requested by
                  the Borrowers in a Utilisation Request but not made by reason of the operation of any
                  one or more of the provisions of this Agreement (other than by reason of default or
                  negligence by that Secured Party alone); or

          (iv)    the Loan (or part of the Loan) not being prepaid in accordance with a notice of
                  prepayment given by the Borrowers.

   (b)    Each Obligor shall, within five Business Days of demand, indemnify each Finance Party, each
          Affiliate of a Finance Party and each officer or employee of a Finance Party or its Affiliate (each
          such person for the purposes of this Clause 14.2 (Other indemnities) an "Indemnified Person"),
          against any cost, loss or liability incurred by that Indemnified Person pursuant to or in
          connection with any litigation, arbitration or administrative proceedings or regulatory enquiry,
          in connection with or arising out of the entry into and the transactions contemplated by the
          Finance Documents, having the benefit of any Security constituted by the Finance Documents
          or which relates to the condition or operation of, or any incident occurring in relation to, any
          Ship unless such cost, loss or liability is caused by the gross negligence or wilful misconduct of
          that Indemnified Person.

   (c)    Without limiting, but subject to any limitations set out in paragraph (b) above, the indemnity
          in paragraph (b) above shall cover any cost, loss or liability incurred by each Indemnified Person
          in any jurisdiction:

          (‫)؛‬     arising or asserted under or in connection with any law relating to safety at sea, the
                  ISM Code, any Environmental Law or any applicable Sanctions; or

          (‫)؛؛‬    in connection with any Environmental Claim.

   (d)    Any Affiliate or any officer or employee of a Finance Party or of any of its Affiliates may rely on
          this Clause 14.2 (Other indemnities) subject to Clause 1.5 (Thirdparty rights) and the provisions
          of the Third Parties Act.




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   14.3   Indemnity to the Facility Agent

          Subject always to Clause 16 (Costs and Expenses), each Obligor shall, within five Business Days
          of demand, indemnify the Facility Agent against:

   (a)    any cost, loss or liability incurred by the Facility Agent (acting reasonably) as a result of:

          (i)     investigating any event which it reasonably believes is a Default; or

          (ii)    acting or relying on any notice, request or instruction which it reasonably believes to
                  be genuine, correct and appropriately authorised; or

          (iii)   instructing lawyers, accountants, tax advisers, surveyors or other professional advisers
                  or experts as permitted under the Finance Documents; and

   (b)    any cost, loss or liability incurred by the Facility Agent (otherwise than by reason of the Facility
          Agent's gross negligence or wilful misconduct) or, in the case of any cost, loss or liability
          pursuant to Clause 35.11 (Disruption to Payment Systems etc.) notwithstanding the Facility
          Agent's negligence, gross negligence or any other category of liability whatsoever but not
          including any claim based on the fraud of the Facility Agent in acting as Facility Agent under
          the Finance Documents.

   14.4   Indemnity to the Security Agent

   (a)    Each Obligor shall, within five Business Days of demand (save in respect of sub-paragraphs
          (¡)(A), (¡)(C) and (¡)(E) which shall be payable on demand), indemnify the Security Agent and
          every Receiver and Delegate against any cost, loss or liability incurred by any of them:

          (‫)؛‬     in relation to or as a result of:

                  (A)      any failure by a Borrower to comply with its obligations under Clause 16 (Costs
                           and Expenses);

                  (B)      acting or relying on any notice, request or instruction which it reasonably
                           believes to be genuine, correct and appropriately authorised;

                  (C)     the taking, holding, protection or enforcement of the Finance Documents and
                          the Transaction Security;

                  (D)     the exercise of any of the rights, powers, discretions, authorities and remedies
                          vested in the Security Agent and each Receiver and Delegate by the Finance
                          Documents or by law;

                  (E)     any default by any Transaction Obligor in the performance of any of the
                          obligations expressed to be assumed by it in the Finance Documents;

                  (F)     any action by any Transaction Obligor which vitiates, reduces the value of, or
                          is otherwise prejudicial to, the Transaction Security; and

                  (G)     instructing lawyers, accountants, tax advisers, surveyors or other professional
                          advisers or experts as permitted under the Finance Documents.




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          (‫)!؛‬    acting as Security Agent, Receiver or Delegate under the Finance Documents or which
                  otherwise relates to any of the Security Property or the performance of the terms of
                  this Agreement or the other Finance Documents (otherwise, in each case, than by
                  reason of the relevant Security Agent's, Receiver's or Delegate's gross negligence or
                  wilful misconduct).

   (b)    The Security Agent and every Receiver and Delegate may, in priority to any payment to the
          Secured Parties, indemnify itself out of the Security Assets in respect of, and pay and retain,
          all sums necessary to give effect to the indemnity in this Clause 14.4 (Indemnity to the Security
          Agent) and shall have a lien on the Transaction Security and the proceeds of the enforcement
          of the Transaction Security for all monies payable to it.

   15     MITIGATioN BY THE FINANCE PARTIES


   15.1   Mitigation

   (a)    Each Finance Party shall, in consultation with the Borrowers, take all reasonable steps to
          mitigate any circumstances which arise and which would result in any amount becoming
          payable under or pursuant to, or cancelled pursuant to, any of Clause 7.1 (Illegality), Clause 12
          (،Tax Gross Up and Indemnities) 0‫ ؟‬Qause !‫؛ >؟‬Increased Costs) ‫ﺱ‬١‫؛ ﻉ‬but notWmXted to)
          transferring its rights and obligations under the Finance Documents to another Affiliate or
          Facility office.

   (b)    Paragraph (a) above does not in any way limit the obligations of any Transaction Obligor under
          the Finance Documents.

   15.2   Limitation of liability

   (a)    Each Obligor shall, within five Business Days of demand, indemnify each Finance Party for all
          costs and expenses reasonably incurred by that Finance Party as a result of steps taken by it
          under Clause 15.1 (Mitigation).

   (b)    A Finance Party is not obliged to take any steps under Clause 15.1 (Mitigation) if either:

          (!)     an Event of Default has occurred and is continuing; or

          (ii)    in the opinion of that Finance Party (acting reasonably), to do so might be prejudicial
                  to it.

   16     COSTS AND EXPENSES


   16.1   Transaction expenses

          The Obligors shall, within five Business Days of demand, pay the Facility Agent, the Security
          Agent and the Arranger the amount of all pre-agreed costs and expenses (including legal fees)
          reasonably incurred by any Secured Party in connection with the negotiation, preparation,
          printing, execution, syndication and perfection of:

   (a)    this Agreement and any other documents referred to in this Agreement or in a Security
          Document; and

   (b)    any other Finance Documents executed after the date of this Agreement.




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   16.2   Amendment costs

          If:

   (a)    a Transaction Obligor requests an amendment, waiver or consent; or

   (b)    an amendment is required either pursuant to Clause 35.9 [Change of currency) or as
          contemplated in Clause 44.4 [Replacement of Screen Rate); or

   (c)    a Transaction Obligor requests, and the Security Agent agrees to, the release of all or any part
          of the Security Assets from the Transaction Security,

          the Obligors shall, within five Business Days of demand, reimburse each of the Facility Agent
          and the Security Agent for the amount of all pre-agreed costs and expenses (including legal
          fees) reasonably incurred by each Secured Party in responding to, evaluating, negotiating or
          complying with that request or requirement.

   16.3   Enforcement and preservation costs

          The Obligors shall, on demand, pay to each Secured Party the amount of all costs and expenses
          (including legal fees) incurred by that Secured Party in connection with the enforcement of, or
          the preservation of any rights under, any Finance Document or the Transaction Security and
          with any proceedings instituted by or against that Secured Party as a consequence of it
          entering into a Finance Document, taking or holding the Transaction Security, or enforcing
          those rights.




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                                                    SECTION 7

                    GUARANTEES AND JOINT AND SEVERAL LIABILITY OF BORROWERS

    17     JOINT AND SEVERAL LIABILITY OF THE BORROWERS

    17.1   Joint and several liability

           All liabilities and obligations of the Borrowers under this Agreement shall, whether expressed
           to be so or not, be joint and several.

    17.2   Waiver of defences

           The liabilities and obligations of a Borrower shall not be impaired by:

    (a)    this Agreement being or later becoming void, unenforceable or illegal as regards any other
           Borrower;

    (b)    any Lender or the Security Agent entering into any rescheduling, refinancing or other
           arrangement of any kind with any other Borrower;

    (c)    any Lender or the Security Agent releasing any other Borrower or any Security created by a
           Finance Document; or

    (d)    any time, waiver or consent granted to, or composition with any other Borrower or other
           person;

    (e)    the release of any other Borrower or any other person under the terms of any composition or
           arrangement with any creditor of any member of the Group;

    (f)    the taking, variation, compromise, exchange, renewal or release of, or refusal or neglect to
           perfect, take up or enforce, any rights against, or security over assets of, any other Borrower
           or other person or any non-presentation or non-observance of any formality or other
           requirement in respect of any instrument or any failure to realise the full value of any security;

    (g)    any incapacity or lack of power, authority or legal personality of or dissolution or change in the
           members or status of any other Borrower or any other person;

    (h)    any amendment, novation, supplement, extension, restatement (however fundamental, and
           whether or not more onerous) or replacement of a Finance Document or any other document
           or security including, without limitation, any change in the purpose of, any extension of or any
           increase in any facility or the addition of any new facility under any Finance Document or other
           document or security;

    0)     any unenforceability, illegality or invalidity of any obligation or any person under any Finance
           Document or any other document or security; or

    (j)    any insolvency or similar proceedings.

    17.3   Principal Debtor

           Each Borrower declares that it is and will, throughout the Security Period, remain a principal
           debtor for all amounts owing under this Agreement and the Finance Documents and no




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          Borrower shall, in any circumstances, be construed to be a surety for the obligations of any
          other Borrower under this Agreement.

   17.4   Borrower restrictions

   (a)    Subject to paragraph (b) below, during the Security Period no Borrower shall:

          (!)     claim any amount which may be due to it from any other Borrower whether in respect
                  of a payment made under, or matter arising out of, this Agreement or any Finance
                  Document, or any matter unconnected with this Agreement or any Finance Document;
                  or

          (Ü)     take or enforce any form of security from any other Borrower for such an amount, or
                  in any way seek to have recourse in respect of such an amount against any asset of any
                  other Borrower; or

          (iii)   set off such an amount against any sum due from it to any other Borrower; or

          (iv)    prove or claim for such an amount in any liquidation, administration, arrangement or
                  similar procedure involving any other Borrower; or

          (٧)     exercise or assert any combination of the foregoing.

   (b)    If during the Security Period, the Facility Agent, by notice to a Borrower, requires it to take any
          action referred to in paragraph (a) above in relation to any other Borrower, that Borrower shall
          take that action as soon as practicable after receiving the Facility Agent's notice.

   17.5   Deferral of Borrowers' rights

          Until all amounts which may be or become payable by the Borrowers under or in connection
          with the Finance Documents have been irrevocably paid in full and unless the Facility Agent
          otherwise directs, no Borrower will exercise any rights which it may have by reason of
          performance by it of its obligations under the Finance Documents:

   (a)    to be indemnified by any other Borrower; or

   (b)    to claim any contribution from any other Borrower in relation to any payment made by it under
          the Finance Documents.

   18     GUARANTEE AND INDEMNITY - HEDGE GUARANTORS

  18.1    Guarantee and Indemnity

          Each Hedge Guarantor irrevocably and unconditionally jointly and severally:

  (a)     guarantees to each Hedge Counterparty punctual performance by each Borrower of all that
          Borrower's obligations under the Hedging Agreements;

  (b)     undertakes with each Hedge Counterparty that whenever a Borrower does not pay any
          amount when due under or in connection with any Hedging Agreement, that Hedge Guarantor
          shall immediately on demand pay that amount as if it were the principal obligor; and

  (c)     agrees with each Hedge Counterparty that if any obligation guaranteed by it is or becomes
          unenforceable, invalid or illegal, it will, as an independent and primary obligation, indemnify



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          that Hedge Counterparty immediately on demand against any cost, loss or liability it incurs as
          a result of a Borrower not paying any amount which would, but for such unenforceability,
          invalidity or illegality, have been payable by it under any Hedging Agreement on the date when
          it would have been due. The amount payable by a Hedge Guarantor under this indemnity will
          not exceed the amount it would have had to pay under this Clause 18 {Guarantee and
          Indemnity - Hedge Guarantors) if the amount claimed had been recoverable on the basis of a
          guarantee.

   18.2   Continuing guarantee

          This guarantee is a continuing guarantee and will extend to the ultimate balance of sums
          payable by any Borrower under the Hedging Agreements, regardless of any intermediate
          payment or discharge in whole or in part.

   18.3   Reinstatement

          If any discharge, release or arrangement (whether in respect of the obligations of any Borrower
          or any security for those obligations or otherwise) is made by a Secured Party in whole or in
          part on the basis of any payment, security or other disposition which is avoided or must be
          restored in insolvency, liquidation, administration or otherwise, without limitation, then the
          liability of each Hedge Guarantor under this Clause 18 (Guarantee and Indemnity - Hedge
          Guarantors) will continue or be reinstated as if the discharge, release or arrangement had not
          occurred.

   18.4   Waiver of defences

          The obligations of each Hedge Guarantor under this Clause 18 (Guarantee and Indemnity -
          Hedge Guarantors) and in respect of any Transaction Security will not be affected or discharged
          by an act, omission, matter or thing which, but for this Clause 18.4 (Waiver of defences), would
          reduce, release or prejudice any of its obligations under this Clause 18 (Guarantee and
          Indemnity - Hedge Guarantors) or in respect of any Transaction Security (without limitation
          and whether or not known to it or any Secured Party) including:

   (a)    any time, waiver or consent granted to, or composition with, any Transaction Obligor or other
          person;

   (b)    the release of any other Transaction Obligor or any other person under the terms of any
          composition or arrangement with any creditor of any member of the Group;

   (c)    the taking, variation, compromise, exchange, renewal or release of, or refusal or neglect to
          perfect or delay in perfecting, or refusal or neglect to take up or enforce, or delay in taking or
          enforcing any rights against, or security over assets of, any Transaction Obligor or other person
          or any non-presentation or non-observance of any formality or other requirement in respect
          of any instrument or any failure to realise the full value of any security;

   (d)    any incapacity or lack of power, authority or legal personality of or dissolution or change in the
          members or status of a Transaction Obligor or any other person;

   (e)    any amendment, novation, supplement, extension, restatement (however fundamental and
          whether or not more onerous) or replacement of any Finance Document or any other
          document or security including, without limitation, any change in the purpose of, any
          extension of or any increase in any facility or the addition of any new facility under any Finance
          Document or other document or security;



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   (f)    any unenforceability, illegality or invalidity of any obligation of any person under any Finance
          Document or any other document or security; or

   (g)    any insolvency or similar proceedings.

   18.5   Immediate recourse

          Each Hedge Guarantor waives any right it may have of first requiring any Secured Party (or any
          trustee or agent on its behalf) to proceed against or enforce any other rights or security or
          claim payment from any person (including without limitation to commence any proceedings
          under any Finance Document or to enforce any Transaction Security) before claiming or
          commencing proceedings under this Clause 18 (Guarantee and Indemnity - Hedge
          Guarantors). This waiver applies irrespective of any law or any provision of a Finance
          Document to the contrary.

   18.6   Appropriations

          Until all amounts which may be or become payable by the Borrowers under or in connection
          with the Hedging Agreements have been irrevocably paid in full, each Secured Party (or any
          trustee or agent on its behalf) may:

   (a)    refrain from applying or enforcing any other moneys, security or rights held or received by that
          Secured Party (or any trustee or agent on its behalf) in respect of those amounts, or apply and
          enforce the same in such manner and order as it sees fit (whether against those amounts or
          otherwise) and no Hedge Guarantor shall be entitled to the benefit of the same; and

   (b)    hold in an interest-bearing suspense account any moneys received from any Hedge Guarantor
          or on account of any Hedge Guarantor's liability under this Clause 18 [Guarantee and Indemnity
          - Hedge Guarantors).

   18.7   Deferral of Hedge Guarantors’ rights

          All rights which each Hedge Guarantor at any time has (whether in respect of this guarantee,
          a mortgage or any other transaction) against any Borrower, any other Transaction Obligor or
          their respective assets shall be fully subordinated to the rights of the Secured Parties under
          the Finance Documents and until the end of the Security Period and unless the Facility Agent
          otherwise directs, no Hedge Guarantor will exercise any rights which it may have (whether in
          respect of any Finance Document to which it is a Party or any other transaction) by reason of
          performance by it of its obligations under the Finance Documents or by reason of any amount
          being payable, or liability arising, under this Clause 18 (Guarantee and Indemnity - Hedge
          Guarantors):

   (a)    to be indemnified by a Transaction Obligor;

   (b)    to claim any contribution from any third party providing security for, or any other guarantor
          of, any Transaction Obligor's obligations under the Finance Documents;

   (c)    to take the benefit (in whole or in part and whether by way of subrogation or otherwise) of
          any rights of the Secured Parties under the Finance Documents or of any other guarantee or
          security taken pursuant to, or in connection with, the Finance Documents by any Secured
          Party;




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   (d)    to bring legal or other proceedings for an order requiring any Transaction Obligor to make any
          payment, or perform any obligation, in respect of which any Hedge Guarantor has given a
          guarantee, undertaking or indemnity under Clause 18 (Guarantee and Indemnity - Hedge
          Guarantors);

   (e)    to exercise any right of set-off against any Transaction Obligor; and/or

   (f)    to claim or prove as a creditor of any Transaction Obligor in competition with any Secured
          Party.

          If a Hedge Guarantor receives any benefit, payment or distribution in relation to such rights it
          shall hold that benefit, payment or distribution to the extent necessary to enable all amounts
          which may be or become payable to the Secured Parties by the Transaction Obligors under or
          in connection with the Finance Documents to be repaid in full on trust for the Secured Parties
          and shall promptly pay or transfer the same to the Facility Agent or as the Facility Agent may
          direct for application in accordance with Clause 35 (Payment Mechanics).

   18.8   Additional security

          This guarantee and any other Security given by a Hedge Guarantor is in addition to and is not
          in any way prejudiced by, and shall not prejudice, any other guarantee or Security or any other
          right of recourse now or subsequently held by any Secured Party or any right of set-off or
          netting or right to combine accounts in connection with the Finance Documents.

   18.9   Applicability of provisions of Guarantee to other Security

          abuses 1‫>؛؟‬.1 ‫؛‬Continuing guarantee‫ ؛‬1‫>؟‬Reinstatement 3‫ ؛‬1‫>؟‬.4 ‫؛‬Waiver of defences‫ ؛‬1‫>؟‬.5
          ‫؛‬immediate recourse‫؛‬, 1‫ﺓ‬.‫؛ ﺓ‬Appropriations‫؛‬, 1‫ﺓ‬.٦ ‫؛‬Deferral of Hedge Guarantors' rights‫ﺃﺓ ؛‬١‫ﺓ‬
          Additional security) shall apply, with any necessary modifications, to any Security which) 18.8
          a Hedge Guarantor creates (whether at the time at which it signs this Agreement or at any
          later time) to secure the Secured Liabilities or any part of them,




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                                                 SECTIONS

                     REPRESENTATIONS, UNDERTAKINGS AND EVENTS OF DEFAULT

   19     REPRESENTATIONS

   19.1   General

          Each Obligor makes the representations and warranties set out in this Clause 19
          (Representations) to each Finance Party on the date of this Agreement.

   19.2   Status

   (a)    It is a limited liability company, duly formed and validly existing in good standing under the law
          of its Original Jurisdiction.

   (b)    It and each Transaction Obligor has the power to own its assets and carry on its business as it
          is being conducted.

   19.3   Membership interests and ownership

   (a)    The legal title to and beneficial interest in the membership interests in each Borrower are held
          by Fleetscape Advantage free of any Security (other than Permitted Security) or any other
          claim.

   (b)    None of the membership interests in any Borrower is subject to any option to purchase, pre­
          emption rights or similar rights.

   19.4   Binding obligations

          Subject to the Legal Reservations and the Perfection Requirements, the obligations expressed
          to be assumed by it in each Transaction Document to which it is a party are legal, valid, binding
          and enforceable obligations.

   19.5   Validity, effectiveness and ranking of Security

   (a)    Each Finance Document to which it is a party does now or, as the case may be, will upon
          execution and delivery create, subject to the Legal Reservations and the Perfection
          Requirements, the Security it purports to create over any assets to which such Security, by its
          terms, relates, and such Security will, when created or intended to be created, be valid and
          effective.

   (b)    No third party has or will have any Security (except for Permitted Security) over any assets that
          are the subject of any Transaction Security granted by it.

   (c)    Subject to the Legal Reservations and the Perfection Requirement, the Transaction Security
          granted by it to the Security Agent or any other Secured Party has or will when created or
          intended to be created have first ranking priority or such other priority it is expressed to have
          in the Finance Documents and is not subject to any prior ranking or pari passu ranking security.

  (d)     No concurrence, consent or authorisation of any person is required for the creation of or
          otherwise in connection with any Transaction Security.




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   19.6    Non-conflict with other obligations

           The entry into and performance by it of, and the transactions contemplated by, each
           Transaction Document to which it is a party do not and will not conflict with:

   (a)     any law or regulation applicable to it;

   (b)     the constitutional documents of any member of the Group; or

   (c)     any agreement or instrument (for example, any services agreement) binding upon it or any
           member of the Group or any member of the Group's assets or constitute a default or
           termination event (however described) under any such agreement or instrument.

   19.7    Power and authority

   (a)     It has the power to enter into, perform and deliver, and has taken all necessary action to
           authorise:

           (0      its entry into, performance and delivery of, each Transaction Document to which it is
                   or will be a party and the transactions contemplated by those Transaction Documents;
                   and

           (‫)؛؛‬    in the case of a Borrower, its registration of the Ship belonging to it under its Approved
                   Flag.

   (b)     No limit on its powers will be exceeded as a result of the borrowing, granting of security or
           giving of guarantees or indemnities contemplated by the Transaction Documents to which it is
           a party.

   19.8    Validity and admissibility in evidence

           All Authorisations required:

   (a)     to enable it lawfully to enter into, exercise its rights and comply with its obligations in the
           Transaction Documents to which it is a party; and

   (b)     to make the Transaction Documents to which it is a party admissible in evidence in its Relevant
           Jurisdictions,

           have been obtained or effected and are in full force and effect.

   19.9    Governing law and enforcement

   (a)     Subject to the Legal Reservations, the choice of governing law of each Transaction Document
           to which it is a party will be recognised and enforced in its Relevant Jurisdictions.

   (b)     Subject to the Legal Reservations, any judgment obtained in relation to a Transaction
           Document to which it is a party in the jurisdiction of the governing law of that Transaction
           Document will be recognised and enforced in its Relevant Jurisdictions.

   19.10   Insolvency

           No:




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   (a)     corporate action, legal proceeding or other procedure or step described in paragraph (a) of
           Clause 28.8 {Insolvency proceedings); or

   (b)     creditors' process described in Clause 28.9 {Creditors'process),

           has been taken or, to its actual knowledge, threatened in relation to a member of the Group;
           and none of the circumstances described in Clause 28.7 {Insolvency) applies to a member of
           the Group.

   19.11   No filing or stamp taxes

           Except as otherwise stated in any Legal Opinion, under the laws of its Relevant Jurisdictions
           (other than in respect of a Ship) it is not necessary that the Finance Documents to which it is a
           party be registered, filed, recorded, notarised or enrolled with any court or other authority in
           that jurisdiction or that any stamp, registration, notarial or similar Taxes or fees be paid on or
           in relation to the Finance Documents to which it is a party or the transactions contemplated
           by those Finance Documents except registration of each Mortgage at the Marshall Islands
           Ships' Registry which registration will be made and paid on the date of that Mortgage.

   19.12   Deduction of Tax

           It is not required to make any Tax Deduction from any payment it may make under any Finance
           Document to which it is a party.

   19.13   No default

   (a)     No Event of Default and, on the date of this Agreement, no Default is continuing or might
           reasonably be expected to result from the making of any Utilisation or the entry into, the
           performance of, or any transaction contemplated by, any Transaction Document.

   (b)     No other event or circumstance is outstanding which constitutes a default or a termination
           event (however described) under any other agreement or instrument which is binding on it or
           any of its Subsidiaries or to which its (or any of its Subsidiaries') assets are subject which has
           or is reasonably likely to have a Material Adverse Effect.

   19.14   No misleading information

   (a)     Any factual information provided by any member of the Group for the purposes of this
           Agreement was true and accurate in all material respects as at the date it was provided or as
           at the date (if any) at which it is stated.

   (b)     The financial projections contained in any such information have been prepared on the basis
           of recent historical information and on the basis of reasonable assumptions.

   (c)     Nothing has occurred or been omitted from any such information and no information has been
           given or withheld that results in any such information being untrue or misleading in any
           material respect.

   19.15   Financial Statements

   (a)     There has been no material adverse change in its or Fleetscape Advantage's assets, business
           or financial condition (or the assets, business or consolidated financial condition of the Group,
           in the case of Fleetscape Advantage) since the date of this Agreement.




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   (b)     Its and Fleetscape Advantage's most recent financial statements delivered pursuant to Clause
           20.2 (Financial statements):

           (‫)؛‬     have been prepared in accordance with Clause 20.3 (Requirements as to financial
                   statements); and

           (‫)؛؛‬    give a true and fair view of (if audited) or fairly represent (if unaudited) its financial
                   condition as at the end of the relevant financial year and operations during the
                   relevant financial year (consolidated in the case of Fleetscape Advantage).

   (c)     Since the date of the most recent financial statements delivered pursuant to Clause 20.2
           (Financial statements) there has been no material adverse change in its or Fleetscape
           Advantage's business, assets or financial condition (or the business or consolidated financial
           condition of the Group, in the case of Fleetscape Advantage).

   19.16   Pari passu ranking

           Its payment obligations under the Finance Documents to which it is a party rank at least pari
           passu with the claims of all its other unsecured and unsubordinated creditors, except for
           obligations mandatorily preferred by law applying to companies generally.

   19.17   No proceedings pending

   (a)     No litigation, arbitration or administrative proceedings or investigations (including
           proceedings or investigations relating to any breach of the ISM Code or of the ISPS Code) of or
           before any court, arbitral body or agency have (to the best of its knowledge and belief (having
           made due and careful enquiry)) been started against it or any otherTransaction Obligor or any
           member of the Group.

   (b)     No judgment or order of a court, arbitral tribunal or other tribunal or any order or sanction of
           any governmental or other regulatory body in respect of which there has not been effected
           adequate insurance cover (in the reasonable opinion of the Facility Agent acting with the
           authorisation of the Majority Lenders) and which would reasonably be expected, if adversely
           determined, to have a Material Adverse Effect has (to the best of its knowledge and belief
           (having made due and careful enquiry)) been made against it or any other Transaction Obligor
           or any member of the Group.

   19.18   Validity and completeness of the MOAs, Bareboat Charters and Time Charters

   (a)     Each MOA, each Bareboat Charter and each Time Charter constitutes legal, valid, binding and
           enforceable obligations of, in the case of the MOAs and the Bareboat Charters, the Bareboat
           Charterer which is a party to it and, in the case of the Time Charters, the Bareboat Charterer
           which is a party to that Time Charter and, to the best of their knowledge, the Time Charterer.

   (b)     The copies of the MOAs, the Bareboat Charters and the Time Charters delivered to the Facility
           Agent before the date of this Agreement are true and complete copies.

   (c)     No amendments or additions to the MOAs or any Bareboat Charter or any Time Charter have
           been agreed nor have any rights under the MOAs or any Bareboat Charter or any Time Charter
           been waived.




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   19.19   No rebates etc.

           There is no agreement or understanding to allow or pay any rebate, premium, inducement,
           commission, discount or other benefit or payment (however described) to any Borrower or
           any other member of the Group, any Bareboat Charterer or a third party in connection with
           the purchase by a Borrower of a Ship, other than as disclosed to the Facility Agent in writing
           on or before the date of this Agreement or under the Seller's Credit Agreements.

   19.20   Valuations

   (a)     Ail information supplied by it or on its behalf to an Approved Valuer for the purposes of a
           valuation delivered to the Facility Agent in accordance with this Agreement was true and
           accurate as at the date it was supplied or (if appropriate) as at the date (if any) at which it is
           stated to be given.

   (b)     It has not omitted to supply any information to an Approved Valuer which, if disclosed, would
           adversely affect any valuation prepared by such Approved Valuer.

   (c)     There has been no change to the factual information provided pursuant to paragraph (a) above
           in relation to any valuation between the date such information was provided and the date of
           that valuation which, in either case, renders that information untrue or misleading in any
           material respect.

   19.21   No breach of laws

           It has not (and no other member of the Group or any Transaction Obligor has) breached any
           applicable law or regulation which breach has or is reasonably likely to have a Material Adverse
           Effect.

   19.22   No Charter

           No Ship is subject to any Charter other than a Permitted Charter.

   19.23   Compliance with Environmental Laws

           All Environmental Laws relating to the ownership, operation and management of each Ship
           and the business of each member of the Group and each other Transaction Obligor (as now
           conducted and as reasonably anticipated to be conducted in the future) and the terms of all
           Environmental Approvals have been complied with provided that if failure to comply with an
           Environmental Law or the terms of an Environmental Approval is not reasonably likely to, if
           adversely determined, have a Material Adverse Effect, such failure shall not render this
           representation incorrect or misleading.

   19.24   No Environmental Claim

           No Environmental Claim (other than an Environmental Claim arising from an alleged
           Environmental Incident) has been made against any member of the Group, any other
           Transaction Obligor or any Ship which, if adversely determined, is reasonably likely to have a
           Material Adverse Effect.




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   19.25   No Environmental Incident

           No Environmental Incident (other than an alleged or potential Environmental Incident) has
           occurred the result of which is reasonably likely to result in a Material Adverse Effect.

   19.26   ISM and ISPS Code compliance

           All requirements of the ISM Code and the ISPS Code as they relate to each Borrower, each
           Approved Technical Manager, each Bareboat Charterer and each Ship have been complied
           with.

   19.27   Taxes paid

   (a)     It is not and no other member of the Group is materially overdue in the filing of any Tax returns
           and it is not (and no other member of the Group is) overdue in the payment of an amount in
           respect of Tax in excess of $50,000.

   (b)     No claims or investigations are being, or are reasonably likely to be, made or conducted against
           it (or any other member of the Group) with respect to Taxes.

   19.28   Financial Indebtedness

           No Transaction Obligor (other than an Approved Manager) has any Financial Indebtedness
           outstanding other than Permitted Financial Indebtedness.

   19.29   Overseas companies

           No Transaction Obligor has delivered particulars, whether in its name stated in the Finance
           Documents or any other name, of any UK Establishment to the Registrar of Companies as
           required under the Overseas Regulations or, if it has so registered, it has provided to the
           Facility Agent sufficient details to enable an accurate search against it to be undertaken by the
           Lenders at the Companies Registry.

   19.30   Good title to assets

           It and each other member of the Group and each other Transaction Obligor has good, valid
           and marketable title to, or valid leases or licences of, and all applicable Authorisations to use,
           the assets necessary to perform their obligations pursuant to the Transaction Documents to
           which they are a party.

   19.31   Ownership

   (a)     On the Utilisation Date of the Advance under a Ship Tranche, the relevant Borrower will be the
           sole legal and beneficial owner of the Ship being financed by that Ship Tranche, its Earnings
           and its Insurances.

   (b)     With effect on and from the date of its creation or intended creation, each Transaction Obligor
           will be the sole legal and beneficial owner of any asset that is the subject of any Transaction
           Security created or intended to be created by such Transaction Obligor.

   (‫)ء‬     The constitutional documents of each Transaction Obligor (other than the Bareboat Charterers
           and the Approved Manager) do not and could not restrict or inhibit any transfer of the




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           membership interests of the Borrowers on creation or enforcement of the security conferred
           by the Security Documents.

   19.32   Place of business

           No Borrower has a place of business in the Republic of the Marshall Islands, the United
           Kingdom or the US.

   19.33   No employee or pension arrangements

           No Borrower has any employees or any liabilities under any pension scheme.

   19.34   Sanctions

           The following representations in paragraphs (a) to (c) (each inclusive) below are given on the
           date of this Agreement and to the extent that the making, the receiving of the benefit of
           and/or, where applicable, the repetition of and the compliance with these representations do
           not result in a violation of or conflict with Council Regulation (EC) No. 2271/96 of 22 November
           1996 ("EU Blocking Regulation"), Section 7 of the German Foreign Trade Ordinance (§ 7
           Aufienwirtschaftsverordnung) or a similar applicable anti-boycott statute (together with the
           EU Blocking Regulation and Section 7 of the of the German Foreign Trade Ordinance the "Anti
           Boycott Regulations").

   (a)     Neither the Borrowers nor any other member of the Group nor any other Transaction Obligor
           nor any of their respective Subsidiaries, directors or officers (or to the Borrowers' best
           knowledge, none of such member's employees or agents):

           (‫)؛‬     is a Prohibited Person;

           (،‫)؛‬    has violated or is violating any applicable Sanctions;

           0¡¡)    has received notice of or is aware of any claim, action, suit, proceeding or investigation
                   against it with respect to Sanctions by any Sanctions Authority: or

           (iv)    is owned or controlled by, or acting directly or indirectly on behalf of or for the benefit
                   of, a Prohibited Person, and none of such Persons owns or controls a Prohibited
                   Person.

   (b)     No Borrower nor any other member of the Group nor any other Transaction Obligor is using
           or will use directly or indirectly, the proceeds of the Loan to lend, contribute, provide or
           otherwise make available such proceeds to any Person (including any Subsidiary or joint
           venture partners) to (i) fund any activity or business in any jurisdiction that is subject to
           Sanctions or to (ii) fund any activity of or business of, or with any Person located, organised or
           residing in any jurisdiction that is subject to Sanctions or who is the subject of any Sanctions,
           or (iii) in any other manner, and in any case only, if that would result in a violation of Sanctions
           by any Finance Party, any Borrower or any other member of the Group or any other
           Transaction Obligor.

   (c)     No member of the Group or any other Transaction Obligor (or, to the Borrowers' best
           knowledge, none of such member's or other Transaction Obligor's directors, officers,
           employee or agents) has taken or is taking any action resulting in a violation by such Persons
           of Sanctions.




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   (d)     Restricted Lender:

           0)        In connection with any amendment, waiver, determination or direction relating to any
                     part of any representation under this Clause 19.34 (Sanctions) of which a Lender does
                     not have the benefit because such benefit would result in a violation by the Lender of
                     any Anti Boycott Regulation (for the purpose of this paragraph (d) each a "Restricted
                     Lender") above, the Commitment of that Restricted Lender will, subject to paragraph
                     (ii) below, be excluded for the purpose of determining whether the consent of the
                     Majority Lenders has been obtained or whether the determination or direction by the
                     Majority Lenders has been made or given;

           (N)       The Facility Agent is only permitted to exclude the Commitment of a Lender pursuant
                     to paragraph (i) above for the purpose of determining whether the consent of the
                     Majority Lenders has been obtained or whether the determination or direction by the
                     Majority Lenders has been made, if following the Facility Agent's request for such
                     consent, determination or direction by the Majority Lenders the respective Lender
                     notifies the Facility Agent that it is a Restricted Lender for such purpose.

   19.35   No immunity

           In any proceedings taken in respect of a Transaction Obligor in that Transaction Obligor's
           jurisdiction of incorporation or formation in relation to the Finance Documents to which it is a
           party, that Transaction Obligor will not be entitled to claim for itself or any of its assets
           immunity from suit, execution, attachment or other legal process.

   19.36   Private and commercial acts

           Execution by a Transaction Obligor of the Finance Documents to which it is a party constitutes,
           and its exercise of its rights and performance of its obligations thereunder will constitute,
           private and commercial acts done and performed for private and commercial purposes.

   19.37   Money laundering

           No Borrower nor any other member of the Group nor any other Transaction Obligor, their
           respective directors or officers or, to the best knowledge of any of them, any of their respective
           affiliates, agents or employees have engaged in any activity or conduct which would violate
           any applicable anti-bribery, anti-corruption or anti-money laundering laws, regulations or rules
           in any applicable jurisdiction.

   19.38   Repetition

           The Repeating Representations are deemed to be made by each Obligor by reference to the
           facts and circumstances then existing on the date of each Utilisation Request and the first day
           of each Interest Period.

   20      INFORMATION UNDERTAKINGS

   20.1    General

           The undertakings in this Clause 20 (Information Undertakings) remain in force throughout the
           Security Period unless the Facility Agent, acting with the authorisation of the Majority Lenders
           (or, where specified, all the Lenders), may otherwise permit.




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   20.2   Financial statements

          The Borrowers shall supply to the Facility Agent in sufficient copies for all the Lenders:

   (a)    as soon as they become available, but in any event within 120 days after the end of each of
          their respective financial years:

          0)      their respective management reports for that financial year; and

          (‫)؛؛‬    the audited consolidated financial statements of Fleetscape Advantage for that
                  financial year;

   (b)    as soon as they become available, but in any event within 5 Business Days of receipt by the
          Borrowers in accordance with the Bareboat Charters:

          (i)     the unaudited financial statements of a Bareboat Charterer for each financial year of
                  that Bareboat Charterer;

          (‫)؛؛‬    the audited consolidated financial statement of Advantage Tankers for each of its
                  financial years;

          (¡¡¡)   the unaudited consolidated financial statements of Advantage Tankers for each
                  financial quarter of Advantage Tankers; and

          (٠٧)    any other information regarding the financial situation, business and operations of the
                  Bareboat Charterers and Advantage Tankers requested by the Borrowers or the Facility
                  Agent;

   (c)    as soon as possible, but in no event later than 15 December in each calendar year, a budget
          prepared by each Borrower in a format and whose contents are approved by the Facility Agent
          which shows all Operating and Administrative Expenses in respect of the Ship belonging to that
          Borrower during the next calendar year (an "Approved Budget") provided that if the Facility
          Agent has not informed the Borrowers whether or not it approves the contents of that
          Approved Budget within 30 days after the Borrowers have provided that Approved Budget in
          accordance with this paragraph (c), the Facility Agent shall be deemed to have approved the
          contents of that Approved Budget and, if no agreement is reached as to the contents of that
          Approved Budget, the Operating and Administrative Expenses in respect of that Ship during
          the next calendar year will be deemed to be the relevant Approved Operating and
          Administrative Expenses for that Ship;

   (d)    as soon as possible, but in no event later than 15 December in each calendar year, a budget
          prepared by Fleetscape Advantage in a format and whose contents are approved by the Facility
          Agent which shows the anticipated cash-flow projections for each Ship including all Operating
          and Administrative Expenses in respect of each Ship during the next calendar year;

   (e)    as soon as possible, but in no event later than 15 December in each calendar year, a budget
          prepared by each Borrower in a format and whose contents are approved by the Facility Agent
          which shows the anticipated costs and expenses in respect of any special survey, drydocking
          survey or ballast water treatment system in respect of the Ship belonging to that Borrower
          during the next calendar year (the "Drydocking Reserve Budget"); and

   (f)    any other information regarding the financial situation, business and operations of the Group
          and any Transaction Obligor as the Facility Agent may request.




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   20.3   Requirements as to financial statements

   (a)    Each set of financial statements delivered by a Borrower pursuant to Clause 20.2 (Financial
          statements) shall be certified by the member of the relevant company as giving a true and fair
          view (if audited) or fairly representing (if unaudited) its financial condition and operations as
          at the date as at which those financial statements were drawn up.

   (b)    The Borrowers shall procure that each set of financial statements of an Obligor and Fleetscape
          Advantage delivered pursuant to Clause 20.2 (Financial statements) is prepared using GAAP
          and the usual accounting practices and financial reference periods unless, in relation to any
          set of financial statements, it notifies the Facility Agent that there has been a change in GAAP
          or the usual accounting practices or reference periods and its auditors (or, if appropriate, the
          auditors of the Obligor or Fleetscape Advantage) deliver to the Facility Agent a description of
          any change necessary for those financial statements to reflect the GAAP or the usual
          accounting practices and reference periods. Any reference in this Agreement to those financial
          statements shall be construed as a reference to those financial statements as adjusted to
          reflect the changes in GAAP and the usual accounting practices and financial reference periods.

   20.4   Information: miscellaneous

          Each Obligor shall and shall procure that each other Transaction Obligor shall supply to the
          Facility Agent (in sufficient copies for all the Lenders, if the Facility Agent so reasonably
          requests):

   (a)    other than those documents of a strictly administrative nature, all documents dispatched by it
          to its shareholders or members (other than in relation to an Approved Manager) (or any class
          of them) or its creditors generally at the same time as they are dispatched;

   (b)    promptly upon becoming aware of them, the details of any litigation, arbitration or
          administrative proceedings or investigations (including proceedings or investigations relating
          to any alleged or actual breach of the ISM Code or of the ISPS Code) which are current,
          threatened or pending against any member of the Group or any otherTransaction Obligor, and
          which might, if adversely determined, have a Material Adverse Effect and, to the extent
          permitted by law, details of any claim, action, suit, proceedings or investigation against any
          Bareboat Charterer with respect to applicable Sanctions by any Sanctions Authority (in
          sufficient copies for ail the Lenders, if the Facility Agent so requests);

   (c)    as soon as practicable upon becoming aware of any fact indicating that it or a member of the
          Group or any other Transaction Obligor may be in breach, or be exposed to a breach, of
          applicable Sanctions, provided that the notification as such does not constitute a breach of
          mandatory law applicable to it;

   (d)    promptly upon becoming aware of them, the details of any judgment or order of a court,
          arbitral body or agency which is made against any member of the Group and which has or will
          have a Material Adverse Effect;

   (e)    promptly, its constitutional documents where these have been amended or varied;

   (f)    promptly, such further information and/or documents regarding:

          (‫)؛‬    each Ship, goods transported on each Ship, its Earnings and its Insurances;

          (ii)   the Security Assets;




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          (¡‫)ا‬    compliance of:

                  (A)       the Transaction Obligors with the terms of the Finance Documents;

                  (B)       each Bareboat Charterer with the terms of the Bareboat Charter to which it is
                            a party; and

                  (C)     the Time Charterer with the terms of each Time Charter;

          (¡٧)    the financial condition, business and operations of any member of the Group,

          as any Finance Party (through the Facility Agent) may reasonably request; and

   (g)    promptly, such further information and/or documents as any Finance Party (through the
          Facility Agent) may reasonably request so as to enable such Finance Party to comply with any
          laws applicable to it or as may be required by any regulatory authority.

   20.5   Notification of Default

   (a)    Each Obligor shall, and shall procure that each other Transaction Obligor (other than the
          Bareboat Charterers and any Approved Manager) shall, notify the Facility Agent of any Default
          (and the steps, if any, being taken to remedy it) promptly upon becoming aware of its
          occurrence (unless that Obligor is aware that a notification has already been provided by
          another Obligor).

   (b)    Promptly upon a request by the Facility Agent, each Borrower shall supply to the Facility Agent
          a certificate signed by its member on its behalf certifying that no Default is continuing (or if a
          Default is continuing, specifying the Default and the steps, if any, being taken to remedy it).

   20.6   Use of websites

   (a)    Each Obligor may satisfy its obligation under the Finance Documents to which it is a party to
          deliver any information in relation to those lenders (the "Website Lenders") which accept this
          method of communication by posting this information onto an electronic website designated
          by the Borrowers and the Facility Agent (the "Designated Website") if:

          (i)     the Facility Agent expressly agrees (after consultation with each of the Lenders) that it
                  will accept communication of the information by this method;

          (Ü)     both the relevant Obligor and the Facility Agent are aware of the address of and any
                  relevant password specifications for the Designated Website; and

          (¡¡¡)   the information is in a format previously agreed between the relevant Obligor and the
                  Facility Agent.

          If any Lender (a "Paper Form Lender") does not agree to the delivery of information
          electronically then the Facility Agent shall notify the Obligors accordingly and each Obligor
          shall supply the information to the Facility Agent (in sufficient copies for each Paper Form
          Lender) in paper form. In any event each Obligor shall supply the Facility Agent with at least
          one copy in paper form of any information required to be provided by it.




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   (b)    The Facility Agent shall supply each Website Lender with the address of and any relevant
          password specifications for the Designated Website following designation of that website by
          the Obligors or any of them and the Facility Agent.

   (c)    An Obligor shall promptly upon becoming aware of its occurrence notify the Facility Agent if:

          (‫)؛‬     the Designated Website cannot be accessed due to technical failure;

          (¡¡)    the password specifications for the Designated Website change;

          (¡¡¡)   any new information which is required to be provided under this Agreement is posted
                  onto the Designated Website;

          (iv)    any existing information which has been provided under this Agreement and posted
                  onto the Designated Website is amended; or

          (v)     if that Obligor becomes aware that the Designated Website or any information posted
                  onto the Designated Website is or has been infected by any electronic virus or similar
                  software.

          If an Obligor notifies the Facility Agent under sub-paragraph (i) or (v) of paragraph (c) above,
          all information to be provided by the Obligors under this Agreement after the date of that
          notice shall be supplied in paper form unless and until the Facility Agent and each Website
          Lender is satisfied that the circumstances giving rise to the notification are no longer
          continuing.

   (d)    Any Website Lender may request, through the Facility Agent, one paper copy of any
          information required to be provided under this Agreement which is posted onto the
          Designated Website. The Obligors shall comply with any such request within 10 Business Days.

   20.7   "Know your customer" checks

   (a)    If:

          0)      the introduction of or any change in (or in the interpretation, administration or
                  application of) any applicable law or regulation made after the date of this Agreement;

          (٠٠)    any change in the status of a Transaction Obligor (or of a Holding Company of a
                  Transaction Obligor) (including, without limitation, a change of ownership of a
                  Transaction Obligor or of a Holding Company of a Transaction Obligor) after the date
                  of this Agreement; or

          (iii)   a proposed assignment or transfer by a Lenderof any of its rights and obligations under
                  this Agreement to a party that is not a Lender prior to such assignment or transfer,

          obliges a Finance Party (or, in the case of sub-paragraph (iii) above, any prospective new
          Lender) to comply with "know your customer" or similar identification procedures in
          circumstances where the necessary information is not already available to it, each Obligor shall
          promptly upon the request of any Finance Party supply, or procure the supply of, such
          documentation and other evidence as is reasonably requested by a Servicing Party (for itself
          or on behalf of any other Finance Party) or any Lender (for itself or, in the case of the event
          described in sub-paragraph (iii) above, on behalf of any prospective new Lender) in order for
          such Finance Party or, in the case of the event described in sub-paragraph (iii) above, any




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          prospective new Lender to carry out and be satisfied it has complied with all necessary "know
          your customer" or other similar checks under all applicable laws and regulations pursuant to
          the transactions contemplated in the Finance Documents.

   (b)    Each Lender shall promptly upon the request of a Servicing Party supply, or procure the supply
          of, such documentation and other evidence as is reasonably requested by the Servicing Party
          (for itself) in order for that Servicing Party to carry out and be satisfied it has complied with all
          necessary "know your customer" or other similar checks under all applicable laws and
          regulations pursuant to the transactions contemplated in the Finance Documents provided
          that, in the case of sub-paragraph (iii) of paragraph (a) above, the proposed new Lender must
          have entered into a Confidentiality Undertaking.

   21     FINANCIAL COVENANTS

   21.1   Minimum Cash Reserve

          Each Borrower shall, or shall procure that the Bareboat Charterer which is a party to the
          Bareboat Charter relating to that Borrower's Ship shall, during the period commencing on the
          Utilisation Date of the Ship Tranche relating to that Ship and ending on the date the relevant
          Ship Tranche is repaid or, as the case may be, prepaid in full, deposit and maintain in the
          Bareboat Charterer Account of that Bareboat Charterer an amount of $500,000 (being an
          amount of $5,500,000 in aggregate on the date the last Ship Tranche is utilised if all Ship
          Tranches have been utilised, the "Minimum Cash Reserve") provided that following
          repayment or prepayment in full of the Ship Tranche relating to the Ship that is the subject of
          the Bareboat Charter to which the relevant Bareboat Charterer is a party, together with all
          other related amounts payable under the Finance Documents, the Minimum Cash Reserve
          relating to that Ship and maintained in that Bareboat Charterer Account as at the date of such
          repayment or prepayment shall (in accordance with the irrevocable instructions of the
          Bareboat Charterer contained in the document creating Security over that Bareboat Charterer
          Account) be transferred to the Earnings Account of the relevant Borrower and shall be released
          to that Borrower for application in or towards amounts outstanding under the Subordinated
          Loan Agreement.

  21.2    Drydocking Reserve Amounts

  (a)     Each Borrower shall, on and from the Utilisation Date in respect of the Ship Tranche relating
          to the Ship owned by it and until the end of the Security Period, ensure that there is
          accumulated and maintained in its Drydocking Reserve Account, in relation to:

          (‫)؛‬     each of Borrower A, Borrower B, Borrower C, Borrower D and Borrower E, an amount
                  of at least $1,460,000 in respect of that Borrower's Ship; and

          (‫)؛؛‬    each of Borrower F, Borrower G, Borrower H, Borrower I, Borrower J and Borrower K,
                  an amount of at least $1,615,000 in respect of that Borrower's Ship,

          (in each case, the "Drydocking Reserve Amount") which shall be accumulated in accordance
          with Clause 27.8 {Drydocking Reserve Accounts).

  (b)     The Drydocking Reserve Amount in respect of a Ship shall be applied in accordance with Clause
          27.8 (Drydocking Reserve Accounts) other than in a case of a sale, Total Loss or, subject to this
          Agreement and the other Finance Documents, any other disposal of that Ship whereupon the
          Drydocking Reserve Amount in respect of that Ship shall be released to the relevant Borrower




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          for application in accordance with the Subordinated Loan Agreement and the relevant
          Bareboat Charter.

   (c)    Following repayment or prepayment of the Ship Tranche relating to the Borrower's Ship in full
          other than in the case of a sale, Total Loss or, subject to the terms of this Agreement and the
          other Finance Documents, any other disposal of that Ship, together with all other related
          amounts payable under the Finance Documents, the Drydocking Reserve Amount relating to
          that Ship and maintained in that Borrower's Drydocking Reserve Account as at the date of such
          repayment or prepayment shall be released to that Borrower for application in accordance
          with the Subordinated Loan Agreement and the relevant Bareboat Charter.

   21.3   Equal treatment of lenders

          If Fleetscape Advantage agrees with any lender in the context of a financing made or to be
          made available to any member of the Group, financial covenants (including without limitation
          any dividend restrictions) or any equivalent provisions in any other document (together, the
          "Covenants") which place such lender or lenders in a more favourable position than that
          applicable to the Finance Parties pursuant to the Finance Documents, the Borrowers shall
          procure that Fleetscape Advantage or any Obligor shall give the Finance Parties the benefit of
          such Covenants which, in the opinion of the Finance Parties, would place them in an equivalent
          position as that applicable to the other lender or lenders at the relevant time. The Borrowers
          shall and shall procure that Fleetscape Advantage shall also enter, if required by the Facility
          Agent (acting on the instructions of all the Lenders), into a supplemental agreement to this
          Agreement or, as the case may be, any of the other Finance Documents, to amend each such
          document accordingly (with such supplemental agreement or agreements being entered into
          on or immediately after the date on which the Covenants are granted).

   22     GENERAL UNDERTAKINGS

   22.1   General

          The undertakings in this Clause 22 {General Undertakings) remain in force throughout the
          Security Period except as the Facility Agent, acting with the authorisation of the Majority
          Lenders (or, where specified, all the Lenders) may otherwise permit.

   22.2   Authorisations

          Each Obligor shall, and shall procure that each other Transaction Obligor will and further use
          its best endeavours to procure that the Time Charterer will, promptly:

   (a)    obtain, comply with and do all that is necessary to maintain in full force and effect; and

   (b)    supply certified copies to the Facility Agent of,

          any Authorisation required under any applicable law or regulation of a Relevant Jurisdiction or
          the state of the Approved Flag at any time of each Ship to enable it to:

          (0        perform its obligations under the Transaction Documents to which it is a party;

          (¡0     ensure the legality, validity, enforceability or admissibility in evidence in any Relevant
                  Jurisdiction or in the state of the Approved Flag at any time of each Ship, of any
                  Transaction Document to which it is a party; and




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          (Ni)    own and operate each Ship (in the case of the Borrowers and the Bareboat Charterers).

   22.3   Compliance with laws

          Each Obligor shall, and shall procure that each other Transaction Obligor will, comply in all
          respects with all laws and regulations to which it may be subject, if failure so to comply has or
          is reasonably likely to have a Material Adverse Effect.

   22.4   Environmental compliance

          Each Obligor shall, and shall procure that each other Transaction Obligor will and further use
          its best endeavours to procure that the Time Charterer will:

   (a)    comply with all Environmental Laws;

   (b)    obtain, maintain and ensure compliance with all requisite Environmental Approvals;

   (c)    implement procedures to monitor compliance with and to prevent liability under any
          Environmental Law,

          where failure to do so has or is reasonably likely to have a Material Adverse Effect.

   22.5   Environmental Claims

          Each Obligor shall, and shall procure that each other Transaction Obligor will, promptly upon
          becoming aware of the same, inform the Facility Agent in writing of:

   (a)    any Environmental Claim against any member of the Group or any Bareboat Charterer which
          is current, pending or threatened; and

   (b)    any facts or circumstances which are reasonably likely to result in any Environmental Claim
          being commenced orthreatened against any member of the Group or any Bareboat Charterer,

          where the claim, if determined against that member of the Group or that Bareboat Charterer,
          has or is reasonably likely to have a Material Adverse Effect.

   22.6   Taxation

   (a)    Each Borrower shall, and shall procure that each other Transaction Obligor (other than a
          Bareboat Charterer or an Approved Manager) will, pay and discharge all Taxes imposed upon
          it or its assets within the time period allowed and any applicable grace period without incurring
          penalties unless and only to the extent that:

          (0      such payment is being contested in good faith;

          (N)     adequate reserves are maintained for those Taxes and the costs required to contest
                  them and, in relation to the Borrowers, both have been disclosed in its latest financial
                  statements delivered to the Facility Agent under Clause 20.2 (Financial statements)}
                  and

          (iii)   such payment can be lawfully withheld and failure to pay those Taxes does not have
                  or is not reasonably likely to have a Material Adverse Effect.

  (b)     No Borrower shall change its residence for Tax purposes.



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   22.7    Overseas companies

           Each Obligor shall, and shall procure that each other Transaction Obligor will, promptly inform
           the Facility Agent if it delivers to the Registrar particulars required under the Overseas
           Regulations of any UK Establishment and it shall comply with any directions given to it by the
           Facility Agent regarding the recording of any Transaction Security on the register which it is
           required to maintain under The Overseas Companies (Execution of Documents and
           Registration of Charges) Regulations 2009.

   22.8    Pari passu ranking

           Each Obligor shall, and shall procure that each other Transaction Obligor will, ensure that at
           all times any unsecured and unsubordinated claims of a Finance Party against it under the
           Finance Documents rank at least pari passu with the claims of all its other unsecured and
           unsubordinated creditors except those creditors whose claims are mandatorily preferred by
           laws of general application to companies.

   22.9    Title

   (a)     From the Utilisation Date of the Advance under a Ship Tranche, the relevant Borrower shall
           hold the legal title to, and own the entire beneficial interest in the Ship being financed by that
           Ship Tranche, its Earnings and its Insurances;

   (b)     With effect on and from its creation or intended creation, each Obligor shall, and shall procure
           that each other Transaction Obligor will, hold the legal title to, and own the entire beneficial
           interest in any other assets the subject of any Transaction Security created or intended to be
           created by such Obligor.

   22.10   Negative pledge

   (a)     No Obligor shall create or permit to subsist any Security over any of its assets.

   (b)     The Obligors shall procure that no other Transaction Obligor or other member of the Group
           will create or permit to subsist any Security over any of its assets which are, in the case of
           Transaction Obligors or members of the Group other than the Borrowers, the subject of the
           Security created or intended to be created by the Finance Documents.

   (c)     No Obligor shall, and the Obligors shall procure that no other Transaction Obligor will:

           (i)     sell, transfer or otherwise dispose of any of its assets on terms whereby they are or
                   may be leased to or re-acquired by a Transaction Obligor or any other member of the
                   Group;

           (N)     sell, transfer or otherwise dispose of any of its receivables on recourse terms;

           (N¡)    enter into any arrangement under which money or the benefit of a bank or other
                   account may be applied, set-off or made subject to a combination of accounts; or

           (iv)    enter into any other preferential arrangement having a similar effect,

           in circumstances where the arrangement or transaction is entered into primarily as a method
           of raising Financial Indebtedness or of financing the acquisition of an asset.




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   (d)     Paragraphs (a), (b) and (c) above do not apply to any Permitted Security.

   22.11   Disposals

   (a)     No Obligor shall, and the Obligors shall procure that no other Transaction Obligor will, enter
           into a single transaction or a series of transactions (whether related or not) and whether
           voluntary or involuntary to sell, lease, transfer or otherwise dispose of any asset (including
           without limitation any Ship, its Earnings or its Insurances) otherthan in relation to an Approved
           Manager who shall not enter into such a single transaction or series of transactions in respect
           of its assets which are the subject of the Security created or intended to be created under the
           Finance Documents and except, in the case of a Ship, in accordance with the Bareboat Charter
           relating to that Ship and provided that Clause 7.4 (Mandatory prepayment on sale or Total
           Loss) is complied with.

   (b)     Paragraph (a) above does not apply to any Charter as all Charters are subject to Clause 25.16
           (Restrictions on chartering, appointment of managers etc.).

   22.12   Merger

           No Obligor shall enter into any amalgamation, demerger, merger, consolidation or corporate
           reconstruction.

   22.13   Change of business

   (a)     The Borrowers shall procure that no substantial change is made to the general nature of the
           business of Fleetscape Advantage or the Group from that carried on at the date of this
           Agreement.

   (b)     No Borrower shall engage in any business other than the ownership and operation of its Ship.

   22.14   Financial Indebtedness

           No Borrower shall, and shall procure that no other Transaction Obligor will, incur or permit to
           be outstanding any Financial Indebtedness except Permitted Financial Indebtedness.

  22.15    Expenditure

           No Borrower shall incur any expenditure, except for expenditure reasonably incurred in the
           ordinary course of owning, operating, maintaining and repairing its Ship.

  22.16    Membership interests

           No Borrower shall:

  (a)      purchase, cancel or redeem any of its membership interests;

  (b)      increase or reduce its authorised membership interests;

  (c)      issue any membership interests except to Fleetscape Advantage and provided such new
           membership interests are made subject to the terms of the Shares Security applicable to that
           Borrower immediately upon the issue of such new membership interests in a manner
           satisfactory to the Security Agent and the terms of that Shares Security are complied with;




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   (d)     appoint any further director or officer of that Borrower (unless the provisions of the Shares
           Security applicable to that Borrower are complied with).

   22.17   Dividends and payments under the Subordinated Loan Agreement and the Seller's Credit
           Agreements

           No Borrower shall following the occurrence of a Potential Event of Default which is continuing
           or where any of the following would result in the occurrence of an Event of Default:

   (a)     declare, make or pay any dividend, charge, fee or other distribution (or interest on any unpaid
           dividend, charge, fee or other distribution) (whether in cash or in kind) on or in respect of its
           membership interests (or any class of its membership interests);

   (b)     repay or distribute any dividend or membership interests premium reserve;

   (c)     pay any management, advisory or other fee to or to the order of any of its membership
           interests;

   (d)     redeem, repurchase, defease, retire or repay any of its membership interests or resolve to do
           so; or

   (e)     other than as permitted pursuant to Clause 27.2 (Payment and application of Earnings), make
           any payments of any kind under the Subordinated Loan Agreement or any Seller's Credit
           Agreement.

   22.18   Other transactions

           No Borrower shall:

   (a)     be the creditor in respect of any loan or any form of credit to any person other than another
           Transaction Obligorand where such loan orform of credit is Permitted Financial Indebtedness;

   (b)     give or allow to be outstanding any guarantee or indemnity to or for the benefit of any person
           in respect of any obligation of any other person or enter into any document under which that
           Borrower assumes any liability of any other person other than any guarantee or indemnity
           given under the Finance Documents.

   (c)     enter into any material agreement other than:

           (0      the Transaction Documents; and

           (ii)    any other agreement expressly allowed under any other term of this Agreement; and

   (d)     enter into any transaction on terms which are, in any respect, less favourable to that Borrower
           than those which it could obtain in a bargain made at arms' length; or

   (e)     acquire any shares or other securities other than US or UK Treasury bills and certificates of
           deposit issued by major North American or European banks.

  22.19    Unlawfulness, invalidity and ranking; Security imperilled

           No Obligor shall, and the Obligors shall procure that no other Transaction Obligor or any other
           member of the Group will, do (or fail to do) or cause or permit another person to do (or omit
           to do) anything which is likely to:



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   (a)     make it unlawful for a Transaction Obligor or, in the case of the Time Charters, the Time
           Charterer to perform any of its obligations under the Transaction Documents;

   (b)     cause any obligation of a Transaction Obligor or, in the case of the Time Charters, the Time
           Charterer under the Transaction Documents to cease to be legal, valid, binding or enforceable;

   (c)     cause any Transaction Document to cease to be in full force and effect;

   (d)     cause any Transaction Security to rank after, or lose Its priority to, any other Security; or

   (e)     imperil or jeopardise the Transaction Security.

   22.20   Sanctions

           To the extent that the making and the receiving of the benefit of and the compliance with the
           undertakings in this Clause 22.20 (Sanctions) do not and will not result in a violation of or
           conflict with the EU Blocking Regulation, Section 7 of the German Foreign Trade Ordinance (§
           7 Auftenwirtschaftsverordnung) or a similar applicable anti-boycott statute, the Borrowers
           undertake the following:

   (a)     No Borrower shall, and shall not permit or authorize any other member of the Group or any
           other Transaction Obligor to, directly or Indirectly, use, lend, make payments of, contribute or
           otherwise make available, all or any part of the proceeds of the Loan or other transaction(s)
           contemplated by this Agreement to fund any trade, business or other activities:

           (‫)؛‬     involving or for the benefit of any Prohibited Person or any subsidiary or joint venture
                   partner of any Prohibited Person (whether at the time of such funding or otherwise);

           (¡‫)؛‬    in any country or territory, that at the time of such funding is or whose government is
                   the subject of Sanctions if and to the extent this would result in a violation of Sanctions
                   by any Borrower or other member of the Group or any other Transaction Obligor; or

           (iii)   in any other manner that would result in a violation of Sanctions by any Borrower or
                   any other member of the Group or any other Transaction Obligor.

   (b)     The Borrowers will and will ensure that any other member of the Group and any other
           Transaction Obligor will:

           0)      ensure that no Person that is a Prohibited Person will have any legal or beneficial
                   interest in any funds repaid or remitted by a Borrower to a Lender in connection with
                   the Loan or any part of the Loan;

           (¡٠)    not fund all or any part of any payment or repayment under the Loan out of proceeds
                   directly derived from any activity in a country or territory that is the subject of country­
                   wide or territory-wide Sanctions broadly prohibiting dealings with such country or
                   territory; and

           (iii)   not fund all or any part of any payment or repayment under the Loan out of proceeds
                   directly derived from transactions which would be prohibited by Sanctions or would
                   otherwise cause any Finance Party, any Borrower or any other member of the Group
                   or any other Transaction Obligor to be in breach of applicable Sanctions.




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   (c)     The Borrowers shall (and shall procure that each other member of the Group (through
           Fleetscape Advantage) and each other Transaction Obligor shall) maintain policies and
           procedures designed to promote and achieve compliance with applicable Sanctions.

   (d)     The Borrowers shall procure that each member of the Group and each other Transaction
           Obligor will comply in all respects with applicable Sanctions.

   (e)     Neither any Borrower nor any other member of the Group nor any other Transaction Obligor
           shall be a Prohibited Person.

   (f)     Restricted Lender:

           (١)     In connection with any amendment, waiver, determination or direction relating to
                   any part of the undertaking in paragraphs (a) to (e) (each inclusive) of this Clause
                   22.20 (Sanctions) of which a Lender does not have the benefit because such benefit
                   would result in a violation by the lender of any Anti Boycott Regulations (for the
                   purpose of this paragraph (f), each a "Restricted Lender"), the Commitment of that
                   Restricted Lender will, subject to paragraph (ii) below, be excluded for the purpose of
                   determining whether the consent of the Majority Lenders has been obtained or
                   whether the determination or direction by the Majority Lenders has been made or
                   given.

           (¡0     The Facility Agent is only permitted to exclude the Commitment of a Lender pursuant
                   to paragraph (i) above for the purpose of determining whether the consent of the
                   Majority Lenders has been obtained or whether the determination or direction by the
                   Majority Lenders has been made, if following the Facility Agent's request for such
                   consent, determination or direction by the Majority Lenders the respective Lender
                   notifies the Facility Agent that it is a Restricted Lender for such purpose.

   22.21   Further assurance

   (a)     Each Obligor shall, and shall procure that each other Transaction Obligor will, promptly, and in
           any event within the time period specified by the Security Agent do all such acts (including
           procuring or arranging any registration, notarisation or authentication or the giving of any
           notice) or execute or procure execution of all such documents (including assignments,
           transfers, mortgages, charges, notices, instructions, acknowledgments, proxies and powers of
           attorney), as the Security Agent may reasonably specify (and in such form as the Security Agent
           may require in favour of the Security Agent or its nominee(s)):

           (‫)؛‬     to create, perfect, vest in favour of the Security Agent or protect the priority of the
                   Security or any right of any kind created or intended to be created under or evidenced
                   by the Finance Documents (which may include the execution of a mortgage, charge,
                   assignment or other Security over all or any of the assets which are, or are intended to
                   be, the subject of the Transaction Security) or for the exercise of any rights, powers
                   and remedies of any of the Secured Parties provided by or pursuant to the Finance
                   Documents or by law;

           (»)     to confer on the Security Agent or confer on the Secured Parties Security over any
                   property and assets of that Transaction Obligor located in any jurisdiction equivalent
                   or similar to the Security intended to be conferred by or pursuant to the Finance
                   Documents;




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          (¡¡‫)؛‬     to facilitate or expedite the realisation and/or sale of, the transfer of title to or the
                    grant of, any interest in or right relating to the assets which are, or are intended to be,
                    the subject of the Transaction Security or to exercise any power specified in any
                    Finance Document in respect of which the Security has become enforceable; and/or

          (iv)      to enable or assist the Security Agent to enter into any transaction to commence,
                    defend or conduct any proceedings and/or to take any other action relating to any
                    item of the Security Property.

   (b)    Each Obligor shall, and shall procure that each other Transaction Obligor will, take all such
          action as is available to it (including making all filings and registrations) as may be necessary
          for the purpose of the creation, perfection, protection or maintenance of any Security
          conferred or intended to be conferred on the Security Agent or the Secured Parties by or
          pursuant to the Finance Documents.

   (c)    At the same time as an Obligor delivers to the Security Agent any document executed by itself
          or another Transaction Obligor pursuant to this Clause 22.21 {Further assurance), that Obligor
          shall deliver, or shall procure that such other Transaction Obligor will deliver, to the Security
          Agent a certificate signed by one of that Obligor's or Transaction Obligor's members, directors
          or officers, as applicable, which shall:

          (¡)       set out the text of a resolution of that Obligor's or Transaction Obligor's directors or
                    members, as applicable, specifically authorising the execution of the document
                    specified by the Security Agent; and

          (i¡)      state that either the resolution was duly passed at a meeting of the directors or
                    members, as applicable, validly convened and held, throughout which a quorum of
                    directors or members, as applicable, entitled to vote on the resolution was present, or
                    that the resolution has been signed by all the directors, members or officers, as
                    applicable, and is valid under that Obligor's or Transaction Obligor's articles of
                    association or other constitutional documents.

   23     INSURANCE UNDERTAKINGS

   23.1   General

          The undertakings in this Clause 23 {Insurance Undertakings) remain in force from the date of
          this Agreement throughout the rest of the Security Period except as the Facility Agent, acting
          with the authorisation of the Majority Lenders (or, where specified, all the Lenders) may
          otherwise permit.

   23.2   Maintenance of obligatory insurances

          Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, keep the Ship
          owned by it insured at its expense against:

  (a)     fire and usual marine risks (including hull and machinery and excess risks);

  (b)     war risks;

  (c)     protection and indemnity risks;

  (d)     risk of loss of Earnings; and




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(e)    any other risks against which the Facility Agent acting on the instructions of the Majority
       Lenders considers, having regard to practices and other circumstances prevailing at the
       relevant time, it would be reasonable for that Borrower and/or Bareboat Charterer to insure
       and which are specified by the Facility Agent by notice to that Borrower.

23.3   Terms of obligatory insurances

       Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, effect such
       insurances:

(a)    in dollars;

(b)    in the case of fire and usual marine risks and war risks, in an amount on an agreed value basis
       at least the greater of:

       (0       120 per cent, of the Ship Tranche relating to the Ship owned by it; and

       (ii)    the Market Value of that Ship;

(c)    in the case of oil pollution liability risks, for an aggregate amount equal to the highest level of
       cover from time to time available, currently $1,000,000,000, under basic protection and
       indemnity club entry and in the international marine insurance market;

(d)    in the case of protection and indemnity risks, in respect of the full tonnage of its Ship;

(e)    in the case of risk of loss of Earnings insurance, in an amount equal to at least 180 days of hire
       payable under the relevant Bareboat Charter and/or Time Charter with an excess of the first
       45 days of hire;

(f)    on approved terms; and

(g)    through Approved Brokers and with approved insurance companies and/or underwriters or, in
       the case of war risks and protection and indemnity risks, in approved war risks and protection
       and indemnity risks associations.

23.4   Further protections for the Finance Parties

       In addition to the terms set out in Clause 23.3 (Terms of obligatory insurances), each Borrower
       shall procure that the obligatory insurances effected by it or, as the case may be, the relevant
       Bareboat Charterer shall:

(a)    subject always to paragraph (b), name only that Borrower, that Bareboat Charterer and each
       Approved Manager as the named insureds unless the interest of every other named insured is
       limited:

       (i)     in respect of any obligatory insurances for hull and machinery and war risks;

               (A)     to any provable out-of-pocket expenses that it has incurred and which form
                       part of any recoverable claim on underwriters; and

               (B)     to any third party liability claims where cover for such claims is provided by the
                       policy (and then only in respect of discharge of any claims made against it);
                       and




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       (¡¡)    in respect of any obligatory insurances for protection and indemnity risks, to any
               recoveries it is entitled to make by way of reimbursement following discharge of any
               third party liability claims made specifically against it;

       and every other named insured has undertaken in writing to the Security Agent (in such form
       as it requires) that any deductible shall be apportioned between that Borrower and that
       Bareboat Charterer and every other named insured in proportion to the gross claims made or
       paid by each of them and that it shall do all things necessary and provide all documents,
       evidence and information to enable the Security Agent to collect or recover any moneys which
       at any time become payable in respect of the obligatory insurances;

(b)    whenever the Facility Agent requires, name (or be amended to name) the Security Agent as
       additional named insured for its rights and interests, warranted no operational interest and
       with full waiver of rights of subrogation against the Security Agent, but without the Security
       Agent being liable to pay (but having the right to pay) premiums, calls or other assessments in
       respect of such insurance;

(c)    name the Security Agent as loss payee with such directions for payment as the Facility Agent
       may specify;

(d)    provide that all payments by or on behalf of the insurers under the obligatory insurances to
       the Security Agent shall be made without set off, counterclaim or deductions or condition
       whatsoever;

(e)    provide that the obligatory insurances shall be primary without right of contribution from
       other insurances which may be carried by the Security Agent or any other Finance Party; and

(f)    provide that the Security Agent may make proof of loss if that Borrower fails to do so.

23.5   Renewal of obligatory insurances

       Each Borrower shall, and shall procure that the relevant Bareboat Charterer will:

(a)    at least 14 days before the expiry of any obligatory insurance effected by it:

       (i)     notify the Facility Agent of the Approved Brokers (or other insurers) and any protection
               and indemnity or war risks association through or with which it proposes to renew that
               obligatory insurance and of the proposed terms of renewal; and

       (‫)؛؛‬    obtain the Facility Agents' approval to the matters referred to in sub-paragraph (i)
               above;

(b)    at least 14 days before the expiry of any obligatory insurance, renew that obligatory insurance
       in accordance with the Facility Agent's approval pursuant to paragraph (a) above; and

(c)    procure that the Approved Brokers and/or the approved war risks and protection and
       indemnity associations with which such a renewal is effected shall promptly after the renewal
       notify the Facility Agent in writing of the terms and conditions of the renewal.

23.6   Copies of policies; letters of undertaking

       Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, ensure that
       the Approved Brokers provide the Security Agent with:




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(a)    proforma copies of all policies relating to the obligatory insurances which they are to effect or
       renew; and

(b)    a letter or letters or undertaking in a form required by the Facility Agent (acting reasonably)
       and including undertakings by the Approved Brokers that:

       (i)     they will have endorsed on each policy, immediately upon issue, a loss payable clause
               and a notice of assignment complying with the provisions of Clause 23.4 (Further
               protections for the Finance Parties);

       (¡¡)    they will hold such policies, and the benefit of such insurances, to the order of the
               Security Agent in accordance with such loss payable clause;

       (N¡)    they will advise the Security Agent immediately of any material change to the terms of
               the obligatory insurances;

       (iv)    they will, if they have not received notice of renewal instructions from the relevant
               Borrower or Bareboat Charterer or their respective agents, notify the Security Agent
               not less than 14 days before the expiry of the obligatory insurances;

       (v)     if they receive instructions to renew the obligatory insurances, they will promptly
               notify the Facility Agent of the terms of the instructions;

       (Vi)    they will not set off against any sum recoverable in respect of a claim relating to the
               Ship owned by that Borrower under such obligatory insurances any premiums or other
               amounts due to them or any other person whether in respect of that Ship or otherwise,
               they waive any lien on the policies, or any sums received under them, which they might
               have in respect of such premiums or other amounts and they will not cancel such
               obligatory insurances by reason of non-payment of such premiums or other amounts;
               and

       (vii)   they will arrange for a separate policy to be issued in respect of the Ship owned by that
               Borrower forthwith upon being so requested by the Facility Agent.

23.7   Copies of certificates of entry

       Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, ensure that
       any protection and indemnity and/or war risks associations in which the Ship owned by it is
       entered provide the Security Agent with:

(a)    a certified copy of the certificate of entry for that Ship;

(b)    a letter or letters of undertaking in such form as may be reasonably required by the Facility
       Agent acting on the instructions of Majority Lenders; and

(c)    a certified copy of each certificate of financial responsibility for pollution by oil or other
       Environmentally Sensitive Material issued by the relevant certifying authority in relation to
       that Ship.




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23.8    Deposit of original policies

        Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, ensure that
        all policies relating to obligatory insurances effected by it are deposited with the Approved
        Brokers through which the insurances are effected or renewed.

23.9    Payment of premiums

        Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, punctually
        pay all premiums or other sums payable in respect of the obligatory insurances effected by it
        and produce all relevant receipts when so required by the Facility Agent or the Security Agent.

23.10   Guarantees

        Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, ensure that
        any guarantees required by a protection and indemnity or war risks association are promptly
        issued and remain in full force and effect.

23.11   Compliance with terms of insurances

(a)     No Borrower shall, and shall procure that no Bareboat Charterer will, do or omit to do (nor
        permit to be done or not to be done) any act or thing which would or might render any
        obligatory insurance invalid, void, voidable or unenforceable or render any sum payable under
        an obligatory insurance repayable in whole or in part.

(b)     Without limiting paragraph (a) above, each Borrower shall, and shall procure that the relevant
        Bareboat Charterer will:

        (‫)؛‬     take all necessary action and comply with all requirements which may from time to
                time be applicable to the obligatory insurances, and (without limiting the obligation
                contained in sub-paragraph (iii) of paragraph (b) of Clause 23.6 {Copies of policies;
                letters of undertaking)) ensure that the obligatory insurances are not made subject to
                any exclusions or qualifications to which the Facility Agent has not given its prior
                approval;

        (‫)؛؛‬    not make any changes relating to the classification or classification society or manager
                or operator of the Ship owned by it approved by the underwriters of the obligatory
                insurances;

        (iii)   make (and promptly supply copies to the Facility Agent of) all quarterly or other voyage
                declarations which may be required by the protection and indemnity risks association
                in which the Ship owned by it is entered to maintain cover for trading to the United
                States of America and Exclusive Economic Zone (as defined in the United States Oil
                Pollution Act 1990 or any other applicable legislation); and

        (iv)    not employ the Ship owned by it, nor allow it to be employed, otherwise than in
                conformity with the terms and conditions of the obligatory insurances, without first
                obtaining the consent of the insurers and complying with any requirements (as to extra
                premium or otherwise) which the insurers specify.




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23.12   Alteration to terms of insurances

        No Borrower shall, and shall procure that no Bareboat Charterer will, make or agree to any
        alteration to the terms of any obligatory insurance or waive any right relating to any obligatory
        insurance.

23.13   Settlement of claims

        Each Borrower shall, and shall procure that the relevant Bareboat Charterer will:

(a)     not settle, compromise or abandon any claim under any obligatory insurance for Total Loss or
        for a Major Casualty; and

(b)     do all things necessary and provide all documents, evidence and information to enable the
        Security Agent to collect or recover any moneys which at any time become payable in respect
        of the obligatory insurances.

23.14   Provision of copies of communications

        Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, on the
        Security Agent's reasonable request, provide the Security Agent with copies of all written
        communications between that Borrower and/or Bareboat Charterer and:

(a)     the Approved Brokers;

(b)     the approved protection and indemnity and/or war risks associations; and

(c)     the approved insurance companies and/or underwriters,

        which relate directly or indirectly to:

        (‫)؛‬     that Borrower's and/or that Bareboat Charterer's obligations relating to the obligatory
                insurances including, without limitation, all requisite declarations and payments of
                additional premiums or calls; and

        (‫)؛؛‬    any credit arrangements made between that Borrower and/or that Bareboat Charterer
                and any of the persons referred to in paragraphs (a) or (b) above relating wholly or
                partly to the effecting or maintenance of the obligatory insurances.

23.15   Provision of information

        Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, promptly
        provide the Facility Agent (or any persons which it may designate) with any information which
        the Facility Agent (or any such designated person) reasonably requests for the purpose of:

(a)     obtaining or preparing any report from an independent marine insurance broker as to the
        adequacy of the obligatory insurances effected or proposed to be effected; and/or

(b)     effecting, maintaining or renewing any such insurances as are referred to in Clause 23.16
        (Mortgagee's interest and additional perils insurances) or dealing with or considering any
        matters relating to any such insurances.

        and the Borrowers shall, and shall procure that the Bareboat Charterers will, within five
        Business Days of demand, indemnify the Security Agent in respect of all fees and other



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        expenses incurred by or for the account of the Security Agent in connection with any such
        report as is referred to in paragraph (a) above if such report was obtained either (i) pursuant
        to Clause 4 (Conditions of Utilisation), (ii) following a change in the obligatory insurances
        effected, (iii) any change in any applicable law occurs which may affect the obligatory
        insurances and (iv) following the occurrence of an Event of Default which is continuing.

23.16   Mortgagee's interest and additional perils insurances

(a)     The Security Agent shall be entitled from time to time to effect, maintain and renew a
        mortgagee's interest marine insurance and a mortgagee's interest additional perils insurance
        in such amounts, on such terms, through such insurers and generally in such manner as the
        Security Agent acting on the instructions of the Majority Lenders may from time to time
        consider appropriate.

(b)     The Borrowers shall, and shall procure that the Bareboat Charterers will, within five Business
        Days of fully indemnify the Security Agent in respect of all premiums and other expenses which
        are incurred in connection with or with a view to effecting, maintaining or renewing any
        insurance referred to in paragraph (a) above or dealing with, or considering, any matter arising
        out of any such insurance.

24      MOA AND BAREBOAT CHARTER UNDERTAKINGS

24.1    General

        The undertakings in this Clause 24 (MOA and Bareboat Charter Undertakings) remain in force
        throughout the Security Period except as the Facility Agent, acting with the authorisation of
        the Majority Lenders (or, where specified, all the Lenders) may otherwise permit.

24.2    Performance of MOAs and Bareboat Charters

        Each Borrower shall, in relation to the MOA and Bareboat Charter to which it is a party:

(a)     observe and perform all its obligations and meet all its liabilities under or in connection with
        that MOA and Bareboat Charter;

(b)     use its best endeavours to ensure performance and observance by the other parties of their
        obligations and liabilities under that MOA and Bareboat Charter; and

(c)     take any action, or refrain from taking any action, which the Facility Agent may specify in
        connection with any breach, or possible future breach, of that MOA and Bareboat Charter by
        that Borrower or any other party or with any other matter which arises or may later arise out
        of or in connection with that MOA and Bareboat Charter.

24.3    No variation, release etc. of MOAs and/or Bareboat Charter

        No Borrower shall, in relation to the MOA and/or Bareboat Charter to which it is a party,
        whether by a document, by conduct, by acquiescence or in any other way:

(a)     vary that MOA and/or Bareboat Charter;

(b)     release, waive, suspend, subordinate or permit to be lost or impaired any interest or right of
        any kind which that Borrower has at any time to, in or in connection with that MOA and/or




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       Bareboat Charter or in relation to any matter arising out of or in connection with that MOA
       and/or Bareboat Charter;

(c)    waive any person's breach of that MOA and/or Bareboat Charter; or

(d)    rescind or terminate that MOA and/or Bareboat Charter or treat itself as discharged or relieved
       from further performance of any of its obligations or liabilities under that MOA and/or
       Bareboat Charter.

24.4   Action to protect validity of MOAs and Bareboat Charters

       Each Borrowers shall use its best endeavours to ensure that all interests and rights conferred
       by the MOA and Bareboat Charter to which it is a party remain valid and enforceable in all
       respects and retain the priority which they were intended to have.

24.5   No assignment etc. of MOAs and Bareboat Charters

       Save as permitted by the Finance Documents, no Borrower shall assign, novate, transfer or
       dispose of any of its rights or obligations under the MOA or Bareboat Charter to which it is a
       party.

24.6   Provision of information relating to MOAs and Bareboat Charters

       Without prejudice to Clause 20.4 (Information: miscellaneous) each Borrower shall, in relation
       to the MOA and Bareboat Charter to which it is a party:

(a)    as soon as practicable but in any event within the same day, inform the Facility Agent if any
       breach of that MOA or Bareboat Charter occurs or a serious risk of such a breach arises and of
       any other event or matter affecting that MOA or Bareboat Charter which has or is reasonably
       likely to have a Material Adverse Effect;

(b)    provide the Facility Agent, promptly after service, with copies of all notices served on or by
       that Borrower under or in connection with that MOA or Bareboat Charter; and

(c)    provide the Facility Agent with any information which it requests about any interest or right of
       any kind which that Borrower has at any time to, in or in connection with, that MOA or
       Bareboat Charter or in relation to any matter arising out of or in connection with that MOA or
       Bareboat Charter.

25     GENERAL SHIP UNDERTAKINGS

25.1   General

       The undertakings in this Clause 25 (General Ship Undertakings) remain in force on and from
       the date of this Agreement and throughout the rest of the Security Period except as the Facility
       Agent, acting with the authorisation of the Majority Lenders (or, where specified, all the
       Lenders) may otherwise permit.

25.2   Ships' names and registration

       Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, in respect of
       the Ship owned by it:




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(a)    keep that Ship registered in its name under the Approved Flag from time to time at its port of
       registration;

(b)    not do or allow to be done anything as a result of which such registration might be suspended,
       cancelled or imperilled;

(c)    not enter into any dual flagging arrangement in respect of that Ship; and

(d)    not change the name of that Ship,

       provided that any change of flag of a Ship shall be subject to:

       (‫)؛‬     that Ship remaining subject to Security securing the Secured Liabilities created by a
               first priority or preferred ship mortgage on that Ship and, if appropriate, a first priority
               deed of covenant collateral to that mortgage (or equivalent first priority Security) on
               substantially the same terms as the Mortgage on that Ship and on such other terms
               and in such other form as the Facility Agent, acting with the authorisation of the
               Majority Lenders, shall approve or require; and

       (¡i)    the execution of such other documentation amending and supplementing the Finance
               Documents as the Facility Agent, acting with the authorisation of the Majority Lenders,
               shall approve or require.

25.3   Repair and classification

       Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, keep the Ship
       owned by it in a good and safe condition and state of repair:

(a)    consistent with first class ship ownership and management practice; and

(b)    so as to maintain the Approved Classification free of overdue recommendations and
       conditions.

25.4   Modifications

       Subject to Clause 25.6 (Scrubbers and water ballast treatment), no Borrower shall, and shall
       procure that no Bareboat Charterer will, make any modification or repairs to, or replacement
       of, any Ship or equipment installed on it which would or might materially alter the structure,
       type or performance characteristics of that Ship or materially reduce its value.

25.5   Removal and installation of parts

(a)    Subject to paragraph (b) below and subject to Clause 25.6 (Scrubbers and water ballast
       treatment), no Borrower shall, and shall procure that no Bareboat Charterer will, remove any
       material part of any Ship, or any item of equipment installed on any Ship unless:

       (')    the part or item so removed is forthwith replaced by a suitable part or item which is in
              the same condition as or better condition than the part or item removed;

       (ii)   the replacement part or item is free from any Security in favour of any person other
              than the Security Agent; and




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       (Hi)      the replacement part or item becomes, on installation on that Ship, the property of
                 that Borrower and subject to the security constituted by the Mortgage on that Ship.

(b)    A Borrower and/or a Bareboat Charterer may install equipment owned by a third party if the
       equipment can be removed without any risk of damage to the Ship owned by that Borrower.

25.6   Scrubbers and water ballast treatment

(a)    A Borrower or a Bareboat Charterer shall be permitted to install scrubbers and/or ballast water
       treatment systems on a Ship with the prior written consent of the Facility Agent (acting with
       the authorisation of all the Lenders, such authorisation not to be unreasonably withheld) with
       regards to the proposed technological plan and subject to no third party lien over that Ship.

(b)    Prior to work commencing on a Ship in respect of the installation of scrubbers and/or ballast
       water treatment systems, the Borrower owning that Ship shall (or shall procure that the
       relevant Bareboat Charterer will) provide to the Facility Agent evidence that it has sufficient
       funds for the cost of the work in respect of the installation of scrubbers and/or ballast water
       treatment systems on that Ship.

25.7   Surveys

       Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, submit the
       Ship owned by it regularly to all periodic or other surveys which may be required for
       classification purposes and, if so required by the Facility Agent acting on the instructions of the
       Majority Lenders, provide the Facility Agent, with copies of all survey reports.

25.8   Inspection

       Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, permit the
       Security Agent (acting through surveyors or other persons appointed by it for that purpose) to
       board the Ship owned by it, whilst no Event of Default is continuing or prior to the occurrence
       of a Major Casualty, once in each calendar year at all reasonable times (upon reasonable notice
       being served by the Security Agent and provided that such inspection shall not delay or
       interfere with that Ship's operation and/or loading or unloading) and, following the occurrence
       of an Event of Default and whilst the same is continuing ora Major Casualty in respect of which
       the damage has not been repaired in accordance with the requirements of the Approved
       Classification Society, at all times to inspect its condition or to satisfy themselves about
       proposed or executed repairs and shall afford all proper facilities for such inspections. The
       reasonable costs of one such inspection per Ship per calendar year shall be borne by the
       Borrowers unless an Event of Default or a Major Casualty has occurred following which the
       Borrowers shall be liable for the costs of all inspections.

25.9   Prevention of and release from arrest

(a)    Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, in respect of
       the Ship owned by it, promptly discharge:

       (i)     all liabilities which give or may give rise to maritime or possessory liens on or claims
               enforceable against that Ship, its Earnings or its Insurances;

       (‫)؛؛‬    all Taxes, dues and other amounts charged in respect of that Ship, its Earnings or its
               Insurances; and




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        (iü)    all other outgoings whatsoever in respect of that Ship, its Earnings or its Insurances.

(b)     Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, within the
        same day of receiving notice of the arrest of the Ship owned by it or of its detention in exercise
        or purported exercise of any lien or claim, take all steps necessary to procure its release by
        providing bail or otherwise as the circumstances may require.

25.10   Compliance with laws etc.

        Each Borrower shall, and shall procure that each Bareboat Charterer will:

(a)     comply, or procure compliance with all laws or regulations:

        (‫)؛‬     relating to its business generally; and

        (ii)    relating to the Ship owned by it, its ownership, employment, operation, management
                and registration,

        including, but not limited to, the ISM Code, the ISPS Code, all Environmental Laws, all
        applicable Sanctions and the laws of the Approved Flag;

(b)     obtain, comply with and do all that is necessary to maintain in full force and effect any
        Environmental Approvals; and

(c)     without limiting paragraph (a) above, not employ the Ship owned by it nor allow its
        employment, operation or management in any manner contrary to any law or regulation
        including but not limited to the ISM Code, the ISPS Code, all Environmental Laws and applicable
        Sanctions (or which would be contrary to applicable Sanctions if such applicable Sanctions
        were binding on each Transaction Obligor).

25.11   ISPS Code

        Without limiting paragraph (a) of Clause 25.10 (Compliance with laws etc.), each Borrower
        shall, and shall procure that the relevant Bareboat Charterer will:

(a)     procure that the Ship owned by it and the company responsible for that Ship's compliance with
        the ISPS Code comply with the ISPS Code; and

(b)     maintain an ISSC for that Ship; and

(c)     notify the Facility Agent as soon as practicable in writing of any actual or threatened
        withdrawal, suspension, cancellation or modification of the ISSC.

25.12   Sanctions and Ship trading

(a)     Without limiting Clause 25.10 (Compliance with laws etc.), each Borrower shall procure:

        (‫)؛‬    that the Ship owned by it shall not be used by or for the benefit of a Prohibited Person
               contrary to applicable Sanctions;

        (‫)؛؛‬   that such Ship shall not be used in trading in any manner contrary to applicable
               Sanctions;




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        (iii)   that such Ship shall not be traded in any manner which would trigger the operation of
                any sanctions limitation or exclusion clause (or similar) in the Insurances; and

        (iv)    that each charterparty in respect of that Ship shall contain, for the benefit of that
                Borrower, language which gives effect to the provisions of paragraph (c) of Clause
                25.10 {Compliance with laws etc.) as regards Sanctions and of this Clause 25.12
                (Sanctions and Ship trading) and which permits refusal of employment or voyage
                orders if compliance would result in a breach of applicable Sanctions (or which would
                result in a breach of applicable Sanctions if such applicable Sanctions were binding on
                each Transaction Obligor).

(b)     Each Borrower shall, and shall procure that each Bareboat Charterer will:

        (0      not directly or to its knowledge (after reasonable enquiry) indirectly use or permit to
                be used all or any part of the proceeds of the Loan, or lend, contribute or otherwise
                make available such proceeds directly or to its knowledge (after reasonable enquiry)
                indirectly, to any person or entity (A) to finance or facilitate any activity or transaction
                of or with any Prohibited Person contrary to applicable Sanctions, or (B) in any other
                manner that would result in a violation of any Sanctions by any Party;

        (‫)؛؛‬    not fund all or part of any payment under the Loan out of proceeds derived directly or
                to its knowledge (after reasonable enquiry) indirectly from any activity or transaction
                with a Prohibited Person contrary to applicable Sanctions or which would otherwise
                cause any party to be in breach of any Sanctions; and

        (iii)   procure that no proceeds to its knowledge (after reasonable enquiry) from activities
                or business with a Prohibited Person contrary to applicable Sanctions are credited to
                the Earnings Account or any other Account.

25.13   Trading in war zones

        In the event of hostilities in any part of the world (whether war is declared or not), no Borrower
        shall, and shall procure that no Bareboat Charterer will, cause or permit any Ship to enter or
        trade to any zone which is declared a war zone by any government or by that Ship's war risks
        insurers unless:

(a)     the prior written consent of the Security Agent acting on the instructions of the Majority
        Lenders has been given; and

(b)     that Borrower or that Bareboat Charterer has (at its expense) effected any special, additional
        or modified insurance cover which the Security Agent acting on the instructions of the Majority
        Lenders may require.

25.14   Provision of information

        Without prejudice to Clause 20.4 (Information: miscellaneous) each Borrower shall, and shall
        procure that the relevant Bareboat Charterer will, in respect of the Ship owned by it, promptly
        provide the Facility Agent with any information which it requests regarding:

(a)     that Ship, its employment, position and engagements;

(b)     the Earnings and payments and amounts due to its master and crew;




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(C)     any expenditure incurred, or likely to be incurred, in connection with the operation,
        maintenance or repair of that Ship and any payments made by it in respect of that Ship;

(d)     any towages and salvages; and

(e)     its compliance, the Approved Manager's compliance and the compliance of that Ship with the
        ISM Code and the ISPS Code,

        and, upon the Facility Agent's request, promptly provide copies of any current Charter relating
        to that Ship, of any current guarantee of any such Charter, the Ship's Safety Management
        Certificate and any relevant Document of Compliance.

25.15   Notification of certain events

        Each Borrower shall, and shall procure that the relevant Bareboat Charterer will, in respect of
        the Ship owned by it, as soon as practicable notify the Facility Agent of:

(a)     any casualty to that Ship which is or is likely to be or to become a Major Casualty;

(b)     any occurrence as a result of which that Ship has become or is, by the passing of time or
        otherwise, likely to become a Total Loss;

(c)     any requisition of that Ship for hire;

(d)     any requirement or recommendation made in relation to that Ship by any insurer or
        classification society or by any competent authority which is not immediately complied with;

(e)     any arrest or detention of that Ship or any exercise or purported exercise of any lien on that
        Ship or the Earnings;

(f)     any intended dry docking of that Ship;

(g)     any Environmental Claim made against that Borrower or that Bareboat Charterer or in
        connection with that Ship, or any Environmental Incident;

(h)     any claim for breach of the ISM Code or the ISPS Code being made against that Borrower, that
        Bareboat Charterer an Approved Manager or otherwise in connection with that Ship; or

(i)     any other matter, event or incident, actual or threatened, the effect of which will or could lead
        to the ISM Code or the ISPS Code not being complied with.

        and each Borrower shall keep the Facility Agent advised in writing on a regular basis and in
        such detail as the Facility Agent shall require as to that Borrower's, that Bareboat Charterer's
        any such Approved Manager's or any other person's response to any of those events or
        matters.

25.16   Restrictions on chartering, appointment of managers etc.

        No Borrower shall, and shall procure that the relevant Bareboat Charterer will not, in relation
        to the Ship owned by it:

(a)     let that Ship on demise charter for any period;




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(b)     enter into any time, voyage or consecutive voyage charter in respect of that Ship other than a
        Permitted Charter;

(c)     amend, supplement or terminate a Management Agreement;

(d)     appoint a manager of that Ship other than the Approved Commercial Manager and the
        Approved Technical Manager or agree to any alteration to the terms of an Approved Manager's
        appointment;

(e)     de activate or lay up that Ship; or

(f)     put that Ship into the possession of any person for the purpose of work being done upon it in
        an amount exceeding or likely to exceed $500,000 (or the equivalent in any other currency)
        unless that person has first given to the Security Agent and in terms satisfactory to it a written
        undertaking not to exercise any lien on that Ship or its Earnings for the cost of such work or for
        any other reason.

25.17   Notice of Mortgage

        Each Borrower shall keep the relevant Mortgage registered against the Ship owned by it as a
        valid first preferred mortgage, carry on board that Ship a certified copy of the relevant
        Mortgage and place and maintain in a conspicuous place in the navigation room and the
        master's cabin of that Ship a framed printed notice stating that that Ship is mortgaged by that
        Borrower to the Security Agent.

25.18   Sharing of Earnings

        No Borrower shall, and shall procure that no Bareboat Charterer will, enter into any agreement
        or arrangement for the sharing of any Earnings other than for the purposes of this Agreement.

25.19   Notification of compliance

        Each Borrower shall promptly provide the Facility Agent from time to time with evidence (in
        such form as the Facility Agent requires) that it is complying with this Clause 25 (General Ship
        Undertakings).

26      SECURITY COVER

26.1    Minimum required security cover

        Clause 26.2 (Provision of additional security; prepayment) applies if, on or after the first
        Utilisation Date, the Facility Agent notifies the Borrowers that:

(a)     the aggregate Market Value of each Ship then subject to a Mortgage; plus

(b)     the net realisable value of additional Security previously provided under this Clause 26
        (Security Cover),

        is below 140 per cent, of the Loan.

26.2    Provision of additional security; prepayment

(a)     If the Facility Agent serves a notice on the Borrowers under Clause 26.1 (Minimum required
        security cover), the Borrowers shall, on or before the date falling one Month after the date (the



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       "Prepayment Date") on which the Facility Agent's notice is served, prepay such part of the
       Loan as shall eliminate the shortfall.

(b)    A Borrower may, instead of making a prepayment as described in paragraph (a) above, provide,
       or ensure that a third party has provided, additional security which, in the opinion of the
       Facility Agent acting on the instructions of the Majority Lenders:

       0)      has a net realisable value at least equal to the shortfall; and

       (¡¡)    is documented in such terms as the Facility Agent may approve or require.

       before the Prepayment Date; and conditional upon such security being provided in such
       manner, it shall satisfy such prepayment obligation.

26.3   Value of additional vessel security

       The net realisable value of any additional security which is provided under Clause 26.2
       (Provision of additional security; prepayment) and which consists of Security over a vessel shall
       be the Market Value of the vessel concerned.

26.4   Valuations binding

       Any valuation under this Clause 26 (Security Cover) shall be binding and conclusive as regards
       each Borrower.

26.5   Provision of information

(a)    Each Borrower shall promptly provide the Facility Agent and any shipbroker acting under this
       Clause 26 (Security Cover) with any information which the Facility Agent or the shipbroker may
       request for the purposes of the valuation.

(b)    If a Borrower fails to provide the information referred to in paragraph (a) above by the date
       specified in the request, the valuation may be made on any basis and assumptions which the
       shipbroker or the Facility Agent considers prudent.

26.6   Prepayment mechanism

       Any prepayment pursuant to Clause 26.2 (Provision of additional security; prepayment) shall
       be made in accordance with the relevant provisions of Clause 7 (Prepayment and Cancellation)
       and shall be treated as a voluntary prepayment pursuant to Clause 7.3 (Voluntaryprepayment
       of Loan).

26.7   Provision of valuations

       At the Borrowers' cost, in respect of each Ship and any other vessel over which additional
       Security has been created in accordance with Clause 26.3 (Value of additional vessel security),
       two valuations of that Ship or other vessel will be provided, each from an Approved Valuer,
       one selected by the Facility Agent and the other by the Borrowers, each addressed to the
       Finance Parties, to enable the Facility Agent to determine the Market Value of that Ship or
       other vessel, on two occasions in each year on 30 June and 31 December and on the date falling
       one year prior to the Termination Date in respect of the Ship Tranche financing that Ship.




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27     ACCoUNTS, APPLICATO OF EARNINGS AND HEDGE RECEIPTS


27.1   Accounts

       No Borrower may, without the prior consent of the Facility Agent, maintain any bank account
       other than its Earnings Account, its Drydocking Reserve Account, its Balloon Reserve Account
       and the Retention Account.

27.2   Payment and application of Earnings

(a)    Each Borrower shall, and shall procure that each Bareboat Charterer will in respect of sub-
       paragraph (¡)(B)below, ensure that:

       (¡)     subject only to the provisions of the Tripartite Assignment to which it is a party, all the
               Earnings in respect of the Ship owned by it and deriving from:

               (A)     the Bareboat Charter relating to that Ship are paid in to its Earnings Account;
                       and

               (B)     the Time Charter relating to that Sflip are paid in to the Bareboat Charterer
                       Account of the Bareboat Charterer in respect of that Ship; and

       (Ü)     all Hedge Receipts are paid in to the Retention Account.

(b)    The Earnings in respect of a Ship received in the relevant Bareboat Charterer Account during
       the Security Period shall be applied in the following order on the tenth day in each calendar
       month during the Security Period (or, if the tenth day of a calendar month does not fall on a
       Business Day, on the next Business Day to occur in that calendar month):

       (!)     first, in or towards payment of the Operating and Administrative Expenses in respect
               of that Ship as determined by reference to the Approved Budget or, as the case may
               be and subject to paragraph (c) of Clause 20.2 (Financial statements), the Approved
               Operating and Administrative Expenses by transferring the amount required to make
               such payment of the Operating and Administrative Expenses or, as the case may be
               the Approved Operating and Administrative Expenses in respect of that Ship from that
               Bareboat Charterer Account to the account of the relevant Bareboat Charterer or
               Advantage Tankers held with QNB Finansbank AS, Bogazici Branch (or such other bank
               as may be approved by the Facility Agent acting reasonably) only for the purpose of
               onward payment to the relevant creditors;

       (Ü)     secondly, in or towards payment of the amounts required to be paid by the Borrower
               owning that Ship in accordance with Clause 27.8 (Drydocking Reserve Accounts); and

       (iii)   thirdly, any surplus shall be paid to the Earnings Account of the Borrower owning that
               Ship for the payment of hire pursuant to the Bareboat Charter in respect of that Ship.

(c)    Subject to Clause 27.3 (Monthly retentions), the Earnings paid to the Earnings Account of a
       Borrower pursuant to a Bareboat Charter in respect of a Ship shall be applied in the following
       order on the tenth day in each calendar month during the Security Period (or, if the tenth day
       of a calendar month does not fall on a Business Day, on the next Business Day to occur in that
       calendar month):




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        (i)     first, in or towards payment pro rata of any unpaid fees, costs and expenses of, and
                any other amounts owing to, the Lenders, the Facility Agent, the Security Agent, the
                Hedge Counterparties, any Receiver or any Delegate under the Finance Documents;

        (‫)¡؛‬    secondly, in respect of each application in accordance with this paragraph (c) on or
                around 10 January, 10 April, 10 July and 10 October in each calendar year during the
                Security Period, an amount of $5,000 in respect of that Borrower shall be released to
                that Borrower for application in or towards payment of the Administrative Expenses
                in respect of that Borrower;

        (iii)   thirdly, in order towards payment pro rata of:

                (A)     any accrued interest due but unpaid to the Lenders under this Agreement;

                (B)     any periodical payments (not being payments as a result of termination or
                        closing out) due but unpaid to the Hedge Counterparties under the Hedging
                        Agreements; and

                (C)     any Repayment Instalment due;

        (¡v)    fourthly, in or towards payment of the amounts required to be paid by the Borrower
                owning that Ship, as necessary, in accordance with Clause 27.9 (Balloon Reserve
                Accounts)■,

        (٧)     fifthly, in or towards payment of the Minimum Cash Interest pursuant to the
                Subordinated Loan Agreement; and

       (Vi)     sixthly, any surplus shall be released to the Borrower owning that Ship for application
                in or towards other amounts outstanding under the Subordinated Loan Agreement.

27.3   Monthly retentions

       Each Borrower shall ensure that, in each calendar month following the Utilisation Date in
       respect of the Ship Tranche financing that Borrower's Ship, on the tenth day in each calendar
       month during the Security Period (or, if the tenth day of a calendar month does not fall on a
       Business Day, on the next Business Day to occur in that calendar month), there is transferred
       to the Retention Account of that Borrower out of the Earnings received by that Borrower in its
       Earnings Account during the preceding calendar month:

(a)    one-third of the amount of any Repayment Instalment falling due under Clause 6.1 (Repayment
        of Loan ) on the next Repayment Date in respect of that Ship Tranche; and

(b)    the relevant fraction of the aggregate amount of interest on the part of the Loan corresponding
       to that Ship Tranche which is payable under this Agreement in respect of any Interest Period
       then current, reduced by the amount of any corresponding payment from a Hedge
       Counterparty due to that Borrower under any Hedging Agreement; and

(c)    the relevant fraction of the aggregated net amount which is payable by that Borrower to any
       Hedge Counterparty under any Hedging Agreement on the next due date for payment of such
       amount under the relevant Hedging Agreement.

       The "relevant fraction" is a fraction of which:




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       (!)     the numerator ¡5 one; and

       (Ü)     the denominator is:

               (A)     the number of months comprised in the relevant then current Interest Period;
                       or

               (B)     if the period is shorter, the number of months from the later of the
                       commencement of the relevant current Interest Period or the last due date for
                       payment of interest on the Loan or the relevant part of the Loan to the next
                       due date for payment of interest on the Loan or the relevant part of the Loan
                       under this Agreement.

27.4   Shortfall in Earnings

(a)    If the aggregate of the credit balance on the relevant Borrower's Earnings Account is
       insufficient in any calendar month for the required amount to be transferred to the Retention
       Account under Clause 27.3 (Monthly retentions), to the Drydocking Accounts under Clause
       27.8 (Drydocking Reserve Accounts) and to the Balloon Reserve Accounts under Clause 27.9
       (Balloon Reserve Accounts), the Borrowers shall make up the amount of the insufficiency on
       demand from the Facility Agent.

(b)    Without prejudicing the Facility Agent's right to make such demand at any time, the Facility
       Agent may, if so authorised by the Majority Lenders, permit the Borrowers to make up all or
       part of the insufficiency by increasing the amount of any transfer under Clause 27.3 (Monthly
       retentions), Clause 27.8 (Drydocking Reserve Accounts) and Clause 27.9 (Balloon Reserve
       Accounts) from the Earnings received in the next or subsequent calendar months.

27.5   Application of retentions

(a)    The Security Agent has sole signing rights in relation to the Retention Account.

(b)    Until an Event of Default occurs, the Facility Agent shall instruct the Security Agent to release
       to it, on each Repayment Date and on each Interest Payment Date, for distribution to the
       Finance Parties in accordance with Clause 35.2 (Distributions by the Facility Agent) so much of
       the tfien balance on the Retention Account as equals:

       (!)     any Repayment Instalment due on that Repayment Date;

       (Ü)     the amount of interest payable on that Interest Payment Date;

       (iii)   the amount payable by any Borrower to any Hedge Counterparty under any Hedging
               Agreement on that Interest Payment Date; and

       (¡٧)    the amount of any Hedging Prepayment Proceeds paid into the Retention Account
               during the Interest Period ending on that date,

       in discharge of the Borrowers' liability for that Repayment Instalment, that interest, that
       amount under any Hedging Agreement or its prepayment obligation under Clause 7.5
       (Mandatory prepayment of Hedging Prepayment Proceeds) as the case may be.




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27.6   Interest accrued on Retention Account

       Any credit balance on the Retention Account shall bear Interest at the rate from time to time
       offered by the Account Bank to Its customers for dollar deposits of similar amounts and for
       periods similar to those for which such balances appear to the Account Bank likely to remain
       on the Retention Account.

27.7   Release of accrued interest

       Interest accruing under Clause 27.6 (Interest accrued on Retention Account) shall be credited
       to the Retention Account and, to the extent not applied previously pursuant to Clause 27.5
       (Application of retentions), shall be released to the Borrowers at the end of the Security Period.

27.8   Drydocking Reserve Accounts

(a)    Each Borrower shall ensure that by no later than the date falling three Months prior to a
       scheduled drydocking or special survey during the Security Period of the Ship belonging to that
       Borrower which, In respect of a Ship as at the date of this Agreement Is as follows:

       (‫)؛‬      in respect of Ship A, on or around September 2021;

       (¡0      in respect of Ship B, on or around November 2019;

       (ill)    In respect of Ship C, on or around May 2021;

       (٠٧)     In respect of Ship D, on or around June 2020;

       (v)      in respect of Ship E, on or around July 2021;

       (vi)     In respect of Ship F, on or around February 2020;

       (vli)    In respect of Ship G, on or around June 2019;

       (vi¡¡)   In respect of Ship H, on or around July 2020;

       (lx)     In respect of Ship I, on or around January 2021;

       (x)      In respect of Ship J, on or around June 2020; and

       (xi)     In respect of Ship K, on or around June 2022,

       (each such date shall be a "Scheduled Survey Date") and subject to the transfers which are
       required to be made pursuant to Clauses 27.3 (Monthly retentions) and 27.9 (Balloon Reserve
       Accounts) having been made In the relevant month, there Is transferred to Its Drydocking
       Reserve Account out of that Borrower's Earnings Account the Drydocking Reserve Amount
       relating to that Ship In accordance with Clause 21.2 (Drydocking Reserve Amounts), such
       Drydocking Reserve Amount to be accumulated as follows:

                (A)    In respect of Borrower A, Borrower C, Borrower D and Borrower E, In five equal
                       quarterly Instalments of $292,000 the first of which shall be paid into that
                       Borrower's Drydocking Reserve Account on the date falling 15 Months prior to
                       the relevant Scheduled Survey Date and the last on the date falling 3 Months
                       prior to the relevant Scheduled Survey Date;




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              (B)      in respect of Borrower H, Borrower I, Borrower J and Borrower K, in five equal
                       quarterly instalments of $323,000 the first of which shall be paid into that
                       Borrower's Drydocking Reserve Account on the date falling 15 Months prior to
                       the relevant Scheduled Survey Date and the last on the date falling 3 Months
                       prior to the relevant Scheduled Survey Date;

              (C)     in respect of Borrower B, an amount of $584,000 shall be transferred to the
                      Drydocking Reserve Account of Borrower B on the Utilisation Date in respect
                      of the Ship B Tranche and, thereafter, by three equal quarterly instalments of
                      $292,000, the first of which shall be paid on the date falling 3 Months after
                      that Utilisation Date and the last on the date falling 3 Months prior to the
                      relevant Scheduled Survey Date;

              (D)     in respect of Borrower F, an amount of $323,000 shall be transferred to the
                      Drydocking Reserve Account of Borrower F on the Utilisation Date in respect
                      of the Ship F Tranche and, thereafter, by four equal quarterly instalments of
                      $323,000, the first of which shall be paid on the date falling 3 Months after
                      that Utilisation Date and the last on the date falling 3 Months prior to the
                      relevant Scheduled Survey Date; and

              (E)     in respect of Borrower G, an amount of $1,292,000 shall be transferred to the
                      Drydocking Reserve Account of Borrower G on the Utilisation Date in respect
                      of the Ship G Tranche and, thereafter, an amount of $292,000 shall be
                      transferred to the Drydocking Reserve Account of Borrower G on the date
                      falling 3 Months prior to the relevant Scheduled Survey Date.

(b)   If the Drydocking Reserve Amount in respect of a Ship is not sufficient to cover the actual costs
      of an upcoming scheduled drydocking or special survey of that Ship, as determined by
      reference to the Drydocking Reserve Budget in respect of that Ship (the "Scheduled Survey
      Shortfall"), the Borrower owning that Ship shall procure that the relevant Bareboat Charterer
      transfers to that Borrower's Drydocking Account the Scheduled Survey Shortfall by no later
      than the date falling 3 Months prior to the Scheduled Survey Date.

(c)   The amounts standing to the credit of a Borrower's Drydocking Reserve Account shall be
      applied in or towards payment of any costs and expenses in respect of a scheduled drydocking
      or special survey (including the costs of any ballast water treatment system) in respect of that
      Borrower's Ship.

(d)   Any amounts standing to the credit of a Borrower's Drydocking Reserve Account following
      payment of the costs and expenses in accordance with paragraph (c) above shall be maintained
      in that Drydocking Reserve Account and shall be applied in or towards payment of any costs
      and expenses in respect of the next scheduled drydocking or special survey (including the costs
      of any ballast water treatment system) in respect of that Borrower's Ship unless, to the Facility
      Agent's satisfaction, there will be no requirement by the relevant Approved Classification
      Society or otherwise for such a further scheduled drydocking or special survey (including the
      costs of any ballast water treatment system) in respect of that Ship prior to the Termination
      Date in respect of the Ship Tranche financing that Ship whereupon any amounts standing to
      the credit of that Borrower's Drydocking Reserve Account following payment of the costs and
      expenses in accordance with paragraph (c) above in respect of that Ship shall be released to
      the Borrower owning that Ship for application in accordance with the Subordinated Loan
      Agreement.




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27.9    Balloon Reserve Accounts

(a)     If on the date falling one year prior to each Termination Date, the Facility Agent determines
        that the ratio set out in Clause 26.1 (Minimum required security cover) is below 200 per cent,
        of the Loan, each Borrower shall, subject to the transfers which are required to be made
        pursuant to Clauses 27.3 (Monthly retentions) and 27.8 (Drydocking Reserve Accounts) having
        been made in the relevant month, ensure that there is transferred from its Earnings Account
        in each calendar month following the Facility Agent's determination and until that Termination
        Date, on such dates as the Facility Agent may specify, an amount equal to $41,667 to that
        Borrower's Balloon Reserve Account so that each Borrower accumulates in its Balloon Reserve
        Account an amount equal to at least $500,000 by no later than the Termination Date relating
        to the Ship Tranche in respect of the Ship belonging to that Borrower.

(b)     The amounts standing to the credit of a Borrower's Balloon Reserve Account as at each
        Termination Date shall be applied in or towards payment of the Repayment Instalment in
        respect of the Tranche B relating to that Borrower's Ship on the relevant Termination Date.

27.10   Location of Accounts

        Eacfi Borrower shall promptly:

(a)     comply with any requirement of the Facility Agent as to the location or relocation of its
        Earnings Account, its Drydocking Reserve Account, its Balloon Reserve Account and the
        Retention Account (or any of them); and

(b)     execute any documents which the Facility Agent specifies to create or maintain in favour of
        the Security Agent Security over (and/or rights of set-off, consolidation or other rights in
        relation to) the Earnings Accounts, the Drydocking Reserve Accounts, the Balloon Reserve
        Accounts and the Retention Account.

28      EVENTS ٥F DEFAULT

28.1    General

        Each of the events or circumstances set out in this Clause 28 (Events of Default) is an Event of
        Default except for Clause 28.18 (Events of Default caused by an Approved Manager or a
        Bareboat Charterer), Clause 28.19 (Acceleration) and Clause 28.20 (Enforcement of security).


28.2    Non-payment

        ATransaction obligor does not pay on the due date any amount payable pursuant to a Finance
        Document at the place at and in tfie currency in which it is expressed to be payable unless:

(a)     its failure to pay is caused by:

        (¡)     administrative or technical error; or

        (Ü)     a Disruption Event; and

(b)     payment is made within 3 Business Days of its due date.




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28.3   Specific obligations

       A breach occurs of Clause 4.6 (Waiver of conditions precedent), Clause 21 (Financial
       Covenants), 0‫ﻵ‬٧‫ ﺟﺔ‬11.‫؛ ﻷ‬Title), CXause 11.10 ‫؛‬Negative pledge), Qause 11.10 ‫؛‬Unlawfulness,
       invalidity and ranking; Security imperilled), otauselll ‫؛‬Maintenance of obligatory insurances),
       Ckise 11.1 ‫؛‬Terms of obligatory insurances), ‫ﺓ\ﺡ‬٧‫ ﺟﺔ‬11.1 ‫؛‬Renewal of obligatory insurances)
       or Clause 26 (Security Cover).

28.4   other obligations

(a)    A Transaction Obligor does not comply with any provision of the Finance Documents (other
       than those referred to in Clause 28.2 (Non-payment) and Clause 28.3 (Specific obligations) and
       Clause 22.20 (Sanctions)) provided that no Event of Default will occur if the failure to comply
       is capable of remedy and is remedied within 10 Business Days of the Facility Agent giving notice
       to the Borrowers or (if earlier) any Transaction Obligor becoming aware of the failure to
       comply.

(b)    A Transaction Obligor does not comply with the provisions of Clause 22.20 (Sanctions)
       provided that no Event of Default will occur if:

       (i١     the Borrowers can demonstrate to the Facility Agent that the breach of applicable
               Sanctions has been caused inadvertently and despite the Borrowers having applied
               due diligence in avoiding such breach; and

       (ii)    the failure to comply is capable of remedy and is remedied within 10 Business Days of
               the Facility Agent giving notice to the Borrowers or (if earlier) any Transaction Obligor
               becoming aware of the failure to comply.

(‫)ء‬    A Change of Control occurs without the prior written consent of all Lenders.

28.5   Misrepresentation

       Any representation or statement made or deemed to be made by a Transaction Obligor in the
       Finance Documents or any other document delivered by or on behalf of any Transaction
       Obligor under or in connection with any Finance Document is or proves to have been incorrect
       or misleading when made or deemed to be made.

28.6   Cross default

(a)    Any Financial Indebtedness of any Transaction Obligor is not paid when due nor within any
       originally applicable grace period.

(b)    Any Financial Indebtedness of any Transaction Obligor is declared to be or otherwise becomes
       due and payable prior to its specified maturity as a result of an event of default (however
       described).

(c)    Any commitment for any Financial Indebtedness of any Transaction Obligor is cancelled or
       suspended by a creditor of any Transaction Obligor as a result of an event of default (however
       described).

(d)    Any creditor of any Transaction Obligor becomes entitled to declare any Financial
       Indebtedness of any Transaction Obligor due and payable prior to its specified maturity as a
       result of an event of default (however described).




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(e)    No Event of Default will occur under this Clause 28.6 (Cross default) In respect of an Approved
       Manager if the aggregate amount of Financial Indebtedness or commitment for Financial
       Indebtedness falling within paragraphs (a) to (d) above is less than $500,000 (or its equivalent
       in any other currency).

28.7   Insolvency

(a)    A Transaction Obligor:

       (i)     is unable or admits inability to pay its debts as they fall due;

       (¡٠)    is deemed to, or is declared to, be unable to pay its debts under applicable law;

       (‫)؛؛؛‬   suspends or, other than in the case of a Bareboat Charterer, threatens to suspend
               making payments on any of its debts; or

       (iv)    by reason of actual or anticipated financial difficulties, commences negotiations with
               one or more of its creditors (excluding any Finance Party in its capacity as such) with a
               view to rescheduling any of its indebtedness.

(b)    The value of the assets of any Transaction Obligor is less than its liabilities (taking into account
       contingent and prospective liabilities).

(c)    A moratorium is declared in respect of any indebtedness of any Transaction Obligor. If a
       moratorium occurs, the ending of the moratorium will not remedy any Event of Default caused
       by that moratorium.

28.8   Insolvency proceedings

(a)    Any corporate action, legal proceedings or other procedure or step is taken in relation to:

       (‫)؛‬     the suspension of payments, a moratorium of any indebtedness, winding-up,
               dissolution, administration or reorganisation (by way of voluntary arrangement,
               scheme of arrangement or otherwise) of any Transaction Obligor;

       (H)     a composition, compromise, assignment or arrangement with any creditor of any
               Transaction Obligor;

       (iii)   the appointment of a liquidator, receiver, administrator, administrative receiver,
               compulsory manager or other similar officer in respect of any Transaction Obligor or
               any of its assets; or

       (iv)    enforcement of any Security over any assets of any Transaction Obligor,

       or any analogous procedure or step is taken in any jurisdiction.

(b)    Paragraph (a) above shall not apply to any winding-up petition which is frivolous or vexatious
       and is discharged, stayed or dismissed within 14 days of commencement.

28.9   Creditors' process

       Any expropriation, attachment, sequestration, distress or execution (or any analogous process
       in any jurisdiction) affects any asset or assets of a Transaction Obligor (other than an arrest or
       detention of a Ship referred to in Clause 28.13 (Arrest)) and is not discharged within 14 days.



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28.10   Unlawfulness, Invalidity and ranking

(a)     It is or becomes unlawful for a Transaction Obligor to perform any of its obligations under the
        Finance Documents.

(b)     Any obligation of a Transaction Obligor under the Finance Documents is not or ceases to be
        legal, valid, binding or enforceable.

(‫)ء‬     Any Finance Document ceases to be in full force and effect or to be continuing or is or purports
        to be determined or any Transaction Security is alleged by a party to it (other than a Finance
        Party) to be ineffective.

(d)     Any Transaction Security proves to have ranked after, or loses its priority to, any other Security.

28.11   Security Imperilled

        Any Security created or intended to be created by a Finance Document is in any way imperilled
        or in jeopardy.

28.12   Cessation of business

        Any Transaction obligor suspends or ceases to carry on (or threatens to suspend or cease to
        carry on) all or a material part of its business.

28.13   Arrest

        Any arrest of a Ship or its detention in the exercise or the purported exercise of any lien or
        claim unless it is redelivered to the full control of the relevant Borrower or Bareboat Charterer
        within 14 days of such arrest or detention.

28.14   Expropriation

        The authority or ability of any member of the Group to conduct its business is limited or wholly
        or substantially curtailed by any seizure, expropriation, nationalisation, intervention,
        restriction or other action by or on behalf of any governmental, regulatory or other authority
        or other person in relation to any member of the Group or any of its assets other than:

(a)     an arrest or detention of a Ship referred to in Clause 28.13 (Arrest); or

(b)     any Requisition.

28.15   Repudiation, rescission and termination of agreements

(a)     A Transaction Obligor (or any other relevant party including, in the case of the Time Charters,
        the Time Charterer) rescinds or purports to rescind or repudiates or purports to repudiate a
        Transaction Document or any of the Transaction Security or evidences an intention to rescind
        or repudiate a Transaction Document or any Transaction Security.

(b)     Any Charter or any Management Agreement is terminated for any reason whatsoever by any
        of the parties to it or otherwise (other than, in respect of a Charter, as a result of (i) the expiry
        of the charter period in respect of that Charter or (ii) the occurrence of a Total Loss in respect
        of the Ship which is subject to that Charter provided that the Borrowers comply with their




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        obligations under Clause 7.4 (Mandatory prepayment on sale or Total Loss)) during the Security
        Period.

28.16   Litigation

        Any litigation, arbitration or administrative proceedings or investigations of, or before, any
        court, arbitral body or agency are started, or any judgment or order of a court, arbitral body
        or agency is made, in relation to any of the Transaction Documents or the transactions
        contemplated in any of the Transaction Documents or against any member of the Group or its
        assets which has or is reasonably likely to have a Material Adverse Effect.

28.17   Material adverse change

        Any event or circumstance occurs which has or is reasonably likely to have a Material Adverse
        Effect.

28.18   Events of Default caused by an Approved Manager or a Bareboat Charterer

(a)     If any of the events or circumstances set out in this Clause 28 (Events of Default) is caused by
        an Approved Manager (the "Defaulting Manager") it shall not be an Event of Default if the
        terms of the relevant QEL allow for substitution of the Defaulting Manager and within 30 days
        of the occurrence of such event or circumstances each of the following occurs:

        (٠)     the Defaulting Manager is replaced by an alternative Approved Manager (the
                "Substitute Manager"), which Substitute Manager shall have been approved by the
                Time Charterer pursuant to the terms of the relevant QEL; and

        (¡¡)    such Substitute Manager enters into a replacement Management Agreement and
                Manager's Undertaking, each in a form approved by the Facility Agent (acting on the
                instructions of the Majority Lenders, acting reasonably),

        for the avoidance of doubt, if the request for replacement of the Defaulting Manager is
        initiated by the relevant Borrower pursuant to the relevant QEL, the Security Agent shall act
        reasonably in respect of any approval it needs to provide for the requested replacement
        pursuant to the terms of the relevant QEL (and the Lenders shall act reasonably in relation to
        any request by the Security Agent for instructions or consent in relation to such approval) and
        shall be deemed to have provided such approval if the terms of this Clause 28.18 (Events of
        Default caused by an Approved Manger or a Bareboat Charterer) have been satisfied.

(b)     If any of the events or circumstances set out in this Clause 28 (Events of Default) is caused by
        a Bareboat Charterer (the "Defaulting Bareboat Charterer") it shall not be an Event of Default
        if the terms of the relevant QEL allow for substitution of the Defaulting Bareboat Charterer and
        within 30 days of the occurrence of such event or circumstances each of the following occurs:

        (0      the Time Charterer is notified by the relevant Borrower or (as the case may be) the
                Security Agent that the relevant Borrower or the Security Agent has the right to
                terminate the relevant Bareboat Charter in accordance with its terms;

        (‫)؛؛‬    the Defaulting Bareboat Charterer is replaced by the relevant Borrower or by an
                alternative third party bareboat charterer (the "Substitute Bareboat Charterer"),
                which Substitute Bareboat Charterer (if a third party) shall have been approved by the
                Security Agent and the Time Charterer pursuant to the terms of the relevant QEL;




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        (iii)   such Substitute Bareboat Charterer or, as the case may be, the relevant Borrower
                enters into a replacement or novated Bareboat Charter and Tripartite Assignment in
                respect of the relevant Ship or Ships, each in a form approved by the Facility Agent
                (acting on the instructions of the Majority Lenders, acting reasonably); and

        (iv)    such Substitute Bareboat Charterer opens a Bareboat Charter Account and creates
                Account Security over such account held with the Account Bank in a form approved by
                the Facility Agent (acting on the instructions of the Majority Lenders, acting
                reasonably).

        for the avoidance of doubt, if the request for replacement of the Defaulting Bareboat Charterer
        is initiated by the relevant Borrower pursuant to the relevant QEL, the Security Agent shall act
        reasonably in respect of any approval it needs to provide for the requested replacement
        pursuant to the terms of the relevant QEL (and the Lenders shall act reasonably in relation to
        any request by the Security Agent for instructions or consent in relation to such approval) and
        shall be deemed to have provided such approval if the terms of this Clause 28.18 (Events of
        Default caused by an Approved Manger or a Bareboat Charterer) have been satisfied.

28.19   Acceleration

        On and at any time after the occurrence of an Event of Default and whilst the same is
        continuing the Facility Agent may, and shall if so directed by the Majority Lenders:

(a)     by notice to the Borrowers:

        (‫)؛‬     cancel the Total Commitments, whereupon they shall immediately be cancelled;

        (¡٠)    declare that all or part of the Loan, together with accrued interest, and all other
                amounts accrued or outstanding under the Finance Documents be immediately due
                and payable, whereupon it shall become immediately due and payable; and/or

        (iii)   declare that all or part of the Loan be payable on demand, whereupon it shall
                immediately become payable on demand by the Facility Agent acting on the
                instructions of the Majority Lenders; and/or

(b)     exercise or direct the Security Agent to exercise any or all of its rights, remedies, powers or
        discretions under the Finance Documents,

        and the Facility Agent may serve notices under sub-paragraphs (i), (ii) or (iii) of paragraph (a)
        above simultaneously or on different dates and any Servicing Party may take any action
        referred to in paragraph (b) above or Clause 28.20 (Enforcement of security) if no such notice
        is served or simultaneously with or at any time after the service of any of such notice.

28.20   Enforcement of security

        On and at any time after the occurrence of an Event of Default and whilst the same is
        continuing the Security Agent may, and shall if so directed by the Majority Lenders, take any
        action which, as a result of the Event of Default or any notice served under Clause 28.19
        (Acceleration), the Security Agent is entitled to take under any Finance Document or any
        applicable law or regulation.




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                                              SECTION 9

                                        CHANGES TO PARTIES

29     CHANGES TO THE LENDERS

29.1   Assignments and transfers by the Lenders

       Subject to this Clause 29 (Changes to the Lenders), a Lender (the "Existing Lender") may:

(a)    assign any of its rights; or

(b)    transfer by novation any of its rights and obligations,

       under the Finance Documents to another bank or financial institution or to a trust, fund or
       other entity which is regularly engaged in or established for the purpose of making, purchasing
       or investing in loans, securities or other financial assets other than, whilst no Event of Default
       has occurred and is continuing, to any such bank, financial institution, trust, fund or other
       entity listed in Schedule 10 (Excluded New Lenders) (the "New Lender").

29.2   Conditions of assignment or transfer

(a)    The consent of the Borrowers is not required for an assignment or transfer by an Existing
       Lender, but the Borrowers shall be consulted prior to any assignment or transfer by an Existing
       Lender.

(b)    An assignment will only be effective on:

       (i)     receipt by the Facility Agent (whether in the Assignment Agreement or otherwise) of
               written confirmation from the New Lender (in form and substance satisfactory to the
               Facility Agent) that the New Lender will assume the same obligations to the other
               Secured Parties as it would have been under if it had been an Original Lender; and

       (ii)    performance by the Facility Agent of all necessary "know your customer" or other
               similar checks under all applicable laws and regulations in relation to such assignment
               to a New Lender, the completion of which the Facility Agent shall promptly notify to
               the Existing Lender and the New Lender.

(c)    Each Obligor on behalf of itself and each Transaction Obligor agrees that all rightsand interests
       (present, future or contingent) which the Existing Lender has under or by virtue of the Finance
       Documents are assigned to the New Lender absolutely, free of any defects in the Existing
       Lender's title and of any rights or equities which the Borrower or any other Transaction Obligor
       had against the Existing Lender.

(d)    A transfer will only be effective if the procedure set out in Clause 29.5 (Procedure for transfer)
       is complied with.

(e)    If:

       (i)     a Lender assigns or transfers any of its rights or obligations under the Finance
               Documents or changes its Facility Office; and




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       00      as a result of circumstances existing at the date the assignment, transfer or change
               occurs, a Transaction Obligor would be obliged to make a payment to the New Lender
               or Lender acting through its new Facility Office under Clause 12 (Tax Gross Up and
               Indemnities) or under that clause as incorporated by reference or in full in any other
               Finance Document or Clause 13 (Increased Costs),

       then the New Lender or Lender acting through its new Facility Office is only entitled to receive
       payment under those Clauses to the same extent as the Existing Lender or Lender acting
       through its previous Facility Office would have been if the assignment, transfer or change had
       not occurred. This paragraph (e) shall not apply in respect of an assignment or transfer made
       in the ordinary course of the primary syndication of the Facility.

(f)    Each New Lender, by executing the relevant Transfer Certificate or Assignment Agreement,
       confirms, for the avoidance of doubt, that the Facility Agent has authority to execute on its
       behalf any amendment or waiver that has been approved by or on behalf of the requisite
       Lender or Lenders in accordance with this Agreement on or prior to the date on which the
       transfer or assignment becomes effective in accordance with this Agreement and that it is
       bound by that decision to the same extent as the Existing Lender would have been had it
       remained a Lender.

29.3   Assignment or transfer fee

       The New Lender shall, on the date upon which an assignment or transfer takes effect, pay to
       the Facility Agent (for its own account) a fee of $3,000.

29.4   Limitation of responsibility of Existing Lenders

(a)    Unless expressly agreed to the contrary, an Existing Lender makes no representation or
       warranty and assumes no responsibility to a New Lender for:

       (i)     the legality, validity, effectiveness, adequacy or enforceability of the Transaction
               Documents, the Transaction Security or any other documents;

       (¡¡)    the financial condition of any Transaction Obligor;

       (iii)   the performance and observance by any Transaction Obligor of its obligations under
               the Transaction Documents or any other documents; or

       (iv)    the accuracy of any statements (whether written or oral) made in or in connection with
               any Transaction Document or any other document.

       and any representations or warranties implied by law are excluded.

(b)    Each New Lender confirms to the Existing Lender and the other Finance Parties and the
       Secured Parties that it:

       (‫)؛‬     has made (and shall continue to make) its own independent investigation and
               assessment of the financial condition and affairs of each Transaction Obligor and its
               related entities in connection with its participation in this Agreement and has not
               relied exclusively on any information provided to it by the Existing Lender or any other
               Finance Party in connection with any Transaction Document or the Transaction
               Security; and




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       (Ü)     will continue to make its own independent appraisal of the creditworthiness of each
               Transaction Obligor and its related entities throughout the Security Period.

(c)    Nothing in any Finance Document obliges an Existing Lender to:

       (‫)؛‬     accept a re-transfer or re-assignment from a New Lender of any of the rights and
               obligations assigned or transferred under this Clause 29 [Changes to the Lenders); or

       (‫)؛؛‬    support any losses directly or indirectly incurred by the New Lender by reason of the
               non-performance by any Transaction Obligor of its obligations under the Transaction
               Documents or otherwise.

29.5   Procedure for transfer

(a)    Subject to the conditions set out in Clause 29.2 [Conditions of assignment or transfer), a
       transfer is effected in accordance with paragraph (c) below when the Facility Agent executes
       an otherwise duly completed Transfer Certificate delivered to it by the Existing Lender and the
       New Lender. The Facility Agent shall, subject to paragraph (b) below as soon as reasonably
       practicable after receipt by it of a duly completed Transfer Certificate appearing on its face to
       comply with this Agreement and delivered in accordance with this Agreement, execute that
       Transfer Certificate.

(b)    The Facility Agent shall only be obliged to execute a Transfer Certificate delivered to it by the
       Existing Lender and the New Lender once it is satisfied it has complied with all necessary "know
       your customer" or other similar checks under all applicable laws and regulations in relation to
       the transfer to such New Lender.

(c)    Subject to Clause 29.9 [Pro rata interest settlement), on the Transfer Date:

       (i)     to the extent that in the Transfer Certificate the Existing Lender seeks to transfer by
               novation its rights and obligations under the Finance Documents and in respect of the
               Transaction Security, each of the Transaction Obligors and the Existing Lender shall be
               released from further obligations towards one another under the Finance Documents
               and in respect of the Transaction Security and their respective rights against one
               another under the Finance Documents and in respect of the Transaction Security shall
               be cancelled (being the "Discharged Rights and Obligations");

       (¡¡)    each of the Transaction Obligors and the New Lender shall assume obligations towards
               one another and/or acquire rights against one another which differ from the
               Discharged Rights and Obligations only insofar as that Transaction Obligor and the New
               Lender have assumed and/or acquired the same in place of that Transaction Obligor
               and the Existing Lender;

       (¡¡i)   the Facility Agent, the Security Agent, the Arranger, the New Lender and other Lenders
               shall acquire the same rights and assume the same obligations between themselves
               and in respect of the Transaction Security as they would have acquired and assumed
               had the New Lender been an Original Lender with the rights and/or obligations
               acquired or assumed by it as a result of the transfer and to that extent the Facility
               Agent, the Security Agent, the Arranger and the Existing Lenders shall each be released
               from further obligations to each other under the Finance Documents; and

       (iv)    the New Lender shall become a Party as a "Lender".




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29.6   Procedure for assignment

(a)    Subject to the conditions set out in Clause 29.2 {Conditions of assignment or transfer) an
       assignment may be effected in accordance with paragraph (c) below when the Facility Agent
       executes an otherwise duly completed Assignment Agreement delivered to it by the Existing
       Lender and the New Lender. The Facility Agent shall, subject to paragraph (b) below, as soon
       as reasonably practicable after receipt by it of a duly completed Assignment Agreement
       appearing on its face to comply with the terms of this Agreement and delivered in accordance
       with the terms of this Agreement, execute that Assignment Agreement.

(b)    The Facility Agent shall only be obliged to execute an Assignment Agreement delivered to it by
       the Existing Lender and the New Lender once it is satisfied it has complied with all necessary
       "know your customer" or other similar checks under all applicable laws and regulations in
       relation to the assignment to such New Lender.

(c)    Subject to Clause 29.9 (Pro rata interest settlement), on the Transfer Date:

       (0      the Existing Lender will assign absolutely to the New Lender its rights under the
               Finance Documents and in respect of the Transaction Security expressed to be the
               subject of the assignment in the Assignment Agreement;

       (i¡)    the Existing Lender will be released from the obligations (the "Relevant Obligations")
               expressed to be the subject of the release in the Assignment Agreement (and any
               corresponding obligations by which it is bound in respect of the Transaction Security);
               and

       0¡¡)    the New Lender shall become a Party as a "Lender" and will be bound by obligations
               equivalent to the Relevant Obligations.

(d)    Lenders may utilise procedures other than those set out in this Clause 29.6 (Procedure for
       assignment) to assign their rights under the Finance Documents (but not, without the consent
       of the relevant Transaction Obligor or unless in accordance with Clause 29.5 (Procedure for
       transfer), to obtain a release by that Transaction Obligor from the obligations owed to that
       Transaction Obligor by the Lenders nor the assumption of equivalent obligations by a New
       Lender) provided that they comply with the conditions set out in Clause 29.2 (Conditions of
       assignment or transfer).

29.7   Copy of Transfer Certificate or Assignment Agreement to Borrowers

       The Facility Agent shall, as soon as reasonably practicable after it has executed a Transfer
       Certificate or an Assignment Agreement, send to the Borrowers a copy of that Transfer
       Certificate or Assignment Agreement.

29.8   Security over Lenders' rights

       In addition to the other rights provided to Lenders under this Clause 29 (Changes to the
       Lenders), each Lender may without consulting with or obtaining consent from any Transaction
       Obligor, at any time charge, assign or otherwise create Security in or over (whether by way of
       collateral or otherwise) all or any of its rights under any Finance Document to secure
       obligations of that Lender including, without limitation:

(a)    any charge, assignment or other Security to secure obligations to a federal reserve or central
       bank; and




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(b)    any charge, assignment or other Security granted to any holders (or trustee or representatives
       of holders) of obligations owed, or securities issued, by that Lender as security for those
       obligations or securities,

       except that no such charge, assignment or Security shall:

       (0      release a Lender from any of its obligations under the Finance Documents or substitute
               the beneficiary of the relevant charge, assignment or Security for the Lender as a party
               to any of the Finance Documents; or

       (¡0     require any payments to be made by a Transaction Obligor other than or in excess of,
               or grant to any person any more extensive rights than, those required to be made or
               granted to the relevant Lender under the Finance Documents.

29.9   Pro rata interest settlement

(a)     If the Facility Agent has notified the Lenders that it is able to distribute interest payments on a
        "pro rata basis" to Existing Lenders and New Lenders then (in respect of any transfer pursuant
       to Clause 29.5 {Procedure for transfer) or any assignment pursuant to Clause 29.6 (Procedure
       for assignment) the Transfer Date of which, in each case, is after the date of such notification
       and is not on the last day of an Interest Period):

       (٠)     any interest or fees in respect of the relevant participation which are expressed to
               accrue by reference to the lapse of time shall continue to accrue in favour of the
               Existing Lender up to but excluding the Transfer Date ("Accrued Amounts") and shall
               become due and payable to the Existing Lender (without further interest accruing on
               them) on the last day of the current Interest Period (or, if the Interest Period is longer
               than six Months, on the next of the dates which falls at six Monthly intervals after the
               first day of that Interest Period); and

       (¡‫)؛‬    the rights assigned or transferred by the Existing Lender will not include the right to
               the Accrued Amounts, so that, for the avoidance of doubt:

               (A)      when the Accrued Amounts become payable, those Accrued Amounts will be
                        payable to the Existing Lender; and

               (B)      the amount payable to the New Lender on that date will be the amount which
                        would, but for the application of this Clause 29.9 (Pro rata interest settlement),
                        have been payable to it on that date, but after deduction of the Accrued
                        Amounts.

(b)    In this Clause 29.9 (Pro rata interest settlement) references to "Interest Period" shall be
       construed to include a reference to any other period for accrual of fees.

(c)    An Existing Lender which retains the right to the Accrued Amounts pursuant to this Clause 29.9
       (Pro rata interest settlement) but which does not have a Commitment shall be deemed not to
       be a Lender for the purposes of ascertaining whether the agreement of any specified group of
       Lenders has been obtained to approve any request for a consent, waiver, amendment or other
       vote of Lenders under the Finance Documents.




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30     CHANGES TO THE TRANSACTION OBLIGORS

30.1   Assignment or transfer by Transaction Obligors

       No Transaction Obligor may assign any of its rights or transfer any of its rights or obligations
       under the Finance Documents.

30.2   Release of security

(a)    If a disposal of any asset subject to security created by a Security Document is made in the
       following circumstances:

       (0      the disposal is permitted by the terms of any Finance Document;

       (N)     all the Lenders agree to the disposal;

       (Hi)    the disposal is being made at the request of the Security Agent in circumstances where
               any security created by the Security Documents has become enforceable; or

       (iv)    the disposal is being effected by enforcement of a Security Document,

       the Security Agent shall release the asset(s) being disposed of from any security over those
       assets created by a Security Document. However, the proceeds of any disposal (or an amount
       corresponding to them) must be applied in accordance with the requirements of the Finance
       Documents (if any).

(b)    If the Security Agent is satisfied that a release is allowed under this Clause 30.2 (Release of
       security) (at the request and expense of the Borrowers) each Finance Party must enter into any
       document and do all such other things which are reasonably required to achieve that release.
       Each other Finance Party irrevocably authorises the Security Agent to enter into any such
       document. Any release will not affect the obligations of any other Transaction Obligor under
       the Finance Documents.

30.3   Additional Subordinated Creditors

(a)    The Borrowers may request that any person becomes a Subordinated Creditor, with the prior
       approval of the Facility Agent, by delivering to the Facility Agent:

       (٠)     a duly executed Subordination Agreement;

       (¡¡)    a duly executed Subordinated Debt Security; and

       (iii)   such constitutional documents, corporate authorisations and other documents and
               matters as the Facility Agent may reasonably require, in form and substance
               satisfactory to the Facility Agent, to verify that the person's obligations are legally
               binding, valid and enforceable and to satisfy any applicable legal and regulatory
               requirements.

(b)    A person referred to in paragraph (a) above will become a Subordinated Creditor on the date
       the Security Agent enters into the Subordination Agreement and the Subordinated Debt
       Security delivered under paragraph (a) above.




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                                              SECTION 10

                                        THE FINANCE PARTIES

31     THE FACILITY AGENT, THE ARRANGER AND THE REFERENCE BANKS

31.1   Appointment of the Facility Agent

(a)    Each of the Arranger, the Lenders and the Hedge Counterparties appoints the Facility Agent to
       act as its agent under and in connection with the Finance Documents.

(b)    Each of the Arranger, the Lenders and the Hedge Counterparties authorises the Facility Agent
       to perform the duties, obligations and responsibilities and to exercise the rights, powers,
       authorities and discretions specifically given to the Facility Agent under, or in connection with,
       the Finance Documents together with any other incidental rights, powers, authorities and
       discretions.

31.2   Instructions

(a)    The Facility Agent shall:

       (0      unless a contrary indication appears in a Finance Document, exercise or refrain from
               exercising any right, power, authority or discretion vested in it as Facility Agent in
               accordance with any instructions given to it by:

               (A)      all Lenders if the relevant Finance Document stipulates the matter is an all
                        Lender decision; and

               (B)      in all other cases, the Majority Lenders; and

       (¡0     not be liable for any act (or omission) if it acts (or refrains from acting) in accordance
               with sub-paragraph (i) above (or, if this Agreement stipulates the matter is a decision
               for any other Finance Party or group of Finance Parties, in accordance with instructions
               given to it by that Finance Party or group of Finance Parties).

(b)    The Facility Agent shall be entitled to request instructions, or clarification of any instruction,
       from the Majority Lenders (or, if the relevant Finance Document stipulates the matter is a
       decision for any other Finance Party or group of Finance Parties, from that Finance Party or
       group of Finance Parties) as to whether, and in what manner, it should exercise or refrain from
       exercising any right, power, authority or discretion and the Facility Agent may refrain from
       acting unless and until it receives any such instructions or clarification that it has requested.

(c)    Save in the case of decisions stipulated to be a matter for any other Finance Party or group of
       Finance Parties under the relevant Finance Document and unless a contrary indication appears
       in a Finance Document, any instructions given to the Facility Agent by the Majority Lenders
       shall override any conflicting instructions given by any other Parties and will be binding on all
       Finance Parties.

(d)    Paragraph (a) above shall not apply:

       (0      where a contrary indication appears in a Finance Document;




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       (¡ì)    where a Finance Document requires the Facility Agent to act in a specified manner or
               to take a specified action;

       (Ì¡¡)   in respect of any provision which protects the Facility Agent's own position in its
               personal capacity as opposed to its role of Facility Agent for the relevant Finance
               Parties.

(e)    If giving effect to instructions given by the Majority Lenders would in the Facility Agent's
       opinion have an effect equivalent to an amendment or waiver referred to in Clause 44
       (Amendments and Waivers), the Facility Agent shall not act in accordance with those
       instructions unless consent to it so acting is obtained from each Party (other than the Facility
       Agent) whose consent would have been required in respect of that amendment or waiver.

(f)    In exercising any discretion to exercise a right, power or authority under the Finance
       Documents where it has not received any instructions as to the exercise of that discretion the
       Facility Agent shall do so having regard to the interests of all the Finance Parties.

(g)    The Facility Agent may refrain from acting in accordance with any instructions of any Finance
       Party or group of Finance Parties until it has received any indemnification and/or security that
       it may in its discretion require (which may be greater in extent than that contained in the
       Finance Documents and which may include payment in advance) for any cost, loss or liability
       (together with any applicable VAT) which it may incur in complying with those instructions.

(h)    Without prejudice to the remainder of this Clause 31.2 (Instructions), in the absence of
       instructions, the Facility Agent shall not be obliged to take any action (or refrain from taking
       action) even if it considers acting or not acting to be in the best interests of the Finance Parties.
       The Facility Agent may act (or refrain from acting) as it considers to be in the best interest of
       the Finance Parties.

(!)    The Facility Agent is not authorised to act on behalf of a Finance Party (without first obtaining
       that Finance Party's consent) in any legal or arbitration proceedings relating to any Finance
       Document. This paragraph (i) shall not apply to any legal or arbitration proceeding relating to
       the perfection, preservation or protection of rights under the Security Documents or
       enforcement of the Transaction Security or Security Documents.

31.3   Duties of the Facility Agent

(a)    The Facility Agent's duties under the Finance Documents are solely mechanical and
       administrative in nature.

(b)    Subject to paragraph (c) below, the Facility Agent shall promptly forward to a Party the original
       or a copy of any document which is delivered to the Facility Agent for that Party by any other
       Party.

(c)    \NÜ ‫ﺍ؟‬٢‫؟\ﺱ\ﺝ‬.‫ ﺝ‬to Ckise 1‫ﻷ‬.٦ ‫؛‬Copy of Transfer Certificate or Assignment Agreement to
       Borrower), paragraph (b) above shall not apply to any Transfer Certificate or any Assignment
       Agreement.

(d)    Except where a Finance Document specifically provides otherwise, the Facility Agent is not
       obliged to review or check the adequacy, accuracy or completeness of any document it
       forwards to another Party.




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(e)    If the Facility Agent receives notice from a Party referring to any Finance Document, describing
       a Default and stating that the circumstance described is a Default, it shall promptly notify the
       other Finance Parties.

(f)    If the Facility Agent is aware of the non-payment of any principal, interest, commitment fee or
       other fee payable to a Finance Party (otherthan the Facility Agent, the Arranger or the Security
       Agent) under this Agreement, it shall promptly notify the other Finance Parties.

(g)    The Facility Agent shall have only those duties, obligations and responsibilities expressly
       specified in the Finance Documents to which it is expressed to be a party (and no others shall
       be implied).

31.4   Role of the Arranger

       Except as specifically provided in the Finance Documents, the Arranger has no obligations of
       any kind to any other Party under or in connection with any Finance Document.

31.5   No fiduciary duties

(a)    Nothing in any Finance Document constitutes the Facility Agent or the Arranger as a trustee or
       fiduciary of any other person.

(b)    Neither the Facility Agent nor the Arranger shall be bound to account to other Finance Party
       for any sum or the profit element of any sum received by it for its own account.

31.6   Application of receipts

       Except as expressly stated to the contrary in any Finance Document, any moneys which the
       Facility Agent receives or recovers in its capacity as Facility Agent shall be applied by the Facility
       Agent in accordance with Clause 35.5 (Application of receipts; partial payments).

31.7   Business with the Group

       The Facility Agent and the Arranger may accept deposits from, lend money to, and generally
       engage in any kind of banking or other business with, any member of the Group.

31.8   Rights and discretions

(a)    The Facility Agent may:

       (i)     rely on any representation, communication, notice or document believed by it to be
               genuine, correct and appropriately authorised;

       (N)     assume that:

               (A)      any instructions received by it from the Majority Lenders, any Finance Parties
                        or any group of Finance Parties are duly given in accordance with the terms of
                        the Finance Documents; and

               (B)      unless it has received notice of revocation, that those instructions have not
                        been revoked; and

       (¡¡i)   rely on a certificate from any person:




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              (A)     as to any matter of fact or circumstance which might reasonably be expected
                      to be within the knowledge of that person; or

              (B)     to the effect that such person approves of any particular dealing, transaction,
                      step, action or thing,

              as sufficient evidence that that is the case and, in the case of paragraph (A) above, may
              assume the truth and accuracy of that certificate.

(b)   The Facility Agent may assume (unless it has received notice to the contrary in its capacity as
      agent for the Finance Parties) that:

      (‫)؛‬     no Default has occurred (unless it has actual knowledge of a Default arising under
              Clause 28.2 {Non-payment));

      (‫)؛؛‬    any right, power, authority or discretion vested in any Party or any group of Finance
              Parties has not been exercised; and

      (Hi)    any notice or request made by any Borrower (other than a Utilisation Request or a
              Selection Notice) is made on behalf of and with the consent and knowledge of all the
              Transaction Obligors.

(c)   The Facility Agent may engage and pay for the advice or services of any lawyers, accountants,
      tax advisers, surveyors or other professional advisers or experts.

(d)   Without prejudice to the generality of paragraph (c) above or paragraph (e) below, the Facility
      Agent may at any time engage and pay for the services of any lawyers to act as independent
      counsel to the Facility Agent (and so separate from any lawyers instructed by the Lenders) if
      the Facility Agent in its reasonable opinion deems this to be desirable.

(e)   The Facility Agent may rely on the advice or services of any lawyers, accountants, tax advisers,
      surveyors or other professional advisers or experts (whether obtained by the Facility Agent or
      by any other Party) and shall not be liable for any damages, costs or losses to any person, any
      diminution in value or any liability whatsoever arising as a result of its so relying.

(f)   The Facility Agent may act in relation to the Finance Documents and the Security Property
      through its officers, employees and agents and shall not:

      (٠)     be liable for any error of judgment made by any such person; or

      (‫)؛؛‬    be bound to supervise, or be in any way responsible for any loss incurred by reason of
              misconduct, omission or default on the part of any such person,

      unless such error or such loss was directly caused by the Facility Agent's gross negligence or
      wilful misconduct.

(g)   Unless a Finance Document expressly provides otherwise the Facility Agent may disclose to
      any other Party any information it reasonably believes it has received as agent under the
      Finance Documents.

(h)   Notwithstanding any other provision of any Finance Document to the contrary, neither the
      Facility Agent nor the Arranger is obliged to do or omit to do anything if it would or might, in




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        its reasonable opinion, constitute a breach of any law or regulation or a breach of a fiduciary
        duty or duty of confidentiality.

(‫)؛‬     Notwithstanding any provision of any Finance Document to the contrary, the Facility Agent is
        not obliged to expend or risk its own funds or otherwise incur any financial liability in the
        performance of its duties, obligations or responsibilities or the exercise of any right, power,
        authority or discretion if it has grounds for believing the repayment of such funds or adequate
        indemnity against, or security for, such risk or liability is not reasonably assured to it.

31.9    Responsibility for documentation

        Neither the Facility Agent nor the Arranger is responsible or liable for:

(a)     the adequacy, accuracy or completeness of any information (whether oral or written) supplied
        by the Facility Agent, the Security Agent, the Arranger, a Transaction Obligor or any other
        person in, or in connection with, any Transaction Document or the transactions contemplated
        in the Transaction Documents or any other agreement, arrangement or document entered
        into, made or executed in anticipation of, under or in connection with any Transaction
        Document;

(b)     the legality, validity, effectiveness, adequacy or enforceability of any Transaction Documentor
        the Security Property or any other agreement, arrangement or document entered into, made
        or executed in anticipation of, under or in connection with, any Transaction Document or the
        Security Property; or

(c)     any determination as to whether any information provided or to be provided to any Finance
        Party or Secured Party is non-public information the use of which may be regulated or
        prohibited by applicable law or regulation relating to insider dealing or otherwise.

31.10   No duty to monitor

        The Facility Agent shall not be bound to enquire:

(a)     whether or not any Default has occurred;

(b)     as to the performance, default or any breach by any Transaction Obligor of its obligations
        under any Transaction Document; or

(c)     whether any other event specified in any Transaction Document has occurred.

31.11   Exclusion of liability

(a)     Without limiting paragraph (b) below (and without prejudice to paragraph (e) of Clause 35.11
        (Disruption to Payment Systems etc.) or any other provision of any Finance Document
        excluding or limiting the liability of the Facility Agent), the Facility Agent will not be liable for:

        (0      any damages, costs or losses to any person, any diminution in value, or any liability
                whatsoever arising as a result of taking or not taking any action under or in connection
                with any Transaction Document or the Security Property, unless directly caused by its
                gross negligence or wilful misconduct;

        (‫)؛؛‬    exercising, or not exercising, any right, power, authority or discretion given to it by, or
                in connection with, any Transaction Document, the Security Property or any other




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              agreement, arrangement or document entered into, made or executed in anticipation
              of, under or in connection with, any Transaction Document or the Security Property;
              or

      (iii)   any shortfall which arises on the enforcement or realisation of the Security Property;
              or

      (iv)    without prejudice to the generality of paragraphs (i) to (iii) above, any damages, costs
              or losses to any person, any diminution in value or any liability whatsoever arising as a
              result of:

              (A)      any act, event or circumstance not reasonably within its control; or

              (B)     the general risks of investment in, or the holding of assets in, any jurisdiction.

              including (in each case and without limitation) such damages, costs, losses, diminution
              in value or liability arising as a result of nationalisation, expropriation or other
              governmental actions; any regulation, currency restriction, devaluation or fluctuation;
              market conditions affecting the execution or settlement of transactions or the value
              of assets (including any Disruption Event); breakdown, failure or malfunction of any
              third party transport, telecommunications, computer services or systems; natural
              disasters or acts of God; war, terrorism, insurrection or revolution; or strikes or
              industrial action.

(b)   No Party other than the Facility Agent may take any proceedings against any officer, employee
      or agent of the Facility Agent in respect of any claim it might have against the Facility Agent or
      in respect of any act or omission of any kind by that officer, employee or agent in relation to
      any Transaction Document or any Security Property and any officer, employee or agent of the
      Facility Agent may rely on this Clause subject to Clause 1.5 (Third party rights) and the
      provisions of the Third Parties Act.

(c)   The Facility Agent will not be liable for any delay (or any related consequences) in crediting an
      account with an amount required under the Finance Documents to be paid by the Facility
      Agent if the Facility Agent has taken all necessary steps as soon as reasonably practicable to
      comply with the regulations or operating procedures of any recognised clearing or settlement
      system used by the Facility Agent for that purpose.

(d)   Nothing in this Agreement shall oblige the Facility Agent or the Arranger to carry out:

      (‫)؛‬     any "know your customer" or other checks in relation to any person; or

      (ii)    any check on the extent to which any transaction contemplated by this Agreement
              might be unlawful for any Finance Party,

      on behalf of any Finance Party and each Finance Party confirms to the Facility Agent and the
      Arranger that it is solely responsible for any such checks it is required to carry out and that it
      may not rely on any statement in relation to such checks made by the Facility Agent or the
      Arranger.

(e)   Without prejudice to any provision of any Finance Document excluding or limiting the Facility
      Agent's liability, any liability of the Facility Agent arising under or in connection with any
      Transaction Document or the Security Property shall be limited to the amount of actual loss
      which has been finally judicially determined to have been suffered (as determined by reference




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        to the date of default of the Facility Agent or, if later, the date on which the loss arises as a
        result of such default) but without reference to any special conditions or circumstances known
        to the Facility Agent at any time which increase the amount of that loss. In no event shall the
        Facility Agent be liable for any loss of profits, goodwill, reputation, business opportunity or
        anticipated saving, or for special, punitive, indirect or consequential damages, whether or not
        the Facility Agent has been advised of the possibility of such loss or damages.

31.12   Lenders' indemnity to the Facility Agent

(a)     Each Lender shall (in proportion to its share of the Total Commitments or, if the Total
        Commitments are then zero, to its share of the Total Commitments immediately prior to their
        reduction to zero) indemnify the Facility Agent, within three Business Days of demand, against
        any cost, loss or liability incurred by the Facility Agent (otherwise than by reason of the Facility
        Agent's gross negligence or wilful misconduct) (or, in the case of any cost, loss or liability
        pursuant to Clause 35.11 (Disruption to Payment Systems etc.) notwithstanding the Facility
        Agent's negligence, gross negligence or any other category of liability whatsoever but not
        including any claim based on the fraud of the Facility Agent) in acting as Facility Agent under
        the Finance Documents (unless the Facility Agent has been reimbursed by a Transaction
        Obligor pursuant to a Finance Document).

(b)     Subject to paragraph (c) below, the Borrowers shall within five Business Days of demand
        reimburse any Lender for any payment that Lender makes to the Facility Agent pursuant to
        paragraph (a) above.

(c)     Paragraph (b) above shall not apply to the extent that the indemnity payment in respect of
        which the Lender claims reimbursement relates to a liability of the Facility Agent to an Obligor.

31.13   Resignation of the Facility Agent

(a)     The Facility Agent may resign and appoint one of its Affiliates as successor by giving notice to
        the other Finance Parties and the Borrowers.

(b)     Alternatively, the Facility Agent may resign by giving 30 days' notice to the other Finance
        Parties and the Borrowers, in which case the Majority Lenders may appoint a successor Facility
        Agent.

(c)     If the Majority Lenders have not appointed a successor Facility Agent in accordance with
        paragraph (b) above within 20 days after notice of resignation was given, the retiring Facility
        Agent may appoint a successor Facility Agent.

(d)     If the Facility Agent wishes to resign because (acting reasonably) it has concluded that it is no
        longer appropriate for it to remain as agent and the Facility Agent is entitled to appoint a
        successor Facility Agent under paragraph (c) above, the Facility Agent may (if it concludes
        (acting reasonably) that it is necessary to do so in order to persuade the proposed successor
        Facility Agent to become a party to this Agreement as Facility Agent) agree with the proposed
        successor Facility Agent amendments to this Clause 31 (The Facility Agent, the Arranger and
        the Reference Banks) and any other term of this Agreement dealing with the rights or
        obligations of the Facility Agent consistent with then current market practice for the
        appointment and protection of corporate trustees and those amendments will bind the
        Parties.

(e)     The retiring Facility Agent shall make available to the successor Facility Agent such documents
        and records and provide such assistance as the successor Facility Agent may reasonably



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        request for the purposes of performing its functions as Facility Agent under the Finance
        Documents. The Borrowers shall, within five Business Days of demand, reimburse the retiring
        Facility Agent for the costs and expenses (including legal fees) properly incurred by it in making
        available such documents and records and providing such assistance up to a maximum amount
        of $5,000 provided that if the same Servicing Party is acting as Facility Agent and Security Agent
        and that Servicing Party retires from both its capacity as Facility Agent in accordance with this
        Clause 31.13 (Resignation of the Facility Agent) and as Security Agent in accordance with
        Clause 32.13 (Resignation of the Security Agent) at the same time, the Borrowers maximum
        liability under both those Clauses shall be up to a maximum of $5,000.

(f)     The Facility Agent's resignation notice shall only take effect upon the appointment of a
        successor.

(g)     Upon the appointment of a successor, the retiring Facility Agent shall be discharged from any
        further obligation in respect of the Finance Documents (other than its obligations under
        paragraph (e) above) but shall remain entitled to the benefit of Clause 14.3 (Indemnity to the
        Facility Agent) and this Clause 31 (The Facility Agent, the Arranger and the Reference Banks)
        and any other provisions of a Finance Document which are expressed to limit or exclude its
        liability (or to indemnify it) in acting as Facility Agent. Any fees for the account of the retiring
        Facility Agent shall cease to accrue from (and shall be payable on) that date. Any successor
        and each of the other Parties shall have the same rights and obligations amongst themselves
        as they would have had if such successor had been an original Party.

(h)     The Majority Lenders may, by notice to the Facility Agent, require it to resign in accordance
        with paragraph (b) above. In this event, the Facility Agent shall resign in accordance with
        paragraph (b) above.

(0      The consent of any Borrower (or any other Transaction Obligor) is not required for an
        assignment or transfer of rights and/or obligations by the Facility Agent.

31.14   Confidentiality

(a)     In acting as Facility Agent for the Finance Parties, the Facility Agent shall be regarded as acting
        through its agency division which shall be treated as a separate entity from any other of its
        divisions or departments.

(b)     If information is received by a division or department of the Facility Agent other than the
        division or department responsible for complying with the obligations assumed by it under the
        Finance Documents, that information may be treated as confidential to that division or
        department, and the Facility Agent shall not be deemed to have notice of it nor shall it be
        obliged to disclose such information to any Party.

(c)     Notwithstanding any other provision of any Finance Document to the contrary, neither the
        Facility Agent nor the Arranger is obliged to disclose to any other person (i) any Confidential
        Cnformation or (ii) any other information if the disclosure would, or might in its reasonable
        opinion, constitute a breach of any law or regulation or a breach of a fiduciary duty.

31.15   Relationship with the other Finance Parties

(a)     Subject to Clause 29.9 (Pro rata interest settlement), the Facility Agent may treat the person
        shown in its records as Lender or Fledge Counterparty at the opening of business (in the place
        of the Facility Agent's principal office as notified to the Finance Parties from time to time) as
        the Lender acting through its Facility Office or, as the case may be, the Hedge Counterparty:



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        0)      entitled to or liable for any payment due under any Finance Document on that day;
                and

        (¡i)    entitled to receive and act upon any notice, request, document or communication or
                make any decision or determination under any Finance Document made or delivered
                on that day.

        unless it has received not less than five Business Days' prior notice from that Lender or Hedge
        Counterparty to the contrary in accordance with the terms of this Agreement.

(b)     Each Finance Party shall supply the Facility Agent with any information that the Security Agent
        may reasonably specify (through the Facility Agent) as being necessary or desirable to enable
        the Security Agent to perform its functions as Security Agent. Each Finance Party shall deal
        with the Security Agent exclusively through the Facility Agent and shall not deal directly with
        the Security Agent and any reference to any instructions being given by or sought from any
        Finance Party or group of Finance Parties by or to the Security Agent in this Agreement must
        be given or sought through the Facility Agent.

(c)     Any Lender may by notice to the Facility Agent appoint a person to receive on its behalf all
        notices, communications, information and documents to be made or despatched to that
        Lender under the Finance Documents. Such notice shall contain the address, fax number and
        (where communication by electronic mail or other electronic means is permitted under Clause
        38.5 (Electronic communication)) electronic mail address and/or any other information
        required to enable the transmission of information by that means (and, in each case, the
        department or officer, if any, for whose attention communication is to be made) and be
        treated as a notification of a substitute address, fax number, electronic mail address (or such
        other information), department and officer by that Lender for the purposes of Clause 38.2
        (Addresses) and sub-paragraph (ii) of paragraph (a) of Clause 38.5 (Electronic communication)
        and the Facility Agent shall be entitled to treat such person as the person entitled to receive
        all such notices, communications, information and documents as though that person were that
        Lender.

31.16   Credit appraisal by the Finance Parties

        Without affecting the responsibility of any Transaction Obligor for information supplied by it
        or on its behalf in connection with any Transaction Document, each Finance Party confirms to
        the Facility Agent and the Arranger that it has been, and will continue to be, solely responsible
        for making its own independent appraisal and investigation of all risks arising under, or in
        connection with, any Transaction Document including but not limited to:

(a)     the financial condition, status and nature of each member of the Group;

(b)     the legality, validity, effectiveness, adequacy or enforceability of any Transaction Document,
        the Security Property and any other agreement, arrangement or document entered into, made
        or executed in anticipation of, under or in connection with any Transaction Document or the
        Security Property;

(c)     whether that Finance Party has recourse, and the nature and extent of that recourse, against
        any Party or any of its respective assets under, or in connection with, any Transaction
        Document, the Security Property, the transactions contemplated by the Transaction
        Documents or any other agreement, arrangement or document entered into, made or
        executed in anticipation of, under or in connection with any Transaction Document or the
        Security Property;



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(d)     the adequacy, accuracy or completeness of any information provided by the Facility Agent, any
        Party or by any other person under, or in connection with, any Transaction Document, the
        transactions contemplated by any Transaction Document or any other agreement,
        arrangement or document entered into, made or executed in anticipation of, under or in
        connection with any Transaction Document; and

(e)     the right or title of any person in or to or the value or sufficiency of any part of the Security
        Assets, the priority of any of the Transaction Security or the existence of any Security affecting
        the Security Assets.

31.17   Deduction from amounts payable by the Facility Agent

        If any Party owes an amount to the Facility Agent under the Finance Documents, the Facility
        Agent may, after giving notice to that Party, deduct an amount not exceeding that amount
        from any payment to that Party which the Facility Agent would otherwise be obliged to make
        under the Finance Documents and apply the amount deducted in or towards satisfaction of
        the amount owed. For the purposes of the Finance Documents that Party shall be regarded as
        having received any amount so deducted.

31.18   Reliance and engagement letters

        Each Secured Party confirms that each of the Arranger and the Facility Agent has authority to
        accept on its behalf (and ratifies the acceptance on its behalf of any letters or reports already
        accepted by the Arranger or the Facility Agent) the terms of any reliance letter or engagement
        letters or any reports or letters provided by accountants, auditorsor providers of due diligence
        reports in connection with the Finance Documents or the transactions contemplated in the
        Finance Documents and to bind it in respect of those, reports or letters and to sign such letters
        on its behalf and further confirms that it accepts the terms and qualifications set out in such
        letters.

31.19   Full freedom to enter into transactions

        Without prejudice to Clause 31.7 (Business with the Group) or any other provision of a Finance
        Document and notwithstanding any rule of law or equity to the contrary, the Facility Agent
        shall be absolutely entitled:

(a)     to enter into and arrange banking, derivative, investment and/or other transactions of every
        kind with or affecting any Transaction Obligor or any person who is party to, or referred to in,
        a Finance Document (including, but not limited to, any interest or currency swap or other
        transaction, whether related to this Agreement or not, and acting as syndicate agent and/or
        security agent for, and/or participating in, other facilities to such Transaction Obligor or any
        person who is party to, or referred to in, a Finance Document);

(b)     to deal in and enter into and arrange transactions relating to:

        (‫)؛‬     any securities issued or to be issued by any Transaction Obligor or any other person;
                or

        (ii)    any options or other derivatives in connection with such securities; and

(c)     to provide advice or other services to any Borrower or any person who is a party to, or referred
        to in, a Finance Document,




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        and, in particular, the Facility Agent shall be absolutely entitled, in proposing, evaluating,
        negotiating, entering into and arranging all such transactions and in connection with all other
        matters covered by paragraphs (a), (b) and (c) above, to use (subject only to insider dealing
        legislation) any information or opportunity, howsoever acquired by it, to pursue its own
        interests exclusively, to refrain from disclosing such dealings, transactions or other matters or
        any information acquired in connection with them and to retain for its sole benefit all profits
        and benefits derived from the dealings transactions or other matters.

31.20   Role of Reference Banks

(a)     No Reference Bank is under any obligation to provide a quotation or any other information to
        the Facility Agent.

(b)     No Reference Bank will be liable for any action taken by it under or in connection with any
        Finance Document, or for any Reference Bank Quotation, unless directly caused by its gross
        negligence or wilful misconduct.

(c)     No Party (other than the relevant Reference Bank) may take any proceedings against any
        officer, employee or agent of any Reference Bank in respect of any claim it might have against
        that Reference Bank or in respect of any act or omission of any kind by that officer, employee
        or agent in relation to any Finance Document, or to any Reference Bank Quotation, and any
        officer, employee or agent of each Reference Bank may rely on this Clause 31.20 [Role of
        Reference Banks) subject to Clause 1.5 (Third party rights) and the provisions of the Third
        Parties Act.

31.21   Third Party Reference Banks

        A Reference Bank which is not a Party may rely on Clause 31.20 (Role of Reference Banks),
        Clause 44.3 (Other exceptions) and Clause 46 (Confidentiality of Funding Rates and Reference
        Bank Quotations) subject to Clause 1.5 (Third party rights) and the provisions of the Third
        Parties Act.

32      THE SECURITY AGENT

32.1    Trust

(a)     The Security Agent declares that it holds the Security Property on trust for the Secured Parties
        on the terms contained in this Agreement and shall deal with the Security Property in
        accordance with this Clause 32 (The Security Agent) and the other provisions of the Finance
        Documents.

(b)     Each other Finance Party authorises the Security Agent to perform the duties, obligations and
        responsibilities and to exercise the rights, powers, authorities and discretions specifically given
        to the Security Agent under, or in connection with, the Finance Documents together with any
        other incidental rights, powers, authorities and discretions.

32.2    Parallel Debt (Covenant to pay the Security Agent)

(a)     Each Obligor irrevocably and unconditionally undertakes to pay to the Security Agent its
        Parallel Debt which shall be amounts equal to, and in the currency or currencies of, its
        Corresponding Debt.

(b)     The Parallel Debt of an Obligor:




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       (!)     shall become due and payable at the same time as its Corresponding Debt;

       (Ü)     is independent and separate from, and without prejudice to, its Corresponding Debt.

(c)    For purposes of this Clause 32.2 (Parallel Debt (Covenant to pay the Security Agent)), the
       Security Agent:

       (¡)     is the independent and separate creditor of each Parallel Debt;

       (¡1)    acts in its own name and not as agent, representative or trustee of the Finance Parties
               and its claims in respect of each Parallel Debt shall not be held on trust; and

       (iii)   shall have the independent and separate right to demand payment of each Parallel
               Debt in its own name (including, without limitation, through any suit, execution,
               enforcement of security, recovery of guarantees and applications for and voting in any
               kind of insolvency proceeding).

(d)    The Parallel Debt of an obligor shall be:

       (!)     decreased to the extent that its Corresponding Debt has been irrevocably and
               unconditionally paid or discharged; and

       (Ü)     increased to the extent that its Corresponding Debt has increased,

               and the Corresponding Debt of an Obligor shall be decreased to the extent that its
               Parallel Debt has been irrevocably and unconditionally paid or discharged,

       in each case provided that the Parallel Debt of an Obligor shall never exceed its Corresponding
       Debt.

(e)    All amounts received or recovered by the Security Agent in connection with this Clause 32.2
       (Parallel Debt (Covenant to pay the Security Agent)) to the extent permitted by applicable law,
       shall be applied in accordance with Clause 35.5 (Application of receipts; partial payments).

(f)    This Clause 32.2 (Parallel Debt (Covenant to pay the Security Agent)) shall apply, with any
       necessary modifications, to each Finance Document.

32.3   Enforcement through Security Agent only

       The Secured Parties shall not have any independent power to enforce, or have recourse to,
       any of the Transaction Security or to exercise any right, power, authority or discretion arising
       under the Security Documents except through the Security Agent.

32.4   Instructions

(a)    The Security Agent shall:

       (Î)     unless a contrary indication appears in a Finance Document, exercise or refrain from
               exercising any right, power, authority or discretion vested in it as Security Agent in
               accordance with any instructions given to it by:

               (A)     all Lenders (or the Facility Agent on their behalf) if the relevant Finance
                       Document stipulates the matter is an all Lender decision; and




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              (B)     in all other cases, the Majority Lenders (or the Facility Agent on their behalf);
                      and

      (‫)؛؛‬    not be liable for any act (or omission) if it acts (or refrains from acting) in accordance
              with sub-paragraph (i) above (or if this Agreement stipulates the matter is a decision
              for any other Finance Party or group of Finance Parties, in accordance with instructions
              given to it by that Finance Party or group of Finance Parties).

(b)   The Security Agent shall be entitled to request instructions, or clarification of any instruction,
      from the Majority Lenders (or the Facility Agent on their behalf) (or, if the relevant Finance
      Document stipulates the matter is a decision for any other Finance Party or group of Finance
      Parties, from that Finance Party or group of Finance Parties) as to whether, and in what
      manner, it should exercise or refrain from exercising any right, power, authority or discretion
      and the Security Agent may refrain from acting unless and until it receives any such instructions
      or clarification that it has requested.

(c)   Save in the case of decisions stipulated to be a matter for any other Finance Party or group of
      Finance Parties under the relevant Finance Document and unless a contrary indication appears
      in a Finance Document, any instructions given to the Security Agent by the Majority Lenders
      shall override any conflicting instructions given by any other Parties and will be binding on all
      Finance Parties.

(d)   Paragraph (a) above shall not apply:

      0)      where a contrary indication appears in a Finance Document;

      (‫)؛؛‬    where a Finance Document requires the Security Agent to act in a specified manner or
              to take a specified action;

      (iii)   in respect of any provision which protects the Security Agent's own position in its
              personal capacity as opposed to its role of Security Agent for the relevant Secured
              Parties.

      (iv)    in respect of the exercise of the Security Agent's discretion to exercise a right, power
              or authority under any of:

              (A)     Clause 32.27 {Application of receipts);

              (B)     Clause 32.28 {Permitted Deductions); and

              (C)     Clause 32.29 {Prospective liabilities).

(e)   If giving effect to instructions given by the Majority Lenders would in the Security Agent's
      opinion have an effect equivalent to an amendment or waiver referred to in Clause 44
      {Amendments and Waivers), the Security Agent shall not act in accordance with those
      instructions unless consent to it so acting is obtained from each Party (other than the Security
      Agent) whose consent would have been required in respect of that amendment or waiver.

(f)   In exercising any discretion to exercise a right, power or authority under the Finance
      Documents where either:

      (‫)؛‬     it has not received any instructions as to the exercise of that discretion; or




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       (N)     the exercise of that discretion is subject to sub-paragraph (iv) of paragraph (d) above,

       the Security Agent shall do so having regard to the interests of all the Secured Parties.

(g)    The Security Agent may refrain from acting in accordance with any instructions of any Finance
       Party or group of Finance Parties until it has received any indemnification and/or security that
       it may in its discretion require (which may be greater in extent than that contained in the
       Finance Documents and which may include payment in advance) for any cost, loss or liability
       (together with any applicable VAT) which it may incur in complying with those instructions.

(h)    Without prejudice to the remainder of this Clause 32.4 (Instructions), in the absence of
       instructions, the Security Agent may (but shall not be obliged to) take such action in the
       exercise of its powers and duties under the Finance Documents as it considers in its discretion
       to be appropriate.

(‫)؛‬    The Security Agent is not authorised to act on behalf of a Finance Party (without first obtaining
       that Finance Party's consent) in any legal or arbitration proceedings relating to any Finance
       Document. This paragraph (i) shall not apply to any legal or arbitration proceeding relating to
       the perfection, preservation or protection of rights under the Security Documents or
       enforcement of the Transaction Security or Security Documents.

32.5   Duties of the Security Agent

(a)    The Security Agent's duties under the Finance Documents are solely mechanical and
       administrative in nature.

(b)    The Security Agent shall promptly forward to a Party the original or a copy of any document
       which is delivered to the Security Agent for that Party by any other Party.

(c)    Except where a Finance Document specifically provides otherwise, the Security Agent is not
       obliged to review or check the adequacy, accuracy or completeness of any document it
       forwards to another Party.

(d)    If the Security Agent receives notice from a Party referring to any Finance Document,
       describing a Default and stating that the circumstance described is a Default, it shall promptly
       notify the other Finance Parties.

(e)    The Security Agent shall have only those duties, obligations and responsibilities expressly
       specified in the Finance Documents to which it is expressed to be a party (and no others shall
       be implied).

32.6   No fiduciary duties

(a)    Nothing in any Finance Document constitutes the Security Agent as an agent, trustee or
       fiduciary of any Transaction Obligor.

(b)    The Security Agent shall not be bound to account to any other Secured Party for any sum or
       the profit element of any sum received by it for its own account.

32.7   Business with the Group

       The Security Agent may accept deposits from, lend money to, and generally engage in any kind
       of banking or other business with, any member of the Group.




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32.8   Rights and discretions

(a)    The Security Agent may:

       (¡)     rely on any representation, communication, notice or document believed by it to be
               genuine, correct and appropriately authorised;

       (¡0     assume that:

               (A)     any instructions received by it from the Majority Lenders, any Finance Parties
                       or any group of Finance Parties are duly given in accordance with the terms of
                       the Finance Documents;

               (B)     unless it has received notice of revocation, that those instructions have not
                       been revoked;

               (C)     if it receives any instructions to act in relation to the Transaction Security, that
                       all applicable conditions under the Finance Documents for so acting have been
                       satisfied; and

       (iii)   rely on a certificate from any person:

               (A)     as to any matter of fact or circumstance which might reasonably be expected
                       to be within the knowledge of that person; or

               (B)     to the effect that such person approves of any particular dealing, transaction,
                       step, action or thing.

               as sufficient evidence that that is the case and, in the case of paragraph (A) above, may
               assume the truth and accuracy of that certificate.

(b)    The Security Agent shall be entitled to carry out all dealings with the other Finance Parties
       through the Facility Agent and may give to the Facility Agent any notice or other
       communication required to be given by the Security Agent to any Finance Party.

(c)    The Security Agent may assume (unless it has received notice to the contrary in its capacity as
       security agent for the Secured Parties) that:

       (‫)؛‬     no Default has occurred;

       (‫)؛؛‬    any right, power, authority or discretion vested in any Party or any group of Finance
               Parties has not been exercised; and

       (iii)   any notice or request made by any Borrower (other than a Utilisation Request or a
               Selection Notice) is made on behalf of and with the consent and knowledge of all the
               Transaction Obligors.

(d)    The Security Agent may engage and pay for the advice or services of any lawyers, accountants,
       tax advisers, surveyors or other professional advisers or experts.

(e)    Without prejudice to the generality of paragraph (c) above or paragraph (f) below, the Security
       Agent may at any time engage and pay for the services of any lawyers to act as independent




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       counsel to the Security Agent (and so separate from any lawyers instructed by the Facility
       Agent or the Lenders) if the Security Agent in its reasonable opinion deems this to be desirable.

(f)    The Security Agent may rely on the advice or services of any lawyers, accountants, tax advisers,
       surveyors or other professional advisers or experts (whether obtained by the Security Agent
       or by any other Party) and shall not be liable for any damages, costs or losses to any person,
       any diminution in value or any liability whatsoever arising as a result of its so relying.

(g)    The Security Agent may act in relation to the Finance Documents and the Security Property
       through its officers, employees and agents and shall not:

       (‫)؛‬     be liable for any error of judgment made by any such person; or

       (¡¡)    be bound to supervise, or be in any way responsible for any loss incurred by reason of
               misconduct, omission or default on the part of any such person,

       unless such error or such loss was directly caused by the Security Agent's gross negligence or
       wilful misconduct.

(h)    Unless a Finance Document expressly provides otherwise the Security Agent may disclose to
       any other Party any information it reasonably believes it has received as security agent under
       the Finance Documents.

(‫)؛‬    Notwithstanding any other provision of any Finance Document to the contrary, the Security
       Agent is not obliged to do or omit to do anything if it would or might, in its reasonable opinion,
       constitute a breach of any law or regulation or a breach of a fiduciary duty or duty of
       confidentiality.

(j)    Notwithstanding any provision of any Finance Document to the contrary, the Security Agent is
       not obliged to expend or risk its own funds or otherwise incur any financial liability in the
       performance of its duties, obligations or responsibilities or the exercise of any right, power,
       authority or discretion if it has grounds for believing the repayment of such funds or adequate
       indemnity against, or security for, such risk or liability is not reasonably assured to it.

32.9   Responsibility for documentation

       None of the Security Agent, any Receiver or Delegate is responsible or liable for:

(a)    the adequacy, accuracy or completeness of any information (whether oral or written) supplied
       by the Facility Agent, the Security Agent, the Arranger, a Transaction Obligor or any other
       person in, or in connection with, any Transaction Document or the transactions contemplated
       in the Transaction Documents or any other agreement, arrangement or document entered
       into, made or executed in anticipation of, under or in connection with any Transaction
       Document;

(b)    the legality, validity, effectiveness, adequacyorenforceability of any Transaction Documentor
       the Security Property or any other agreement, arrangement or document entered into, made
       or executed in anticipation of, under or in connection with, any Transaction Document or the
       Security Property; or

(c)    any determination as to whether any information provided or to be provided to any Secured
       Party is non-public information the use of which may be regulated or prohibited by applicable
       law or regulation relating to insider dealing or otherwise.




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32.10   No duty to monitor

        The Security Agent shall not be bound to enquire:

(a)     whether or not any Default has occurred;

(b)     as to the performance, default or any breach by any Transaction Obligor of its obligations
        under any Transaction Document; or

(c)     whether any other event specified in any Transaction Document has occurred.

32.11   Exclusion of liability

(a)     Without limiting paragraph (b) below (and without prejudice to any other provision of any
        Finance Document excluding or limiting the liability of the Security Agent or any Receiver or
        Delegate), none of the Security Agent nor any Receiver or Delegate will be liable for:

        (٠)     any damages, costs or losses to any person, any diminution in value, or any liability
                whatsoever arising as a result of taking or not taking any action underor in connection
                with any Transaction Document or the Security Property, unless directly caused by its
                gross negligence or wilful misconduct;

        (¡¡)    exercising, or not exercising, any right, power, authority or discretion given to it by, or
                in connection with, any Transaction Document, the Security Property or any other
                agreement, arrangement or document entered into, made or executed in anticipation
                of, under or in connection with, any Transaction Document or the Security Property;
                or

        (Hi)    any shortfall which arises on the enforcement or realisation of the Security Property;
                or

        (¡٧)    without prejudice to the generality of paragraphs (i) to (iii) above, any damages, costs
                or losses to any person, any diminution in value or any liability whatsoever arising as a
                result of:

                (A)      any act, event or circumstance not reasonably within its control; or

                (B)     the general risks of investment in, or the holding of assets in, any jurisdiction,

                including (in each case and without limitation) such damages, costs, losses, diminution
                in value or liability arising as a result of nationalisation, expropriation or other
                governmental actions; any regulation, currency restriction, devaluation or fluctuation;
                market conditions affecting the execution or settlement of transactions or the value
                of assets (including any Disruption Event); breakdown, failure or malfunction of any
                third party transport, telecommunications, computer services or systems; natural
                disasters or acts of God; war, terrorism, insurrection or revolution; or strikes or
                industrial action.

(b)     No Party other than the Security Agent, that Receiver or that Delegate (as applicable) may take
        any proceedings against any officer, employee or agent of the Security Agent, a Receiver or a
        Delegate in respect of any claim it might have against the Security Agent, a Receiver or a
        Delegate or in respect of any act or omission of any kind by that officer, employee or agent in
        relation to any Transaction Document or any Security Property and any officer, employee or




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        agent of the Security Agent, a Receiver or a Delegate may rely on this Clause subject to Clause
        1.5 (Third party rights) and the provisions of the Third Parties Act.

(c)     The Security Agent will not be liable for any delay (or any related consequences) in crediting
        an account with an amount required under the Finance Documents to be paid by the Security
        Agent if the Security Agent has taken all necessary steps as soon as reasonably practicable to
        comply with the regulations or operating procedures of any recognised clearing or settlement
        system used by the Security Agent for that purpose.

(d)     Nothing in this Agreement shall oblige the Security Agent to carry out:

        (i)     any "know your customer" or other checks in relation to any person; or

        (ii)    any check on the extent to which any transaction contemplated by this Agreement
                might be unlawful for any Finance Party,

        on behalf of any Finance Party and each Finance Party confirms to the Security Agent that it is
        solely responsible for any such checks it is required to carry out and that it may not rely on any
        statement in relation to such checks made by the Security Agent.

(e)     Without prejudice to any provision of any Finance Document excluding or limiting the liability
        of the Security Agent or any Receiver or Delegate, any liability of the Security Agent or any
        Receiver or Delegate arising under or in connection with any Transaction Document or the
        Security Property shall be limited to the amount of actual loss which has been finally judicially
        determined to have been suffered (as determined by reference to the date of default of the
        Security Agent, Receiver or Delegate or, if later, the date on which the loss arises as a result of
        such default) but without reference to any special conditions or circumstances known to the
        Security Agent, any Receiver or Delegate at any time which increase the amount of that loss.
        In no event shall the Security Agent, any Receiver or Delegate be liable for any loss of profits,
        goodwill, reputation, business opportunity or anticipated saving, or for special, punitive,
        indirect or consequential damages, whether or not the Security Agent, the Receiver or
        Delegate has been advised of the possibility of such loss or damages.

32.12   Lenders' indemnity to the Security Agent

(a)     Each Lender shall (in proportion to its share of the Total Commitments or, if the Total
        Commitments are then zero, to its share of the Total Commitments immediately prior to their
        reduction to zero) indemnify the Security Agent and every Receiver, within three Business Days
        of demand, against any cost, loss or liability incurred by any of them (otherwise than by reason
        of the Security Agent's or Receiver's gross negligence or wilful misconduct) in acting as Security
        Agent or Receiver under the Finance Documents (unless the Security Agent or Receiver has
        been reimbursed by a Transaction Obligor pursuant to a Finance Document).

(b)     Subject to paragraph (c) below, the Borrowers shall within five Business Days of demand
        reimburse any Lender for any payment that Lender makes to the Security Agent pursuant to
        paragraph (a) above.

(c)     Paragraph (b) above shall not apply to the extent that the indemnity payment in respect of
        which the Lender claims reimbursement relates to a liability of the Security Agent to an
        Obligor.




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32.1S   Resignation of the Security Agent

(a)     The Security Agent may resign and appoint one of its Affiliates as successor by giving notice to
        the other Finance Parties and the Borrowers.

(b)     Alternatively, the Security Agent may resign by giving 30 days' notice to the other Finance
        Parties and the Borrowers, in which case the Majority Lenders may appoint a successor
        Security Agent.

(c)     If the Majority Lenders have not appointed a successor Security Agent in accordance with
        paragraph (b) above within 20 days after notice of resignation was given, the retiring Security
        Agent may appoint a successor Security Agent.

(d)     The retiring Security Agent shall make available to the successor Security Agent such
        documents and records and provide such assistance as the successor Security Agent may
        reasonably request for the purposes of performing its functions as Security Agent under the
        Finance Documents. The Borrowers shall, within five Business Days of demand, reimburse the
        retiring Security Agent for the costs and expenses (including legal fees) properly incurred by it
        in making available such documents and records and providing such assistance up to a
        maximum amount of $5,000 provided that if the same Servicing Party is acting as Facility Agent
        and Security Agent and that Servicing Party retires from both its capacity as Facility Agent in
        accordance with Clause 31.13 (Resignation of the Facility Agent) and as Security Agent in
        accordance with this Clause 32.13 (Resignation of the Security Agent) at the same time, the
        Borrowers maximum liability under both those Clauses shall be up to a maximum of $5,000.

(e)     The Security Agent's resignation notice shall only take effect upon:

        (i)     the appointment of a successor; and

        (ii)    the transfer, by way of a document expressed as a deed, of all the Security Property to
                that successor.

(f)     Upon the appointment of a successor, the retiring Security Agent shall be discharged, by way
        of a document executed as a deed, from any further obligation in respect of the Finance
        Documents (other than its obligations under paragraph (b) of Clause 32.24 (Winding up of
        trust) and paragraph (d) above) but shall remain entitled to the benefit of Clause 14.4
        (Indemnity to the Security Agent) and this Clause 32 (The Security Agent) and any other
        provisions of a Finance Document which are expressed to limit or exclude its liability (or to
        indemnify it) in acting as Security Agent. Any fees for the account of the retiring Security Agent
        shall cease to accrue from (and shall be payable on) that date). Any successor and each of the
        other Parties shall have the same rights and obligations amongst themselves as they would
        have had if such successor had been an original Party.

(g)     The Majority Lenders may, by notice to the Security Agent, require it to resign in accordance
        with paragraph (b) above. In this event, the Security Agent shall resign in accordance with
        paragraph (b) above.

(h)     The consent of any Borrower (or any other Transaction Obligor) is not required for an
        assignment or transfer of rights and/or obligations by the Security Agent.




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32.14   Confidentiality

(a)     In acting as Security Agent for the Finance Parties, the Security Agent shall be regarded as
        acting through its trustee division which shall be treated as a separate entity from any other
        of its divisions or departments.

(b)     If information is received by a division or department of the Security Agent other than the
        division or department responsible for complying with the obligations assumed by it under the
        Finance Documents, that information may be treated as confidential to that division or
        department, and the Security Agent shall not be deemed to have notice of it nor shall it be
        obliged to disclose such information to any Party.

(c)     Notwithstanding any other provision of any Finance Document to the contrary, the Security
        Agent is not obliged to disclose to any other person (i) any confidential information or (ii) any
        other information if the disclosure would, or might in its reasonable opinion, constitute a
        breach of any law or regulation or a breach of a fiduciary duty.

32.15   Credit appraisal by the Finance Parties

        Without affecting the responsibility of any Transaction Obligor for information supplied by it
        or on its behalf in connection with any Transaction Document, each Finance Party confirms to
        the Security Agent that it has been, and will continue to be, solely responsible for making its
        own independent appraisal and investigation of all risks arising under, or in connection with,
        any Transaction Document including but not limited to:

(a)     the financial condition, status and nature of each member of the Group;

(b)     the legality, validity, effectiveness, adequacy or enforceability of any Transaction Document,
        the Security Property and any other agreement, arrangement or document entered into, made
        or executed in anticipation of, under or in connection with any Transaction Document or the
        Security Property;

(c)     whether that Finance Party has recourse, and the nature and extent of that recourse, against
        any Party or any of its respective assets under, or in connection with, any Transaction
        Document, the Security Property, the transactions contemplated by the Transaction
        Documents or any other agreement, arrangement or document entered into, made or
        executed in anticipation of, under or in connection with any Transaction Document or the
        Security Property;

(d)     the adequacy, accuracy or completeness of any information provided by the Security Agent,
        any Party or by any other person under, or in connection with, any Transaction Document, the
        transactions contemplated by any Transaction Document or any other agreement,
        arrangement or document entered into, made or executed in anticipation of, under or in
        connection with any Transaction Document; and

(e)     the right or title of any person in or to or the value or sufficiency of any part of the Security
        Assets, the priority of any of the Transaction Security or the existence of any Security affecting
        the Security Assets.

32.16   Reliance and engagement letters

        Each Secured Party confirms that the Security Agent has authority to accept on its behalf (and
        ratifies the acceptance on its behalf of any letters or reports already accepted by the Security




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        Agent) the terms of any reliance letter or engagement letters or any reports or letters provided
        by accountants, auditors or providers of due diligence reports in connection with the Finance
        Documents or the transactions contemplated in the Finance Documents and to bind it in
        respect of those, reports or letters and to sign such letters on its behalf and further confirms
        that it accepts the terms and qualifications set out in such letters.

32.17   No responsibility to perfect Transaction Security

        The Security Agent shall not be liable for any failure to:

(a)     require the deposit with it of any deed or document certifying, representing or constituting
        the title of any Transaction Obligor to any of the Security Assets;

(b)     obtain any licence, consent or other authority for the execution, delivery, legality, validity,
        enforceability or admissibility in evidence of any Finance Document or the Transaction
        Security;

(c)     register, file or record or otherwise protect any of the Transaction Security (or the priority of
        any of the Transaction Security) under any law or regulation or to give notice to any person of
        the execution of any Finance Document or of the Transaction Security;

(d)     take, or to require any Transaction Obligor to take, any step to perfect its title to any of the
        Security Assets or to render the Transaction Security effective or to secure the creation of any
        ancillary Security under any law or regulation; or

(e)     require any further assurance in relation to any Finance Document.

32.18   Insurance by Security Agent

(a)     The Security Agent shall not be obliged:

        (‫)؛‬     to insure any of the Security Assets;

        (¡0     to require any other person to maintain any insurance; or

        (¡‫)¡؛‬   to verify any obligation to arrange or maintain insurance contained in any Finance
                Document,

        (iv)    and the Security Agent shall not be liable for any damages, costs or losses to any person
                as a result of the lack of, or inadequacy of, any such insurance.

(b)     Where the Security Agent is named on any insurance policy as an insured party, it shall not be
        liable for any damages, costs or losses to any person as a result of its failure to notify the
        insurers of any material fact relating to the risk assumed by such insurers or any other
        information of any kind, unless the Majority Lenders request it to do so in writing and the
        Security Agent fails to do so within 14 days after receipt of that request.

32.19   Custodians and nominees

        The Security Agent may appoint and pay any person to act as a custodian or nominee on any
        terms in relation to any asset of the trust as the Security Agent may determine, including for
        the purpose of depositing with a custodian this Agreement or any document relating to the
        trust created under this Agreement and the Security Agent shall not be responsible for any




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        loss, liability, expense, demand, cost, claim or proceedings incurred by reason of the
        misconduct, omission or default on the part of any person appointed by it under this
        Agreement or be bound to supervise the proceedings or acts of any person.

32.20   Delegation by the Security Agent

(a)     Each of the Security Agent, any Receiver and any Delegate may, at any time, delegate by power
        of attorney or otherwise to any person for any period, all or any right, power, authority or
        discretion vested in it in its capacity as such.

(b)     That delegation may be made upon any terms and conditions (including the power to sub
        delegate) and subject to any restrictions that the Security Agent, that Receiver or that Delegate
        (as the case may be) may, in its discretion, think fit in the interests of the Secured Parties.

(‫)ء‬     No Security Agent, Receiver or Delegate shall be bound to supervise, or be in any way
        responsible for any damages, costs or losses incurred by reason of any misconduct, omission
        or default on the part of any such delegate or sub delegate.

32.21   Additional Security Agents

(a)     The Security Agent may at any time appoint (and subsequently remove) any person to act as a
        separate trustee or as a co-trustee jointly with it:

        (!)     if it considers that appointment to be in the interests of the Secured Parties; or

        (ii)    for the purposesof conforming to any legal requirement, restriction or condition which
                the Security Agent deems to be relevant; or

        (iii)   for obtaining or enforcing any judgment in any jurisdiction.

        and the Security Agent shall give prior notice to the Borrowers and the Finance Parties of that
        appointment.

(b)     Any person so appointed shall have the rights, powers, authorities and discretions (not
        exceeding those given to the Security Agent under or in connection with the Finance
        Documents) and the duties, obligations and responsibilities that are given or imposed by the
        instrument of appointment.

(c)     The remuneration that the Security Agent may pay to that person, and any costs and expenses
        (together with any applicable VAT) incurred by that person in performing its functions pursuant
        to that appointment shall, for the purposes of this Agreement, be treated as costs and
        expenses incurred by the Security Agent.

32.22   Acceptance of title

        Tfie Security Agent shall be entitled to accept without enquiry, and shall not be obliged to
        investigate, any right and title that any Transaction Obligor may have to any of the Security
        Assets and shall not be liable for or bound to require any Transaction Obligor to remedy any
        defect in its right or title.




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 32.23   Releases

         Upon a disposal of any of the Security Assets pursuant to the enforcement of the Transaction
         Security by a Receiver, a Delegate or the Security Agent, the Security Agent is irrevocably
         authorised (at the cost of the Obligors and without any consent, sanction, authority or further
         confirmation from any other Secured Party) to release, without recourse or warranty, that
         property from the Transaction Security and to execute any release of the Transaction Security
         or other claim over that asset and to issue any certificates of non-crystallisation of floating
         charges that may be required or desirable.

 32.24   Winding up of trust

         If the Security Agent, with the approval of the Facility Agent determines that:

 (a)     all of the Secured Liabilities and all other obligations secured by the Security Documents have
         been fully and finally discharged; and

 (b)     no Secured Party is under any commitment, obligation or liability (actual or contingent) to
         make advances or provide other financial accommodation to anyTransaction Obligor pursuant
         to the Finance Documents,

         then

         0)      the trusts set out in this Agreement shall be wound up and the Security Agent shall
                 release, without recourse or warranty, all of the Transaction Security and the rights of
                 the Security Agent under each of the Security Documents; and

         (ii)    any Security Agent which has resigned pursuant to Clause 32.13 (Resignation of the
                 Security Agent) shall release, without recourse or warranty, all of its rights under each
                 Security Document.

 32.25   Powers supplemental to Trustee Acts

         The rights, powers, authorities and discretions given to the Security Agent under or in
         connection with the Finance Documents shall be supplemental to the Trustee Act 1925 and
         the Trustee Act 2000 and in addition to any which may be vested in the Security Agent by law
         or regulation or otherwise.

 32.26   Disapplication of Trustee Acts

         Section 1 of the Trustee Act 2000 shall not apply to the duties of the Security Agent in relation
         to the trusts constituted by this Agreement and the other Finance Documents. Where there
         are any inconsistencies between (i) the Trustee Acts 1925 and 2000 and (ii) the provisions of
         this Agreement and any other Finance Document, the provisions of this Agreement and any
         other Finance Document shall, to the extent permitted by law and regulation, prevail and, in
         the case of any inconsistency with the Trustee Act 2000, the provisions of this Agreement and
         any other Finance Document shall constitute a restriction or exclusion for the purposes of the
         Trustee Act 2000.

 32.27   Application of receipts

         All amounts from time to time received or recovered by the Security Agent pursuant to the
         terms of any Finance Document, under Clause 32.2 (Parallel Debt (Covenant to pay the Security




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         Agent)) or in connection with the realisation or enforcement of all or any part of the Security
         Property (for the purposes of this Clause 32 (The Security Agent), the "Recoveries") shall be
         held by the Security Agent on trust to apply them at any time as the Security Agent (in its
         discretion) sees fit, to the extent permitted by applicable law (and subject to the remaining
         provisions of this Clause 32 (The Security Agent), in the following order of priority:

 (a)     in discharging any sums owing to the Security Agent (in its capacity as such) (other than
         pursuant to Clause 32.2 (Parallel Debt (Covenant to pay the Security Agent)) or any Receiver or
         Delegate;

 (b)     in paymentordistribution to the Facility Agent, on its behalf and on behalf of the other Secured
         Parties, for application towards the discharge of all sums due and payable by any Transaction
         Obligor under any of the Finance Documents in accordance with Clause 35.5 (Application of
         receipts; partial payments);


 (c)     if none of the Transaction Obligors is under any further actual or contingent liability under any
         Finance Document, in payment or distribution to any person to whom the Security Agent is
         obliged to pay or distribute in priority to any Transaction Obligor; and

 (d)     the balance, if any, in payment or distribution to the relevant Transaction Obligor.

 32.28   Permitted Deductions

         The Security Agent may, in its discretion:

 (a)     set aside by way of reserve amounts required to meet, and to make and pay, any deductions
         and withholdings (on account of Taxes or otherwise) which it is or may be required by any
         applicable law to make from any distribution or payment made by it under this Agreement;
         and

 (b)     pay all Taxes which may be assessed against it in respect of any of the Security Property, or as
         a consequence of performing its duties, or by virtue of its capacity as Security Agent under any
         of the Finance Documents or otherwise (other than in connection with its remuneration for
         performing its duties under this Agreement).

 32.29   Prospective liabilities

         Following enforcement of any of the Transaction Security, the Security Agent may, in its
         discretion, or at the request of the Facility Agent, hold any Recoveries in an interest bearing
         suspense or impersonal account(s) in the name of the Security Agent with such financial
         institution (including itself) and for so long as the Security Agent shall think fit (the interest
         being credited to the relevant account) for later payment to the Facility Agent for application
         in accordance with Clause 32.27 (Application of receipts) in respect of:

 (a)     any sum to the Security Agent, any Receiver or any Delegate; and

 (b)     any part of the Secured liabilities.

         that the Security Agent or, in the case of paragraph (b) only, the Facility Agent, reasonably
         considers, in each case, might become due or owing at any time in the future.




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32.30   Investment of proceeds

        Prior to the payment of the proceeds of the Recoveries to the Facility Agent for application in
        accordance with Clause 32.27 (Application of receipts) the Security Agent may, in its discretion,
        hold all or part of those proceeds in an interest bearing suspense or impersonal account(s) in
        the name of the Security Agent with such financial institution (including itself) and for so long
        as the Security Agent shall think fit (the interest being credited to the relevant account)
        pending the payment from time to time of those moneys in the Security Agent's discretion in
        accordance with the provisions of Clause 32.27 (Application of receipts).

32.31   Currency conversion

(a)     For the purpose of, or pending the discharge of, any of the Secured Liabilities the Security
        Agent may convert any moneys received or recovered by the Security Agent from one currency
        to another, at a market rate of exchange.

(b)     The obligations of any Transaction obligor to pay in the due currency shall only be satisfied to
        the extent of the amount of the due currency purchased after deducting the costs of
        conversion.

32.32   Good discharge

(a)     Any payment to be made in respect of the Secured Liabilities by the Security Agent may be
        made to the Facility Agent on behalf of the Secured Parties and any payment made in that way
        shall be a good discharge, to the extent of that payment, by the Security Agent.

(b)     The Security Agent is under no obligation to make the payments to the Facility Agent under
        paragraph (a) above in the same currency as that in which the obligations and liabilities owing
        to the relevant Finance Party are denominated.

32.33   Amounts received by obligors

        If any of the Obligors receives or recovers any amount which, under the terms of any of the
        Finance Documents, should have been paid to the Security Agent, that Obligor will hold the
        amount received or recovered on trust for the Security Agent and promptly pay that amount
        to the Security Agent for application in accordance with the terms of this Agreement.

32.34   Application and consideration

        In consideration for the covenants given to the Security Agent by each Obligor in relation to
        Clause 32.2 (Parallel Debt (Covenant to pay the Security Agent)), the Security Agent agrees with
        each Obligor to apply all moneys from time to time paid by such Obligor to the Security Agent
        in accordance with the foregoing provisions of this Clause 32 (The Security Agent).

32.35   Full freedom to enter into transactions

        Without prejudice to Clause 32.7 (Business with the Group) or any other provision of a Finance
        Document and notwithstanding any rule of law or equity to the contrary, the Security Agent
        shall be absolutely entitled:

(a)     to enter into and arrange banking, derivative, investment and/or other transactions of every
        kind with or affecting any Transaction Obligor or any person who is party to, or referred to in,
        a Finance Document (including, but not limited to, any interest or currency swap or other




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       transaction, whether related to this Agreement or not, and acting as syndicate agent and/or
       security agent for, and/or participating in, other facilities to such Transaction Obligor or any
       person who is party to, or referred to in, a Finance Document);

(b)    to deal in and enter into and arrange transactions relating to:

       0)      any securities issued or to be issued by any Transaction Obligor or any other person;
               or

       (¡0     any options or other derivatives in connection with such securities; and

(c)    to provide advice or other services to the Borrowers or any person who is a party to, or referred
       to in, a Finance Document,

       and, in particular, the Security Agent shall be absolutely entitled, in proposing, evaluating,
       negotiating, entering into and arranging all such transactions and in connection with all other
       matters covered by paragraphs (a), (b) and (c) above, to use (subject only to insider dealing
       legislation) any information or opportunity, howsoever acquired by it, to pursue its own
       interests exclusively, to refrain from disclosing such dealings, transactions or other matters or
       any information acquired in connection with them and to retain for its sole benefit all profits
       and benefits derived from the dealings transactions or other matters.

33     CONDUCT OF BUSINESS BY THE FINANCE PARTIES

       Save for Clause 12.7 [FATCA Information), no provision of this Agreement will:

(a)    interfere with the right of any Finance Party to arrange its affairs (tax or otherwise) in whatever
       manner it thinks fit;

(b)    oblige any Finance Party to investigate or claim any credit, relief, remission or repayment
       available to it or the extent, order and manner of any claim; or

(c)    oblige any Finance Party to disclose any information relating to its affairs (tax or otherwise) or
       any computations in respect of Tax.

34     SHARING AMONG THE FINANCE PARTIES

34.1   Payments to Finance Parties

       If a Finance Party (a "Recovering Finance Party") receives or recovers any amount from a
       Transaction Obligor other than in accordance with Clause 35 (Payment Mechanics) (a
       "Recovered Amount") and applies that amount to a payment due to it under the Finance
       Documents then:

(a)    the Recovering Finance Party shall, within three Business Days, notify details of the receipt or
       recovery, to the Facility Agent;

(b)    the Facility Agent shall determine whether the receipt or recovery is in excess of the amount
       the Recovering Finance Party would have been paid had the receipt or recovery been received
       or made by the Facility Agent and distributed in accordance with Clause 35 (Payment
       Mechanics), without taking account of any Tax which would be imposed on the Facility Agent
       in relation to the receipt, recovery or distribution; and




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(c)    the Recovering Finance Party shall, within three Business Days of demand by the Facility Agent,
       pay to the Facility Agent an amount (the "Sharing Payment") equal to such receipt or recovery
       less any amount which the Facility Agent determines may be retained by the Recovering
       Finance Party as its share of any payment to be made, in accordance with Clause 35.5
       (Application of receipts; partial payments).

34.2   Redistribution of payments

       The Facility Agent shall treat the Sharing Payment as if it had been paid by the relevant
       Transaction Obligor and distribute it among the Finance Parties (other than the Recovering
       Finance Party) (the "Sharing Finance Parties") in accordance with Clause 35.5 (Application of
       receipts; partial payments) towards the obligations of that Transaction Obligor to the Sharing
       Finance Parties.

34.3   Recovering Finance Party's rights

       On a distribution by the Facility Agent under Clause 34.2 (Redistribution of payments) of a
       payment received by a Recovering Finance Party from a Transaction Obligor, as between the
       relevant Transaction Obligor and the Recovering Finance Party, an amount of the Recovered
       Amount equal to the Sharing Payment will be treated as not having been paid by that
       Transaction Obligor.

34.4   Reversal of redistribution

       If any part of the Sharing Payment received or recovered by a Recovering Finance Party
       becomes repayable and is repaid by that Recovering Finance Party, then:

(a)    each Sharing Finance Party shall, upon request of the Facility Agent, pay to the Facility Agent
       for the account of that Recovering Finance Party an amount equal to the appropriate part of
       its share of the Sharing Payment (together with an amount as is necessary to reimburse that
       Recovering Finance Party for its proportion of any interest on the Sharing Payment which that
       Recovering Finance Party is required to pay) (the "Redistributed Amount"); and

(b)    as between the relevant Transaction Obligor and each relevant Sharing Finance Party, an
       amount equal to the relevant Redistributed Amount will be treated as not having been paid by
       that Transaction Obligor.

34.5   Exceptions

(a)    This Clause 34 (Sharing among the Finance Parties) shall not apply to the extent that the
       Recovering Finance Party would not, after making any payment pursuant to this Clause, have
       a valid and enforceable claim against the relevant Transaction Obligor.

(b)    A Recovering Finance Party is not obliged to share with any other Finance Party any amount
       which the Recovering Finance Party has received or recovered as a result of taking legal or
       arbitration proceedings, if:

       (i)     it notified that other Finance Party of the legal or arbitration proceedings; and

       (¡¡)   that other Finance Party had an opportunity to participate in those legal or arbitration
              proceedings but did not do so as soon as reasonably practicable having received notice
              and did not take separate legal or arbitration proceedings.




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                                              SECTION 11

                                          ADMINISTRATION

35     PAYMENT MECHANICS

35.1   Payments to the Facility Agent

(a)    On each date on which a Transaction Obligor or a Lender is required to make a payment under
       a Finance Document, that Transaction Obligor or Lender shall make an amount equal to such
       payment available to the Facility Agent (unless a contrary indication appears in a Finance
       Document) for value on the due date at the time and in such funds specified by the Facility
       Agent as being customary at the time for settlement of transactions in the relevant currency
       in the place of payment.

(b)    Payment shall be made to such account in the principal financial centre of the country of that
       currency (or, in relation to euro, in a principal financial centre in such Participating Member
       State or London, as specified by the Facility Agent) and with such bank as the Facility Agent, in
       each case, specifies.

35.2   Distributions by the Facility Agent

       Each payment received by the Facility Agent under the Finance Documents for another Party
       shall, subject to Clause 35.3 (Distributions to a Transaction Obligor) and Clause 35.4 (Clawback
       and pre-funding) be made available by the Facility Agent as soon as practicable after receipt to
       the Party entitled to receive payment in accordance with this Agreement (in the case of a
       Lender, for the account of its Facility Office), to such account as that Party may notify to the
       Facility Agent by not less than five Business Days' notice with a bank specified by that Party in
       the principal financial centre of the country of that currency (or, in relation to euro, in the
       principal financial centre of a Participating Member State or London), as specified by that Party
       or, in the case of an Advance, to such account of such person as may be specified by the
       Borrowers in a Utilisation Request.

35.3   Distributions to a Transaction Obligor

       The Facility Agent may (with the consent of the Transaction Obligor or in accordance with
       Clause 36 (Set-Off)) apply any amount received by it for that Transaction Obligor in or towards
       payment (on the date and in the currency and funds of receipt) of any amount due from that
       Transaction Obligor under the Finance Documents or in or towards purchase of any amount of
       any currency to be so applied.

35.4   Clawback and pre-funding

(a)    Where a sum is to be paid to the Facility Agent under the Finance Documents for another Party,
       the Facility Agent is not obliged to pay that sum to that other Party (or to enter into or perform
       any related exchange contract) until it has been able to establish to its satisfaction that it has
       actually received that sum.

(b)    Unless paragraph (c) below applies, if the Facility Agent pays an amount to another Party and
       it proves to be the case that the Facility Agent had not actually received that amount, then the
       Party to whom that amount (or the proceeds of any related exchange contract) was paid by
       the Facility Agent shall on demand refund the same to the Facility Agent together with interest




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       on that amount from the date of payment to the date of receipt by the Facility Agent,
       calculated by the Facility Agent to reflect its cost of funds.

(c)    If the Facility Agent is willing to make available amounts for the account of the Borrowers
       before receiving funds from the Lenders then if and to the extent that the Facility Agent does
       so but it proves to be the case that it does not then receive funds from a Lender in respect of
       a sum which it paid to the Borrowers:

       (¡)     the Borrowers shall on demand refund it to the Facility Agent; and

       (H)     the Lender by whom those funds should have been made available or, if the Lender
               fails to do so, the Borrowers shall on demand pay to the Facility Agent the amount (as
               certified by the Facility Agent) which will indemnify the Facility Agent against any
               funding cost incurred by it as a result of paying out that sum before receiving those
               funds from that Lender.

35.5   Application of receipts; partial payments

(a)    If the Facility Agent receives a payment that is insufficient to discharge all the amounts then
       due and payable by a Transaction Obligor under the Finance Documents, the Facility Agent
       shall apply that payment towards the obligations of that Transaction Obligor under the Finance
       Documents in the following order:

       (0      first, in or towards payment pro rata of any unpaid fees, costs and expenses of, and
               any other amounts owing to, the Facility Agent, the Security Agent, any Receiver or
               any Delegate under the Finance Documents;

       (N)     secondly, in or towards payment pro rata of:

               (A)     any accrued interest and fees due but unpaid to the Lenders under this
                       Agreement; and

               (B)     any periodical payments (not being payments as a result of termination or
                       closing out) due but unpaid to the Hedge Counterparties under the Hedging
                       Agreements;

       (iii)   thirdly, in or towards payment pro rata of:

               (A)     any principal due but unpaid to the Lenders under this Agreement; and

               (B)     any payments as a result of termination or closing out due but unpaid to the
                       Hedge Counterparties under the Hedging Agreements; and

       (iv)    fourthly, in or towards payment pro rata of any other sum due but unpaid under the
               Finance Documents.

(b)    The Facility Agent shall, if so directed by the Majority Lenders and the Hedge Counterparties,
       vary, or instruct the Security Agent to vary (as applicable), the order set out in sub-paragraphs
       (ii) to (iv) of paragraph (a) above.

(c)    Paragraphs (a) and (b) above will override any appropriation made by a Transaction Obligor.




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35.6   No set-off by Transaction Obligors

(a)    All payments to be made by a Transaction Obligor under the Finance Documents shall be
       calculated and be made without (and free and clear of any deduction for) set-off or
       counterclaim.

(b)    Paragraph (a) above shall not affect the operation of any payment or close-out netting in
       respect of any amounts owing under any Hedging Agreement.

35.7   Business Days

(a)    Any payment under the Finance Documents which is due to be made on a day that is not a
       Business Day shall be made on the next Business Day in the same calendar month (if there is
       one) or the preceding Business Day (if there is not).

(b)    During any extension of the due date for payment of any principal or an Unpaid Sum under
       this Agreement interest is payable on the principal or Unpaid Sum at the rate payable on the
       original due date.

35.8   Currency of account

(a)    Subject to paragraphs (b) and (c) below, dollars is the currency of account and payment for any
       sum due from a Transaction Obligor under any Finance Document.

(b)    Each payment in respect of costs, expenses or Taxes shall be made in the currency in which
       the costs, expenses or Taxes are incurred.

(c)    Any amount expressed to be payable in a currency other than dollars shall be paid in that other
       currency.

35.9   Change of currency

(a)    Unless otherwise prohibited by law, if more than one currency or currency unit are at the same
       time recognised by the central bankofany country as the lawful currency of that country, then:

       (¡)     any reference in the Finance Documents to, and any obligations arising under the
               Finance Documents in, the currency of that country shall be translated into, or paid in,
               the currency or currency unit of that country designated by the Facility Agent (after
               consultation with the Borrowers); and

       (‫)؛؛‬    any translation from one currency or currency unit to another shall be at the official
               rate of exchange recognised by the central bank for the conversion of that currency or
               currency unit into the other, rounded up or down by the Facility Agent (acting
               reasonably).

(b)    If a change in any currency of a country occurs, this Agreement will, to the extent the Facility
       Agent (acting reasonably and after consultation with the Borrowers) specifies to be necessary,
       be amended to comply with any generally accepted conventions and market practice in the
       Relevant Interbank Market and otherwise to reflect the change in currency.




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 35.10   Currency Conversion

 (a)     For the purpose of, or pending any payment to be made by any Servicing Party under any
         Finance Document, such Servicing Party may convert any moneys received or recovered by it
         from one currency to another, at a market rate of exchange.

(b)      The obligations of any Transaction Obligor to pay in the due currency shall only be satisfied to
         the extent of the amount of the due currency purchased after deducting the costs of
         conversion.

35.11    Disruption to Payment Systems etc.

         If either the Facility Agent determines (in its discretion) that a Disruption Event has occurred
         or the Facility Agent is notified by a Borrower that a Disruption Event has occurred:

(a)      the Facility Agent may, and shall if requested to do so by a Borrower, consult with the
         Borrowers with a view to agreeing with the Borrowers such changes to the operation or
         administration of the Facility as the Facility Agent may deem necessary in the circumstances;

(b)      the Facility Agent shall not be obliged to consult with the Borrowers in relation to any changes
         mentioned in paragraph (a) above if, in its opinion, it is not practicable to do so in the
         circumstances and, in any event, shall have no obligation to agree to such changes;

(c)      the Facility Agent may consult with the Finance Parties in relation to any changes mentioned
         in paragraph (a) above but shall not be obliged to do so if, in its opinion, it is not practicable to
         do so in the circumstances;

(d)      any such changes agreed upon by the Facility Agent and the Borrowers shall (whether or not
         it is finally determined that a Disruption Event has occurred) be binding upon the Parties and
         any Transaction Obligors as an amendment to (or, as the case may be, waiver of) the terms of
         the Finance Documents notwithstanding the provisions of Clause 44 (Amendments and
         Waivers);

(e)      the Facility Agent shall not be liable for any damages, costs or losses to any person, any
         diminution in value or any liability whatsoever (including, without limitation for negligence,
         gross negligence or any other category of liability whatsoever but not including any claim based
         on the fraud of the Facility Agent) arising as a result of its taking, or failing to take, any actions
         pursuant to or in connection with this Clause 35.11 (Disruption to Payment Systems etc.); and

(f)      the Facility Agent shall notify the Finance Parties of all changes agreed pursuant to paragraph
         (d)above.

36       SET-OFF

         A Finance Party may, following the occurrence of an Event of Default and whilst the same is
         continuing, set off any matured obligation due from a Transaction Obligor under the Finance
         Documents (to the extent beneficially owned by that Finance Party) against any matured
         obligation owed by that Finance Party to that Transaction Obligor, regardless of the place of
         payment, booking branch or currency of either obligation. If the obligations are in different
         currencies, the Finance Party may convert either obligation at a market rate of exchange in its
         usual course of business for the purpose of the set-off. The relevant Finance Party shall, if
         practicable, notify the relevant Transaction Obligor following the exercise of any right pursuant
         to this Clause 36 (Set-Off).




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37     BAIL-IN

       Notwithstanding any other term of any Finance Document or any other agreement,
       arrangement or understanding between the parties to a Finance Document, each Party
       acknowledges and accepts that any liability of any party to a Finance Document under or in
       connection with the Finance Documents may be subject to Bail-In Action by the relevant
       Resolution Authority and acknowledges and accepts to be bound by the effect of:

(a)    any Bail-In Action in relation to any such liability, including (without limitation):

       (i)       a reduction, in full or in part, in the principal amount, or outstanding amount due
                 (including any accrued but unpaid interest) in respect of any such liability;

       (‫)؛؛‬      a conversion of all, or part of, any such liability into shares or other instruments of
                 ownership that may be issued to, or conferred on, it; and

       (Mi)      a cancellation of any such liability; and

(b)    a variation of any term of any Finance Document to the extent necessary to give effect to any
       Bail-In Action in relation to any such liability.

38     NOTICES

38.1   Communications in writing

       Any communication to be made under or in connection with the Finance Documents shall be
       made in writing and, unless otherwise stated, may be made by fax or letter.

38.2   Addresses

       The address and fax number (and the department or officer, if any, for whose attention the
       communication is to be made) of each Party for any communication or document to be made
       or delivered under or in connection with the Finance Documents are:

(a)    in the case of the Borrowers, that specified in Schedule 1 (The Parties);

(b)    in the case of each Lender, each Hedge Counterparty or any other Obligor, that specified in
       Schedule 1 (The Parties) or, if it becomes a Party after the date of this Agreement, that notified
       in writing to the Facility Agent on or before the date on which it becomes a Party;

(c)    in the case of the Facility Agent, that specified in Schedule 1 (The Parties); and

(d)    in the case of the Security Agent, that specified in Schedule 1 (The Parties),

       or any substitute address, fax number or department or officer as the Party may notify to the
       Facility Agent (or the Facility Agent may notify to the other Parties, if a change is made by the
       Facility Agent) by not less than five Business Days' notice.

38.3   Delivery

(a)    Any communication or document made or delivered by one person to another under or in
       connection with the Finance Documents will only be effective:

       (‫)؛‬       if by way of fax, when received in legible form; or



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       (ii)    if by way of letter, when it has been left at the relevant address or five Business Days
               after being deposited in the post postage prepaid in an envelope addressed to it at
               that address,

       and, if a particular department or officer is specified as part of its address details provided
       under Clause 38.2 (Addresses), if addressed to that department or officer.

(b)    Any communication or document to be made or delivered to a Servicing Party will be effective
       only when actually received by that Servicing Party and then only if it is expressly marked for
       the attention of the department or officer of that Servicing Party specified in Schedule 1 (The
       Parties) (or any substitute department or officer as that Servicing Party shall specify for this
       purpose).

(c)    All notices from or to a Transaction Obligor shall be sent through the Facility Agent unless
       otherwise specified in any Finance Document.

(d)    Any communication or document made or delivered to the Borrowers in accordance with this
       Clause will be deemed to have been made or delivered to each of the Transaction Obligors.

(e)    Any communication or document which becomes effective, in accordance with paragraphs (a)
       to (d) above, after 5.00 p.m. in the place of receipt shall be deemed only to become effective
       on the following day.

38.4   Notification of address and fax number

       Promptly upon receipt of notification of an address and fax number or change of address or
       fax number pursuant to Clause 38.2 (Addresses) or changing its own address or fax number,
       the Facility Agent shall notify the other Parties.

38.5   Electronic communication

(a)    Any communication to be made between any two Parties under or in connection with the
       Finance Documents may be made by electronic mail or other electronic means (including,
       without limitation, by way of posting to a secure website) if those two Parties:

       (٠)     notify each other in writing of their electronic mail address and/or any other
               information required to enable the transmission of information by that means; and

       (ii)    notify each otherof any change to their address or any other such information supplied
               by them by not less than five Business Days' notice.

(b)    Any such electronic communication as specified in paragraph (a) above to be made between
       an Obligor and a Finance Party may only be made in that way to the extent that those two
       Parties agree that, unless and until notified to the contrary, this is to be an accepted form of
       communication.

(c)    Any such electronic communication as specified in paragraph (a) above made between any
       two Parties will be effective only when actually received (or made available) in readable form
       and in the case of any electronic communication made by a Party to the Facility Agent or the
       Security Agent only if it is addressed in such a manner as the Facility Agent or the Security
       Agent shall specify for this purpose.




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(d)    Any electronic communication which becomes effective, in accordance with paragraph (c)
       above, after 5.00 p.m. in the place in which the Party to whom the relevant communication is
       sent or made available has its address for the purpose of this Agreement shall be deemed only
       to become effective on the following day.

(e)    Any reference in a Finance Document to a communication being sent or received shall be
       construed to include that communication being made available in accordance with this Clause
       38.5 (Electronic communication).

38.6   English language

(a)    Any notice given under or in connection with any Finance Document must be in English.

(b)    All other documents provided under or in connection with any Finance Document must be:

       (‫)؛‬     in English; or

       (‫)؛؛‬    if not in English, and if so required by the Facility Agent, accompanied by a certified
               English translation prepared by a translator approved by the Facility Agent and, in this
               case, the English translation will prevail unless the document is a constitutional,
               statutory or other official document.

38.7   Hedging Agreement

       Notwithstanding anything in Clause 1.1 (Definitions), references to the Finance Documents or
       a Finance Document in this Clause do not include any Hedging Agreement entered into by a
       Borrower with a Hedge Counterparty in connection with the Facility.

39     CALCULATIONS AND CERTIFICATES

39.1   Accounts

       In any litigation or arbitration proceedings arising out of or in connection with a Finance
       Document, the entries made in the accounts maintained by a Finance Party are prima facie
       evidence of the matters to which they relate.

39.2   Certificates and determinations

       Any certification or determination by a Finance Party of a rate or amount under any Finance
       Document is, in the absence of manifest error, conclusive evidence of the matters to which it
       relates.

39.3   Day count convention

       Any interest, commission or fee accruing under a Finance Document will accrue from day to
       day and is calculated on the basis of the actual number of days elapsed and a year of 360 days
       or, in any case where the practice in the Relevant Interbank Market differs, in accordance with
       that market practice.

40     PARTIAL INVALIDITY

       If, at any time, any provision of a Finance Document is or becomes illegal, invalid or
       unenforceable in any respect under any law of any jurisdiction, neither the legality, validity or




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       enforceability of the remaining provisions under the law of that jurisdiction nor the legality,
       validity or enforceability of such provision under the law of any other jurisdiction will in any
       way be affected or impaired.

41     REMEDIES AND WAIVERS

       No failure to exercise, nor any delay in exercising, on the part of any Secured Party, any right
       or remedy under a Finance Document shall operate as a waiver of any such right or remedy or
       constitute an election to affirm any Finance Document. No election to affirm any Finance
       Document on the part of a Secured Party shall be effective unless it is in writing. No single or
       partial exercise of any right or remedy shall prevent any further or other exercise or the
       exercise of any other right or remedy. The rights and remedies provided in each Finance
       Document are cumulative and not exclusive of any rights or remedies provided by law.

42     SETTLEMENT OR DISCHARGE CONDITIONAL

       Any settlement or discharge under any Finance Document between any Finance Party and any
       Transaction Obligor shall be conditional upon no security or payment to any Finance Party by
       any Transaction Obligor or any other person being set aside, adjusted or ordered to be repaid,
       whether under any insolvency law or otherwise.

43     IRREVOCABLE PAYMENT

       If the Facility Agent considers that an amount paid or discharged by, or on behalf of, a
       Transaction Obligor or by any other person in purported payment or discharge of an obligation
       ofthatTransaction Obligorto a Secured Party underthe Finance Documents is capable of being
       avoided or otherwise set aside on the liquidation or administration ofthatTransaction Obligor
       or otherwise, then that amount shall not be considered to have been unconditionally and
       irrevocably paid or discharged for the purposes of the Finance Documents.

44     AMENDMENTS AND WAIVERS

44.1   Required consents

(a)    Subject to Clause 44.2 {All Lender matters) and Clause 44.3 (Other exceptions) any term of the
       Finance Documents may be amended or waived only with the consent of the Majority Lenders
       and, in the case of an amendment, the Obligors and any such amendment or waiver will be
       binding on all Parties.

(b)    The Facility Agent may effect, on behalf of any Finance Party, any amendment or waiver
       permitted by this Clause 44 (Amendments and Waivers).

(c)    Without prejudice to the generality of Clause 31.8 (Rights and discretions), the Facility Agent
       may engage, pay for and rely on the services of lawyers in determining the consent level
       required for and effecting any amendment, waiver or consent under this Agreement.

(d)    Paragraph (c) of Clause 29.9 (Pro rata interest settlement) shall apply to this Clause 44
       (Amendments and Waivers).




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44.2   All lender matters

       Subject to Clause 44.4 (Replacement of Screen Rate), an amendment of or waiver or consent
       in relation to any term of any Finance Document that has the effect of changing or which
       relates to:

(a)    the definition of "Majority lenders" in Clause 1.1 (Definitions);

(b)    a postponement to or extension of the date of payment of any amount under the Finance
       Documents;

(‫)ء‬    a reduction in the Margin or the amount of any payment of principal, interest, fees or
       commission payable;

(d)    a change in currency of payment of any amount under the Finance Documents;

(e)    an increase in any Commitment or the Total Commitments, an extension of any Availability
       Period or any requirement that a cancellation of Commitments reduces the Commitments
       rateably under the Facility;

(f)    a change to any Transaction Obligor other than in accordance with Clause 30 (Changes to the
       Transaction Obligors);

(g)    any provision which expressly requires the consent of all the lenders;

(h)    this Clause 44 (Amendments and Wafvers);

(‫)؛‬    any change to the preamble (Background), Clause 2 (The Facility), Clause 3 (Purpose), Clause 5
       ٧t‫؛‬١‫؛‬sat‫؛‬on١, 0‫ﺓ‬١‫>؟ ﺟﺔﻝ‬.! ^Effect of cancellation and prepayment on scheduled repayments),
       7 ‫ﺓ\ﺓ‬٧‫ﺟﺔ‬.A )Mandatory prepayment on sale or Total Loss) or CXause 7.5 )Mandatory
       prepayment of Hedging Prepayment Proceeds), Clause ‫) >؟‬Interest), Clause 15.10 )Compliance
       with laws etc.), Clause 15.11 )Sanctions and Ship trading). Clause 17 )Accounts, application of
       Earnings and Hedge Receipts), Clause 15 )Changes to the Lenders), Clause 54 )Sharing among
       the Finance Parties), Clause 48 (Governing Law) or Clause 49 (Enforcement);

‫)ﻧﴼ‬    any release of, or material variation to, any Transaction Security, guarantee, indemnity or
       subordination arrangement set out in a Finance Document (except in the case of a release of
       Transaction Security as it relates to the disposal of an asset which is the subject of the
       Transaction Security and where such disposal is expressly permitted by the Majority Lenders
       or otherwise under a Finance Document);

(k)    (other than as expressly permitted by the provisions of any Finance Document), the nature or
       scope of:

       (!)    the guarantees and indemnities granted under Clause 18 (Guarantee and Indemnity -
              Hedge Guarantors);

       (ii)   the joint and several liability of the Borrowers under Clause 17 (Joint and Several
              Liability of the Borrowers);

       (Mi)   tfie Security Assets; or




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       (¡٧)    the manner in which the proceeds of enforcement of the Transaction Security are
               distributed.

               (except in the case of sub-paragraphs (iii) and (iv) above, insofar as it relates to a sale
               or disposal of an asset which is the subject of the Transaction Security where such sale
               or disposal is expressly permitted under this Agreement or any other Finance
               Document);

(!)    the release of the guarantees and indemnities granted under Clause 18 (Guarantee and
       Indemnity-Hedge Guarantors) orthe release ofthe jointand several liability of the Borrowers
       under Clause 17 (Joint and Several Liability of the Borrowers) or of any Transaction Security
       unless permitted under this Agreement or any other Finance Document or relating to a sale or
       disposal of an asset which is the subject ofthe Transaction Security where such sale or disposal
       is expressly permitted under this Agreement or any other Finance Document, shall not be
       made, or given, without the prior consent of all the Lenders.

44.3   other exceptions

(a)    An amendment or waiver which relates to the rights or obligations of a Servicing Party, the
       Arranger or a Reference Bank (each in their capacity as such) may not be effected without the
       consent of that Servicing Party, the Arranger or that Reference Bank, as the case may be.

(b)    An amendment or waiver which relates to and would adversely affect the rights or obligations
       of a Hedge Counterparty (in its capacity as such) may not be effected without the consent of
       that Hedge Counterparty.

(c)    The Borrowers and the Facility Agent, the Arranger or the Security Agent, as applicable, may
       amend or waive a term of a Fee Letter to which they are party.

(d)    The relevant Hedge Counterparty and the relevant Borrower may amend, supplement or waive
       the terms of any Hedging Agreement if permitted by paragraph (g) of Clause 8.5 (Hedging).

44.4   Replacement of Screen Rate

(a)    Subject to Clause 44.3 (Other exceptions), if the Screen Rate is not available for dollars, any
       amendment or waiver which relates to providing for another benchmark rate to apply in
       relation to dollars, in place of that Screen Rate (or which relates to aligning any provision of a
       Finance Document to the use of that benchmark rate) may be made with the consent of the
       Majority Lenders and the Borrowers.

(b)    If any Lender fails to respond to a request for an amendment or waiver described in paragraph
       (a) above within 5 Business Days (or such longer time period in relation to any request which
       the Borrowers and the Facility Agent may agree) of that request being made:

       (Ì)     its Commitment shall not be included for the purpose of calculating the Total
               Commitments when ascertaining whether any relevant percentage of Total
               Commitments has been obtained to approve that request; and

       (ii)    its status as a Lender shall be disregarded for the purpose of ascertaining whether the
               agreement of any specified group of Lenders has been obtained to approve that
               request.




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44.5   Obligor Intent

       Without prejudice to the generality of Clauses 1.2 (Construction), 17.2 (Waiver of defences)
       and 18.4 (Waiver of defences), each Obligor expressly confirms that it intends that any
       guarantee contained in this Agreement or any other Finance Document and any Security
       created by any Finance Document shall extend from time to time to any (however
       fundamental) variation, increase, extension or addition of or to any of the Finance Documents
       and/or any facility or amount made available under any of the Finance Documents for the
       purposes of or in connection with any of the following: business acquisitions of any nature;
       increasing working capital; enabling investor distributions to be made; carrying out
       restructurings; refinancing existing facilities; refinancing any other indebtedness; making
       facilities available to new borrowers; any other variation or extension of the purposes for
       which any such facility or amount might be made available from time to time; and any fees,
       costs and/or expenses associated with any of the foregoing.

45     CONFIDENTIAL INFORMATION

45.1   Confidentiality

       Each Finance Party agrees to keep all Confidential Information confidential and not to disclose
       it to anyone, save to the extent permitted by Clause 45.2 (Disclosure of Confidential
       Information) and Clause 45.3 (Disclosure to numbering service providers) and to ensure that all
       Confidential Information is protected with security measures and a degree of care that would
       apply to its own confidential information.

45.2   Disclosure of Confidential Information

       Any Finance Party may disclose:

(a)    to any of its Affiliates and Related Funds and any of its or their officers, directors, employees,
       professional advisers, auditors, partners and Representatives such Confidential Information as
       that Finance Party shall consider appropriate if any person to whom the Confidential
       Information is to be given pursuant to this paragraph (a) is informed in writing of its
       confidential nature and that some or all of such Confidential Information may be price-
       sensitive information except that there shall be no such requirement to so inform if the
       recipient is subject to professional obligations to maintain the confidentiality of the
       information or is otherwise bound by requirements of confidentiality in relation to the
       Confidential Information;

(b)    to any person:

       (0      to (or through) whom it assigns or transfers (or may potentially assign or transfer) all
               or any of its rights and/or obligations under one or more Finance Documents or which
               succeeds (or which may potentially succeed) it as Facility Agent or Security Agent and,
               in each case, to any of that person's Affiliates, Related Funds, Representatives and
               professional advisers;

       (¡٠)    with (or through) whom it enters into (or may potentially enter into), whether directly
               or indirectly, any sub-participation in relation to, or any other transaction under which
               payments are to be made or may be made by reference to, one or more Finance
               Documents and/or one or more Transaction Obligors and to any of that person's
               Affiliates, Related Funds, Representatives and professional advisers;




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      (¡¡¡)   appointed by any Finance Party or by a person to whom sub-paragraph (i) or (ii) of
              paragraph (b) above applies to receive communications, notices, information or
              documents delivered pursuant to the Finance Documents on its behalf (including,
              without limitation, any person appointed under paragraph (c) of Clause 31.15
              (Relationship with the other Finance Parties));

      (iv)    who invests in or otherwise finances (or may potentially invest in or otherwise
              finance), directly or indirectly, any transaction referred to in sub-paragraph (i) or (ii) of
              paragraph (b) above;

      (v)     to whom information is required or requested to be disclosed by any court of
              competent jurisdiction or any governmental, banking, taxation or other regulatory
              authority or similar body, the rules of any relevant stock exchange or pursuant to any
              applicable law or regulation;

      (vi)    to whom information is required to be disclosed in connection with, and for the
              purposes of, any litigation, arbitrations, administrative or other investigations,
              proceedings or disputes;

     (vii)    to whom or for whose benefit that Finance Party charges, assigns or otherwise creates
              Security (or may do so) pursuant to Clause 29.8 (Security over Lenders' rights);

     (viii)   who is a Party, a member of the Group or any related entity of a Transaction Obligor;

     (ix)     as a result of the registration of any Finance Document as contemplated by any Finance
              Document or any legal opinion obtained in connection with any Finance Document; or

     (x)      with the consent of the Obligors;

     in each case, such Confidential Information as that Finance Party shall consider appropriate if:

              (A)     in relation to sub-paragraphs (i), (ii) and (iii) of paragraph (b) above, the person
                      to whom the Confidential Information is to be given has entered into a
                      Confidentiality Undertaking except that there shall be no requirement for a
                      Confidentiality Undertaking if the recipient is a professional adviser and is
                      subject to professional obligations to maintain the confidentiality of the
                      Confidential Information;

              (B)     in relation to sub-paragraph (iv) of paragraph (b) above, the person to whom
                      the Confidential Information is to be given has entered into a Confidentiality
                      Undertaking or is otherwise bound by requirements of confidentiality in
                      relation to the Confidential Information they receive and is informed that
                      some or all of such Confidential Information may be price-sensitive
                      information;

              (C)     in relation to sub-paragraphs (v), (vi) and (vii) of paragraph (b) above, the
                      person to whom the Confidential Information is to be given is informed of its
                      confidential nature and that some or all of such Confidential Information may
                      be price-sensitive information except that there shall be no requirement to so
                      inform if, in the opinion of that Finance Party, it is not practicable so to do in
                      the circumstances;




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(c)    to any person appointed by that Finance Party or by a person to whom sub-paragraph (i) or (ii)
       of paragraph (b) above applies to provide administration or settlement services in respect of
       one or more of the Finance Documents including without limitation, in relation to the trading
       of participations in respect of the Finance Documents, such Confidential Information as may
       be required to be disclosed to enable such service provider to provide any of the services
       referred to in this paragraph (c) if the service provider to whom the Confidential Information
       is to be given has entered in to a confidentiality agreement substantially in the form of the
       LMA Master Confidentiality Undertaking for Use With Administration/ Settlement Service
       Providers or such other form of confidentiality undertaking agreed between the Borrowers
       and the relevant Finance Party;

(d)    to any rating agency (including its professional advisers) such Confidential Information as may
       be required to be disclosed to enable such rating agency to carry out its normal rating activities
       in relation to the Finance Documents and/or the Transaction Obligors if the rating agency to
       whom the Confidential Information is to be given is informed of its confidential nature and
       that some or all of such Confidential Information may be price-sensitive information.

45.3   Disclosure to numbering service providers

(a)    Any Finance Party may disclose to any national or international numbering service provider
       appointed by that Finance Party to provide identification numbering services in respect of this
       Agreement, the Facility and/or one or more Transaction Obligors the following information:

       (¡)      names of Transaction Obligors;

       (»)      country of domicile of Transaction Obligors;

       (‫)؛؛؛‬    place of incorporation or formation of Transaction Obligors;

       (iv)     date of this Agreement;

       (٧)      Clause 48 (Governing Law);

       (Vi)     the names of the Facility Agent and the Arranger;

       (vii)    date of each amendment and restatement of this Agreement;

       (vi¡‫)؛‬   amount of Total Commitments;

       (ix)     currency of the Facility;

       (x)      type of Facility;

       (xi)     ranking of Facility;

       (xii)    each Termination Date for Facility;

       (xi‫)¡؛‬   changes to any of the information previously supplied pursuant to sub-paragraphs (i)
                to (xii) above; and

       (xiv)    such other information agreed between such Finance Party and the Borrowers,

       to enable such numbering service provider to provide its usual syndicated loan numbering
       identification services.



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(b)    The Parties acknowledge and agree that each identification number assigned to this
       Agreement, the Facility and/or one or more Transaction Obligors by a numbering service
       provider and the information associated with each such number may be disclosed to users of
       its services in accordance with the standard terms and conditions of that numbering service
       provider.

(c)    Each Obligor represents, on behalf of itself and the other Transaction Obligors, that none of
       the information set out in sub-paragraphs (i) to (xiv) of paragraph (a) above is, nor will at any
       time be, unpublished price-sensitive information.

(d)    The Facility Agent shall notify the Borrowers and the other Finance Parties of:

       (‫)؛‬     the name of any numbering service provider appointed by the Facility Agent in respect
               of this Agreement, the Facility and/or one or more Transaction Obligors; and

       (ii)    the number or, as the case may be, numbers assigned to this Agreement, the Facility
               and/or one or more Transaction Obligors by such numbering service provider.

45.4   Disclosure to administration/settlement services providers

       Notwithstanding any other term of any Finance Document or any other agreement between
       the Parties to the contrary (whether express or implied), any Finance Party may disclose to any
       person appointed by:

(a)    that Finance Party;

(b)    a person to (or through) whom that Finance Party assigns or transfers (or may potentially
       assign or transfer) all or any of its rights and/or obligations under one or more Finance
       Documents or which succeeds (or which may potentially succeed) it as Facility Agent or
       Security Agent under this Agreement; and/or

(c)    a person with (or through) whom that Finance Party enters into (or may potentially enter into)
       any sub-participation in relation to, or any other transaction under which payments are to be
       made, or may be made, by reference to, one or more Finance Documents and/or one or more
       Obligors,

       to provide administration or settlement services in respect of one or more of the Finance
       Documents including without limitation, in relation to the trading of participations in respect
       of the Finance Documents, such Confidential Information as may be required to be disclosed
       to enable such service provider to provide any of the services referred to in this Clause 45.4
       {Disclosure to administration/settlement services providers) if the service provider to whom
       the Confidential Information is to be given has entered into a Confidentiality Undertaking.

45.5   Entire agreement

       This Clause 45 (Confidential Information) constitutes the entire agreement between the Parties
       in relation to the obligations of the Finance Parties under the Finance Documents regarding
       Confidential Information and supersedes any previous agreement, whether express or implied,
       regarding Confidential Information.




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45.6   Inside information

       Each of the Finance Parties acknowledges that some or all of the Confidential Information is or
       may be price-sensitive information and that the use of such information may be regulated or
       prohibited by applicable legislation including securities law relating to insider dealing and
       market abuse and each of the Finance Parties undertakes not to use any Confidential
       Information for any unlawful purpose.

45.7   Notification of disclosure

       Each of the Finance Parties agrees (to the extent permitted by law and regulation) to inform
       the Borrowers:

(a)    of the circumstances of any disclosure of Confidential Information made pursuant to sub-
       paragraph (v) of paragraph (b) of Clause 45.2 (Disclosure of Confidential Information) except
       where such disclosure is made to any of the persons referred to in that paragraph during the
       ordinary course of its supervisory or regulatory function; and

(b)    upon becoming aware that Confidential Information has been disclosed in breach of this Clause
       45 (Confidential Information).

45.8   Continuing obligations

       The obligations in this Clause 45 (Confidential Information) are continuing and, in particular,
       shall survive and remain binding on each Finance Party for a period of 12 months from the
       earlier of:

(a)    the date on which all amounts payable by the Obligors under or in connection with this
       Agreement have been paid in full and all Commitments have been cancelled or otherwise
       cease to be available; and

(b)    the date on which such Finance Party otherwise ceases to be a Finance Party.

46     CONFIDENTIALITY OF FUNDING RATES AND REFERENCE BANK QUOTATIONS

46.1   Confidentiality and disclosure

(a)    The Facility Agent and each Obligor agree to keep each Funding Rate (and, in the case of the
       Facility Agent, each Reference Bank Quotation) confidential and not to disclose it to anyone,
       save to the extent permitted by paragraphs (b), (c) and (d) below.

(b)    The Facility Agent may disclose:

       (0      any Funding Rate (but not, for the avoidance of doubt, any Reference Bank Quotation)
               to the Borrower pursuant to Clause 8.4 (Notification of rates of interest); and

       (¡٠)    any Funding Rate or any Reference Bank Quotation to any person appointed by it to
               provide administration services in respect of one or more of the Finance Documents
               to the extent necessary to enable such service provider to provide those services if the
               service provider to whom that information is to be given has entered into a
               confidentiality agreement substantially in the form of the LMA Master Confidentiality
               Undertaking for Use With Administration/Settlement Service Providers or such other




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               form of confidentiality undertaking agreed between the Facility Agent and the relevant
               Lender or Reference Bank, as the case may be.

(c)    The Facility Agent may disclose any Funding Rate or any Reference Bank Quotation, and each
       Obligor may disclose any Funding Rate, to:

       (‫)؛‬     any of its Affiliates and any of its or their officers, directors, employees, professional
               advisers, auditors, partners and Representatives, if any person to whom that Funding
               Rate or Reference Bank Quotation is to be given pursuant to this sub-paragraph (i) is
               informed in writing of its confidential nature and that it may be price sensitive
               information except that there shall be no such requirement to so inform if the recipient
               is subject to professional obligations to maintain the confidentiality of that Funding
               Rate or Reference Bank Quotation or is otherwise bound by requirements of
               confidentiality in relation to it;

       (N)     any person to whom information is required or requested to be disclosed by any court
               of competent jurisdiction or any governmental, banking, taxation or other regulatory
               authority or similar body, the rules of any relevant stock exchange or pursuant to any
               applicable law or regulation if the person to whom that Funding Rate or Reference
               Bank Quotation is to be given is informed in writing of its confidential nature and that
               it may be price sensitive information except that there shall be no requirement to so
               inform if, in the opinion of the Facility Agent or the relevant Obligor, as the case may
               be, it is not practicable to do so in the circumstances;

       (iii)   any person to whom information is required to be disclosed in connection with, and
               for the purposes of, any litigation, arbitration, administrative or other investigations,
               proceedings or disputes if the person to whom that Funding Rate or Reference Bank
               Quotation is to be given is informed in writing of its confidential nature and that it may
               be price sensitive information except that there shall be no requirement to so inform
               if, in the opinion of the Facility Agent or the relevant Obligor, as the case may be, it is
               not practicable to do so in the circumstances; and

       (iv)    any person with the consent of the relevant Lender or Reference Bank, as the case may
               be.

(d)    The Facility Agent's obligations in this Clause 46 (Confidentiality of Funding Rates and
       Reference Bank Quotations) relating to Reference Bank Quotations are without prejudice to its
       obligations to make notifications under Clause 8.4 (Notification of rates of interest) provided
       that (other than pursuant to sub-paragraph (i) of paragraph (b) above) the Facility Agent shall
       not include the details of any individual Reference Bank Quotation as part of any such
       notification.

46.2   Related obligations

(a)    The Facility Agent and each Obligor acknowledge that each Funding Rate (and, in the case of
       the Facility Agent, each Reference Bank Quotation) is or may be price sensitive information
       and that its use may be regulated or prohibited by applicable legislation including securities
       law relating to insider dealing and market abuse and the Facility Agent and each Obligor
       undertake not to use any Funding Rate or, in the case of the Facility Agent, any Reference Bank
       Quotation for any unlawful purpose.

(b)    The Facility Agent and each Obligor agree (to the extent permitted by law and regulation) to
       inform the relevant Lender or Reference Bank, as the case may be:



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       (i)     of the circumstances of any disclosure made pursuant to sub-paragraph (ii) of
               paragraph (c) of Clause 46.1 (Confidentiality and disclosure) except where such
               disclosure is made to any of the persons referred to in that paragraph during the
               ordinary course of its supervisory or regulatory function; and

       (¡٠)    upon becoming aware that any information has been disclosed in breach of this Clause
               46 (Confidentiality of Funding Rates and Reference Bank Quotations).

46.3   No Event of Default

       No Event of Default will occur under Clause 28.4 (Other obligations) by reason only of an
       Obligor's failure to comply with this Clause 46 (Confidentiality of Funding Rates and Reference
       Bank Quotations).


47     COUNTERPARTS

       Each Finance Document may be executed in any number of counterparts, and this has the
       same effect as if the signatures on the counterparts were on a single copy of the Finance
       Document.




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                                              SECTioN 12


                                GOVERNING LAW AND ENFORCEMENT

48     GOVERNING LAW

       This Agreement and any non-contractual obligations arising out of or in connection with it are
       governed by English law.

49     ENFORCEMENT

49.1   Jurisdiction

(a)    Unless specifically provided in another Finance Document in relation to that Finance
       Document, the courts of England have exclusive jurisdiction to settle any dispute arising out of
       or in connection with any Finance Document (including a dispute regarding the existence,
       validity or termination of any Finance Document or any non-contractual obligation arising out
       of or in connection with any Finance Document) (a "Dispute").

(b)    Tfie obligors accept that the courts of England are the most appropriate and convenient courts
       to settle Disputes and accordingly no Obligor will argue to the contrary.

(c)    This Clause 49.1 {Jurisdiction) is for the benefit of the Secured Parties only. As a result, no
       Secured Party shall be prevented from taking proceedings relating to a Dispute in any other
       courts with jurisdiction. To the extent allowed by law, the Secured Parties may take concurrent
       proceedings in any number of jurisdictions.

49.2   Service of process

(a)    Without prejudice to any other mode of service allowed under any relevant law, each Obligor
       (other than an Obligor incorporated in England and Wales):

       (Ì)      irrevocably appoints Oaktree Capital Management (Europe) LLP at its registered
                address for the time being at Verde, 10 Bressenden Place, London SW1E 5DFI, England
                as its agent for service of process in relation to any proceedings before the English
                courts in connection with any Finance Document; and

       (!!)     agrees that failure by a process agent to notify the relevant Obligor of the process will
                not invalidate the proceedings concerned.

(b)    If any person appointed as an agent for service of process is unable for any reason to act as
       agent for service of process, the Borrowers (on behalf of all the Obligors) must as soon as
       practicable (and in any event within five days of such event taking place) appoint another agent
       on terms acceptable to the Facility Agent. Failing this, the Facility Agent may appoint another
       agent for this purpose.

50     WAIVER OF IMMUNITY

50.1   Waiver

       Each Obligor waives generally all immunity it or its assets or revenues may otherwise have in
       any jurisdiction, including immunity in respect of:




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(a)    the giving of any relief by way of injunction or order for specific performance or for the
       recovery of assets or revenues; and

(b)    the issue of any process against its assets or revenues for the enforcement of a judgment or,
       in an action in rem, for the arrest, detention or sale of any of its assets and revenues.

50.2   English State Immunity Act 1978

       Each Obligor agrees that in any proceedings in England, this waiver shall have the fullest scope
       permitted by the English State Immunity Act 1978 and that this waiver is intended to be
       irrevocable for the purposes of the English State Immunity Act 1978.




This Agreement has been entered into on the date stated at the beginning of this Agreement.




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                                            SCHEDULE 1

                                            THE PARTIES

                                              PARTA

                                          THE OBLIGORS

 Name of Borrower      Place of Formation      Registration number   Address for Communication
                                               (or equivalent, if
                                               any)

 FLEETSCAPE            Marshall Islands        964391                c/o Oaktree Capital
 ANTHEM, LLC                                                         Management,
 FLEETSCAPE ARROW,     Marshall Islands        964393                L.P., 333 South Grand
 LLC                                                                 Avenue, Los Angeles, CA
 FLEETSCAPE ATOM,      Marshall Islands        964390                90071, United States of
 LLC                                                                 America
 FLEETSCAPE            Marshall Islands        964392
 AVENUE, LLC                                                         with a copy to:
                       Marshall Islands        964389
 FLEETSCAPE AWARD,
 LLC                                                                 Oaktree Capital
                       Marshall Islands        964385
 FLEETSCAPE SKY, LLC                                                 Management (Europe) LLP,
 FLEETSCAPE SOLAR,                                                   of Verde, 10 Bressenden
                       Marshall Islands        964386
 LLC                                                                 Place, London, England
 FLEETSCAPE SPRING,    Marshall Islands        964388                SW1E5DH
 LLC
 FLEETSCAPE START,     Marshall Islands        964384                Email: info@fleetscape.com
 LLC                                                                 /
 FLEETSCAPE            Marshall Islands        964387                accounting@fleetscape.com
 SUMMER, LLC                                                         / jbaker@fleetscape.com
 FLEETSCAPE    SUN,    Marshall Islands        964383
 LLC




Name    of    Hedge    Place of Formation      Registration number   Address for Communication
Guarantor                                      (or equivalent, if
                                               any)




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 FLEETSCAPE            Marshall Islands     964391           c/o Oaktree Capital
 ANTHEM, LLC                                                 Management, LP., 333
 FLEETSCAPE ARROW,     Marshall Islands     964393           South Grand Avenue, Los
 LLC                                                         Angeles, CA 90071, United
 FLEETSCAPE ATOM,      Marshall Islands     964390           States of America
 LLC
 FLEETSCAPE            Marshall Islands     964392           with a copy to:
 AVENUE, LLC
                       Marshall Islands     964389
 FLEETSCAPE AWARD,                                           Oaktree Capital
 LLC                                                         Management (Europe) LLP,
                       Marshall Islands     964385
 FLEETSCAPE SKY, LLC                                         of Verde, 10 Bressenden
 FLEETSCAPE SOLAR,                                           Place, London, England
                       Marshall Islands     964386
 LLC                                                         SW1E 5DH
 FLEETSCAPE SPRING,    Marshall Islands     964388
 LLC                                                         Email: info(5)fleetscape.com
 FLEETSCAPE START,     Marshall Islands     964384          /
 LLC                                                        accountine@fleetscape.com
 FLEETSCAPE            Marshall Islands    964387           / jbaker@fleetscape.com
 SUMMER, LLC
 FLEETSCAPE    SUN,    Marshall Islands    964383
 LLC




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                                            PART B

                                    THE oRIGINAL IENDERS

 Name of Original Lender     Commitment                      Address for Communication

 Crédit Agricole Corporate   Ship A Tranche A Commitment:    12 place des Etats-Unis, CS 70٥52
 and Investment Bank         $ 5,182,253.14                  92547 Montrouge Cedex, France
                                                             Fax: +33 141 89 13 34
                             Ship A Trancile B Commitment:   Att: Shipping Department / Middle
                             $ 6,268,5٥9.37                  Office / Clementine Costil

                             Ship B Tranche A Commitment:    with a copy to:
                             $ 5,35٥,٥٥٥.25
                                                             Crédit Agricole Corporate      and
                             Ship B Trancfie B Commitment:   Investment Bank
                             $4,314,277.73                   NeuerWallAB
                                                             2٥354 Hamburg
                             Ship c Tranche A Commitment:
                                                             Germany
                             $ 5,٥48,595.96
                                                             Fax: +49 4٥ 7٥ 383 854
                                                             Attn: Wolfgang Schoon
                             Ship c Tranche B Commitment:
                             $ 6,1‫ﻩ‬6,836.22

                             Ship D Trancfie A Commitment:
                             $5,012,144.30

                             Ship D Tranche B Commitment:
                             $ 5,052,286.03

                             Ship E Tranclie A Commitment:
                             $5,048,595.96

                             Ship E Tranche B Commitment:
                             $ 6,106,836.22

                             Ship F Tranche A Commitment:
                             $ 5,797,380.24

                             Ship F Tranche B Commitment:
                             $ 5,843,810.84

                             Ship G Tranche A Commitment:
                             $ 6,114,816.05

                             Ship G Tranche B Commitment:
                             $ 4,931,031.17

                             Ship H Tranche A Commitment:
                             $6,044,646.03

                             Ship H Tranche B Commitment:
                             $ 6,093,056.95




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                      Ship I Tranche A Commitment:
                      $ 5,808,012.00

                      Ship i Tranche B Commitment:
                      $ 7,025,433.44

                      Ship J Tranche A Commitment:
                      $ 5,994,524.58

                      Ship J Tranche B Commitment:
                      $ 6,042,534.09

                      Ship K Tranche A Commitment:
                      $ 5,936,606.25

                      Ship K Tranche B Commitment:
                      $ 8,377,813.19




 BNP Paribas         Ship A Tranche A Commitment:    Millénaire 4, 35 rue de la Gare
                     $ 1,938,636.25                  75019 PARIS - France
                                                     Attn : Christophe LIENNEL / Julie
                      Ship A Tranche B Commitment:   BERNARD
                      $ 2,326,363.75                 Email:
                                                     christophe.liennel@bnpparibac.com
                     Ship B Tranche A Commitment:    / julie.3.bernard@bnpparibas.com
                     $ 2,001,389.00                  Tel : +33(0)1 57 43 77 19
                                                     Fax +33(0)1 42 98 43 55
                     Ship B Tranche B Commitment:
                     $ 1,601,111.00

                     Ship C Tranche A Commitment:
                     $ 1,888,636.25

                     Ship C Tranche B Commitment:
                     $ 2,266,363.75

                     Ship D Tranche A Commitment:
                     $ 1,875,000.00

                     Ship □Tranche BCommitment:
                     $ 1,875,000.00

                     Ship E Tranche A Commitment:
                     $ 1,888,636.25

                     Ship E Tranche B Commitment:
                     $ 2,266,363.75

                     Ship F Tranche A Commitment:
                     $ 2,168,750.00




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                              Ship F Tranche B Commitment:
                              $ 2,168,750.00

                              Ship G Tranche A Commitment:
                              $ 2,287,500.00

                              Ship G Tranche B Commitment:
                              $ 1,830,000.00

                              Ship H Tranche A Commitment:
                              $ 2,261,250.00

                              Ship H Tranche B Commitment:
                              $ 2,261,250.00

                              Ship I Tranche A Commitment:
                              $ 2,172,727.25

                              Ship I Tranche B Commitment:
                              $ 2,607,272.75

                              Ship J Tranche A Commitment:
                              $ 2,242,500.00

                              Ship J Tranche B Commitment:
                              $ 2,242,500.00

                              Ship K Tranche A Commitment:
                              $ 2,220,833.25

                              Ship K Tranche B Commitment:
                              $ 3,109,166.75



 Siemens          Financial   Ship A Tranche A Commitment:   170 Wood Avenue South, Iselin, NJ
 Services, Inc.               $633,655.61
                                                             08830, United States of America

                              Ship A Tranche B Commitment:
                              $710,581.88                    Tel: +1 732 590 6625
                                                             Fax: +1 732 590 2490
                              Ship B Tranche A Commitment:
                              $654,166.75                    Attn: Bilal Aman

                              Ship B Tranche B Commitment:
                              $489,055.27

                              Ship C Tranche A Commitment:
                              $617,312.79

                              Ship C Tranche B Commitment:
                              $692,255.03




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                           Ship □Tranche A Commitment:
                           $612,855.70

                           Ship □Tranche BCommitment:
                           $572,713.97

                           Ship E Tranche A Commitment:
                           $617,312.79

                           Ship E Tranche B Commitment:
                           $692,255.03

                           Ship F Tranche A Commitment:
                           $708,869.76

                           Ship F Tranche B Commitment:
                           $662,439.16

                           Ship G Tranche A Commitment:
                           $747,683.95

                           Ship G Tranche B Commitment:
                           $558,968.83

                           Ship H Tranche A Commitment:
                           $739,103.97

                           Ship H Tranche B Commitment:
                           $690,693.05

                           Ship I Tranche A Commitment:
                           $710,169.75

                           Ship I Tranche B Commitment:
                           $796,384.81

                           Ship J Tranche A Commitment:
                           $732,975.42

                          Ship J Tranche B Commitment:
                          $684,965.91

                          Ship K Tranche A Commitment:
                          $725,893.50

                          Ship K Tranche B Commitment:
                          $949,687.06




THE HEDGE COUNTERPARTIES

 Name of Hedge Counterparty                   Address for Communication




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 Crédit Agricole Corporate and Investment Bank         12 place des Etats-Unis, CS 70٥52
                                                       92547 Montrouge Cedex, France
                                                       Fax: +33 141 89 13 34
                                                       Att: Shipping Department / Middle Office /
                                                       Clementine Costil

                                                       with a copy to:

                                                       Crédit Agricole Corporate and Investment Bank
                                                       Neuer Wall 46
                                                       20354 Hamburg
                                                       Germany
                                                       Fax: +49 40 70 383 854
                                                       Attn: Wolfgang Sclioon



 BNP Paribas                                       BNP Paribas Head Office
                                                   Address: 3 rue Taitbout, 75009 Paris
                                                   Attention: CIB Legal - Global Markets Structuring
                                                   Hedging
                                                   ACICLA03A1
                                                   Facsimile No: +(33) (0) 1 55 77 75 11, Tel. No:
                                                   +(33) (0) 1 42 98 38 50
                                                   Email: dl.cib.legal.paris.itt@bnpparibas.com

                                                   Mandatory copy to:

                                                   BNP Paribas, London branch
                                                   Address: BNP Paribas, London Branch,10
                                                   Harewood Avenue, London NW1
                                                   6AA, England
                                                   Attention: CIB Legal - Master Agreement Team
                                                   Facsimile No: +(44) 207 595 2555, Tel. No: +(44)
                                                   207 595 2000




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                                             PARTC

                                    THE SERVICING PARTIES

 Name of Facility Agent                                Address for Communication

 Crédit Agricole Corporate and Investment Bank         12 place des Etats-Unis, CS 70052
                                                       92547 Montrouge Cedex, France
                                                       Fax: +33 1 41 89 13 34
                                                       Att: Shipping Department / Middle Office /
                                                       Clémentine Costil

                                                       with a copy to:

                                                       Crédit Agricole Corporate and Investment Bank
                                                       Neuer Wall 46
                                                       20354 Hamburg
                                                       Germany
                                                       Fax: +49 40 70 383 854
                                                       Attn: Wolfgang Schoon




 Name of Security Agent                            Address for Communication

 Crédit Agricole Corporate and Investment Bank     12 place des Etats-Unis, CS 70052
                                                   92547 Montrouge Cedex, France
                                                   Fax: +33 1 41 89 13 34
                                                   Att: Shipping Department / Middle Office /
                                                   Clémentine Costil

                                                   with a copy to:

                                                   Crédit Agricole Corporate and Investment Bank
                                                   Neuer Wall 46
                                                   20354 Hamburg
                                                   Germany
                                                   Fax: +49 40 70 383 854
                                                   Attn: Wolfgang Schoon




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                                             SCHEDULE 2

                           CONDITIONS PRECEDENT AND SUBSEQUENT

                                               PARTA

                   CONDITIONS PRECEDENT TO INITIAL UTILISATION REQUEST

1     Obligors

1.1   A copy of the constitutional documents of each Transaction Obligor and, in respect of an
      Approved Manager, evidence satisfactory to the Facility Agent of the individuals who may bind
      that Approved Manager by their signature.

1.2   A copy of a resolution of the board of directors or members, as applicable, of each Transaction
      Obligor (other than an Approved Manager):

(a)   approving the terms of, and the transactions contemplated by, the Finance Documents to
      which it is a party and resolving that it execute the Finance Documents to which it is a party;

(b)   authorising a specified person or persons to execute the Finance Documents to which it is a
      party on its behalf; and

(c)   authorising a specified person or persons, on its behalf, to sign and/or despatch all documents
      and notices (including, if relevant, a Utilisation Request and each Selection Notice) to be signed
      and/or despatched by it under, or in connection with, the Finance Documents to which it is a
      party.

1.3   An original of the power of attorney of any Transaction Obligor (other than an Approved
      Manager) authorising a specified person or persons to execute the Finance Documents to
      which it is a party.

1.4   A specimen of the signature of each person authorised by the resolution referred to in
      paragraph 1.2 above.

1.5   If necessary for the purposes of a Legal Opinion, a copy of a resolution signed by Fleetscape
      Advantage as the holder of the membership interests in each Borrower, approving the terms
      of, and the transactions contemplated by, the Finance Documents to which that Borrower is a
      party.

1.6   A certificate of each Transaction Obligor (signed by a director or sole member, as applicable)
      (other than an Approved Manager) confirming that borrowing or guaranteeing, as appropriate,
      the Total Commitments would not cause any borrowing, guaranteeing or similar limit binding
      on that Transaction Obligor (other than an Approved Manager) to be exceeded.

1.7   A certificate of each Transaction Obligor (other than an Approved Manager) that is
      incorporated or formed, as applicable, outside the UK (signed by a director or sole member, as
      applicable) certifying either that (i) it has not delivered particulars of any UK Establishment to
      the Registrar of Companies as required under the Overseas Regulations or (ii) it has a UK
      Establishment and specifying the name and registered number under which it is registered
      with the Registrar of Companies.




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1.8   A certificate of an authorised signatory of the relevant Transaction Obligor (other than an
      Approved Manager) certifying that each copy document relating to it specified in this Part A of
      Schedule 2 {Conditions Precedent and Subsequent) is correct, complete and in full force and
      effect as at a date no earlier than the date of this Agreement.

2     MOAs, Bareboat Charters, Time Charters and other Documents

2.1   Copies of each MOA duly signed by the relevant Borrower and the relevant Bareboat Charterer.

2.2   Copies of each Bareboat Charter duly signed by the relevant Borrower and the relevant
      Bareboat Charterer.

2.3   Copies of each Time Charter duly signed by the relevant Bareboat Charterer and the Time
      Charterer.

2.4   A copy of the Subordinated Loan Agreement duly signed by the Borrowers and Fleetscape
      Advantage and any other party to it.

2.5   Copies of each Seller'sCredit Agreement duly signed by the relevant Borrower and the relevant
      Bareboat Charterer.

2.6   Such documentary evidence as the Facility Agent and its legal advisers may require in relation
      to the due authorisation and execution of the Bareboat Charters, the MOAs, the Time Charters,
      the Subordinated Loan Agreement and the Seller's Credit Agreements by each of the parties
      to it.

2.7   If applicable, copies of each Hedging Agreement executed by a Hedge Counterparty and the
      relevant Borrower.

2.8   A letter of undertaking from Fleetscape Advantage in a form acceptable to the Facility Agent
      in respect of certain items agreed between Fleetscape Advantage and the Facility Agent
      relating to market conditions.

3     Finance Documents

3.1   A duly executed original of the Subordination Agreement and copies of each Subordinated
      Finance Document not otherwise referred to in this Schedule 2 {Conditions Precedent and
      Subsequent).

3.2   A duly executed original of any Finance Document not otherwise referred to in this Schedule 2
      {Conditions Precedent and Subsequent).

3.3   A duly executed original of any other document required to be delivered by each Finance
      Document if not otherwise referred to this Schedule 2 {Conditions Precedent and Subsequent).

4     Security

4.1   A duly executed original of the Account Security in relation to each Account and of the Shares
      Security in respect of each Borrower (and of each document to be delivered under each of
      them).

4.2   A duly executed original of the Hedging Agreement Security in respect of each Borrower (and
      of each document to be delivered under each of them).




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4.3   A duly executed original of the Subordinated Debt Security.

5     Legal opinions

5.1   Draft agreed legal opinion of Watson Farley & Williams, legal advisers to the Arranger, the
      Facility Agent and the Security Agent in England, substantially in the form distributed to the
      Original Lenders before signing this Agreement.

5.2   If a Transaction Obligor is incorporated or formed, as applicable, in a jurisdiction other than
      England and Wales, a draft agreed legal opinion of the legal advisers to the Arranger, the
      Facility Agent and the Security Agent in the relevant jurisdiction, or a draft of such other legal
      opinion in respect of such matters as the Facility Agent may require substantially in the form
      distributed to the Original Lenders before signing this Agreement.

6     Other documents and evidence

6.1   Evidence that any process agent referred to in Clause 49.2 (Service of process), if not an
      Obligor, has accepted its appointment.

6.2   A copy of any other Authorisation or other document, opinion or assurance which the Facility
      Agent considers to be necessary (if it has notified the Borrowers accordingly) in connection
      with the entry into and performance of the transactions contemplated by any Transaction
      Document or for the validity and enforceability of any Transaction Document.

6.3   The original of any mandates or other documents required in connection with the opening or
      operation of the Accounts.

6.4   The Approved Budget, the anticipated cash-flow projection in respect of the Ship to which the
      Tranche being requested relates including all Operating and Administrative Expenses in
      respect of that Ship during the next calendar year and the Drydocking Reserve Budget for that
      Ship.

6.5   A statement of anticipated flow of funds from the utilisation of the Facility (the "Funds Flow
      Statement"), accompanied by a letter of undertaking from Advantage Tankers to, amongst
      others, the Facility Agent in a form acceptable to the Facility Agent relating to the Funds Flow
      Statement undertaking that, inter alia, as at the final Utilisation Date to occur, Advantage
      Tankers will have an amount of at least $13,000,000 available to it.

6.6   Evidence that the fees, costs and expenses then due from the Borrowers pursuant to Clause
      11 (Fees) and Clause 16 (Costs and Expenses) have been paid or will be paid by the first
      Utilisation Date.

6.7   Such evidence as the Facility Agent may require for the Finance Parties to be able to satisfy
      each of their "know your customer" or similar identification procedures in relation to the
      transactions contemplated by the Finance Documents and each Transaction Obligor.




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                                                PART B

                      CONDITIONS PRECEDENT TO PREPOSITIONING OF FUNDS

In this Part B, the following expressions shall have the following meanings:

"Relevant Borrower" means the Borrower or, as the case may be, Borrowers whose Ship is to be
financed by the relevant Advance; and

"Relevant Ship" means, in relation to an Advance, the Ship or, as the case may be. Ships which is or
are to be financed by such Advance.

1       Borrowers

       A certificate of an authorised signatory of each Borrower certifying that each copy document
       which it is required to provide under this Part B of Schedule 2 {Conditions Precedent and
       Subsequent) is correct, complete and in full force and effect as at the relevant Utilisation Date.

2      Relevant Ship and other security

2.1    A duly executed but undated original of the Mortgage and the Tripartite Assignment in respect
       of the Relevant Ship and of each document to be delivered under or pursuant to each of them
       together with instructions for the Facility Agent or its lawyers to date such documents.

2.2    In respect of the Relevant Ship:

(a)    documents establishing that the Relevant Ship will, as from the relevant Utilisation Date, be
       managed commercially by its Approved Commercial Manager and managed technically by its
       Approved Technical Manager on terms acceptable to the Facility Agent acting with the
       authorisation of all of the Lenders;

(b)    a Manager's Undertaking from each Approved Manager;

(c)    documentary evidence that the Relevant Ship maintains the Approved Classification with the
       Approved Classification Society free of all overdue recommendations and conditions of the
       Approved Classification Society; and

(d)    copies of the Document of Compliance of the Relevant Ship's Approved Technical Manager.

2.3    Two valuations of the Relevant Ship, addressed to the Facility Agent on behalf of the Finance
       Parties, stated to be for the purposes of this Agreement and dated not earlier than 30 days
       before the relevant Utilisation Date, each from an Approved Valuer to allow the Facility Agent
       to determine the Market Value of the Relevant Ship.

2.4    Copies of the Relevant Ship's Safety Management Certificate (together with any other details
       of the applicable Safety Management System which the Facility Agent requires) and of any
       other documents required under the ISM Code and the ISPS Code in relation to the Relevant
       Ship including without limitation an ISSC.

2.5    Confirmation from the Facility Agent's insurance team that it is satisfied that the Relevant Ship
       is insured in accordance with the provisions of this Agreement and all requirement in this
       Agreement in respect of the insurances have been complied with together with an opinion




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      from an independent insurance consultant acceptable to the Facility Agent on such matters
      relating to the Insurances as the Facility Agent may require.

3     Other documents and evidence

3.1   Evidence that the fees, costs and expenses then due from the Borrowers pursuant to Clause 11
      (Fees) and Clause 16 (Costs and Expenses) have been paid or will be paid by the relevant
      Delivery Date.




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                                                  PARTC

                              CONDITIONS PRECEDENT TO DISBURSEMENT

  In this Part C, the following expressions shall have the following meanings:

 "Relevant Borrower" means the Borrower or, as the case may be, Borrowers whose Ship is to be
 financed by the relevant Advance; and

 "Relevant Ship" means, in relation to an Advance, the Ship or, as the case may be, Ships which is or
 are to be financed by such Advance.

 1        Borrowers

         A certificate of an authorised signatory of each Borrower certifying that each copy document
         which it is required to provide under this Part C of Schedule 2 (Conditions Precedent and
         Subsequent) is correct, complete and in full force and effect as at the Utilisation Date of the
         Advance underTranche B.

 2       Funds and arrangements under the Subordinated Loan Agreement

 2.1     Evidence that Fleetscape Advantage has made available that part of $75,000,000 under the
         Subordinated Loan Agreement relating to the Relevant Ship to the Relevant Borrower under
         the terms of the Subordinated Loan Agreement.

 2.2     The original of any mandates or other documents required in connection with the opening or
         operation of the Accounts.

 3        MOAs, Bareboat Charters, Subordinated Loan Agreement and Time Charters

 3.1     Copies of all documents signed or issued by the Relevant Borrower or relevant Bareboat
         Charterer (or both of them) under or in connection with the MOA in respect of the Relevant
         Ship.

 3.2     Copies of all documents signed or issued by the Relevant Borrower or relevant Bareboat
         Charterer (or both of them) under or in connection with the Bareboat Charter in respect of the
         Relevant Ship.

 3.3     Copies of all documents signed or issued by the relevant Bareboat Charterer or Time Charterer
         (or both of them) under or in connection with the Time Charter in respect of the Relevant Ship.

 3.4     Copies of all documents signed or issued by the Borrowers or Fleetscape Advantage (or any of
         them) under or in connection with the Subordinated Loan Agreement in respect of the
         Relevant Ship.

 3.5     Copies of all documents signed or issued by the Relevant Borrower or relevant Bareboat
         Charterer (or both of them) under or in connection with the Seller’s Credit Agreement in
         respect of the Relevant Ship.

 4       Ship and other security

 4.1     A duly executed original of the Mortgage and the Tripartite Assignment in respect of the
         Relevant Ship and of each document to be delivered under or pursuant to each of them




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      together with, save where the Facility Agent agrees to the provision of the same on the
      relevant Delivery Date as a condition subsequent under Part D of this Schedule 2 (Conditions
      precedent and Subsequent), documentary evidence that the Mortgage in respect of the
      Relevant Ship has been duly recorded as a valid first preferred ship mortgage in accordance
      with the laws of the jurisdiction of its Approved Flag.

4.2   Documentary evidence that the Relevant Ship:

(a)   has been unconditionally delivered by the relevant Bareboat Charterer to, and accepted by,
      the Relevant Borrower under the MOA in respect of the Relevant Ship and that the full
      purchase price payable and all other sums due to the relevant Bareboat Charterer under that
      MOA, other than the sums to be financed pursuant to the Advance relating to that Ship
      Tranche, have been paid to the relevant Bareboat Charterer;

(b)   has been unconditionally delivered by the Relevant Borrower to, and accepted by, the relevant
      Bareboat Charterer under the Bareboat Charter in respect of the Relevant Ship;

(c)   is definitively and permanently registered in the name of the Relevant Borrower under the
      Approved Flag applicable to the Relevant Ship; and

(d)   is in the absolute and unencumbered ownership of the Relevant Borrower save as
      contemplated by the Finance Documents.

5     Other documents and evidence

5.1   Evidence acceptable to the Facility Agent that on the Utilisation Date the Account Bank will
      receive the Minimum Cash Reserve in respect of the Relevant Ship in the Bareboat Charterer
      Account of the Bareboat Charterer in respect of the Relevant Ship and, if required as
      determined pursuant to a Drydocking Reserve Budget, the Drydocking Reserve Amount in
      respect of the Relevant Borrower in the Drydocking Reserve Account of the Relevant Borrower.




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                                                PARTO

                                     CONDITIONS SUBSEQUENT

In this Part D, the following expressions shall have the following meanings:

"Relevant Borrower" means the Borrower or, as the case may be, Borrowers whose Ship is to be
financed by the relevant Advance; and

"Relevant Ship" means, in relation to an Advance, the Ship or, as the case may be, Ships which is or
are to be financed by such Advance.

1       Legal opinions

       Executed legal opinions in agreed form of the legal advisers to the Arranger, the Facility Agent
       and the Security Agent in the jurisdiction of the Approved Flag of the Relevant Ship, England
       and such other relevant jurisdictions as the Facility Agent may require.

2      Relevant Ship and other security

2.1    Documentary evidence to be provided on the relevant Delivery Date (as a same day condition
       subsequent) that the Mortgage over the Relevant Ship has been duly registered on the Delivery
       Date as a valid first preferred ship mortgage in accordance with the laws of the jurisdiction of
       the Approved Flag.

2.2    Evidence that the Security Document in respect of the Relevant Ship have been duly registered
       or recorded in such jurisdictions as the Facility Agent may require and that all notices of
       assignment required under or in connection with the relevant Security Documents have been
       served and any acknowledgements in respect of such notice have been received duly executed
       by the relevant parties.

2.3    A duly executed original letter of undertaking from the Approved Brokers in relation to the
       Relevant Ship in a form acceptable to the Facility Agent.

2.4    A duly executed original of a letter of undertaking from any protection and indemnity club or
       war risks association through or with whom any obligatory insurances are placed or effected
       in relation to the Relevant Ship in a form acceptable to the Facility Agent.

3      Miscellaneous

       Evidence that all pre-agreed legal fees have been paid within BOdays of the relevant Utilisation
       Date.




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                                                 SCHEDULE 3

                                                  REQUESTS

                                                   PARTA

                                          UTILISATION REQUEST

From:   FLEETSCAPE ANTHEM, LLC
        FLEETSCAPE ARROW, LLC
        FLEETSCAPE ATOM, LLC
        FLEETSCAPE AVENUE, LLC
        FLEETSCAPE AWARD, LLC
        FLEETSCAPE SKY, LLC
        FLEETSCAPE SOLAR, LLC
        FLEETSCAPE SPRING, LLC
        FLEETSCAPE START, LLC
        FLEETSCAPE SUMMER, LLC
        FLEETSCAPE SUN, LLC



TO:     CREDIT AGRICOLE CORPORATE AND INVESTMENT BANK



                                                                             Dated: [٠]

Dear Sirs

FLEETSCAPE ANTHEM, LLC, FLEETSCAPE ARROW, LLC, FLEETSCAPE ATOM, LLC, FLEETSCAPE AVENUE,
LLC, FLEETSCAPE AWARD, LLC, FLEETSCAPE SKY, LLC, FLEETSCAPE SOLAR, LLC, FLEETSCAPE SPRING,
LLC, FLEETSCAPE START, LLC, FLEETSCAPE SUMMER, LLC and FLEETSCAPE SUN, LLC - US$190,000,000
Facility Agreement dated [٠] (the "Agreement")

1       We refer to the Agreement. This is a Utilisation Request. Terms defined in the Agreement
        have the same meaning in this Utilisation Request unless given a different meaning in this
        Utilisation Request.

2       We wish to borrow an Advance under Ship Tranche [A][B][C][D][E][F][G][H][I][J][K] on the
        following terms:

        Proposed Utilisation Date:         [٠] (or, if that is not a Business Day, the next Business Day)

        Amount:          [٠] or, if less, the Available Facility

        Interest Period for the first Advance:      3 Months

3       [You are authorised and requested to deduct from the Advance prior to funds being remitted
        the following amounts set out against the following items:

        Deductible Items          £


        Arrangement Fee




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        Facility Agent's solicitors' fees inclusive of disbursements and VAT

        [٠] legal opinion fees (ifany)

        Net proceeds of Advance

4       We confirm that each condition specified in Clause 4.1 (Initial conditions precedent) and
        paragraph (a) of Clause 4.2 (Conditions precedent to prepositioning offunds) of the Agreement
        as they relate to the Advance to which this Utilisation Request refers is satisfied on the date of
        this Utilisation Request.

5       The [net] proceeds of this Advance should be credited to [account].

6       This Utilisation Request is irrevocable.

Yours faithfully



[·]
authorised signatory for
FLEETSCAPE ANTHEM, LLC




[٠]
authorised signatory for
FLEETSCAPE ARROW, LLC




[٠]
authorised signatory for
FLEETSCAPE ATOM, LLC




[٠]
authorised signatory for
FLEETSCAPE ATOM, LLC




tl
authorised signatory for
FLEETSCAPE AWARD, LLC




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[٠]
authorised signatory for
FLEETSCAPESKY,   tic


I٠J
authorised signatory for
FLEETSCAPE SOLAR,   tic


[·]
authorised signatory for
FLEETSCAPE SPRING, lie




t٠J
authorised signatory for
FLEETSCAPE START, LLC




[·]
authorised signatory for
FLEETSCAPE SUMMER, Lie




[·]
authorised signatory for
FLEETSCAPESUN, LLC




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                                                PART B

                                           SELECTION NOTICE

From:   FLEETSCAPE ANTHEM, LLC
        FLEETSCAPE ARROW, LLC
        FLEETSCAPE ATOM, LLC
        FLEETSCAPE AVENUE, LLC
        FLEETSCAPE AWARD, LLC
        FLEETSCAPE SKY, LLC
        FLEETSCAPE SOLAR, LLC
        FLEETSCAPE SPRING, LLC
        FLEETSCAPE START, LLC
        FLEETSCAPE SUMMER, LLC
        FLEETSCAPE SUN, LLC

TO:     CREDIT AGRICOLE CORPORATE AND INVESTMENT BANK



                                                                          Dated: [٠]

Dear Sirs

FLEETSCAPE ANTHEM, LLC, FLEETSCAPE ARROW, LLC, FLEETSCAPE ATOM, LLC, FLEETSCAPE AVENUE,
LLC, FLEETSCAPE AWARD, LLC, FLEETSCAPE SKY, LLC, FLEETSCAPE SOLAR, LLC, FLEETSCAPE SPRING,
LLC, FLEETSCAPE START, LLC, FLEETSCAPE SUMMER, LLC and FLEETSCAPE SUN, LLC - US$190,000,000
Facility Agreement dated [٠] (the "Agreement")

1       We refer to the Agreement. This is a Selection Notice. Terms defined in the Agreement have
        the same meaning in this Selection Notice unless given a different meaning in this Selection
        Notice.

2       We request [that the next Interest Period for the Loan be [·]].

3       This Selection Notice is irrevocable.

Yours faithfully




(·]
authorised signatory for
FLEETSCAPE ANTHEM, LLC




[٠]
authorised signatory for
FLEETSCAPE ARROW, LLC




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[٠]
authorised signatory for
FLEETSCAPE ATOM, LLC




[٠]
authorised signatory for
FLEETSCAPE AVENUE, LLC




[٠]
authorised signatory for
FLEETSCAPE AWARD, LLC




[٠]
authorised signatory for
FLEETSCAPE SKY, LLC




[٠]
authorised signatory for
FLEETSCAPE SOLAR, LLC




[٠]
authorised signatory for
FLEETSCAPE SPRING, LLC




[٠]
authorised signatory for
FLEETSCAPE START, LLC




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[٠]
authorised signatory for
FLEETSCAPE SUMMER, LLC




[٠]
authorised signatory for
FLEETSCAPESUN, LLC




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                                               SCHEDULE 4

                                   FORM OF TRANSFER CERTIFICATE

To:     [٠] as Facility Agent

From:   [The Existing Lender] (the "Existing Lender") and [The New Lender] (the "New Lender")

Dated:[٠]

Dear Sirs

[Borrowers] - [٠] Facility Agreement dated [٠] (the "Agreement")

1       We refer to the Agreement. This is a Transfer Certificate. Terms defined in the Agreement
        have the same meaning in this Transfer Certificate unless given a different meaning in this
        Transfer Certificate.

2       We refer to Clause 29.5 {Procedure for transfer) of the Agreement:

(a)     The Existing Lender and the New Lender agree to the Existing Lender transferring to the New
        Lender by novation all of the Existing Lender's rights and obligations under the Agreement and
        the other Finance Documents which relate to that portion of the Existing Lender's
        Commitment and participation in the Loan under the Agreement as specified in the Schedule
        in accordance with Clause 29.5 (Procedure for transfer) of the Agreement.

(b)     The proposed Transfer Date is [·].

(c)     The Facility Office and address, fax number and attention details for notices of the New Lender
        for the purposes of Clause 38.2 (Addresses) of the Agreement are set out in the Schedule.

3       The New Lender expressly acknowledges the limitations on the Existing Lender's obligations
        set out in paragraph (c) of Clause 29.4 (Limitation of responsibility of Existing Lenders) of the
        Agreement.

4       This Transfer Certificate may be executed in any number of counterparts and this has the same
        effect as if the signatures on the counterparts were on a single copy of this Transfer Certificate.

5       This Transfer Certificate and any non-contractual obligations arising out of or in connection
        with it are is governed by English law.

6       This Transfer Certificate has been entered into on the date stated at the beginning of this
        Transfer Certificate.

Note: The execution of this Transfer Certificate may not transfera proportionate share of the Existing
Lender's interest in the Transaction Security in all jurisdictions. It is the responsibility of the New
Lender to ascertain whether any other documents or other formalities are required to perfect a
transfer of such a share in the Existing Lender's Transaction Security in any jurisdiction and, if so, to
arrange for execution of those documents and completion of those formalities.




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THE SCHEDULE

Commitment/rights and obligations to be transferred

[insert relevant details]

[Facility Office address, fax number and attention details

for notices and account details for payments.]

[Existing Lender]           [New Lender]

By: [·] By: [٠]

This Transfer Certificate is accepted by the Facility Agent and the Transfer Date is confirmed as [·].

[Facility Agent]

By: [٠]




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                                              SCHEDULES

                                 FORM OF ASSIGNMENT AGREEMENT

To:     [٠] as Facility Agent and [٠], [٠] and [٠] as Borrowers, for and on behalf of each [Transaction]
        Obligor

From:   [the Existing Lender] (the "Existing Lender") and [the New Lender] (the "New Lender")

Dated: [٠]

Dear Sirs

[Borrowers] - [٠] Facility Agreement dated [٠] (the "Agreement")

1       We refer to the Agreement. This is an Assignment Agreement. Terms defined in the
        Agreement have the same meaning in this Assignment Agreement unless given a different
        meaning in this Assignment Agreement.

2       We refer to Clause 29.6 (Procedure for assignment) of the Agreement:

(a)     The Existing Lender assigns absolutely to the New Lender all the rights of the Existing Lender
        under the Agreement, the other Finance Documents and in respect of the Transaction Security
        which correspond to that portion of the Existing Lender's Commitment and participations in
        the Loan under the Agreement as specified in the Schedule.

(b)     The Existing Lender is released from all the obligations of the Existing Lender which correspond
        to that portion of the Existing Lender's Commitments and participations in the Loan under the
        Agreement specified in the Schedule.

(c)     The New Lender becomes a Party as a Lender and is bound by obligations equivalent to those
        from which the Existing Lender is released under paragraph (b) above.

(d)     All rights and interests (present, future or contingent) which the Existing Lender has under or
        by virtue of the Finance Documents are assigned to the New Lender absolutely, free of any
        defects in the Existing Lender's title and of any rights or equities which the Borrower or any
        other [Transaction] Obligor had against the Existing Lender.

3       The proposed Transfer Date is [·].

4       On the Transfer Date the New Lender becomes Party to the Finance Documents as a Lender.

5       The Facility Office and address, fax, number and attention detailsfor notices of the New Lender
        for the purposes of Clause 38.2 (Addresses) of the Agreement are set out in the Schedule.

6       The New Lender expressly acknowledges the limitations on the Existing Lender's obligations
        set out in paragraph (c) of Clause 29.4 (Limitation of responsibility of Existing Lenders) of the
        Agreement.

7       This Assignment Agreement acts as notice to the Facility Agent (on behalf of each Finance
        Party) and, upon delivery in accordance with Clause 29.7 (Copy of Transfer Certificate or
        Assignment Agreement to Borrowers) of the Agreement, to the Borrowers (on behalf of each
        [Transaction] Obligor) of the assignment referred to in this Assignment Agreement.




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8       This Assignment Agreement may be executed in any number of counterparts and this has the
        same effect as if the signatures on the counterparts were on a single copy of this Assignment
        Agreement.

9       This Assignment Agreement and any non-contractual obligations arising out of or in connection
        with it are governed by English law.

10      This Assignment Agreement has been entered into on the date stated at the beginning of this
        Assignment Agreement.

Note: The execution of this Assignment Agreement may not transfer a proportionate share of the
Existing Lender's interest in the Transaction Security in all jurisdictions. It is the responsibility of the
New Lender to ascertain whether any other documents or other formalities are required to perfect
a transfer of such a share in the Existing Lender's Transaction Security in any jurisdiction and, if so,
to arrange for execution of those documents and completion of those formalities.




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                                             THE SCHEDULE

      Commitment rights and obligations to be transferred by assignment, release and accession

[insert relevant details]

[Facility office address, fax number and attention details for notices
and account details for payments]

[Existing Lender]           [New Lender]

By: [٠] By:[·]

This Assignment Agreement is accepted by the Facility Agent and the Transfer Date is confirmed as [·].

Signature of this Assignment Agreement by the Facility Agent constitutes confirmation by the Facility
Agent of receipt of notice of the assignment referred to herein, which notice the Facility Agent receives
on behalf of each Finance Party.

[Facility Agent]

By:




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                                             SCHEDULE 6

                                      REPAYMENT SCHEDULE

 Date                      Repayment amount in        Interest payment ($)   Outstanding amount
                           or towards Tranche A                              in respect of Tranche
                           ($)                                               A ($)

 Final Utilisation under                                                          91,783,434
       Tranche A

        10 April 2019            4,122,919                   714,763              87,660,515

        10 July 2019             4,168,787                  975,223               83,491,728

   10 October 2019               4,215,165                  928,845               79,276,563

   10 January 2020               4,262,058                  881,952               75,014,505

        10 April 2020            4,309,474                  834,536               70,705,031

        10 July 2020             4,357,417                  786,593               66,347,614

   10 October 2020               4,405,893                  738,117               61,941,722

   10 January 2021               4,454,908                  689,102               57,486,813

     10 April 2021               4,504,469                  639,541               52,982,344

        10 July 2021             4,554,582                  589,429              48,427,762

   10 October 2021               4,605,251                  538,759              43,822,511

   10 January 2022               4,656,485                  487,525              39,166,026

     10 April 2022               4,708,288                  435,722              34,457,738

        10 July 2022             4,760,668                  383,342              29,697,071

   10 October 2022               4,813,630                  330,380              24,883,441

   10 January 2023               4,867,182                  276,828              20,016,259

     10 April 2023               4,921,329                  222,681              15,094,929

        10 July 2023             4,976,079                  167,931              10,118,850

   10 October 2023               5,031,438                  112,572               5,087,413

   10 January 2024               5,087,413                  56,597                    0




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                                                        SCHEDULE 7

                                                 DETAILS OF THE SHIPS

 Ship name   Name            Type     GRT      NRT      Approved     Approved         Approved             Approved     Approved
             of       ttie                              Flag         Classification   Classification       Commercial   Technical
             Borrower                                                Society                               Manager      Manager
             owner


 ADVANTAGE   Fleetscape      Oil      61,336   35,873   Marshall     DNVGl            *1A1,    Tanker      Genel        Genel

 ANTHEM      Anthem,         Tanker                     Islands                       for oil, BM٥N,       Denizcilik   Denizcilik

             lie                                                                      CSR, EO, ESP,        Nakliyati    Nakliyati
                                                                                      TMON, VCS(2)         A.S.         A.S.


 ADVANTAGE   Fleetscape      Oil      61,341   35,396   Marstiall    DNVGl            *1A1,    Tanker      Genel        Genel
 ARROW       Arrow, lie      Tanker                     Islands                       for oil, BMON,       Denizcilik   Denizcilik
                                                                                      EO,           ESP,   Nakliyati    Nakliyati
                                                                                      NAUIICUS             A.S.         A.S.
                                                                                      (Newhuilding),
                                                                                      TMON, VCS(2)


 ADVANTAGE   Fleetscape      Oil      61,336   35,873   Marshall     DNVGl            *1A1,    Tanker      Genel        Genel
 ATOM        Atom, lie       Tanker                     Islands                       for oil, BMON,       Denizcilik   Denizcilik
                                                                                      CSR, EO, ESP,        Nakliyati    Nakliyati
                                                                                      TMON, VCS(2)         A.S.         A.S.


 ADVANTAGE   Fleetscape      Oil      61,341   35,396   Marshall     DNVGL            *1A1,    Tanker      Genel        Genel
 AVENUE      Avenue,         Tanker                     Islands                       for oil, BMON,       Denizcilik   Denizcilik

             lie                                                                      EO,          ESP,    Nakliyati    Nakliyati
                                                                                      NAUTICUS             A.S.         A.S.
                                                                                      (Newbuilding),
                                                                                      TMON, VCS(2)


 ADVANTAGE   Fleetscape      Oil      61,336   35,873   Marstiall    DNVGl            *1A1,    Tanker      Genel        Genel
 AWARD       Award,          Tanker                     Islands                       for oil, BMON,       Denizcilik   Denizcilik

             lie                                                                      CSR, EO, ESP,        Nakliyati    Nakliyati
                                                                                      TMON, VCS(2)         A.S.         A.S.


 ADVANTAGE   Fleetscape      Oil      83,805   49,031   Marshall     DNVGl            *1A1,    Tanker      Genel        Genel
 SKY         Sky, lie        Tanker                     Islands                       for   oil,    BIS,   Denizcilik   Denizcilik
                                                                                      BMON,        CSR,    Nakliyati    Nakliyati
                                                                                      EO, ESP, NAV-        A.S.         A.S.
                                                                                      O,           SPM,
                                                                                      TMON, VCS(2,
                                                                                      B)


 ADVANTAGE   Fleetscape      Oil      83,850   49,031   Marshall     DNVGl            *1A1,    Tanker      Genel        Genel
 SOIAR       Solar, lie      Tanker                     Islands                       for   oil,    BIS,   Denizcilik   Denizcilik
                                                                                      BMON,        CSR,    Nakliyati    Nakliyati
                                                                                      EO, ESP, NAV-        A.S.         A.S.
                                                                                      0,           SPM,
                                                                                      TMON, vcs(2.

                                                                                      B)




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ADVANTAGE   Fleetscape   Oil      83,85٥   49,031   Marshall   DNVGI   *1A1,        Janker    Genel        Genel
SPRING      Spring,      Tanker                     Islands            for     oil,    BIS,   Denizcilik   Denlzcillk
            tic                                                        BMON,           CSR,   Nakliyatl    Nakliyati
                                                                       EO, ESP, NAV-          A.S.         A.S.

                                                                       0,             SPM,
                                                                       TMON, VCS(2,
                                                                       B)


ADVANTAGE   Fleetscape   Oil      83,850   49,031   Marshall   DNVGt   *1A1,      Tanker      Genel        Genel
START       Start, tic   Tanker                     Islands            for     oil,    BIS,   Denizcilik   Denizcilik
                                                                       BMON,          CSR,    Nakliyati    Nakliyati
                                                                       EO, ESP, NAV-          A.S.         A.S.
                                                                       0,             SPM,
                                                                       TMON, VCS(2,
                                                                       B)


ADVANTAGE   Fleetscape   Oil      83,850   49,031   Marshall   DNVGL   *1A1,      Tanker      Genel        Genel
SUMMER      Summer,      Tanker                     Islands            for   oil,      BIS,   Denizcilik   Denizcilik
            ttc                                                        BMON,          CSR,    Nakliyati    Nakliyati
                                                                       EO, ESP, NAV-          A.S.         A.S.
                                                                       0,             SPM,
                                                                       TMON, VCS(2,
                                                                       B)


ADVANTAGE   Fleetscape   Oil      83,850   49,031   Marshall   DNVGI   *1A1,     Tanker       Genel        Genel
SUN         Sun, uc      Tanker                     Islands            for   oil,      BIS,   Denizcilik   Denizcilik
                                                                       BMON,          CSR,    Nakliyati    Nakliyati
                                                                       EO, ESP, NAV-          A.S.         A.S.
                                                                       0,             SPM,
                                                                       TMON, VCS(2,
                                                                       B)




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                                             SCHEDULES

                    APPRDVED DPERATING AND ADMINISTRATIVE EXPENSES



          Period                                 Amount
 The period commencing on the date     (a)      $7,500 per day for each of Ship A, Ship B, Ship
 of the Agreement and ending 31                 C, Ship D and Ship E; and
 December 2019
                                       (b)      $8,000 per day for each of Ship F, Ship G, Ship
                                                H, Ship I, Ship J and Ship K

 The period commencing on 1 January    (a)      7,700 per day for each of Ship A, Ship B, Ship C,
 2020 and ending on 31 December                 Ship D and Ship E; and
 2020
                                       (b)      $8,200 per day for each of Ship F, Ship G, Ship
                                                H, Ship I, Ship J and Ship K

 The period commencing 1 January       (a)     $7,922 per day for each of Ship A, Ship B, Ship
 2021 and ending 31 December 2021              C, Ship D and Ship E; and

                                       (b)     $8,437 per day for each of Ship F, Ship G, Ship
                                               H, Ship I, Ship J and Ship K

 The period commencing 1 January       (a)     $8,150 per day for each of Ship A, Ship B, Ship
 2022 and ending 31 December 2022              C, Ship D and Ship E; and

                                       (b)     $8,681 per day for each of Ship F, Ship G, Ship
                                               H, Ship I, Ship J and Ship K

 The period commencing 1 January       (a)     $8,386 per day for each of Ship A, Ship B, Ship
 2023 ending 31 December 2023                  C, Ship D and Ship E; and

                                       (b)     $8,932 per day for each of Ship F, Ship G, Ship
                                               H, Ship I, Ship J and Ship K

 The period commencing 1 January       (a)     $8,627 per day for each of Ship A, Ship B, Ship
 2024 and at all times thereafter              C, Ship D and Ship E; and

                                       (b)     $9,190 per day for each of Ship F, Ship G, Ship
                                               H, Ship I, Ship J and Ship K




or such higher amount as may be agreed between the Borrower and the Facility Agent (acting on the
instructions of the Lenders).




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                                            SCHEDULE 9

                                            TIMETABLES

Delivery of a duly completed Utilisation Request      5 Business Days before the intended Utilisation
{Cause 5.1 {Delivery of a Utilisation Request)) or    Date (Clause 5.1 {Delivery of a Utilisation
a Selection Notice (Clause 9.1 {Selection of          Reques‫ ))؛‬or the expiry of the preceding Interest
Interest Periods))                                    Period (Clause 9.1 {Selection of Interest Periods))

Facility Agent notifies the Lenders of the            3 Business Days before the intended Utilisation
Advance in accordance with Clause 5.4 {Lenders'       Date.
participation)

LIBOR is fixed                                        Quotation Day as of 11:00 am London time

Reference Bank Rate calculated by reference to        Noon on the Quotation Day
available quotations in accordance with
Clause 10.2 {Calculation of Reference Bank Rate)




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                                            SCHEDULE 10

                                        EXCLUDED NEW LENDER

      AGC Equity Partners limited

      Alterna Capital Partners

      Apollo Global Management,     lie
      Ares Management, l.p.

      Australis Maritime limited

      BlueMountain Capital Management Lie

      Borealis Maritime ltd

      Breakwater Capital

      The Carlyle Group, l.p.

      Centerbridge Partners, l.p.

      Cerberus Capital Management, l.p.

      EnTrustPermal ltd

      Hayfin Capital Management IIP

      HPS Investment Partners,    lie
      Hudson Structured Capital Management Ltd.

      KKR&Co.Inc.

      Maritime Asset Partners

      Northern Shipping Funds

      ٥ak Hill Capital Partners

      Ocean Yield ASA

      Offshore Merchant Partners AS

      Riverstone Holdings Lie

     Sflip Finance limited

     Silver Point Capital, L.p.

     Sole Shipping AS




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     Tufton Oceanics Ltd

     Värde Partners, Inc.

     York Capital Management, LLC




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                                        EXECUTION PAGES

 BORROWERS

 SIGNED by
 as attorney-in-fact
 for and on behalf of
                                                          Jennifer Ashford
 FLEETSCAPE ANTHEM, LLC                                   Attorney in fact
 in the presence of:


                        Kieran Ferguson
 Witness' signature:    Trainee Solicitor
 Witness' name:         Watson Farley 8‫ ؛‬Williams LLF
 Witness' address:
                        15 Appold Street
                        London EC2A 2HB


 SIGNED by
 as attorney-in-fact
 for and on behalf of               )
                                                          Jennifer Ashford
 FLEETSCAPE ARROW, LLC
 in the presence of:
                                                          Attorney in fact

 Witness' signature-    Kie٢an Ferguson
 Witness' name:     ’   Trainee Solicitor
 Witness' address-      Watson Farley & Williams LLP
                         15 Appold Street
                         London EC2A 2HB


 SIGNED by
 as attorney-in-fact
 for and on behalf of               )

 FLEETSCAPE ATOM, LLC                                      Jennifer Ashford
 in the presence of:
                                                           Attorney in fact
 Witness' signature:
 Witness' name:         Kieran Ferguson
 Witness' address:
                        Watson Farley & Williams LLP
                        15 Appold Street
                        London EC2A 2HB




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  SIGNED by                          )
  as attorney-in-fact                                        Jennifer Ashforo
  for and on behalf of
  FLEETSCAPE AVENUE, LLC
                                     )
                                                             Attorney in fact
  in the presence of:



  Witness' signature:     Kieran Fergyson
  Witness' name:          Watson SowDitor
                          Trainee Farjey & Williams   Lir
  Witness' address:

                          London EC2A 2HB


  SIGNED by                                                   Jennifer Ashford
  as attorney-in-fact
  for and on behalf of
                                     )
                                                             Attorney in fact
  FLEETSCAPE AWARD, LLC
  in the presence of:

                          Kieran Ferguson
  Witness' signature:     Trainee Solicitor
  Witness' name:          Watson Fa٥ley & Williams LL.٢
  Witness' address:       15 Appoid Street
                          London EC2A 2HB

                                                            Jennifer Ashford
  SIGNED by                                                 Attorney in fact
  as attorney-in-fact                )

  for and on behalf of
  FLEETSCAPE SKY, LLC
  in the presence of:

                         Kieran Ferguson
  Witness' signature:    Trainee Soliditor
  Witness' name:         Watson Farlèy & Williams LLF
  Witness' address:      15 Appoid Street
                         London EC2A 2HB


                                                            Jennifer Ashford
  SIGNED by
  as attorney-in-fact                )                      Attorney in fact
  for and on behalf of               )
  FLEETSCAPE SOLAR, LLC
  in the presence of:                )




  Witness' signature:       Kieran Ferguson
  Witness' name:            Trainee Splicitor
  Witness' address:         Watson Fprley & Williams LLF
                            15 Appoid Street
                            London EC2A2HB
                                             210                   EUROPE/62707839vl9
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 SIGNED by                              )

 as attorney-in-fact                    )

 for and on behalf of                   )
                                                             Jennifer Ashforc‫؛‬
 FLEETSCAPE SPRING, LLC                                      Attorney in fact
 in the presence of:                    )




 ==: os‫؟‬-»-
                         ¡‫؛‬٥٥٠
 SIGNED by                              )

 as attorney-in-fact                    )
                                                            Jennifer Ashford
 for and on behalf of                   )

 FLEETSCAPE START, LLC                                      Attorney in fact
 in the presence of:                    )




 Witness' signature:    Kie٣an Fe٢QUSpn
 Witness' name:         Trainee Solicitor
 Witness' address:      Watson Farlev) & Williams L·
                                                   ‫ ؛‬f~٠٠
                        Appoid Street 15
                        London EC2A 2‫؛ ؛‬Li


                                        )
                                                               Jennifer Ashford
 SIGNED by
 as attorney-in-fact                                           Attorney in fact
 for and on behalf of                   )

 FLEETSCAPE SUMMER, LLC
 in the presence of:



 Witness' signature:
                                ٠
                           KR 1‫)؛‬iW^'
                          Kieran Ferguson
                          Trainee Solicitor
 Witness' name:           Watson Faritey & Williams LL‫؛‬
 Witness' address:        15 Appoid Street
                          London EC2A 2HB


                                                            Jennifer Ashford
 SIGNED by
 as attorney-in-fact                                        Attorney in fact
 for and on behalf of
 FLEETSCAPE SUN, LLC
 in the presence of:


                           Kieran Ferguson
 Witness' signature:       Trainee Solicitor
 Witness' name:            Watson Fa|ey & Williams LL٢
 Witness' address:
                           15 Appoid Street
                           London EC2A 2HB
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 HEDGE GUARANTORS

 SIGNED by
 as attorney-in-fact                 )

 for and on behalf of
 FLEETSCAPE ANTHEM, LLC              )
                                                            Jennifer Ashford
 in the presence of:                 )                      Attorney in fact

 witness' signature:   Kieran Fergusdn
 Witness' name:        Trainee Solicitdr
 witness' address:     Watson Farley B‫ ؛‬Wiihams Ll.
                       15 Appold Street
                       London EC2A 2HB


 SIGNED by                           )
                                                             Jennifer Ashford
 as attorney-in-fact
 for and on behalf of                                        Attorney in fact
 FLEETSCAPE ARROW, LLC
 in the presence of:



 ١٠٠٥٠٠٥■ •،«٠».= ‫؟‬Watson
 Witness' name:
                    ilno/lXfr
                          Farley)& Williams LLf
 Witness' address:     15 Appold Stretet
                       London EC2A 2HB



 SIGNED by
 as attorney-in-fact
                                                           Jennifer Ashford
 for and on behalf of                                      Attorney in fact
 FLEETSCAPE ATOM, LLC
 in the presence of:

                         Kieran Ferguson
 Witness' signature:     Trainee Solidtor
 Witness' name:          Watson Farley & Williams LLP
 Witness' address:       15 Appold Stj٠eet
                         London EC2A 2HB




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  SIGNED by
  as attorney-in-fact
  for and on behalf of
  FLEETSCAPE AVENUE, LLC               )

  in the presence of:
                                                             Attorn^ ^s،1f٥r٥

  Witness' signature:    Kieran Ferguson
  Witness' name:         Trainee Solicitor
  Witness' address:      Watson Farley i& Williams LLP
                         15 Appold Street
                         London EC2A 2HB

                                                               Jennifer Ashford
  SIGNED by
  as attorney-in-fact                  )
                                                               Attorney in fact
  for and on behalf of
  FLEETSCAPE AWARD, LLC
  in the presence of:


                           Kieran Ferguson
  Witness' signature:      Trainee Soliditor
  Witness' name:           Watson Farlèy & Williams LLP
  Witness' address:        15 Appold Street
                           London EC2A 2HB

                                                            Jennifer Ashford
  SIGNED by                            )                    Attorney in fact
  as attorney-in-fact
  for and on behalf of                 )
  FLEETSCAPE SKY, LLC                  )

  in the presence of:



  Witness' signature:      Kieran FergQson
  Witness' name:           Trainee Soliqitor
  Witness' address:        Watson Farlqy & Williams LLP
                           15 Appold Street
                           London EC2A 2H8


  SIGNED by                            )
                                                              Jennifer Ashford
  as attorney-in-fact                                         Attorney in fact
  for and on behalf of                 )
  FLEETSCAPE SOLAR, LLC
  in the presence of:                  )




  Witness' signature:
                             Kieran Ferguson
  Witness' name:
                             Trainee Solicitor
  Witness' address:
                             Watson Farley & Williams LLP
                             15 Appold'Street
                             London EC2A2HB
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 SIGNED by                           )

 as attorney-in-fact
 for and on behalf of                                     Jennifer Ashforo
 FLEETSCAPE SPRING, LLC
 in the presence of:
                                                          Attorney ‫؟؛‬٠٤ fact
                       ^Cfijiyu^

 Witness' signature:
                        Kieran Ferguspn
                        Trainee Solictor
 Witness' name:
 Witness' address:
                        Watson Farley & Williams LLP
                        15 Appold Street
                        London EC2A 2HB

 SIGNED by                           )
 as attorney-in-fact                       ٦‫؛‬
 for and on behalf of
 FLEETSCAPE START, LLC
                                                         Jennifer Ashfoc
 in the presence of:                                     Attorney in feet

 Witness' signature:      Kieran Ferguson
 Witness' name:           Trainee Soljcitor
 Witness' address:        Watson Fai)ley & Williams LLP
                          15 Appold Street
                          London EC2A 2HB


 SIGNED by                           )

 as attorney-in-fact
 for and on behalf of                )             Jennifer Ashford
 FLEETSCAPE SUMMER, LLC                            Attorney in fact
 in the presence of:



 Witness' signature:      Kieran Ferglison
 Witness' name:           Trainee Solicitor
 Witness' address:        Watson Farfey & Williams LLP
                          15 Appold Street
                          London EC2A2HB


 SIGNED by
 as attorney-in-fact
 for and on behalf of
 FLEETSCAPE SUN, LLC
 in the presence of:
                                                       Jennifer Ashforc
                                                       Attorney in fee‫؛‬
 Witness' signature:      Kieran Ferguson
 Witness' name:           Trainee Solicitor
 Witness' address:        Watson FaMey & Williams LLP
                          15 Appold Street
                          London EC2A 2HB
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  ORIGINAL LENDERS

  SIGNED by
  duly authorised
  for and on behalf of          )
                                                            S Sadhika
  CREDIT AGRICOLE                                           Aitorney-in-Fact
  CORPORATE AND INVESTMENT BANK )
  in the presence of:           )



  Witness' signature:                )

  Witness' name:                                               Jamie Tiru
  Witness' address:                                            Trainee Solicitor
                                                               Watson Farley & Williams LLP
                                            L                  15 Appold Street
                                                               London EC2A2HB
  SIGNED by                          )


  duly authorised
  for and on behalf of               )

  BNP PARIBAS
  in the presence of:                                        S Sadhika
                                                             Attorney-in-Faci

  Witness' signature:
  Witness' name:
  Witness' address:

                                                          Jamie Tiru
                                                          Trainee Solicitor
                                                          Watson Farley & Williams LLP
  SIGNED by                                               15 Appold Street
  duly authorised                                         London EC2A2HB
  for and on behalf of
  SIEMENS FINANCIAL SERVICES, INC.
  in the presence of:



  Witness1 signature:
  Witness' name:                     )

  Witness' address:




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     ORIGINAL LENDERS

     SIGNED by                     )
     duly authorised               )
     for and on behalf of          )
     CRÉDIT AGRICOLE               )
     CORPORATE AND INVESTMENT BANK )
     In the presence of:           )




     Witness' signature:
     Witness' name:                         )


     Witness' address:




     SIGNED by                           )

     duly authorised                     )

     for and on behalf of
     BNP PARIBAS
     in the presence of:                )




     Witness' signature:
     Witness' name:                     )


     Witness' address:                  )




     SIGNED by                          )
                                                     ،.tó
                                                                             7!/٠ ${*-zîA
     duly authorised
     for and on behalf of               )            Kevin S. Keaton
                                                    Director, Operations        Tom R Blaziak
     SIEMENS FINANCIAL SERVICES, INC.   )                                       Vice President
     in the presence of:                )




     Witness' signature:                )

     Witness' name:
     Witness' address:
                                        )
                                                     f M،r٠e،٠d
                                                HoccecB                                         OTOO




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 HEDGE COUNTERPARTIES

 SIGNED by                     )
 duly authorised               )                                     S Sadhika
 for and on behalf of          )
                                                                     Attorney-in-Fact
 CREDIT AGRICOLE               )
 CORPORATE AND INVESTMENT BANK )
 in the presence of:           )




                                                       Jamie Tiru
 Witness' signature:
                                                       Trainee Solicitor
 Witness' name:
                                                       Watson Farley & Williams LLP
 Witness' address:
                                                       15 Appold Street
                                                       London EC2A2HB


 SIGNED by
 duly authorised
                                                                        S Sadhika
 for and on behalf of                                                   Attorney-in-Fact
 BNP PARIBAS
 in the presence of:



 Witness' signature:
                                                       Jamie Tiru
 Witness' name:
                                                       Trainee Solicitor
 Witness' address:
                                                       Watson Farley & Williams LLP
                                                       15 Appold Street
                                                       London EC2A2HB

 ARRANGER

 SIGNED by                     )

 duly authorised
 for and on behalf of          )                                    S Sadhika
                                                                    Attorney-in-Fact
 CRÉDIT AGRICOLE               )

 CORPORATE AND INVESTMENT BANK )
 in the presence of:           )



 Witness' signature:           )

 Witness' name:                                           Fannie Tiru
 Witness' address:
                                    Wa                   ^Sidi^Williamsup
                                                              or




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 BOOKRUNNER

 SIGNED by
 duly authorised               )
                                                      T*
 for and on behalf of
 CRÉDIT AGRICOLE               )

 CORPORATE AND INVESTMENT BANK )
                                                                  •٥٠«
 in the presence of:           )




 Witness' signature:                                 Jamie Tim
 Witness' name:                                      Trainee Solicitor
 Witness' address:                                   Watson Farley & Williams LLP
                                                     15 Appold Street
                                                     London EC2A2HB


 UNDERWRITER

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 duly authorised               )                                      Attomey،‫؟‬n٠Pact
 for and on behalf of          )
 CREDIT AGRICOLE               )
 CORPORATE AND INVESTMENT BANK )
 in the presence of:           )




 Witness' signature:
 Witness' name:
                                                      Jamie Tim
                               )
                                                      Trainee Solicitor
 Witness' address:
                                                      Watson Farley & Williams LLP
                                                      15 Appold Street
                                                      London EC2A 2HB

 FACILITY AGENT

 SIGNED by                                                               Atto٥ney-în-Fact
 duly authorised
 for and on behalf of          )                         1
 CRÉDIT AGRICOLE
 CORPORATE AND INVESTMENT BANK )
 in the presence of:           )



 Witness' signature:
 Witness' name:
 Witness' address:             )                      Jamie Tim
                                                      Trainee Solicitor
                                   o   \J             Watson Farley & Williams LLP
                                                      15 Appoid Street
                                                      London EC2A2HB



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 SECURITY AGENT                                                     S Sadhika
                                                                    Attorney-in-Fact
 SIGNED by
 duly authorised
 for and on behalf of          )

 CREDIT AGRICOLE
 CORPORATE AND INVESTMENT BANK )
 in the presence of:           )




 Witness' signature:
                                                  Jamie Tiru
 Witness' name:                                   Trainee Solicitor
 Witness' address:                                Watson Farley & Williams LLP
                                                  15 Appoid Street
                                                  London EC2A2HB




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